Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 1 of 248 PageID: 10




                          Exhibit A
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 2 of 248 PageID: 11




                                         INDEX OF EXHIBIT A


Service of Process ............................................................................................. 1 to 2


Summons .......................................................................................................... 3 to 5


Complaint and Civil Case Information Sheet ................................................. 6 to 26


Defendants St. Joseph’s Health, Inc. and Michael Lange, M.D.’s Answers and
Crossclaims ................................................................................................... 27 to 43


Order Extending Time for Service of an Affidavit of Merit ........................ 44 to 45


Order Denying Defendants St. Joseph’s Health, Inc. and Michael Lange, M.D.’s
Motion to Dismiss ................................................................................................. 46


Stipulation of Dismissal with Prejudice as to Defendants St. Joseph’s Health, Inc.
and Michael Lange, M.D. ............................................................................. 47 to 48


Gilead Sciences, Inc.’s Motion to Dismiss ................................................. 49 to 197


Defendants St. Joseph’s Health, Inc. and Michael Lange, M.D.’s Opposition to
Gilead Sciences, Inc.’s Motion to Dismiss ............................................... 198 to 200


Plaintiff’s Opposition to Gilead Sciences, Inc.’s Motion to Dismiss ....... 201 to 226


Gilead Sciences, Inc.’s Reply in Support of the Motion to Dismiss ........ 227 to 246
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 3 of 248 PageID: 12

                                                                                       
                                                                                          
                                                                                     
                                                                                              
               
                 !"
                # 
               $ % %& '(')))*)

                       

             !"' +     % %%,'-.




                 ! "#          $   % #            $ "! & #  '
   
                                 ( 67 8 (-( 7 9%/"'"'!-( !- - ! " % " /%"
   %& () !                      *
   % * #                               0/
                                             : 9(
    %                            !; &'*'! 0 0   % %
    '$&        ' !         1  0 %   %       0& '<% %  ' =
      $%  !                >& 9     % ),
   %  !                         4 =&
           ' %                  0/
         #() * ()                   0/
      &                             1 % %1  %        5% %,  -?0% 9   %,
                                            

                                            !   79

                                            -       %/%  ' 65! 7! '1"   @ "

                                            -       %/%  '    '"  @ "

                                            -       %/%  ' 9%  # '9% " #@ "

                                            -       %/%  '    '"  @ "

                                            -       %/%  ' A& <%% '#&"4%%@ "

                                            -       %/%  '    '"  @ "

                                            -       %/%  ' = &   '; &" @ "

                                            -       %/%  ' -!-- >-5( '"%@ "

                                            -       %/%  ' (5! A<7 '"#4 @ "

                                            -       %/%  ' A(!- 5!- '#%1"@ "




                                                                                     9   / '  (A
                                                                                     !/  %  0&  %1 % %%  /  
                                                                                      0 % 2   #0 0 0  &   0  %
                                                                                     %1 0% /  3 # /" 1 /  %     %
                                                                                      %% %    0   % %1 %  / %  %1
                                                                                          % /    %1 4 %  & /  % 
                                                                                      %  %1   % %1 " 50% 
                                                                                     0  /  %0%    %  /  %#
                                                                                     00 0% % "  %   %/  0%
                                                                                      / 0% / 0#  &  %  Page %%"1 of 246
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 4 of 248 PageID: 13

                                                                            
                                                                               
                                                                          
                                                                                   
            
              !"
             # 
            $ % %& '(')))*)

                     

          !"' +     % %%,'-.




                                   1  0 %   %    0&
                                  >& %%
                                          % 
                                          'B'
    +,                           CDD*DD*
                                          %1 @4 %# 4"




                                                                          9   / '  (A
                                                                          !/  %  0&  %1 % %%  /  
                                                                           0 % 2   #0 0 0  &   0  %
                                                                          %1 0% /  3 # /" 1 /  %     %
                                                                           %% %    0   % %1 %  / %  %1
                                                                               % /    %1 4 %  & /  % 
                                                                           %  %1   % %1 " 50% 
                                                                          0  /  %0%    %  /  %#
                                                                          00 0% % "  %   %/  0%
                                                                           / 0% / 0#  &  %  Page %%"2 of 246
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 5 of 248 PageID: 14




                                                                     Page 3 of 246
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 6 of 248 PageID: 15




                                                                     Page 4 of 246
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 7 of 248 PageID: 16




                                                                     Page 5 of 246
     PAS-L-002011-20 07/08/2020 12:39:52 PM Pg 1 of 20 Trans ID: LCV20201183435
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 8 of 248 PageID: 17




Ari G. Bernstein, Esq.
Attorney I.D. No.: 024841992
LANDEL, BERNSTEIN & KALOSIEH, LLP
279 Franklin Avenue
Wyckoff, New Jersey 07481
(201) 891-6955
Attorneys for Plaintiff Anthony Gaetano


 ANTHONY GAETANO,                                  SUPERIOR COURT OF NEW JERSEY
                                                   LAW DIVISION: PASSAIC COUNTY
                       Plaintiff,
                                                   Docket No.:
          v.
                                                                 CIVIL ACTION
 GILEAD SCIENCES, INC.; ST.
 JOSEPH’S HEALTH, INC.; MICHAEL                                   COMPLAINT
 LANGE; JOHN DOES 1-10
 (fictitious names representing unknown
 individuals); and/or JANE DOES 1-10
 (fictitious names representing unknown
 individuals),
                       Defendants.



Plaintiff, ANTHONY GAETANO, residing at 70 Lincoln Avenue, Borough of Hawthorne,

County of Passaic, State of New Jersey, by way of Complaint against Defendants, says:


                            THE PARTIES AND JURISDICTION

1.     Plaintiff, Anthony Gaetano (hereinafter, “Plaintiff”), is an individual who resides at 70

       Lincoln Avenue, Borough of Hawthorne, County of Passaic, State of New Jersey.


2.     Upon information and belief, Defendant, Gilead Sciences Inc. (hereinafter, “Gilead”), is a

       California corporation that participates in the manufacture and sale of medicines mainly

       used to treat Human Immunodeficiency Virus-1 (“HIV”) and has, at all times relevant

       herein, did substantial and continuous business in the State of New Jersey.




                                                                                      Page 6 of 246
     PAS-L-002011-20 07/08/2020 12:39:52 PM Pg 2 of 20 Trans ID: LCV20201183435
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 9 of 248 PageID: 18




3.    Defendant Gilead is registered as a foreign profit corporation with the New Jersey

      Secretary of State and may be served through its President, Daniel O’Day, at its corporate

      headquarters located at 333 Lakeside Drive, Foster City, County of San Mateo, State of

      California 94404.


4.    Upon information and belief, Defendant, St. Joseph’s Health, Inc. (hereinafter, “St.

      Joseph”), is a medical service provider and has at all times relevant herein did substantial

      and continuous business in the State of New Jersey. Defendant St. Joseph is registered as

      a nonprofit corporation with the New Jersey Secretary of State and can be served through

      its President, Kevin J. Slavin, at its headquarters located at 703 Main Street, City of

      Paterson, County of Passaic, State of New Jersey.


5.    Upon information and belief, Defendant, Dr. Michael Lange (hereinafter, “Dr. Lange”),

      at all times relevant herein, was a physician licensed to practice medicine in the State of

      New Jersey and an employee or agent of St. Joseph’s in Paterson, New Jersey.


6.    Defendant, John Doe, (said name being fictitious) is an agent, servant and/or employee of

      St. Joseph and/or Dr. Lange, MD. Alternatively, John Doe is an independent contractor

      who also treated and/or cared for Plaintiff at all relevant times hereto. Plaintiff is

      presently unable to identify all potential Defendants whose negligence contributed to his

      damages. As soon as Plaintiff is able to identify other individuals and/or entities that

      contributed to his damages in the course of further investigation and/or discovery,

      Plaintiff reserves the right to amend this pleading pursuant to the Rules of the Court.


7.    Defendant, Jane Doe, (said name being fictitious) is an agent, servant and/or employee of

      St. Joseph and/or Dr. Lange, MD. Alternatively, Jane Doe is an independent contractor


                                               2
                                                                                       Page 7 of 246
       PAS-L-002011-20 07/08/2020 12:39:52 PM Pg 3 of 20 Trans ID: LCV20201183435
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 10 of 248 PageID: 19




        who also treated and/or cared for Plaintiff at all relevant times hereto. Plaintiff is

        presently unable to identify all potential Defendants whose negligence contributed to his

        damages. As soon as Plaintiff is able to identify other individuals and/or entities that

        contributed to his damages in the course of further investigation and/or discovery,

        Plaintiff reserves the right to amend this pleading pursuant to the Rules of the Court.



                     TOLLING OF THE STATUTE OF LIMITATIONS


 8.     On or about December 27, 2005, Plaintiff was prescribed Truvada by Dr. Lange, an

        antiretroviral manufactured by Gilead for the purpose of treating HIV.


 9.     In 2014, Plaintiff began experiencing pain in his right shoulder and related body parts.

        The cause of this pain was unknown at the time.


 10.    In 2015, this pain manifested itself into a bending/hooking of Plaintiff’s right hand. The

        cause of this hooking was unknown at the time.


 11.    On or about April 26, 2018, Plaintiff was diagnosed with chronic pain related to

        musculoskeletal disorders.


 12.    On or about January 16, 2019, Plaintiff first discovered that Truvada was linked to

        adverse kidney and bone events through a television advertisement during the Jerry

        Springer show. It was on this date that Plaintiff first realized that his worsening medical

        condition may have been the result of Defendants’ conduct.


 13.    Plaintiff files this Complaint within two years from when he first discovered that

        Defendants’ conduct caused his injuries.



                                                   3
                                                                                         Page 8 of 246
       PAS-L-002011-20 07/08/2020 12:39:52 PM Pg 4 of 20 Trans ID: LCV20201183435
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 11 of 248 PageID: 20




                                         FIRST COUNT

                                       NEGLIGENCE
            (As to Defendants, St. Joseph’s; Dr. Lange; John Doe; and Jane Doe)


 14.    On or about September 8, 2005, Plaintiff arrived at St. Joseph’s Regional Medical Center

        located in Paterson, New Jersey to undergo health treatment.


 15.    Plaintiff communicated, and hospital records confirm, his past medical history that

        includes the following relevant diagnoses: HIV, Chronic Kidney Disease, and Type 2

        Diabetes Mellitus.


 16.    On or about October 7, 2005, Plaintiff was diagnosed with the following additional

        relevant ailments: renal insufficiency, Anemia of Chronic Diseases (“AOCD”) and

        dyselectrolytemia.


 17.    On or about December 27, 2005, Plaintiff was prescribed Truvada by Dr. Lange, an

        antiretroviral manufactured by Gilead for the purpose of treating HIV.


 18.    As directed by Dr. Lange, Plaintiff continued taking this drug (Truvada) daily until Dr.

        Lange prescribed Odefsey for Plaintiff in 2014. Plaintiff was not told why his medication

        was changed.


 19.    On or about May 9, 2006, Plaintiff began experiencing pain in his hands, elbow and left

        shoulder and reported same to Dr. Lange.


 20.    At all times relevant herein, Truvada’s labelling included a warning to monitor patients

        who were at risk for adverse kidney events as clinically appropriate.




                                                 4
                                                                                      Page 9 of 246
       PAS-L-002011-20 07/08/2020 12:39:52 PM Pg 5 of 20 Trans ID: LCV20201183435
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 12 of 248 PageID: 21




 21.    During this period:

            a. Plaintiff’s diagnoses of Chronic Kidney Disease, Type 2 Diabetes, AOCD, renal
               insufficiency, and dyselectrolytemia made him at risk for adverse kidney events;

            b. Defendants failed to adequately monitor the kidney health of Plaintiff as warned;
               and

            c. Defendants failed to warn Plaintiff of potential kidney damage related to
               continued use of Truvada.

 22.    At all times relevant herein, Truvada’s labelling included a warning to monitor the bone

        health of patients who were at risk for adverse kidney events as clinically appropriate.


 23.    During this period:

            a. Plaintiff’s diagnoses of Chronic Kidney Disease, Type 2 Diabetes, AOCD, renal
               insufficiency, and dyselectrolytemia made him at risk for adverse kidney events;

            b. Defendants failed to adequately monitor the bone health of Plaintiff as warned;
               and

            c. Defendants failed to warn Plaintiff of potential bone density damage related to
               continued use of Truvada.

 24.    Defendants, their agents, servants and/or employees, negligently, carelessly and/or

        unskillfully cared for and treated Plaintiff during, but not limited to, the dates

        hereinabove set forth, as follows:

            a. Negligent failure to follow the standard of care and skill of the average qualified
               member of the profession and practicing the specialties practiced by Defendants,
               and the employees, servants and agents of Defendants, taking into account
               advances in the profession;

            b. Negligent failure to follow the standards of care and skill of an average hospital



                                                 5
                                                                                        Page 10 of 246
       PAS-L-002011-20 07/08/2020 12:39:52 PM Pg 6 of 20 Trans ID: LCV20201183435
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 13 of 248 PageID: 22




                undertaking the care of patients such as Plaintiff, taking into account advances in
                the profession;

            c. Negligent failure to diagnose the conditions and medical problems of Plaintiff,
                and the subsequent complications;

            d. Negligent failure to treat or adequately treat the conditions and medical problems
                of Plaintiff, and the subsequent complications;

            e. Negligent failure to prescribe or administer or have administered, or prescribed or
                administered or have administered in the proper amounts, certain medications or
                medicines to Plaintiff that could have prevented Plaintiff's medical conditions and
                subsequent complications;

            f. Negligent failure to respond to certain symptoms of Plaintiff, or negligently failed
                to use diligence in any responses made, in the care and treatment of Plaintiff, and
                subsequent complications; and

            g. Negligently failed to diagnose and treat Plaintiff’s musculoskeletal disorders.

 25.    As a direct and proximate result of the negligence and carelessness of Defendants, their

        agents, servants and/or employees, as hereinabove set forth, Plaintiff has been caused to

        suffer and continues to suffer severe, painful and permanent injuries and emotional

        damages, caused him great pain and long suffering, and has left him with permanent

        disabilities that has incapacitated him and caused him great pain and suffering. Plaintiff

        has been and will be in the future, caused to expend great sums of money for medical,

        hospital and psychological care and treatment.


 WHEREFORE, Plaintiff Anthony Gaetano demands Judgment against these Defendants on the

 First Count herein, jointly and severally, for all of his damages or, in the alternative, in the

 amount of their respective damages together with interest and costs of suit.




                                                 6
                                                                                       Page 11 of 246
       PAS-L-002011-20 07/08/2020 12:39:52 PM Pg 7 of 20 Trans ID: LCV20201183435
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 14 of 248 PageID: 23




                                        SECOND COUNT

                               STRICT PRODUCTS LIABILITY
                                   (As to Defendant Gilead)

 26.    Plaintiff Anthony Gaetano repeats each and every allegation of the First Count herein and

        makes the same a part hereof.

 27.    At all times relevant herein, this Defendant was and is responsible for the production and

        sale of Truvada (the “Product”), an anti-retroviral medication used to treat HIV with the

        active ingredient tenofovir disoproxil fumarate (“TDF”), a formulation of tenofovir

        meant to make delivery of tenofovir to HIV infected cells possible through ingestion.

 28.    At all relevant times, Defendant designed, manufactured, tested, packaged, labeled,

        promoted, distributed and/or sold the Product, and Plaintiff Anthony Gaetano was a

        reasonably foreseeable or intended user or recipient of Defendant's Product. Defendant

        exercised significant control over the aforementioned design, manufacture, packaging, or

        labeling of the Product.

 29.    Defendant also produced and sold Viread, an antiretroviral also containing the active

        ingredient TDF.

 30.    The first TDF based drug, Viread, was approved for medical use by the FDA on October

        26, 2001.

 31.    The Product (a combination of TDF and an inactive ingredient) was approved by the

        FDA on August 2, 2004.

 32.    Before the introduction of TDF based antiretroviral medications in 2001, Defendant knew

        that two of its substantially similar antiretroviral medications caused significant kidney



                                                7
                                                                                      Page 12 of 246
       PAS-L-002011-20 07/08/2020 12:39:52 PM Pg 8 of 20 Trans ID: LCV20201183435
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 15 of 248 PageID: 24




        and bone damage.

 33.    Before the introduction of TDF based antiretroviral medications into the market,

        Defendant’s preclinical trials of TDF showed exposure to TDF caused bone toxicity

        through the softening of the bone (osteomalacia) and reduced bone mineral density.

 34.    By 2004 and the introduction of the Product into the market, Defendant had years’ worth

        of evidence that TDF medications were causing liver and bone damage.

 35.    By this time, medical literature identified multiple cases of renal dysfunction and failure

        even in those with no preexisting kidney issues.

 36.    By this time, Defendant’s long-term clinical data also showed that TDF was damaging

        bones, with 48-week data showing decreases in bone mineral density, as well as

        significant increases in biochemical markers signaling bone turnover in patients taking

        Viread compared to other HIV drugs. These studies recognized that osteomalacia was

        caused by renal dysfunction.

 37.    On March 14, 2002, the FDA sent Defendant Gilead a Warning Letter admonishing

        Defendant for its promotional activities that contained false and misleading statements in

        violation of the Federal Food, Drug, and Cosmetic Act. The FDA stated that Defendant

        unlawfully minimized Viread’s risks, including with respect to kidney toxicity, known as

        nephrotoxicity, and overstated its efficacy.

 38.    During a June 2003 sales force training, Defendant told representatives to respond to

        anticipated concerns about TDF’s nephrotoxicity by downplaying the fact that the many

        patients taking TDF drugs had experienced adverse effects.




                                                 8
                                                                                       Page 13 of 246
       PAS-L-002011-20 07/08/2020 12:39:52 PM Pg 9 of 20 Trans ID: LCV20201183435
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 16 of 248 PageID: 25




 39.    In 2004, Defendant took out a print advertisement in the November 2004 edition of The

        Advocate, the oldest and largest LBGT magazine in the US that failed to warn of that the

        suffering of kidney and bone damage by TDF patients was not limited to at-risk patients.

 40.    From October 2001 through May 20, 2007, Defendant's labelling of TDF medications in

        the US failed to warn doctors that all patients should be monitored for adverse kidney

        effects, only recommending patients who were at risk of adverse kidney events be

        monitored although Defendant knew through its studies that otherwise healthy

        individuals were experiencing adverse kidney events.

 41.    From August 2004 through May 20, 2007, Defendant's labelling of the Product failed to

        include the same warning as described in Paragraph 40 of this Complaint.

 42.    Defendant also failed to include any warning about the need to monitor bone defects by

        consumers of TDF medication until October 14, 2003, and after then only in patients who

        were at risk for renal and bone adverse effects, failing to warn doctors that patients

        should be universally monitored.

 43.    Defendant failed to warn for universal monitoring of the kidneys although their label

        states that the dosing interval must be adjusted in those patients exhibiting high creatinine

        clearance (a biochemical marker indicating kidney damage).

 44.    On May 21, 2007, Defendant’s labels for some of their TDF medication began

        recommending an initial test of creatinine clearance and monitoring as clinically

        appropriate during therapy although Defendant knew universal monitoring should be

        done.

 45.    This initial creatinine clearance test and monitoring was not placed on the Product’s


                                                 9
                                                                                         Page 14 of 246
       PAS-L-002011-20 07/08/2020 12:39:52 PM Pg 10 of 20 Trans ID: LCV20201183435
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 17 of 248 PageID: 26




         warning labels until 2008.

 46.     This label remained inadequate because creatinine clearance is an insensitive marker of

         kidney damage and is typically present when TDF induced injury is irreversible.

         Defendant should have warned doctors to check for serum phosphorus and/or urine

         glucose, more effective markers of kidney damage.

 47.     Defendant only added additional recommendations to monitor other biochemical markers

         for kidney damage in Truvada in 2018.

 48.     All these recommendations were further inadequate as they failed to instruct how often

         these biochemical markers should be checked. “Clinically appropriate” could mean that

         the patients are experiencing irreversible damage before they are properly monitored.

 49.     All of these recommendations were also inadequate as they failed to disclose that kidney

         and bone damage could occur in those with no pre-existing bone and kidney conditions.

         All of these inadequacies were also present in patient package inserts for the Product.

 50.     During this time, Defendant provided stronger monitoring recommendations and

         warnings to physicians and patients in the European Union.

 51.     Unlike US warnings, that at its height only recommended the monitoring of a single

         kidney health marker for unspecific intervals, Defendant recommended to all EU doctors

         a consistent monitoring schedule of multiple kidney health markers. Defendant Gilead

         also recommended that these health markers be monitored every four weeks. Gilead also

         recommended that these health markers should be monitored even in those without pre-

         existing kidney or bone problems.




                                                 10
                                                                                         Page 15 of 246
       PAS-L-002011-20 07/08/2020 12:39:52 PM Pg 11 of 20 Trans ID: LCV20201183435
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 18 of 248 PageID: 27




 52.     Specifically, Defendant Gilead’s 2005 labels for the Product in the EU recommended

         “careful monitoring of renal function (serum creatinine and serum phosphate) … before

         taking Truvada, every four weeks during the first year, and then every three months. In

         patients with a history of renal function or in patients who are at risk for renal

         dysfunction, consideration should be given to more frequent monitoring of renal

         function.”

 53.     In 2006, Defendant released a “Dear Doctor” letter to physicians in the EU stressing the

         importance of a frequent and consistent monitoring schedule of kidney function. No such

         warning was issued in the US.

 54.     Defendant's labels for TDF based products in the EU also instruct physicians to increase

         monitoring when patients show an increase, but not clinically significant increase, in

         biochemical markers for kidney damage.

 55.     During this time, Defendant published studies that used suspiciously convenient

         methodologies to understate the seriousness of renal events caused by TDF medications.

 56.     According to a 2009 shareholder lawsuit, a former employee alleged that Defendant

         Gilead was trying to overcome the perception in the medical community that Viread

         would likely cause kidney damage.

 57.     On March 26, 2010, the FDA issued a third Warning Letter to Defendant regarding

         Defendant’s direct-to-consumer print advertising for the Product, stating that the

         advertisements were false and misleading because they unlawfully minimized the risks

         associated with the drug.

 58.     Before the introduction of TDF medications in the market, Defendant also discovered a


                                                11
                                                                                      Page 16 of 246
       PAS-L-002011-20 07/08/2020 12:39:52 PM Pg 12 of 20 Trans ID: LCV20201183435
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 19 of 248 PageID: 28




         safer composite of tenofovir known as tenofovir alafenamide fumarate (“TAF”) that

         could be taken in doses up to 10 times smaller than TDF, substantially reducing the

         toxicity of the antiretroviral.

 59.     In 2001, Defendant’s 10-K highlighted the benefit of TAF as introducing the same

         amount of active ingredient into cells but with higher efficiency.

 60.     In 2002, Defendant’s researchers presented data on TAF at a conference on retroviruses.

         They explained that the goal with TAF was to deliver tenofovir to the cells in lower doses

         for greater results and fewer side effects.

 61.     In the same year, Defendant stated in its 10-K that operations would suffer if Viread did

         not maintain or increase its market acceptance (and made similar statements in their 2003

         and 2004 10-k filings).

 62.     In 2004, despite the overwhelmingly positive results from clinical trials, Defendant

         abruptly discontinued the phasing in of TAF antiretroviral medications shortly after

         introducing the Product into the market.

 63.     In 2004, Defendant Gilead stated that it chose to discontinue its TAF research because it

         was too similar to TDF, despite Defendant’s research before and after that evidences TAF

         to be clearly superior to TDF.

 64.     During the time between the introduction of TDF drugs onto the market and the first sale

         of TAF drugs, Defendant began a marketing campaign that sought to underplay the risks

         associated with TDF drugs, calling it a “miracle drug” with “no toxicities,” and failing to

         recommend the monitoring of patients that prevented doctors from being able to detect

         kidney and bone damage in a timely manner.


                                                    12
                                                                                        Page 17 of 246
       PAS-L-002011-20 07/08/2020 12:39:52 PM Pg 13 of 20 Trans ID: LCV20201183435
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 20 of 248 PageID: 29




 65.     It was only in October 2010 that Defendant renewed its development of TAF as an

         antiretroviral medication.

 66.     In 2010, Defendant constantly referred to TAF as a “new” development in antiretroviral

         medication.

 67.     An October 2010 earnings call indicates that Defendant’s Chief Scientific Officer knew

         TAF’s superior safety over TDF and was positioning it as a replacement for the now-

         declining use of Viread and other TDF medications.

 68.     In a statement to the Capital Markets Healthcare Conference on March 2, 2011,

         Defendant’s President and Chief Operating Officer explicitly states that Defendant

         stopped research into TAF due to its fear that TAF would hurt the Product’s competition

         against Epzicom for market dominance.

 69.     Throughout the first half of the past decade, Defendant constantly touted TAF’s benefits

         over TDF.

 70.     Defendant completed research and had its TAF medication approved by the FDA (brand

         name “Genvoya”) on November 5, 2015, which could have been conceivably approved in

         2009 had Gilead not purposefully paused their research and development of TAF in 2004.

 71.     The timing of the release of TAF drugs was meant to have doctors switch brand name

         TDF patients to TAF medications before generic TDF was introduced in 2020.


                                       DESIGN DEFECT

 72.     Defendant knew or should have known that the Product created or caused unreasonable

         harm and dangerous side effects, including but not limited to kidney and bone density



                                                 13
                                                                                     Page 18 of 246
       PAS-L-002011-20 07/08/2020 12:39:52 PM Pg 14 of 20 Trans ID: LCV20201183435
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 21 of 248 PageID: 30




         damage, as well as other severe and permanent health consequences, and Defendant

         failed to warn of those risks.

 73.     The Product's risks outweighed its utility; alternatively, a practical and feasible, safer,

         alternative design existed that would have reduced or prevented the harm caused to the

         Plaintiff.

 74.     The Product prescribed to Plaintiff Anthony Gaetano was being used in a manner

         reasonably anticipated at the time it was prescribed to him.

 75.     The Product's design is defective because TDF in high concentrations causes

         nephrotoxicity and loss of bone density, adversely affecting patient health.


                                          FAILURE TO WARN

 76.     Defendant failed to warn of the above-listed risks. TDF in the Product has defects that

         create a high risk of unreasonable and dangerous injuries and side effects with severe,

         permanent adverse health consequences.

 77.     During the entire history of the sale of TDF products, Defendant had the ability, through

         past and current regulations, to change the labeling of TDF products to warn of all of the

         associated risks and strengthen their recommendations to proper standards.

 78.     The warnings, if any, provided to Plaintiff Anthony Gaetano and his healthcare providers

         in their capacities as learned intermediaries were improper because they did not reflect

         the full extent of the potential health complications associated with using the Product.

 79.     Had Defendant adequately warned Plaintiff Anthony Gaetano and/or his healthcare

         providers of the risks associated with the Product, the healthcare providers acting as


                                                  14
                                                                                         Page 19 of 246
    PAS-L-002011-20 07/08/2020 12:39:52 PM Pg 15 of 20 Trans ID: LCV20201183435
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 22 of 248 PageID: 31




                                                                         Page 20 of 246
    PAS-L-002011-20 07/08/2020 12:39:52 PM Pg 16 of 20 Trans ID: LCV20201183435
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 23 of 248 PageID: 32




                                                                         Page 21 of 246
     PAS-L-002011-20 07/08/2020 12:39:52 PM Pg 17 of 20 Trans ID: LCV20201183435
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 24 of 248 PageID: 33




                   DEMAND FOR DISCOVERY OF INSURANCE COVERAGE

        Pursuant to R. 4:10-2(b) demand is hereby made that you disclose to the undersigned

 whether there are any insurance agreements or policies under which any person or firm carrying

 on an insurance business may be liable to satisfy part or all of a judgment which may be entered

 in this action or to indemnify or reimburse for payments made to satisfy the judgment.

         Yes ( )     No ( )

 If the answer is “yes” state the type of each policy for which coverage exists:

         General Liability Yes ( ) No ( )

         Commercial           Yes ( ) No ( )

         Umbrella             Yes ( ) No ( )

         Excess               Yes ( ) No ( )

         Other                Yes ( ) No ( )

 If the answer is “yes” attach a copy of each policy or, in the alternative, state under oath or

 certification the following:

    a) Policy Number;
    b) Name and address of insuror or issuer;
    c) inception and expiration dates;
    d) names and addresses of all persons insured thereunder;
    e) personal injury limits;
    f) property damage limits;
    g) medical payment limits;
    h) name and address of person who has custody and possession thereof; and
    i) where and when each policy or agreement can be inspected and copied.




                                                  17
                                                                                           Page 22 of 246
      PAS-L-002011-20 07/08/2020 12:39:52 PM Pg 18 of 20 Trans ID: LCV20201183435
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 25 of 248 PageID: 34




                      DEMAND FOR PRODUCTION OF DOCUMENTS

 PLEASE TAKE NOTICE, that pursuant to Rule 4:18-1, we hereby request that you produce
 true and complete copies within thirty (30) days of service of this request, at the Law Offices of
 Landel, Bernstein & Kalosieh, LLP, 279 Franklin Avenue, Wyckoff, New Jersey 07481, or at
 such other location as is reasonable and convenient for the parties, for examination and for
 copying, the documents, records and/or tangible things listed below that are within your actual or
 constructive possession, custody or control.

                                   DOCUMENTS TO PRODUCE

 1.     Any and all statements made prior to the date of filing of Plaintiff’s Complaint, by any
        party to this lawsuit, their agents, representatives or employees, whether written or oral,
        made during Plaintiff’s course of treatment.

 2.     Any and all statements made prior to the date of filing of Plaintiff’s Complaint, by any
        witness to the events described in any and all of the paragraphs of the cause of action.

 3.     Any and all statements made prior to the date of filing of Plaintiff’s Complaint, by any
        person other than witnesses or parties which relates or refer in any way to the cause of
        action.

 4.     Any and all written reports rendered by Defendants’ proposed expert witnesses,
        including, but not limited to any medical expert witnesses intended or not intended to be
        called at the time of trial.

 5.     Any and all books, treaties, commentaries, reports, statutes, codes, ordinances, rules,
        regulations or other published documents referred to and utilized by or relied upon by any
        expert witness whom Defendants intend to call at trial.

 6.     Any and all scientific materials including but not limited to medical studies, public
        journal articles, clinical trials, phased research and development reports and any other
        data-driven materials prepared or utilized by, referred to or relied upon by any expert
        witnesses whom Defendants intend to call at time of trial..



                                                 18
                                                                                        Page 23 of 246
       PAS-L-002011-20 07/08/2020 12:39:52 PM Pg 19 of 20 Trans ID: LCV20201183435
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 26 of 248 PageID: 35




 7.      A copy of any and all written reports or summaries of oral reports, as well as a copy of
         the curriculum vitae, of any and all experts that have been supplied to Defendants’
         attorneys, whose testimony will be offered at the time of trial in the above captioned
         matter.

 8.      All liability expert reports. If oral, supply a complete summary of same.

 9.      Copies of any statements obtained from any witnesses, any party to this action, any
         parties investigators, agents, servants or employees; If oral, supply a complete summary
         of same.

 10.     Copies of any and all medical reports and bills from treating, consulting or examining
         physicians of Plaintiff.

 11.     Copies of any and all diagnostic tests, reports, summaries and bills relating to Plaintiff.

 12.     Copies of all interrogatories and responses thereto propounded or received by or from
         any other party with regard to this action.

 13.     Provide a detailed summary and/or any supporting documents relating to or
         demonstrating any and all insurance policies which would cover any and all claims
         referred to in the Plaintiffs’ complaint.

 14.     Attach hereto copies of any and all documents demonstrating any and all benefits
         received of any kind and from any source to which Defendants were entitled as a result of
         the incident which is the subject of this lawsuit together with a summary or documents
         indicating benefits paid to date.

 15.     A complete copy of each and every document which Defendants may rely upon at the
         time of trial.

 16.     A complete copy of any and all expert reports in the possession of the Defendants
         regarding the subject matter of this lawsuit.

 17.     All documents not produced pursuant to the above that the Defendants may refer to at the
         time of trial, mark for identification or offer into evidence during the trial of this matter.



                                                     19
                                                                                             Page 24 of 246
    PAS-L-002011-20 07/08/2020 12:39:52 PM Pg 20 of 20 Trans ID: LCV20201183435
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 27 of 248 PageID: 36




                                                                         Page 25 of 246
        PAS-L-002011-20 07/08/2020 12:39:52 PM Pg 1 of 1 Trans ID: LCV20201183435
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 28 of 248 PageID: 37




                        Civil Case Information Statement
 Case Details: PASSAIC | Civil Part Docket# L-002011-20

Case Caption: GAETANO ANTHONY VS GILEAD                          Case Type: MEDICAL MALPRACTICE
SCIENCES, INC .                                                  Document Type: Complaint with Jury Demand
Case Initiation Date: 07/08/2020                                 Jury Demand: YES - 6 JURORS
Attorney Name: ARI GREENE BERNSTEIN                              Is this a professional malpractice case? YES
Firm Name: LANDEL BERNSTEIN & KALOSIEH, LLP                      Related cases pending: NO
Address: 279 FRANKLIN AVE                                        If yes, list docket numbers:
WYCKOFF NJ 07481                                                 Do you anticipate adding any parties (arising out of same
Phone: 2018916955                                                transaction or occurrence)? NO
Name of Party: PLAINTIFF : Gaetano, Anthony
Name of Defendant’s Primary Insurance Company                    Are sexual abuse claims alleged by: Anthony Gaetano? NO

(if known): Unknown



      THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE
                      CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




 Do parties have a current, past, or recurrent relationship? YES
 If yes, is that relationship: Other(explain) Doctor/Patient
 Does the statute governing this case provide for payment of fees by the losing party? NO
 Use this space to alert the court to any special case characteristics that may warrant individual
 management or accelerated disposition:


 Do you or your client need any disability accommodations? NO
        If yes, please identify the requested accommodation:


 Will an interpreter be needed? NO
          If yes, for what language:


 Please check off each applicable category: Putative Class Action? NO Title 59? NO Consumer Fraud? NO




 I certify that confidential personal identifiers have been redacted from documents now submitted to the
 court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

 07/08/2020                                                                                /s/ ARI GREENE BERNSTEIN
 Dated                                                                                                        Signed




                                                                                                                Page 26 of 246
      PAS-L-002011-20 08/03/2020 11:25:57 AM Pg 1 of 14 Trans ID: LCV20201336431
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 29 of 248 PageID: 38



 FARKAS & DONOHUE, LLC
 Evelyn C. Farkas, Esq - 024851985
 25 A Hanover Road, Suite 320
 Florham Park, New Jersey 07932
 (973) 443-9400
 (973) 443-4330 Fax
 Attorneys for Defendants, St. Joseph’s Health, Inc. and Dr. Michael Lange
 Our File No.: STJI-419
                                             : SUPERIOR COURT OF NEW JERSEY
 ANTHONY GAETANO,                            : LAW DIVISION – PASSAIC COUNTY
                                             : DOCKET NO. L-2011-20
                      Plaintiff,             :
                                             :               Civil Action
                                             :
 vs.                                         : ANSWER TO THE COMPLAINT,
                                             : CROSSCLAIMS, ANSWER TO
 GILEAD SCIENCES, INC., ST. JOSEPH’S: CROSSCLAIMS, DEMAND FOR
 HEALTH, INC., MICHAEL LANGE,                : ANSWERS TO INTERROGATORIES
 JOHN DOES, et. al.                          : AND JURY DEMAND
                                             :
                      Defendants.            :

        Defendants, Michael Lange, M.D. (specializing in Infectious Disease) and St. Joseph’s

 Health, Inc., by and through their attorneys Farkas & Donohue, LLC, by way of Answer to the

 Complaint say:

                             THE PARTIES AND JURISDICTION

        1.      These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph one.

        2.      These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph two.

        3.      These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph three.

        4.      These Defendants admit upon information defendant, St. Joseph’s Health, Inc. is

 a medical service provider registered as a nonprofit corporation with the New Jersey Secretary



                                                  1

                                                                                     Page 27 of 246
      PAS-L-002011-20 08/03/2020 11:25:57 AM Pg 2 of 14 Trans ID: LCV20201336431
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 30 of 248 PageID: 39



 of State. These Defendants lack sufficient knowledge or information to form a belief as to the

 truth of the remaining allegations contained in paragraph four.

        5.      These Defendants admit Dr. Michael Lange specializes in Infectious Disease as

 contained in paragraph five. No knowledge as to remaining.

        6.      These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph six.

        7.      These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph seven.

                     TOLLING OF THE STATUTE OF LIMITATIONS

        8.      These Defendants will rely generally on medical records for nature and dates of

 treatment. These Defendants lack sufficient knowledge or information to form a belief as to the

 truth of the remaining allegations contained in paragraph eight.

        9.      These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph nine.

        10.     These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph ten.

        11.     These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph eleven.

        12.     These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph twelve.

        13.     These Defendants deny the allegations contained in paragraph thirteen.




                                                  2

                                                                                     Page 28 of 246
     PAS-L-002011-20 08/03/2020 11:25:57 AM Pg 3 of 14 Trans ID: LCV20201336431
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 31 of 248 PageID: 40



                                         FIRST COUNT

        14.     These Defendants will rely generally on medical records for nature and dates of

 treatment. These Defendants lack sufficient knowledge or information to form a belief as to the

 truth of the remaining allegations contained in paragraph fourteen.

        15.     These Defendants will rely generally on medical records for nature and dates of

 treatment. These Defendants lack sufficient knowledge or information to form a belief as to the

 truth of the remaining allegations contained in paragraph fifteen.

        16.     These Defendants will rely generally on medical records for nature and dates of

 treatment. These Defendants lack sufficient knowledge or information to form a belief as to the

 truth of the remaining allegations contained in paragraph sixteen.

        17.     These Defendants will rely generally on medical records for nature and dates of

 treatment. These Defendants lack sufficient knowledge or information to form a belief as to the

 truth of the remaining allegations contained in paragraph seventeen.

        18.     These Defendants deny the allegations contained in paragraph eighteen.

        19.     These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph nineteen.

        20.     These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph twenty.

        21.     These Defendants deny the allegations as to them. These Defendants lack

 sufficient knowledge or information to form a belief as to the truth of the remaining allegations

 contained in paragraph twenty-one.

        22.     These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph twenty-two.



                                                 3

                                                                                       Page 29 of 246
      PAS-L-002011-20 08/03/2020 11:25:57 AM Pg 4 of 14 Trans ID: LCV20201336431
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 32 of 248 PageID: 41



           23.   These Defendants deny the allegations as to them. These Defendants lack

 sufficient knowledge or information to form a belief as to the truth of the remaining allegations

 contained in paragraph twenty-three.

           24.   These Defendants deny the allegations as to them. These Defendants lack

 sufficient knowledge or information to form a belief as to the truth of the remaining allegations

 contained in paragraph twenty-four.

           25.   These Defendants deny the allegations as to them. These Defendants lack

 sufficient knowledge or information to form a belief as to the truth of the remaining allegations

 contained in paragraph twenty-five.

           WHEREFORE, these Defendants demand judgment in their favor, dismissal of the

 Complaint with prejudice, costs, fees and such other and further relief as the Court deems just.

                                        SECOND COUNT

           26.   These Defendants repeat and reiterate their responses to each and every

 allegation contained in the previous portions of this Answer, inclusive, as if set forth at length

 herein.

           27.   These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph twenty-seven.

           28.   These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph twenty-eight.

           29.   These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph twenty-nine.

           30.   These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph thirty.



                                                  4

                                                                                        Page 30 of 246
      PAS-L-002011-20 08/03/2020 11:25:57 AM Pg 5 of 14 Trans ID: LCV20201336431
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 33 of 248 PageID: 42



        31.     These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph thirty-one.

        32.     These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph thirty-two.

        33.     These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph thirty-three.

        34.     These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph thirty-four.

        35.     These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph thirty-five.

        36.     These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph thirty-six.

        37.     These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph thirty-seven.

        38.     These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph thirty-eight.

        39.     These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph thirty-nine.

        40.     These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph forty.

        41.     These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph forty-one.

        42.     These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph forty-two.

                                                  5

                                                                                     Page 31 of 246
      PAS-L-002011-20 08/03/2020 11:25:57 AM Pg 6 of 14 Trans ID: LCV20201336431
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 34 of 248 PageID: 43



        43.     These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph forty-three.

        44.     These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph forty-four.

        45.     These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph forty-five.

        46.     These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph forty-six.

        47.     These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph forty-seven.

        48.     These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph forty-eight.

        49.     These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph forty-nine.

        50.     These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph fifty.

        51.     These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph fifty-one.

        52.     These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph fifty-two.

        53.     These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph fifty-three.

        54.     These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph fifty-four.

                                                  6

                                                                                     Page 32 of 246
      PAS-L-002011-20 08/03/2020 11:25:57 AM Pg 7 of 14 Trans ID: LCV20201336431
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 35 of 248 PageID: 44



        55.     These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph fifty-five.

        56.     These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph fifty-six.

        57.     These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph fifty-seven.

        58.     These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph fifty-eight.

        59.     These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph fifty-nine.

        60.     These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph sixty.

        61.     These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph sixty-one.

        62.     These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph sixty-two.

        63.     These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph sixty-three.

        64.     These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph sixty-four.

        65.     These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph sixty-five.

        66.     These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph sixty-six.

                                                  7

                                                                                     Page 33 of 246
      PAS-L-002011-20 08/03/2020 11:25:57 AM Pg 8 of 14 Trans ID: LCV20201336431
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 36 of 248 PageID: 45




        67.     These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph sixty-seven.

        68.     These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph sixty-eight.

        69.     These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph sixty-nine.

        70.     These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph seventy.

        71.     These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph seventy-one.

                                        DESIGN DEFECT

        72.     These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph seventy-two.

        73.     These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph seventy-three.

        74.     These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph seventy-four.

        75.     These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph seventy-five.

                                      FAILURE TO WARN

        76.     These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph seventy-six.




                                                  8

                                                                                     Page 34 of 246
     PAS-L-002011-20 08/03/2020 11:25:57 AM Pg 9 of 14 Trans ID: LCV20201336431
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 37 of 248 PageID: 46



           77.   These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph seventy-seven.

           78.   These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph seventy-eight.

           79.   These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph seventy-nine.

           80.   These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph eighty.

           WHEREFORE, these Defendants demand judgment in their favor, dismissal of the

 Complaint with prejudice, costs, fees and such other and further relief as the Court deems just.

                                         FIFTH COUNT

           1.    These Defendants repeat and reiterate their responses to each and every

 allegation contained in the previous portions of this Answer, inclusive, as if set forth at length

 herein.

           2.    These Defendants deny the allegations contained in paragraph two of the Fifth

 Count.

           WHEREFORE, these Defendants demand judgment in their favor, dismissal of the

 Complaint with prejudice, costs, fees and such other and further relief as the Court deems just.

                                         SIXTH COUNT

           1.    These Defendants repeat and reiterate their responses to each and every

 allegation contained in the previous portions of this Answer, inclusive, as if set forth at length

 herein.

           2.    These Defendants deny the allegations contained in paragraph two of the Sixth

 Count.

                                                 9

                                                                                        Page 35 of 246
     PAS-L-002011-20 08/03/2020 11:25:57 AM Pg 10 of 14 Trans ID: LCV20201336431
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 38 of 248 PageID: 47




           WHEREFORE, these Defendants demand judgment in their favor, dismissal of the

 Complaint with prejudice, costs, fees and such other and further relief as the Court deems just.

                                        SEVENTH COUNT

           1.     These Defendants repeat and reiterate their responses to each and every

 allegation contained in the previous portions of this Answer, inclusive, as if set forth at length

 herein.

           2.     These Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations contained in paragraph two of the Seventh Count.

           3.     These Defendants deny the allegations contained in paragraph three of the

 Seventh Count.

           WHEREFORE, these Defendants demand judgment in their favor, dismissal of the

 Complaint with prejudice, costs, fees and such other and further relief as the Court deems just

                                  FIRST SEPARATE DEFENSE

           No agency relationship existed between these Defendants and any other party to this

 proceeding as a result of which these Defendants have vicarious liability by reason of the act of

 any other party.

                                 SECOND SEPARATE DEFENSE

           These Defendants incorporate herein all defenses by the original Defendants and any co-

 Defendants presently or hereafter filed.

                                  THIRD SEPARATE DEFENSE

           Any injury or damage that the Plaintiffs may have sustained was due to the act or acts of

 a third person or persons over whom these Defendants had no control.




                                                  10

                                                                                         Page 36 of 246
     PAS-L-002011-20 08/03/2020 11:25:57 AM Pg 11 of 14 Trans ID: LCV20201336431
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 39 of 248 PageID: 48



                                 FOURTH SEPARATE DEFENSE

         These Defendants violated no duty to Plaintiffs or any other party during the time

 referred to in the Complaint.

                                  FIFTH SEPARATE DEFENSE

         The injuries and damages alleged by Plaintiffs were not proximately caused by the acts

 or omissions of these Defendants.

                                  SIXTH SEPARATE DEFENSE

         These Defendants are entitled to a credit for any expenses by insurance or other third

 parties which are claimed as damages by Plaintiffs, pursuant to N.J.S.A. 2A: 15-97.

                                 SEVENTH SEPARATE DEFENSE

         Plaintiffs’ claims against these Defendants are barred by its comparative negligence

 pursuant to N.J.S.A. 2A:15-5.1.

                                 EIGHTH SEPARATE DEFENSE

         Plaintiffs instituted this proceeding knowing that they had no reasonable, factual or legal

 basis therefore and in willful and reckless disregard to such knowledge. Such action constitutes

 a misuse of the Court and its processes and an illegal and tortuously outrageous harassment of

 claims against these Defendants are barred and renders Plaintiffs liable for attorney’s fees and

 costs of suit.

                                  NINTH SEPARATE DEFENSE

         Plaintiffs fail to state a cause upon which relief can be granted.

                                  TENTH SEPARATE DEFENSE

         Plaintiffs were comparatively negligent with negligence reduces or bars any recovery by

 the Plaintiff as set forth in N.J.S.A. 2A:15-5.1, et seq.



                                                  11

                                                                                         Page 37 of 246
     PAS-L-002011-20 08/03/2020 11:25:57 AM Pg 12 of 14 Trans ID: LCV20201336431
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 40 of 248 PageID: 49



                                  ELEVENTH SEPARATE DEFENSE

            Service of process upon claims against these Defendants was deficient.

                                  TWELFTH SEPARATE DEFENSE

            Personal Jurisdiction over these Defendants is lacking.

                                 THIRTEENTH SEPARATE DEFENSE

            There is no Jurisdiction over the subject matter of this action.

                                  FOURTEEN SEPARATE DEFENSE

            As St. Joseph's Regional Hospital and Medical Center, Inc./ St. Joseph’s Health Inc. is a

 non-profit hospital corporation, this Defendant plead limitation of liability and immunity as

 afforded to it pursuant to the provisions of N.J.S.A. 2a: 53a – 7&8.

                                  FIFTEENTH SEPARATE DEFENSE

            Venue has not been laid in accordance with R. 4:3-2.

                            DEMAND FOR STATEMENT OF DAMAGES

            Pursuant to Rule 4:5-2, these Defendants demand that within five (5) days of service

 hereof, Plaintiffs serve upon the undersigned a written statement of the amount of damages

 claimed in each Count of the Complaint.

                       DEMAND FOR ANSWERS TO INTERROGATORIES

            These Defendants hereby demand that Plaintiffs furnish answers to Uniform

 Interrogatories set forth in the Appendix to the New Jersey Court Rules within the time set forth

 therein.

               DEMAND FOR AFFIDAVIT OF MERIT AND EXPERT REPORTS

            Please take notice that pursuant to N.J.S.A. 2 A: 53:A- 27 and Rule 4:10 – 2(d) (1),

 these Defendants hereby demands that within sixty (60) days following the date of this Answer,



                                                      12

                                                                                          Page 38 of 246
     PAS-L-002011-20 08/03/2020 11:25:57 AM Pg 13 of 14 Trans ID: LCV20201336431
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 41 of 248 PageID: 50



 Plaintiffs furnish a written report of an expert stating the substance of the facts and opinion to

 which said expert to testify with regard to Plaintiffs’ allegations directed toward these

 Defendants, otherwise these Defendants will seek relief as may be appropriate, including

 dismissal.

          CROSSCLAIM FOR INDEMNIFICATION AND/OR CONTRIBUTION

        While denying any responsibility for liability to the Plaintiffs, these Defendants

 crossclaim against all Defendants, presently or hereafter named, for indemnification and/or

 contribution pursuant to the New Jersey Joint Tortfeasor Contribution Law, N.J.S.A. 2A: 52A-1

 et seq.; the New Jersey Comparative Negligence Law, N.J.S.A. 2A: 15-5.1 et seq., and R. 4:7-

 5(b), for any sums which may be recovered by Plaintiffs against these Defendants on the basis

 that such liability as may be established, if any, is the responsibility of the other Defendant(s)

 joined herein.

       WHEREFORE, these Defendants demand judgment of indemnity and/or contribution

 against all Defendants joined herein.

                                ANSWER TO CROSSCLAIMS

        These Defendants deny all allegations set forth in any crossclaims filed by any

 defendant or third party defendant presently or hereafter named herein.

                  NOTICE OF ALLOCATION PURSUANT TO RULE 4:7-5(c)

        Pursuant to R. 4:7-5(c); Brodsky v. Grinnell Haulers, Inc., 181 N.J. 102 (2004); Young

 v. Latta, 123 N.J. 584 (1991) and Burt v. West Jersey Health Systems, 339 N.J. Super. 296

 (App. Div. 2001), you are hereby notified that if any defendant settles or is dismissed prior to

 trial, these Defendants will seek an allocation by the fact finder for the percentage of fault

 attributable to the settling and/or dismissed defendant. In support of the allocation, we will rely



                                                 13

                                                                                         Page 39 of 246
      PAS-L-002011-20 08/03/2020 11:25:57 AM Pg 14 of 14 Trans ID: LCV20201336431
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 42 of 248 PageID: 51



 upon the examination and cross-examination of any expert witness who may testify at the time

 of trial.

                                            JURY DEMAND

             These Defendants hereby demands a trial by jury on all issues.

                                DESIGNATION OF TRIAL COUNSEL

             Evelyn C. Farkas, Esq., is hereby designated as trial counsel, pursuant to Rule 4:25-4.

                                           CERTIFICATION

             I hereby certify that the within Answer to the Complaint of Defendants, St. Joseph’s

 Health, Inc. and Michael Lange, M.D., was served within the time period allowed by Rule 4:6

 and extensions hereof. To the best of my knowledge, information and belief, the matter in

 controversy is not the subject of any other pending or contemplated proceeding and there are no

 other potentially liable parties that should be joined to this action.

             I hereby certify that on August 3, 2020 a copy of the within Answer to the Complaint of

 these Defendants was forwarded for filing with the Deputy Clerk of Passaic County via regular

 mail and plaintiff’s counsel: Ari Bernstein, Esq., Landel, Bernstein & Kalosieh, LLP, 279

 Franklin Avenue, Wyckoff, New Jersey via e-mail.

                                           FARKAS & DONOHUE, LLC
                                           Attorneys for Defendants, St. Joseph’s Health, Inc. and
                                           Dr. Michael Lange

                                                   Evelyn C. Farkas, Esq. /s/

                                           By: ____________________________
                                                  Evelyn C. Farkas, Esq.

 Dated: August 3, 2020




                                                    14

                                                                                            Page 40 of 246
       PAS-L-002011-20 08/03/2020 11:25:57 AM Pg 1 of 1 Trans ID: LCV20201336431
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 43 of 248 PageID: 52




              FARKAS & DONOHUE, LLC
                                        -Counselors at Law-
                                    25A Hanover Road, Suite 320
                                  Florham Park, New Jersey 07932
                                            (973) 443-9400
                                          (973) 443-4330 Fax
                                Email: Office@FarkasandDonohue.com
                                    www.FarkasandDonohue.com
 EVELYN CADORIN FARKAS *                                                 * Certified By The Supreme
 DAVID C. DONOHUE # *                                                      Court of New Jersey as a
 ROBERT J. MORMILE **                                                      Certified Civil Trial Attorney
 BETH A. HARDY*                                                         ** Admitted in NJ & PA
 CHARLES E. MURRAY III +                                                 + Admitted in NJ & NY
 NANCY CROSTA LANDALE*                                                    # Admitted in NJ & AZ
 EILEEN M. KAVANAGH +                                                    Of Counsel
 JENNIFER SALFI GIANETTI 
 GUY M. MAGNUSSON 
 CHRISTINE M. JONES +
 G. WARREN BALDWIN II+
 SEAN D. MCMURTRY##


                                      August 3, 2020

 Via E-File

 Clerk,
 Passaic County Courthouse
 Paterson, New Jersey

        Re:     Gaetano v. St. Joseph’s Health, Inc., et. al.
        `       Docket No.: L-2011-20
                Our File No.: STJI-436

 Dear Sir/Madam:

         Enclosed herein for filing please find an Answer to Complaint on behalf of Defendants,
 St. Joseph’s Health, Inc. and Dr. Michael Lange. Kindly charge our account number 140984 the
 appropriate filing fee.

        Thank you for your anticipated cooperation.

                                      Very truly yours,

                                      Evelyn C. Farkas /s/

                                      Evelyn C. Farkas
 ECF:jc
 Enclosure
 cc:    Ari Bernstein, Esq.



                                                                                         Page 41 of 246
        PAS-L-002011-20 08/03/2020 11:25:58 AM Pg 1 of 2 Trans ID: LCV20201336431
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 44 of 248 PageID: 53




                        Civil Case Information Statement
 Case Details: PASSAIC | Civil Part Docket# L-002011-20

Case Caption: GAETANO ANTHONY VS GILEAD                          Case Type: MEDICAL MALPRACTICE
SCIENCES, INC.                                                   Document Type: Answer W/CrossClaim W/Jury Demand
Case Initiation Date: 07/08/2020                                 Jury Demand: YES - 6 JURORS
Attorney Name: EVELYN CADORIN FARKAS                             Is this a professional malpractice case? YES
Firm Name: FARKAS & DONOHUE, LLC                                 Related cases pending: NO
Address: 25A HANOVER RD SUITE 320                                If yes, list docket numbers:
FLORHAM PARK NJ 07932                                            Do you anticipate adding any parties (arising out of same
Phone: 9734439400                                                transaction or occurrence)? NO
Name of Party: DEFENDANT : ST. JOSEPH'S
HEALTH,INC.                                                      Are sexual abuse claims alleged by: ANTHONY GAETANO? NO

Name of Defendant’s Primary Insurance Company
(if known): None



      THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE
                      CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




 Do parties have a current, past, or recurrent relationship? NO
 If yes, is that relationship:
 Does the statute governing this case provide for payment of fees by the losing party? NO
 Use this space to alert the court to any special case characteristics that may warrant individual
 management or accelerated disposition:


 Do you or your client need any disability accommodations? NO
        If yes, please identify the requested accommodation:


 Will an interpreter be needed? NO
          If yes, for what language:


 Please check off each applicable category: Putative Class Action? NO Title 59? NO Consumer Fraud? NO




 I certify that confidential personal identifiers have been redacted from documents now submitted to the
 court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

 08/03/2020                                                                              /s/ EVELYN CADORIN FARKAS
 Dated                                                                                                       Signed




                                                                                                                Page 42 of 246
     PAS-L-002011-20 08/03/2020 11:25:58 AM Pg 2 of 2 Trans ID: LCV20201336431
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 45 of 248 PageID: 54




                                                                         Page 43 of 246
        PAS L 002011-20   10/15/2020   Pg 1 of 2 Trans ID: LCV20201944822
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 46 of 248 PageID: 55




                                                                       Page 44 of 246
        PAS L 002011-20   10/15/2020   Pg 2 of 2 Trans ID: LCV20201944822
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 47 of 248 PageID: 56




                                                                       Page 45 of 246
        PAS L 002011-20   12/21/2020   Pg 1 of 1 Trans ID: LCV20202374056
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 48 of 248 PageID: 57




                                                                       Page 46 of 246
       PAS-L-002011-20 01/13/2021 4:22:35 PM Pg 1 of 1 Trans ID: LCV202191021
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 49 of 248 PageID: 58




                                                                          Page 47 of 246
       PAS-L-002011-20 01/13/2021 4:22:35 PM Pg 1 of 1 Trans ID: LCV202191021
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 50 of 248 PageID: 59




                                                                          Page 48 of 246
       PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 1 of 3 Trans ID: LCV20201846220
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 51 of 248 PageID: 60




 SILLS CUMMIS & GROSS P.C.
 Beth S. Rose (NJ ID #028491987)
 R. Michael Riecken (NJ ID #211402016)
 One Riverfront Plaza
 Newark, New Jersey 07102
 Telephone: (973) 643-7000
 Facsimile: (973) 643-6500
 brose@sillscummis.com
 rriecken@sillscummis.com

 SIDLEY AUSTIN LLP
 Joshua E. Anderson (pro hac vice pending)
 Alycia A. Degen (pro hac vice pending)
 555 West Fifth Street, Suite 4000
 Los Angles, CA 90013
 Telephone: (213) 896-6000
 Facsimile: (213) 896-6600

 Attorneys for Defendant
 Gilead Sciences, Inc.


  ANTHONY GAETANO,                                SUPERIOR COURT OF NEW JERSEY
                                                  LAW DIVISION: PASSAIC COUNTY
                       Plaintiff,                    CASE NO. PAS-L-002011-20

                v.                                        CIVIL ACTION

  GILEAD SCIENCES, INC.; ST. JOSEPH’S              DEFENDANT GILEAD SCIENCES,
  HEALTH, INC.; MICHAEL LANGE; JOHN                 INC.’S NOTICE OF MOTION TO
  DOES 1-10 (fictitious names representing        DISMISS PLAINTIFF’S COMPLAINT
  unknown individuals); and/or JANE DOES 1-       FOR FAILURE TO STATE A CLAIM
  10 (fictitious names representing unknown
  individuals),

                       Defendants.


 TO:    Ari G. Bernstein, Esq.
        Landel, Bernstein & Kalosieh, LLP
        279 Franklin Avenue
        Wyckoff, New Jersey 07481
        Attorneys for Plaintiff
        Anthony Gaetano




                                              1                            Page 49 of 246
         PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 2 of 3 Trans ID: LCV20201846220
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 52 of 248 PageID: 61




         PLEASE TAKE NOTICE that on November 13, 2020, or as soon thereafter as counsel

 may be heard, the undersigned attorneys for Defendant Gilead Sciences, Inc. (“Gilead”) shall

 move before the Honorable Joseph S. Conte, J.S.C., Superior Court of New Jersey, Law

 Division, Passaic County, 77 Hamilton St., Paterson, NJ 07505 for an Order dismissing

 Plaintiff’s Complaint as to Gilead with prejudice for failure to state a claim pursuant to R. 4:6-

 2(e).

         PLEASE TAKE FURTHER NOTICE that in support of its motion, Gilead will rely upon

 the accompanying Certification of Beth S. Rose and the Brief submitted herewith.

         PLEASE TAKE FURTHER NOTICE that oral argument is requested if the motion is

 opposed and that a proposed form of order is attached.

         PLEASE TAKE FURTHER NOTICE that no trial date is currently scheduled.



                                               Respectfully submitted,

                                               s/ Beth S. Rose
                                               Beth S. Rose
                                               R. Michael Riecken
                                               SILLS CUMMIS & GROSS P.C.
                                               One Riverfront Plaza
                                               Newark, New Jersey 07102
                                               Phone: (973) 643-7000
                                               Facsimile: (973) 643-6500
                                               E-mail: brose@sillscummis.com
                                               E-mail: rriecken@sillscummis.com
                                               Attorneys for Defendant
                                               Gilead Sciences, Inc.


 Dated: October 16, 2020




                                                  2                                       Page 50 of 246
       PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 3 of 3 Trans ID: LCV20201846220
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 53 of 248 PageID: 62




                               CERTIFICATION OF SERVICE

        I hereby certify that on this 16th day of October, 2020, I caused a true and correct copy of

 Defendant Gilead’s Notice of Motion, Certification of Beth S. Rose, Brief, and proposed form of

 Order to be served on all counsel of record via the Court’s e-filing system within the time period

 allowed by the Rules of the Court.



                                              s/ Beth S. Rose
                                              Beth S. Rose


 Dated: October 16, 2020




                                                 3                                      Page 51 of 246
       PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 1 of 2 Trans ID: LCV20201846220
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 54 of 248 PageID: 63




 SILLS CUMMIS & GROSS P.C.
 Beth S. Rose (NJ ID #028491987)
 R. Michael Riecken (NJ ID #211402016)
 One Riverfront Plaza
 Newark, New Jersey 07102
 Telephone: (973) 643-7000
 Facsimile: (973) 643-6500
 brose@sillscummis.com
 rriecken@sillscummis.com

 SIDLEY AUSTIN LLP
 Joshua E. Anderson (pro hac vice pending)
 Alycia A. Degen (pro hac vice pending)
 555 West Fifth Street, Suite 4000
 Los Angles, CA 90013
 Telephone: (213) 896-6000
 Facsimile: (213) 896-6600

 Attorneys for Defendant
 Gilead Sciences, Inc.


 ANTHONY GAETANO,                                       SUPERIOR COURT OF NEW JERSEY
                                                        LAW DIVISION: PASSAIC COUNTY
                        Plaintiff,                         CASE NO. PAS-L-002011-20

                v.                                                  CIVIL ACTION

 GILEAD SCIENCES, INC.; ST. JOSEPH’S                    [PROPOSED] ORDER GRANTING
 HEALTH, INC.; MICHAEL LANGE; JOHN                      DEFENDANT GILEAD SCIENCES,
 DOES 1-10 (fictitious names representing               INC.’S MOTION TO DISMISS FOR
 unknown individuals); and/or JANE DOES 1-             FAILURE TO STATE A CLAIM WITH
 10 (fictitious names representing unknown                       PREJUDICE
 individuals),

                        Defendants.


        THIS MATTER having been brought by Sills Cummis & Gross P.C., counsel for

 Defendant Gilead Sciences, Inc. (“Gilead”), for an Order dismissing Plaintiff’s Complaint as to

 Gilead with prejudice for failure to state a claim pursuant to Rule 4:6-2(e), on notice to all




                                                                                          Page 52 of 246
       PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 2 of 2 Trans ID: LCV20201846220
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 55 of 248 PageID: 64




 counsel of record, and the Court having considered the submissions of the parties and having

 heard the arguments of counsel, and for good cause shown:

        IT IS on this ______ day of ________________________ 2020;

        ORDERED that Defendant Gilead’s motion to dismiss Plaintiff’s Complaint with

 prejudice as to Gilead pursuant to R. 4:6-2(e) is hereby GRANTED; and it is further

        ORDERED that Plaintiff’s Complaint as to Gilead is hereby dismissed with prejudice.




                                                    ____________________________________
                                                    HONORABLE JOSEPH S. CONTE, J.S.C.


 This motion was:

       Opposed

       Unopposed




                                                2

                                                                                       Page 53 of 246
       PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 1 of 3 Trans ID: LCV20201846220
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 56 of 248 PageID: 65




 SILLS CUMMIS & GROSS P.C.
 Beth S. Rose (NJ ID #028491987)
 R. Michael Riecken (NJ ID #211402016)
 One Riverfront Plaza
 Newark, New Jersey 07102
 Telephone: (973) 643-7000
 Facsimile: (973) 643-6500
 brose@sillscummis.com
 rriecken@sillscummis.com

 SIDLEY AUSTIN LLP
 Joshua E. Anderson (pro hac vice pending)
 Alycia A. Degen (pro hac vice pending)
 555 West Fifth Street, Suite 4000
 Los Angles, CA 90013
 Telephone: (213) 896-6000
 Facsimile: (213) 896-6600

 Attorneys for Defendant
 Gilead Sciences, Inc.


 ANTHONY GAETANO,                                      SUPERIOR COURT OF NEW JERSEY
                                                       LAW DIVISION: PASSAIC COUNTY
                        Plaintiff,                        CASE NO. PAS-L-002011-20

                v.                                                 CIVIL ACTION

 GILEAD SCIENCES, INC.; ST. JOSEPH’S                 CERTIFICATION OF BETH S. ROSE IN
 HEALTH, INC.; MICHAEL LANGE; JOHN                    SUPPORT OF DEFENDANT GILEAD
 DOES 1-10 (fictitious names representing               SCIENCES, INC.’S MOTION TO
 unknown individuals); and/or JANE DOES 1-            DISMISS PLAINTIFF’S COMPLAINT
 10 (fictitious names representing unknown            FOR FAILURE TO STATE A CLAIM
 individuals),

                        Defendants.


 BETH S. ROSE, of full age, hereby certifies as follows:

        1.      I am an attorney-at-law in the State of New Jersey and am a Member of the law

 firm of Sills Cummis & Gross P.C., counsel for Defendant Gilead Sciences, Inc. (“Gilead”). As

 such, I am responsible for the handling of the within matter, and I am fully familiar with the facts




                                                                                         Page 54 of 246
       PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 2 of 3 Trans ID: LCV20201846220
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 57 of 248 PageID: 66




 and circumstances set forth herein. I submit this Certification in support of Gilead’s Motion to

 Dismiss Plaintiff’s Complaint with prejudice as to Gilead for failure to state a claim pursuant to

 Rule 4:6-2(e).

        2.         Attached hereto as Exhibit A is a true and accurate copy of the unpublished

 decision captioned Desai v. Sorin CRM USA, Inc., No. 12-2995, 2013 WL 163298 (D.N.J. Jan.

 15, 2013).

        3.         Attached hereto as Exhibit B is a true and accurate copy of the unpublished

 decision captioned McGee v. Boehringer Ingelheim Pharms., Inc., No. 4:16-cv-2082, 2018 WL

 1399237 (N.D. Ala. Mar. 20, 2018).

        4.         Attached hereto as Exhibit C is a true and accurate copy of the unpublished

 decision captioned Epstein v. Gilead Sciences, Inc., No. 19-81474, 2020 WL 4333011 (S.D. Fla.

 July 27, 2020).

        5.         Attached hereto as Exhibit D is a true and accurate copy of the unpublished

 decision captioned Evans v. Gilead Sciences, Inc., No. 20-cv-00123, 2020 WL 5189995 (D.

 Haw. Aug. 31, 2020).

        6.         Attached hereto as Exhibit E is a true and accurate copy of the unpublished

 decision captioned Robinson v. Eli Lilly & Co., 5:17-cv-338, 2018 WL 4039703 (E.D. Ky. Aug.

 23, 2018).

        7.         Attached hereto as Exhibit F is a true and accurate copy of the unpublished

 decision captioned Drescher v. Bracco Diagnostics Inc., No. CV-19-00096, 2020 WL 1466296,

 (D. Ariz. Mar. 26, 2020).




                                                                                          Page 55 of 246
       PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 3 of 3 Trans ID: LCV20201846220
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 58 of 248 PageID: 67




        8.      Attached hereto as Exhibit G is a true and accurate copy of the unpublished

 decision captioned Boone v. Boehringer Ingelheim Pharms., Inc., SC 20200, 2020 WL 2121063,

 -- A.3d -- (Conn. May 4, 2020).

        9.      Attached hereto as Exhibit H is a true and accurate copy of the unpublished

 decision captioned Lyons v. Boehringer Ingelheim Pharms., Inc., No. 1:18-cv-04624, -- F.Supp.

 3d --, 2020 WL 5835125 (N.D. Ga. Sept. 29, 2020).

        10.     Attached hereto as Exhibit I is a true and accurate copy of the unpublished

 decision captioned Patton v. Forest Labs., Inc., No. 17-cv-922, 2018 U.S. Dist. LEXIS 160368

 (C.D. Cal. Sept. 19, 2018).

        11.     Attached hereto as Exhibit J is a true and accurate copy of the unpublished

 decision captioned Maze v. Bayer Healthcare Pharms., Inc., No. 4:18-cv-21, 2019 WL 1062387

 (E.D. Tenn. Mar. 6, 2019).

        12.     Attached hereto as Exhibit K is a true and accurate copy of the unpublished

 decision captioned Rossito v. Hoffman-La Roche Inc., A-1237-13T1, 2016 WL 3943335 (App.

 Div. July 22, 2016).

        I hereby certify that the foregoing statements made by me are true. I am aware that is any

 of the foregoing statements made by me are willfully false, I am subject to punishment.



                                                     s/ Beth S. Rose
                                                      BETH S. ROSE
 DATED: October 16, 2020




                                                                                       Page 56 of 246
     PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 1 of 114 Trans ID: LCV20201846220
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 59 of 248 PageID: 68




                            Exhibit A




                                                                          Page 57 of 246
            PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 2 of 114 Trans ID: LCV20201846220
  Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 60 of 248 PageID: 69
Desai v. Sorin CRM USA, Inc., Not Reported in F.Supp.2d (2013)
2013 WL 163298

                                                                           Implantable Cardiac Defibrillator (“ICD”) device (Model
                                                                           number OATIO VR 6250, Serial Number 644YC328) was
      KeyCite Yellow Flag - Negative Treatment                             surgically implanted in Mr. Desai on or about April 9, 2008.
Distinguished by MSP Recovery Claims, Series, LLC v. Sanofi-Aventis U.S.
                                                                           Id., Second Count ¶ 2. Plaintiffs contend that Biotronik's Lead
LLC, D.N.J., February 20, 2020
                                                                           (Serial No. 10287936), was an integral part of Sorin's ICD. Id.
                   2013 WL 163298
    Only the Westlaw citation is currently available.
                                                                           Plaintiffs allege that Mr. Desai attended regular follow-
              NOT FOR PUBLICATION
                                                                           up visits with his cardiologist. Opp. at 1. On or about
             United States District Court,
                                                                           July 4, 2012, Mr. Desai was home with his wife and son,
                    D. New Jersey.
                                                                           Plaintiffs Pravina Desai and Jayant Desai, when he was
                                                                           allegedly “suddenly and violently overtaken by numerous
           Janardan J. DESAI, Pravina
                                                                           painful convulsions.” Am. Compl., First Count ¶ 3. He was
         Desai and Jayant Desai, Plaintiffs,                               transported by ambulance to the emergency room of Christ
                        v.                                                 Hospital in Jersey City. Id., First Count ¶ 4; Opp. at 1.
                                                                           Plaintiffs contend that diagnostic testing revealed that Mr.
         SORIN CRM USA, INC. (f/k/a Ela
                                                                           Desai had suffered in excess of twenty electrical shocks to
          Medical Inc.), et al., Defendants.                               the heart, causing ventricular tachycardia as a direct and
                                                                           proximate result of a defective “fractured” lead wire of the
                         Civ. No. 12–2995.                                 ICD. Am. Compl., First Count ¶ 4.
                                  |
                           Jan. 15, 2013.                                  On April 4, 2012, Plaintiffs filed a Complaint in the Superior
                                                                           Court of New Jersey, Law Division, in Hudson County. On
Attorneys and Law Firms
                                                                           May 18, 2012, counsel for Co–Defendant Sorin filed a Notice
Gerald J. Martin, Biebelberg & Martin, Esqs., Millburn, NJ,                of Removal to this Court. ECF No. 1. A Consent Order to
for Plaintiffs.                                                            permit Plaintiffs to amend their Complaint to add Biotronik as
                                                                           a defendant, and to extend Sorin's time to answer was granted
Beth S. Rose, Sills Cummis & Gross P.C., Newark, NJ, for                   by this Court on May 23, 2012.
Defendants.
                                                                           On June 1, 2012, Plaintiffs filed an Amended Complaint
                                                                           which named Biotronik as a defendant. ECF No. 4. On
OPINION                                                                    July 5, 2012, Plaintiffs and Defendant Sorin executed
                                                                           a Stipulation of Dismissal Without Prejudice based on
WALLS, Senior District Judge.                                              Defendant's representations that they did not manufacture,
                                                                           design, or sell the sensory lead wire at issue. ECF No. 5. On
 *1 Defendant Biotronik moves to dismiss this matter and
                                                                           September 10, 2012, Defendant Biotronik filed an Answer
for judgment on the pleadings under Federal Rules of Civil
                                                                           and Affirmative Defenses to Plaintiffs' claims. ECF No. 11.
Procedure 12(b)(6) and 12(c). Plaintiffs Janardan J. Desai,
                                                                           On September 30, 2012, Biotronik filed a motion to dismiss
Pravina Desai, and Jayant Desai oppose the motion, and cross
                                                                           Plaintiffs' Amended Complaint. ECF No. 13. Plaintiffs filed
move for leave to file a second amended complaint under
                                                                           their opposition on October 22, 2012. ECF No. 16.
Federal Rule of Civil Procedure 15(a). Under Federal Rule
of Civil Procedure 78, the Court grants the motion to dismiss
and denies the motion to amend without oral argument.
                                                                           STANDARD OF REVIEW

                                                                           Federal Rule of Civil Procedure 12(c) provides, in pertinent
FACTUAL AND PROCEDURAL BACKGROUND                                          part, that “[a]fter the pleadings are closed but within such time
                                                                           as not to delay the trial, any party may move for judgment
This is an action brought the New Jersey Product Liability
                                                                           on the pleadings.” The pleadings are considered closed after
Act (the “PLA”) involving an allegedly defective defibrillator
                                                                           the complaint and answer are filed, along with any reply to
lead distributed by Defendant Biotronik. Am. Compl., Second
Count ¶ 5. Plaintiffs allege that Co–Defendant Sorin's


                  © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                   Page 58 of 246   1
           PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 3 of 114 Trans ID: LCV20201846220
  Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 61 of 248 PageID: 70
Desai v. Sorin CRM USA, Inc., Not Reported in F.Supp.2d (2013)
2013 WL 163298

additional claims. Arnold v. New Jersey, 03–cv–3997, 2007          868 (2009). As a result, the complaint must contain more
WL 1381757, at *2 (D.N.J. May 9, 2007) (citations omitted).        than “bare-bones allegations” or “threadbare recitals of the
                                                                   elements of a cause of action.” Fowler v. UPMC Shadyside,
 *2 “Under Rule 12(c), judgment will not be granted unless         578 F.3d 203, 210 (3d Cir.2009) (quoting Iqbal, 556 U.S.
the movant clearly establishes that no material issue of fact      at 678). The plaintiff must allege “enough facts to raise a
remains to be resolved and that he is entitled to judgment as a    reasonable expectation that discovery will reveal evidence of
matter of law.” Bayer Chemicals Corp. v. Albermarle Corp.,         the necessary element.” Phillips v. County of Allegheny, 515
171 Fed. Appx. 392, 397 (3d Cir. Mar.21, 2006) (quoting            F.3d 224, 234 (3d Cir.2008).
Jablonski v. Pan Am. World Airways, Inc., 863 F.2d 289, 290
(3d Cir.1988) (citations and quotations omitted)).                  *3 In evaluating a Rule 12(b)(6) motion to dismiss for failure
                                                                   to state a claim, a court may consider only the allegations of
“The standard applied to a Fed.R.Civ.P. 12(c) motion for           the complaint, documents attached or specifically referenced
judgment on the pleadings is similar to that applied to            in the complaint if the claims are based upon those documents
a Fed.R.Civ.P. 12(b)(6) motion to dismiss.” Haynes v.              and matters of public record. Family Trust v. Queen, 503
Metropolitan Life Ins. Co., 94 Fed. Appx. 956, 958 (3d Cir.        F.3d 319, 327 (3d Cir.2007); Sentinel Trust Co. v. Universal
Apr.20, 2004) (citation omitted). “In reviewing the grant          Bonding Ins. Co., 316 F.3d 213, 216 (3d Cir.2003).
of a Rule 12(c) motion, [the court] must view the facts
presented in the pleadings and the inferences to be drawn          Federal Rule of Civil Procedure 15(a)(2) allows a party to
therefrom in the light most favorable to the nonmoving party.”     amend its pleading by leave of court when justice so requires.
Bayer, 171 Fed. Appx. at 397 (internal quotation marks and         Leave to amend pleadings is to be freely given. Foman v.
citation omitted). The court “need not accept as true legal        Davis, 371 U.S. 178, 182, 83 S.Ct. 227, 9 L.Ed.2d 222
conclusions or unwarranted factual inferences.” Bayer, 171         (1962). The decision to grant leave to amend rests within the
Fed. Appx. at 397 (internal quotation marks and citation           discretion of the court. Id. Leave to amend may be denied on
omitted). As with a Rule 12(b)(6) motion, in deciding a Rule       the basis of: (1) undue delay; (2) bad faith or dilatory motive;
12(c) motion, the court typically does not consider matters        (3) undue prejudice to the opposing party; and (4) futility
outside the pleadings. Mele v. Federal Reserve Bank of New         of amendment. Id. “Only when these factors suggest that
York, 359 F.3d 251, 257 (3d Cir.2004). The court may consider      amendment would be ‘unjust’ should the court deny leave.”
matters of public record, orders, and exhibits attached to the     Arthur v. Maersk, Inc., 434 F.3d 196, 203 (3d Cir.2006)
complaint. See Oshiver v. Levin, Fishbein, Sedran & Berman,        (internal citations omitted).
38 F.3d 1380, 1384 n. 2 (3d Cir.1994).

Similarly, in deciding a motion to dismiss for failure to state
                                                                   DISCUSSION
a claim upon which relief can be granted under Federal
Rule of Civil Procedure 12(b)(6), the court must “accept             1. Preemption under the Medical Device Amendments
all factual allegations as true, construe the complaint in the
light most favorable to the plaintiff, and determine whether,      a. Premarket Approval
under any reasonable reading of the complaint, the plaintiff       The Medical Devices Amendments (“MDA”), 21 U.S.C. §
may be entitled to relief.” Broadcom Corp. v. Qualcomm             360c et. seq. to the FDA, 21 U.S.C. § 301 et. seq., authorize
Inc., 501 F.3d 297, 306 (3d Cir.2007). Under Federal Rule          the FDA to regulate the safety and effectiveness of medical
of Civil Procedure 8(a)(2), the complaint need only include        devices. Under the MDA, medical devices are divided into
“a short and plain statement of the claim showing that the         three categories according to the risks that the devices present.
pleader is entitled to relief.” At the same time, the complaint    Class III devices, which includes the device in this case, are
must contain “enough facts to state a claim to relief that is      those that are either too unproven to be rendered safe by
plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S.       general controls or that present a potential for unreasonable
544, 570, 127 S.Ct. 1955, 167 L.Ed.2d 929 (2007). A claim is       risk of illness or injury. 21 U.S.C. § 360(a)(1)(C). The
plausible on its face “when the plaintiff pleads factual content   MDA usually requires Class III devices to receive premarket
that allows the court to draw the reasonable inference that        approval before the FDA will allow them to be sold. The FDA
the defendant is liable for the misconduct alleged.” Ashcroft      will approve the devices for distribution only if it is satisfied
v. Iqbal, 556 U.S. 662, 678, 129 S.Ct. 1937, 173 L.Ed.2d



                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                             Page 59 of 246   2
           PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 4 of 114 Trans ID: LCV20201846220
  Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 62 of 248 PageID: 71
Desai v. Sorin CRM USA, Inc., Not Reported in F.Supp.2d (2013)
2013 WL 163298

that the device is reasonably safe and effective for its intended   concern that the provided documents “did not make clear
purpose. 21 U.S.C. § 360(e)(d)(2).                                  what specific form or forms” of the ICD leads had received
                                                                    premarket approval. Id. In contrast, Biotronik's lead wire is
Defendant Biotronik argues that the Medical Device                  the only one at issue, and is specifically identified by the
Amendments to the Federal Food, Drug & Cosmetics Act                FDA's public records as having received its own premarket
(“FDA”) expressly preempt the type of claim being asserted          approval on January 27, 2006 under PMA Number P980023.
by Plaintiffs. Mot. at 1, 3–8; 21 U.S.C. § 360c et. seq.            This Court takes judicial notice of the FDA's website, and
Plaintiffs respond that Defendant's allegation that the devices     holds that it establishes premarket approval of the Biotronik
implanted in Plaintiff were Class III medical devices subject       lead.1
to premarket approval was insufficiently supported. Opp. at
4–6. In the alternative, Plaintiffs allege that should the Court
find that the lead wire and ICD device were subject to pre-            b. Preemption
market approval, all of Plaintiffs' claims would still not be       The Medical Devices Amendments contain an express
preempted. Id. at 4–13.                                             preemption provision with two elements that must be satisfied
                                                                    for preemption to occur:
This Court rejects Plaintiffs' contention that Defendant's
“generic reference” to the FDA public database of premarket           Except as provided in subsection (b) of this section, no
approvals is insufficient to establish which forms of the ICD         State or political subdivision of a State may establish or
device and lead wire received premarket approval. In Desabio          continue in effect with respect to a device intended for
v. Howmedica Osteonics Corp., as example, the defendant               human use any requirement—
cited to a web address for the FDA's premarket approval of
                                                                      (1) which is different from, or in addition to, any
the devices at issue in support of its motion to dismiss. 817
                                                                      requirement applicable under this chapter to the device, and
F.Supp.2d 197, 201 (W.D.N.Y.2011). The web address given
to the court did not lead to any relevant information, but the        (2) which relates to the safety or effectiveness of the device
court conducted its own independent search of the FDA's               or to any other matter included in a requirement applicable
website, and confirmed that the devices did receive premarket         to the device under this chapter.
approval. Id. The court took judicial notice of that fact based     21 U.S.C. § 360(k)(a).
on its independent search. Id.; see also Stengel v. Medtronic
Inc., 676 F.3d 1159, 1167 (9th Cir.2010) (“Because the              In Riegel v. Medtronic, the Supreme Court held that state laws
accuracy of FDA records cannot reasonably be questioned,            are preempted by the MDA if: (1) the Federal Government has
the premarket approval status of [the device] is a fact subject     established “specific requirements applicable to a particular
to judicial notice.”); Cornwell v. Stryker Corp., No. 1:10–         device,” and (2) the plaintiff's claims are based on “state
cv–00066–EJL, 2010 WL 4641112, at *3 (D.Idaho Nov.1,                requirements” related to safety and effectiveness that are
2010) (confirmed premarket approval via independent search          “different from, or in addition to” the federal requirements.
of FDA website); Horne v. Novartis Pharms. Corp., 541               552 U.S. 312, 315, 128 S.Ct. 999, 169 L.Ed.2d 892 (2008)
F.Supp.2d 768, 777 (W.D.N.C.2008) (“The Court may take              (citing 21 U.S.C. § 360c). The Supreme Court reasoned
judicial notice of and consider the public record of the FDA        that a state law demanding a manufacturer's devices “to be
....”); Funk v. Stryker Corp., 673 F.Supp.2d 522, 530–31            safer, but hence less effective, than the model the FDA has
(S.D.Tex.2009); Ali v. Allergan USA, Inc., No. 1:12–cv–115,         approved disrupts the federal scheme.” Id. at 325. Included in
2012 WL 3692396, at *1 (E.D.Va. Aug.23, 2012).                      the meaning of “state requirements” are common law causes
                                                                    of action, such as negligence, strict liability, and breach of
 *4 Plaintiffs' reliance on Kavalir v. Medtronic, Inc. is           implied warranty. Id. at 324–25, 327–28.
misplaced. Case No. 07–cv–0835, 2008 WL 4087950
(N.D.Ill. Aug.27, 2008). In Kavalir, the plaintiff had four         Federal courts in various circuits have also held that, to avoid
different ICDs with various lead wires implanted over a six         § 360k(a) preemption, a plaintiff must allege a violation with
year period. Id. at *1–*2. The court was worried that “none         sufficient facts to render the alleged violation plausible under
of the documents attached ... refer to the ... lead wires used      Twombly and Iqbal. See, e.g., Bass v. Stryker Corp., 669
to implant the ICDs in Plaintiff, the part Plaintiff contends       F.3d 501, 509 (5th Cir.2012); Covert v. Stryker Corp., No.
caused her injuries.” Id. at *4. The court also expressed the       1:08CV447, 2009 WL 2424559, at *14 (M.D.N.C. Aug.5,



                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                             Page 60 of 246   3
           PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 5 of 114 Trans ID: LCV20201846220
  Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 63 of 248 PageID: 72
Desai v. Sorin CRM USA, Inc., Not Reported in F.Supp.2d (2013)
2013 WL 163298

2009); Parker v. Stryker Corp., 584 F.Supp.2d 1298, 1301           See, e.g., Horn, 376 F.3d 163 (dismissing all state common
(D.Colo.2008); Gross v. Stryker, 858 F.Supp.2d 466, 495            law tort claims); Banner v. Cyberonics, Inc., No. 08–
(W.D.Pa.2012). Conclusory allegations that the defendant           0741, 2010 WL 455286 (D.N.J. Feb.4, 2010) (dismissing
violated FDA regulations in the manufacturing, labeling, or        claims for defective manufacturing, defective design, and
marketing of the premarket approved medical device are             breach of implied warranties); Funk v. Stryker Corp., 673
not sufficient to state a parallel state-law claim and avoid       F.Supp.2d 522 (S.D.Tex.2009) (dismissing claims for, inter
preemption. Parker, 584 F.Supp.2d at 1301. See also Gelber v.      alia, strict liability and negligence), aff'd, 631 F.3d 777
Stryker Corp., 752 F.Supp.2d 328, 334 (S.D.N.Y.2010); In re        (5th Cir.2011); Covert, 2009 WL 2424559 (dismissing
Medtronic, Inc., Sprint Fidelis Leads Prod. Liab. Litig., 592      claims for failure to warn, defective manufacturing, defective
F.Supp.2d 1147, 1158 (D.Minn.2009), aff'd, 623 F.3d 1200           design, negligence and recklessness, and breach of implied
(8th Cir.2010) (“Plaintiffs cannot simply incant the magic         warranties); Horowitz v. Stryker Corp., 613 F.Supp.2d
words ‘[defendant] violated FDA regulations' in order to           271 (E.D.N.Y.2009) (dismissing claims for strict liability,
avoid preemption.”).                                               negligence and recklessness, and breach of express and
                                                                   implied warranties); Parker, 584 F.Supp.2d 1298 (dismissing
 *5 As in Riegel, Defendant Biotronik argues that Plaintiffs'      claims for failure to warn, manufacturing defect, design
statutory Product Liability Act claims are preempted. Mot. at      defect, breach of express and implied warranties, breach of
10. Plaintiffs contend that its claims are parallel state claims   implied warranty of fitness, breach of implied warranty of
under the New Jersey Product Liability Act, and they intend to     merchantability, and negligence and recklessness).
assert, and if necessary, to amend their Complaint to explicitly
include a claim under the New Jersey PLA for Defendant's            *6 With regard to Plaintiffs' proposed second amendment
alleged deviation from the federal requirements for Class III      of the Complaint to explicitly include claims of an alleged
lead wires. Opp. at 7.                                             deviation from the federal requirements for Class III lead
                                                                   wires, the amended claims remain fatally conclusory:
As said, the Federal Government has established specific
requirements applicable to Biotronik's lead wire. Plaintiffs'        7. Based on information and belief the lead wire
claims of, inter alia, negligence, defective design, and failure     manufactured by Biotronik deviated from the ICD/
to warn stem from state common law. Plaintiffs would only            lead wire's federally approved design and manufacturing
be able to prevail on the New Jersey PLA claims if they              process and/or federal requirementS [sic ] including but not
proved that the lead wire, as designed, manufactured, and            limited to 21 C.F.R. 820, 814(b), and 814.39 pertaining to
distributed, was defective and unreasonably dangerous. It            manufacturing processes.
follows that liability would necessitate a finding that the
                                                                     8. Based upon information and belief it is the deviations
lead wire—designed, manufactured, and labeled in a way
                                                                     from the federally approved design and manufacturing
that the FDA deemed safe and effective—was both defective
                                                                     processes that caused the lead wire to fracture causing the
and unreasonably dangerous. Such a determination would
                                                                     lead wire and/or ICD device to malfunction on or about
necessarily constitute “a requirement ‘different from, or in
                                                                     April 9, 2008, which was the direct and proximate cause
addition to,’ ” the standard required by federal authorities.
                                                                     of my [sic ] injuries sustained therefrom. [sic ] on April 9,
Martin v. Medtronic, Inc., 254 F.3d 573, 585 (5th Cir.2001)
                                                                     2008.
(citation omitted); see also Horn v. Thoratec Corp., 376 F.3d
163, 176 (3d Cir.2004). This is the exact situation when the          9. Deviations from the federally approved design and
MDA requires preemption.                                              manufacturing process for the lead wire and ICD device
                                                                      rendered the device/lead wire unreasonably fit, unsuitable
These claims in the amended complaint are consequently                and unsafe for its intended purpose, under the law of New
expressly preempted. “Generalized common law theories                 Jersey.
of liability ... are precisely the types of claims the MDA         Pl.s' Cross Motion, Ex. 4 (Pl.s' Proposed Second Am.
sought to preempt.” Williams v. Cyberonics, Inc., 388 Fed.         Compl.), Second Count ¶¶ 7–9. These allegations fail to
Appx. 169, 171 (3d Cir. July 30, 2010) (citing Riegel,             assert the facts necessary, or indeed, any facts at all, to
552 U.S. at 325; Horn, 376 F.3d at 173). Many courts,              establish a claim that would parallel a violation of federal
both within and outside this district, have evaluated nearly       law, or even meet the federal pleading standard. Plaintiffs'
identical claims, and deemed them expressly preempted.             claims, both in the amended complaint and proposed second



                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                            Page 61 of 246   4
           PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 6 of 114 Trans ID: LCV20201846220
  Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 64 of 248 PageID: 73
Desai v. Sorin CRM USA, Inc., Not Reported in F.Supp.2d (2013)
2013 WL 163298

amended complaint, are devoid of any explanation as to how          Plaintiffs contend that they should be permitted to
Biotronik allegedly violated federal regulations in its design      allege unspecified deviations from FDA manufacturing
or manufacture of the lead wire, or even what about the             requirements at this stage, and “fill in the blanks” later as
device is “defective” or “unreasonably dangerous.” Callaway         to how Biotronik deviated from those requirements. But a
v. Am. Med. Sys., Inc., No. 11–00193, 2011 WL 7724268,              plaintiff must successfully plead a claim before obtaining
at *4 (W.D.La.2011). Both complaints allege no specific             discovery, and not the other way around. Such a premature
wrongdoing on the part of Biotronik, other than to conclusory       request for discovery is inapposite to Rules 8 and 1 1(b)
state that it is liable for all of Plaintiffs' damages. “[M]erely   of the Federal Rules of Civil Procedure. See Kinetic Co. v.
because a device does not work as intended is not proof             Medtronic, Inc., No. 08–CV–6062, 2011 U.S. Dist. LEXIS
that the device was not appropriately manufactured.” Banner,        42398, at *13, 2011 WL 1485601 (D.Minn. Apr. 19, 2011)
2010 WL 455286, at *4. See also Clark v. Medtronic, Inc., 572       (stating that “[a] plaintiff is permitted to take discovery to
F.Supp.2d 1090, 1094 (D.Minn.2008) (“Plaintiff is ultimately        find evidence to support a properly pleaded claim for relief;
wrong when he assumes that premarket approval guarantees            a plaintiff is not permitted to take discovery to fish for claims
the device is completely safe.”).                                   of which it is not aware.”); Timmons v. Linvatec Corp., 263
                                                                    F.R.D. 582, 585 (C.D.Cal.2010) (“A plaintiff who fails to
Plaintiffs also consistently fail to allege any “cognizable         meet the pleading requirements of Rule 8 is not entitled to
link” between Biotronik's alleged federal violations and Mr.        conduct discovery with the hope that it might permit her to
Desai's injury. Horowitz, 613 F.Supp.2d at 280; Covert,             state a claim.”); Horowitz, 613 F.Supp.2d at 280 (“[M]ere
2009 WL 2424559, at *15 (granting Twombly motion after              promises of future allegations are not sufficient [to state
concluding that the complaint failed to allege “any particular      a cause of action].”); In re Medtronic, Inc., Sprint Fidelis
non-conclusory link between [the] alleged wrongdoing and            Leads Prods. Liab. Litig., 623 F.3d 1200, 1207 (8th Cir.2010)
[plaintiff's] particular injuries, let alone a causal one”). See    (“The district court did not abuse its discretion in denying
also Parker, 584 F.Supp.2d at 1301–02 (noting that plaintiff's      Plaintiffs' motion to reconsider the dismissal order and grant
complaint was deficient in that it failed to provide any factual    their belated request for discovery to see if they could find
detail substantiating her claim that the device was defective       such a requirement.”).
as a direct result of defendants having manufactured it in
violation of the premarket approval process). Gross v. Stryker      Judge Hayden of this District recently addressed this very
Corp., among other cases, held that broad references to             issue. In Hayes v. Howmedica Osteonics Corp., plaintiff
federal regulations in pleadings are insufficient:                  argued that the pleading requirements of Federal Rules of
                                                                    Civil Procedure 8 and 11 should be relaxed for claims
    *7 Allowing a plaintiff to plead non-specific regulations       involving a premarket approved device. No. 08–6104, 2009
   as a basis for a parallel claim is inconsistent with the         WL 6841859 (D.N.J. Dec.15, 2009). In a bench opinion,
   Supreme Court's reasoning in Riegel, as well as the              Judge Hayden held that ‘Twombly, and in this Circuit, Phillips
   pleading requirements articulated in Twombly, Iqbal, and         and Fowler, do not distinguish between and among different
   Fowler. This Court requires a greater level of specificity       types of cases. It would be wrong for this Court to rule that
   in pleading a parallel claim, rather than allowing claims        this plaintiff because of her particular injury and theory of
   premised on violations of general regulations to go forward      harm has a right to support [her claim] through discovery as
   merely because plaintiffs will supplement their pleadings        opposed [to] allegations in the complaint....” Id. at 7.
   at trial.
858 F.Supp.2d 466, 495–96 (W.D.Pa.2012) (internal citations          *8 Furthermore, the cases cited by Plaintiffs in support are
omitted). Plaintiffs themselves even admit in their opposition      inapposite. In Cornett v. Johnson & Johnson, while plaintiffs
that they cannot, at this point in time, specify how                were permitted to proceed with a manufacturing defect claim
Biotronik's lead wire deviated from FDA approved design and         based on alleged deviations, the factual underpinnings of their
manufacturing processes. Opp. at 13–16 (“Plaintiffs do not          defect claim were pled with specificity. 414 N.J.Super. 365,
currently have access to the specific federal requirements for      998 A.2d 543 (App.Div.2010), aff'd as modified, 211 N.J. 362
the leads manufactured by Biotronik. Plaintiffs will promptly       (2012). The Cornett plaintiffs, as example, pointed to an FDA
seek to obtain this information from Defendants through             warning letter highlighting the device's polymer coating. 414
discovery.”).                                                       N.J.Super. at 398, 998 A.2d 543. In Walker v. Medtronic, Inc.,
                                                                    the plaintiff similarly stated that she wished to pursue a theory



                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                              Page 62 of 246   5
           PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 7 of 114 Trans ID: LCV20201846220
  Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 65 of 248 PageID: 74
Desai v. Sorin CRM USA, Inc., Not Reported in F.Supp.2d (2013)
2013 WL 163298

of recovery based on a violation of the terms of the device's     not withstand a motion to dismiss. Massarsky v. Gen. Motors
premarket approval. The court noted that “[plaintiff] details     Corp., 706 F.2d 111, 125 (3d Cir.1983).
several discovery matters yet to be resolved.” No. 2:07–
00317, 2008 WL 4186854, at *3 (S.D.W.Va. Sept.9, 2008).           With respect to futility, “[it is] clear that an amendment would
The court concluded that the complaint did not “adequately        be futile when ‘the complaint, as amended, would fail to state
allege the type of claim which might survive Riegel.” Id.         a claim upon which relief could be granted.’ ” In re NAHC,
In Braden v. Tornier, Inc., Plaintiffs fail to note that the      Inc. Sec. Litig., 306 F.3d 1314, 1332 (3d Cir.2002) (quoting In
court did not allow the case to go forward on the basis of        re Burlington Coat Factory Sec. Litig., 114 F.3d 1410, 1434
its current, inadequately pled complaint, but granted leave       (3d Cir.1997)); see also Harrison Beverage Co. v. Dribeck
to amend, highlighting that plaintiffs had not previously         Imps., Inc., 133 F.R.D. 463, 468 (D.N.J.1990) (reasoning that
amended their complaint. No. C09–5529RJB, 2009 WL                 an amendment is futile if it “is frivolous or advances a claim
3188075, at *5 (W.D.Wash., Sept.30, 2009). Although courts        or defense that is legally insufficient on its face” (citations
have acknowledged that plaintiffs might have limited access       and footnotes omitted)). As such, “[i]n assessing futility, the
to crucial information, this Court's research suggests that no    district court applies the same standard of legal sufficiency
courts have let cases enter discovery based on the type of        as applies under Rule 12(b)(6).” Burlington, 114 F.3d at 1434
generalized allegations that are present here. Cf. Braden v.      (citing Glassman v. Computervision Corp., 90 F.3d 617, 623
Wal–Mart Stores, Inc., 588 F.3d 585, 598 (8th Cir.2009).          (1st Cir.1996) (further citation omitted)). The Court therefore
                                                                  must accept all factual allegations as true “as well as the
                                                                  reasonable inferences that can be drawn from them.” Brown
   c. Derivative Claims                                           v. Philip Morris, Inc., 250 F.3d 789, 796 (3d Cir.2001).
Plaintiffs Pravina Desai and Jayant Desai assert claims against
Defendant Biotronik for emotional distress. Am. Compl.,            *9 Here, in light of Plaintiffs' admission that they cannot
Third Count ¶ 3. These derivative claims are preempted            meet the necessary pleading hurdle without discovery, any
since the underlying claims cannot stand. Kemp v. Medtronic,      amendment would be futile, and the motion to amend is
231 F.3d 216, 237 (6th Cir.2000) (“In light of the foregoing      denied.
analysis finding that Elizabeth Kemp's claims are preempted
by § 360(k) of the MDA, Clifford Kemp's derivative spousal
claim is similarly preempted.”); Talbott v. C.R. Bard, Inc.,
                                                                  CONCLUSION
865 F.Supp. 37, 52 (D.Mass.1994), aff'd, 63 F.3d 25 (1st
Cir.1995) (holding that a claim for negligent infliction of       The Plaintiffs' Amended Complaint fails to state a claim
emotion distress was preempted); see also Reigel, 522 U.S. at     upon which relief can be granted and Defendant Biotronik
321 (affirming dismissal of loss of consortium claim because      is entitled to the dismissal of the Complaint in its entirety
“it was derivative of the pre-empted claims”); Wolicki–Gables     pursuant to Federal Rule of Civil Procedure 12(b)(6).
v. Arrow Int'l, Inc., 641 F.Supp.2d 1270, 1288, 1290–91           Plaintiffs' motion to amend is also denied on grounds of
(M.D.Fla.2009), aff'd, 624 F.3d 1296 (11th Cir.2011).             futility.


  2. Second Amendment of the Complaint                            All Citations
An amendment is considered futile if it advances a claim or
defense that is legally insufficient on its face. Courts may      Not Reported in F.Supp.2d, 2013 WL 163298
properly deny a motion to amend when the amendment would


Footnotes
1      Defendant Biotronik has also submitted a hard copy of the FDA's letter granting premarket approval with its Reply papers.
       See Reply, Ex. C.


End of Document                                                     © 2020 Thomson Reuters. No claim to original U.S.
                                                                                                Government Works.



               © 2020 Thomson Reuters. No claim to original U.S. Government Works.                            Page 63 of 246   6
     PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 8 of 114 Trans ID: LCV20201846220
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 66 of 248 PageID: 75




                             Exhibit B




                                                                          Page 64 of 246
           PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 9 of 114 Trans ID: LCV20201846220
  Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 67 of 248 PageID: 76
McGee v. Boehringer Ingelheim Pharmaceuticals, Inc., Not Reported in Fed. Supp. (2018)
2018 WL 1399237

                                                                      For the reasons discussed below, the court will GRANT
                                                                      Boehringer’s motion to dismiss.
      KeyCite Yellow Flag - Negative Treatment
Declined to Follow by In re Zofran (Ondansetron) Products Liability
                                                                      First, the court will GRANT Boehringer’s motion to the
Litigation, D.Mass., February 5, 2019
                                                                      extent Mr. McGee attempts to raise a claim that Boehringer
                  2018 WL 1399237
                                                                      should have told the FDA about Jardiance’s DKA risk during
    Only the Westlaw citation is currently available.
                                                                      the drug’s approval process. Federal laws and regulations
           United States District Court, N.D.
                                                                      preempt such a claim, and the court will DISMISS any such
             Alabama, Southern Division.
                                                                      claim WITH PREJUDICE.

       Phillip MCGEE, Sr., Plaintiff,
                                                                      Second, the court will GRANT Boehringer’s motion to
                   v.                                                 dismiss as to Mr. McGee’s claim that Boehringer should have
       BOEHRINGER INGELHEIM                                           updated Jardiance’s label to warn about DKA after the FDA
                                                                      approved Jardiance and before Mr. McGee’s injuries. In the
   PHARMACEUTICALS, INC., Defendant.
                                                                      complaint, Mr. McGee fails to allege whether the body of
                                                                      relevant newly-available information increased during this
          CIVIL ACTION NO. 4:16-CV-2082-KOB
                                                                      specific time period. The court will therefore DISMISS
                           |
                                                                      Mr. McGee’s failure-to-warn claims for this time period
                  Signed 03/20/2018
                                                                      WITHOUT PREJUDICE.
Attorneys and Law Firms
                                                                      Finally, Boehringer raises several other arguments in favor
B. Kristian W. Rasmussen, Richard Allen Wright, Cory                  of dismissal. It argues that the learned intermediary doctrine
Watson Crowder & DeGaris, Birmingham, AL, Rolf T.                     bars Mr. McGee’s failure-to-warn claims and that the
Fiebiger, Johnson Becker PLLC, St. Paul, MN, for Plaintiff.           complaint merely contains legal conclusions without factual
                                                                      underpinnings. Because the court will dismiss Mr. McGee’s
Elizabeth C. Curtin, Sidley Austin LLP, Chicago, IL, F.M.
                                                                      complaint without prejudice on the preemption issue, the
Haston, III, Ellen S. Presley, Bradley Arant Boult Cummings
                                                                      court need not address these arguments at this time. As to
LLP, Birmingham, AL, Heidi L. Levine, Sidley Austin LLP,
                                                                      these arguments, Boehringer’s motion to dismiss is MOOT.
New York, NY, for Defendant.



MEMORANDUM OPINION                                                    STANDARD OF REVIEW

KARON OWEN BOWDRE, CHIEF UNITED STATES                                A Rule 12(b)(6) motion to dismiss attacks the legal
DISTRICT JUDGE                                                        sufficiency of the complaint. Generally, the Federal Rules
                                                                      of Civil Procedure require only that the complaint provide
 *1 Plaintiff Phillip McGee brings this products-liability            “ ‘a short and plain statement of the claim’ that will give
suit against Boehringer Ingelheim Pharmaceuticals, Inc.; he           the defendant fair notice of what the plaintiff’s claim is and
alleges that “Jardiance,” a prescription drug manufactured            the grounds upon which it rests.” Conley v. Gibson, 355
and sold by Boehringer, caused him to go into diabetic                U.S. 41, 47 (1957) (quoting Fed. R. Civ. P. 8(a)). A plaintiff
ketoacidosis (“DKA”). Mr. McGee, a Type-II diabetic,                  must provide the grounds of his entitlement, but Rule 8
asserts, essentially, that Boehringer failed to adequately warn       generally does not require “detailed factual allegations.” Bell
him that Jardiance presented a known risk of DKA.                     Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007) (quoting
                                                                      Conley, 355 U.S. at 47). It does, however, “demand[ ]
The matter comes before the court on Boehringer’s motion to           more than an unadorned, the-defendant-unlawfully-harmed-
dismiss Mr. McGee’s First Amended Complaint under Fed. R.             me accusation.” Ashcroft v. Iqbal 556 U.S. 662, 678 (2009).
Civ. P. 12(b)(6). (Doc. 24). Boehringer contends that federal         Pleadings that contain nothing more than “a formulaic
law preempts Mr. McGee’s claims and that the complaint fails          recitation of the elements of a cause of action” do not meet
to provide a sufficient factual basis to state a claim for relief.    Rule 8 standards nor do pleadings suffice that are based
                                                                      merely upon “labels or conclusions” or “naked assertions”



                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                               Page 65 of 246   1
          PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 10 of 114 Trans ID: LCV20201846220
  Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 68 of 248 PageID: 77
McGee v. Boehringer Ingelheim Pharmaceuticals, Inc., Not Reported in Fed. Supp. (2018)
2018 WL 1399237

without supporting factual allegations. Twombly, 550 U.S. at         related to SGLT-2 inhibitors and DKA, with “more than 50
555, 557.                                                            additional adverse events collected after June 6, 2014.”

 *2 The Supreme Court explained that “[t]o survive a motion          At the same time the FDA issued the additional warning based
to dismiss, a complaint must contain sufficient factual matter,      on the cumulative data in December 2015, it updated the
accepted as true, to ‘state a claim to relief that is plausible on   label for Jardiance and other SGLT-2 inhibitors to include a
its face.’ ” Iqbal, 556 U.S. at 678 (quoting and explaining its      warning “about the risks of too much acid in the blood.” (Doc.
decision in Twombly, 550 U.S. at 570). To be plausible on its        19 ¶ 40). The warning told patients to stop taking the drug
face, the claim must contain enough facts that “allow[ ] the         and to seek medical attention if they displayed any DKA
court to draw the reasonable inference that the defendant is         symptoms. In addition, the FDA required SGLT-2 inhibitor
liable for the misconduct alleged.” Iqbal, 556 U.S. at 678.          manufacturers to conduct a study to analyze reports of DKA
                                                                     patients treated with SGLT-2 inhibitors over a five-year
                                                                     period.

FACTS
                                                                     In this lawsuit, Mr. McGee contends that Boehringer should
Boehringer sells Jardiance as a prescription drug designed to        have been aware that Jardiance posed a DKA risk based
treat Type-II diabetes. Jardiance belongs to a class of drugs        on the FAERS data collected between March 2013 and
known as “SGLT-2 inhibitors” that, working properly, lowers          June 2014. (Doc. 19 ¶¶ 54-55). Furthermore, Mr. McGee
patients' blood-glucose levels. The FDA approved Jardiance           contends, Boehringer also had access to the additional data
for use in treating Type-II diabetes on August 1, 2014. At that      collected after June 2014. Mr. McGee thus asserts that
time, the FDA-approved label for Jardiance did not include           Boehringer should have amended Jardiance’s label through
warnings about DKA, a medical condition that rarely occurs           the FDA’s “Changes Being Effected” process, which permits
in Type-II diabetics.                                                manufacturers like Boehringer to add warnings to FDA-
                                                                     approved labels when the manufacturer has newly-available
The FDA has a publicly-available database known as the               information to support the warning.
Adverse Event Reporting System (“FAERS”). Beginning in
March 2013, FAERS recorded “adverse events” in which                  *3 Mr. McGee breaks his allegations into three counts.
Type-II diabetics on SGLT-2 inhibitors were hospitalized             In Count I, Mr. McGee alleges that Boehringer violated
after going into DKA.                                                the Alabama Extended Manufacturer’s Liability Doctrine.
                                                                     In the AEMLD claim, Mr. McGee focuses on Boehringer’s
                                                                     failure to warn him and his physician about the risk of DKA,
Mr. McGee is one such Type-II diabetic. In January 2015,1 a
                                                                     alleging that Boehringer “negligently and recklessly labeled,
doctor prescribed Jardiance to Mr. McGee as a treatment for
                                                                     distributed, and promoted” Jardiance. (Doc. 19 at ¶ 82).
his diabetes. On January 17, Mr. McGee went into DKA. Mr.
                                                                     In Count II, Mr. McGee in essence asserts that Boehringer
McGee remained hospitalized until January 21. Mr. McGee
                                                                     negligently breached its duty of care by selling an SGLT-2
had taken Jardiance from the time his doctor prescribed it until
                                                                     inhibitor with a known risk of DKA and by failing to warn
his hospitalization. Mr. McGee asserts that he would not have
taken Jardiance if Boehringer had disclosed the risk of DKA          that Jardiance could send a Type-II diabetic into DKA.2 In
when taking the drug.                                                Count III, Mr. McGee accuses Boehringer of gross negligence
                                                                     on the same failure-to-warn premises.
On May 15, 2015, several months after Mr. McGee’s injury,
the FDA issued a general warning that SGLT-2 inhibitors like         Mr. McGee asks for compensatory damages, medical
Jardiance carried a risk of DKA. To support that warning, the        expenses, damages for his pain and suffering, damages
FDA cited cumulative FAERS data between March 2013 and               because he has an increased future risk of complications,
June 2014.                                                           punitive damages, interest, and attorneys' fees and costs.


And, on December 4, 2015, the FDA issued an additional
warning about DKA and SGLT-2 inhibitors, citing                      DISCUSSION
cumulative FAERS data between March 2013 and May 2015.
Mr. McGee alleges that the data included 73 hospitalizations


                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                             Page 66 of 246   2
          PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 11 of 114 Trans ID: LCV20201846220
  Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 69 of 248 PageID: 78
McGee v. Boehringer Ingelheim Pharmaceuticals, Inc., Not Reported in Fed. Supp. (2018)
2018 WL 1399237

Boehringer asserts that Mr. McGee cannot prevail because             new analyses of old data. 21 C.F.R. §§ 314.70(c)(6)(iii),
federal laws and regulations preempt his claims. Specifically,       314.3(b). In addition, the newly acquired information must
Boehringer says that it could not have issued a label any            show “reasonable evidence of a causal association” between
different than the label approved by the FDA for Jardiance and       the serious hazard and the drug. See, e.g., 21 C.F.R § 201.57(c)
that, if it had done so, it would have violated federal law; that    (6)(i).
is, Boehringer could not have possibly complied with both
federal law and Mr. McGee’s expectations under state law              *4 The FDA’s drug-labelling regulations do not preempt a
at the same time. The Supremacy Clause of the Constitution           state duty when a plaintiff can show that the manufacturer
preempts “state laws that require a private party to violate         had or should have had newly-acquired information that it
federal law.” Mutual Pharm. Co. v. Bartlett, 133 S. Ct. 2466,        could and should have used to modify its label to comply
2470 (2013) (quoting Maryland v. Louisiana, 451 U.S. 725,            with state-law expectations. Wyeth, 555 U.S. at 573. In
746 (1981)).                                                         these circumstances, the pharmaceutical company “could
                                                                     independently do under federal law what state law requires
This case pits Mr. McGee’s claims that Boehringer had a              of it.” See PLIVA, Inc. v. Mensing, 564 U.S. 604, 620 (2011)
state-law duty to add a DKA warning to Jardiance’s label             (observing that manufacturers of generic drugs have different
against Boehringer’s federal obligation to get FDA approval          federal obligations than manufacturers of new drugs such
for changes to Jardiance’s label.                                    that the preemption analyses for those manufacturers differ);
                                                                     Wyeth, 555 U.S. at 573.
At the federal level, the FDA regulates the manufacture,
use, and sale of drugs. Bartlett, 133 S. Ct. at 2470-71.             So, if a plaintiff can allege the existence of newly-acquired
Before the FDA permits a manufacturer to sell a new drug,            information that supports a labeling change under the CBE
the manufacturer must submit a new drug application and              regulation, and if the manufacturer subsequently fails to show
demonstrate that its drug is safe and effective. See 21 U.S.C.       by “clear evidence” that the FDA would not have approved a
§ 355(b)(1)(A), (d).                                                 change to the label, then a failure-to-warn claim will survive
                                                                     the manufacturer’s preemption defense. Wyeth, 555 U.S. at
Alongside that application, the manufacturer must submit             573.
proposed labeling for the new drug. Bartlett, 133 S. Ct. at
2471. The FDA must approve the label’s exact text before             Further, to reject a preemption defense at the motion to
the manufacturer can sell the new drug. Wyeth v. Levine,             dismiss stage, the court need only conclude that allegations
555 U.S. 555, 568 (2009). Approved labeling includes, for            contained in the complaint—taken as true and all inferences
example, a “Warnings and Precautions” section that describes         drawn in the plaintiff’s favor—evade preemption as a matter
potential hazards and risks as well as steps that patients should    of law. See Quiller v. Barclays American/Credit, Inc., 727 F.2d
take if bad reactions occur. See 21 C.F.R. § 201.57(c)(6)            1067, 1069 (11th Cir. 1984). Here, the court recognizes that
(i). Similarly, an “Adverse Reactions” section describes “the        Boehringer theoretically could have complied with both its
overall adverse reaction profile of the drug based on the            federal obligations and Mr. McGee’s alleged state obligations
entire safety database.” Id. § 201.57(c)(7). Although the FDA        so long as the state obligations are limited to the actions that
approves the label, “the manufacturer bears responsibility for       Boehringer could and should have taken after Jardiance’s
the content of its label at all times.” Wyeth, 555 U.S. at 570-71.   approval and before Mr. McGee’s injury. See Wyeth, 555
                                                                     U.S. at 573. But Mr. McGee lumps together claims and facts
Generally, once the FDA approves the new drug, the                   from before, during, and after this brief time period. Without
manufacturer may only change the label after the FDA                 clarification, the court cannot tell when Mr. McGee alleges
approves a supplemental application. Wyeth, 555 U.S. at 568.         Boehringer had what information.
However, the manufacturer may use the “Changes Being
Effected” (“CBE”) process to add or strengthen warnings              To the extent Mr. McGee asserts that Boehringer should
and precautions before the FDA approves the supplemental             have alerted the FDA about Jardiance’s DKA risk before
application. Id.; see also 21 C.F.R. § 314.70(c)(6)(iii)(A).         Jardiance’s approval, the claim is preempted because the
                                                                     claim is essentially one of failure to communicate with
A manufacturer may only use the CBE process if it has “newly         the FDA. Federal law preempts state-law claims based on
acquired information,” such as reports of adverse events or          a defendant’s failure to communicate with the FDA. See



                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                              Page 67 of 246   3
          PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 12 of 114 Trans ID: LCV20201846220
  Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 70 of 248 PageID: 79
McGee v. Boehringer Ingelheim Pharmaceuticals, Inc., Not Reported in Fed. Supp. (2018)
2018 WL 1399237

Buckman Co. v. Plaintiff’s Legal Comm., 531 U.S. 341,               after Jardiance’s approval and before Mr. McGee’s harm. As
348-51 (2001). As the Supreme Court observed, the FDA “has          it stands, the complaint at best contains ambiguity about the
at its disposal a variety of enforcement options that allow it to   newly-available data that Boehringer had or should have had
make a measured response to suspected fraud” and “fraud-on-         after Jardiance’s approval and before Mr. McGee’s injury.
the-FDA claims would also cause applicants to fear that their
disclosures to the FDA, although deemed appropriate by the          As a final issue, the court cannot ignore that Mr.
Administration, will later be judged insufficient in state court.   McGee’s complaint is rife with shotgun allegations.
Applicants would then have an incentive to submit a deluge          The complaint buries itself in contentions like those in
of information that the [FDA] neither wants nor needs[.]”           paragraph 75, which unhelpfully observes that Boehringer
Id.; see also PLIVA, Inc., 564 U.S. at 619. And common              “has engaged in the business of designing, researching,
sense dictates that any information Boehringer obtained             manufacturing, marketing, supplying, promoting, packaging,
after January 17, 2015, when Mr. McGee suffered DKA, is             selling, testing, and/or distribution of” Jardiance, or
irrelevant to Mr. McGee’s claims because Boehringer could           paragraph 76, which purports to add that Boehringer
not have used that information to change its label and prevent      “researched, developed, designed, tested, manufactured,
Mr. McGee’s injury from occurring.                                  inspected, labeled, distributed, marketed, promoted, sold, and
                                                                    otherwise released” Jardiance. (See, e.g., doc. 19 ¶¶ 75-76).
In theory, Mr. McGee may be able to allege a non-preempted
claim that Boehringer should have used the CBE process              Even more problematic is Count II of the complaint, which
to modify Jardiance’s label after its approval and before his       generally alleges negligence based on Boehringer’s failure to
injury. See Wyeth, 555 U.S. at 573 (“The CBE regulation             warn. But, in Count II, Mr. McGee attempts to bring other
permitted Wyeth to unilaterally strengthen its warning, and         negligence claims for conduct beyond Boehringer’s failure to
the mere fact that the FDA approved Phenergan’s label does          warn about Jardiance’s risk of DKA. In paragraph 104, Mr.
not establish that it would have prohibited such a change.”).       McGee alleges that Boehringer
But, the complaint makes no allegations about the data as it
existed during the relevant time period before he had DKA.             breached its duty of reasonable care and failed
Rather, Mr. McGee broadly alleges that the FAERS database              to exercise ordinary care in the research,
contained data about many DKA incidents that occurred                  development, marketing, supplying, promotion, marketing,
between March 2013 (before Jardiance’s approval) and May               advertisement, packaging, sale, testing, quality assurance,
2015 (after his injury). And although Mr. McGee alleges                quality control, sale, and distribution [of Jardiance].
that the body of data available to Boehringer regarding DKA         (Doc. 19 ¶ 104) (emphases added). Mr. McGee believes that
incidents and SGLT-2 inhibitors increased from March 2013           his negligence claims “includ[e]” and are “not limited to”
through May 2015, he does not allege, for example, that             the allegations presented in paragraph 104. (Doc. 28 at 26).
the FAERS database collected any new DKA incidents after            Paragraph 104, however, contains nothing but a useless set of
August 1, 2014—the date the FDA approved Jardiance—and              legal conclusions.
before January 17, 2015—the date Mr. McGee suffered his
injury. (See doc. 19 ¶¶ 38-39).                                     Worse, the complaint spews these legal conclusions with
                                                                    few supporting facts that would assist Boehringer in
 *5 In his response to Boehringer’s motion to dismiss, Mr.          understanding what Mr. McGee claims the company did
McGee claims that “two-thirds of the very data FDA used to          wrong. This type of “shotgun” pleading fails to plead a
require a label change and nearly two and a half times the          cognizable cause of action. See Weiland v. Palm Beach
reports that led to FDA issuing its May 15, 2015 warning            County Sheriff’s Office, 792 F.3d 1313, 1321-23 (11th Cir.
were available to [Boehringer] after Jardiance[’s] approval         2015) (“The unifying characteristic of all types of shotgun
and before [Mr. McGee’s] harm.” (Doc. 28 at 5-6). But that          pleadings is that they fail to one degree or another, and in one
allegation is not in the complaint, so the court cannot consider    way or another, to give the defendants adequate notice of the
it to save the complaint. Cf. GeorgiaCarry.Org v. Georgia,          claims against them and the grounds upon which each claim
687 F.3d 1244, 1258 n.26 (11th Cir. 2012) (“[A] plaintiff may       rests.”). If Mr. McGee chooses to file an amended complaint,
not amend the complaint through argument at the summary             he must eliminate the unnecessary and unhelpful “shotgun”
judgment phase of proceedings.”). And Mr. McGee still fails         assertions and claims. Fed. R. Civ. P. 8(a)(2).
to specify whether any new DKA adverse events occurred



                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                             Page 68 of 246   4
          PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 13 of 114 Trans ID: LCV20201846220
  Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 71 of 248 PageID: 80
McGee v. Boehringer Ingelheim Pharmaceuticals, Inc., Not Reported in Fed. Supp. (2018)
2018 WL 1399237

                                                                 Mr. McGee may file an amended complaint by April 4, 2018.
CONCLUSION
                                                                 If he chooses to file an amended complaint, Mr. McGee
The court will GRANT Boehringer’s motion to dismiss. Any         must, in addition to clarifying his allegations about the type
claim that Mr. McGee brings asserting that Boehringer should     and quantity of newly-available information, clean up the
have told the FDA about Jardiance’s DKA risk during the          complaint by eliminating his “shotgun” claims and assertions.
drug’s approval process is DISMISSED WITH PREJUDICE.
As to the time period between the FDA’s approval of              *6 The court will enter a separate Order consistent with this
Jardiance and before Mr. McGee’s DKA incident, the court         Memorandum Opinion.
DISMISSES WITHOUT PREJUDICE Mr. McGee’s failure
to warn claims in Counts I, II, and III. The remaining grounds   DONE and ORDERED this 20th day of March, 2018.
that Boehringer asserts for dismissal are MOOT.

                                                                 All Citations

                                                                 Not Reported in Fed. Supp., 2018 WL 1399237


Footnotes
1      The complaint says Mr. McGee began taking Jardiance “in or about January March [sic] 2015.” The court has read this
       apparent typographical error to mean “January 2015” because that is the most plausible date given the context of the
       complaint, which indicates Mr. McGee suffered the alleged injuries in January 2015 after taking Jardiance.
2      Mr. McGee’s claim in Count II also includes “shotgun” claims that Boehringer breached a duty of care in everything from
       designing Jardiance to testing and delivering it. (See Doc. 19 ¶ 104). As discussed below, the court finds all of those
       “shotgun” claims insufficiently pled.


End of Document                                                    © 2020 Thomson Reuters. No claim to original U.S.
                                                                                               Government Works.




               © 2020 Thomson Reuters. No claim to original U.S. Government Works.                          Page 69 of 246   5
    PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 14 of 114 Trans ID: LCV20201846220
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 72 of 248 PageID: 81




                            Exhibit C




                                                                         Page 70 of 246
          PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 15 of 114 Trans ID: LCV20201846220
  Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 73 of 248 PageID: 82
Epstein v. Gilead Sciences, Inc., Slip Copy (2020)
2020 WL 4333011

                                                                 and bone damage and other associated injuries.” Id. ¶ 23.
                                                                 Plaintiff alleges Gilead knew TDF posed a safety risk to
                  2020 WL 4333011
                                                                 patients’ kidneys and bones but misrepresented the safety
    Only the Westlaw citation is currently available.
                                                                 of Atripla and Viread when promoting the medications to
      United States District Court, S.D. Florida.
                                                                 doctors. Plaintiff further alleges that Atripla and Viread
                                                                 “were defective, unreasonably dangerous and unsafe for
         Philip B. EPSTEIN, Plaintiff,
                                                                 their intended purpose because they include TDF.” Id. ¶
                      v.                                         53. Plaintiff argues Gilead should have altered the drugs by
     GILEAD SCIENCES, INC., Defendant.                           replacing TDF with tenofovir alafenamide (“TAF”), which
                                                                 is allegedly superior. Plaintiff asserts claims against Gilead
            CASE NO. 19-81474-CIV-SINGHAL                        for (1) Strict Products Liability – Design Defect (Count I),
                           |                                     (2) Strict Products Liability – Failure to Warn (Count II), (3)
                  Signed 07/27/2020                              Negligence (Count III), (4) Fraud (Count IV), (5) Violation
                                                                 of the Florida Deceptive and Unfair Trade Practices Act
Attorneys and Law Firms                                          (“FDUTPA”) (Count V), (6) Breach of Express Warranty
                                                                 (Count VI), and (7) Breach of Implied Warranty (Count VII).
Debra Daumit Klingsberg, George William Kramer, Law
Offices of Kramer & Klingsberg, Delray Beach, FL, for
                                                                 The Food and Drug Administration (the “FDA”) regulates
Plaintiff.
                                                                 the manufacture, sale, and labeling of prescription drugs sold
Alycia Degen, Pro Hac Vice, Debra Elaine Pole, Joshua E.         in the United States through a structured statutory scheme.
Anderson, Pro Hac Vice, Sidley Austin LLP, Los Angeles,          Before a person can introduce a new drug into the market,
CA, Barbara Bolton Litten, Gunster Yoakley & Stewart, P.A.,      they must file, and the FDA must approve, a New Drug
West Palm Beach, FL, for Defendant.                              Application for the drug. See 21 U.S.C. § 355(a). On October
                                                                 26, 2001, the FDA approved Viread, which contains the
                                                                 active ingredient TDF, for the treatment of HIV-1 infection.
                                                                 On July 12, 2006, FDA approved Atripla, a combination of
ORDER
                                                                 TDF, emtricitabine, and efavirenz, for the treatment of HIV-1
RAAG SINGHAL, UNITED STATES DISTRICT JUDGE                       infection, either on its own or in combination with other
                                                                 antiretroviral agents.
 *1 THIS CAUSE is before the Court on the Defendant
Gilead Sciences, Inc.’s Motion to Dismiss Complaint (DE          In the instant Motion to Dismiss Complaint (DE [29] ), Gilead
[29] ), filed April 1, 2020. Plaintiff responded (“Response”)    argues all of Plaintiff’s claims are preempted by federal law.
(DE [35] ) to the Motion to Dismiss Complaint (DE [29] )         Gilead further argues that Plaintiff has not alleged his claims
on June 15, 2020, and Defendant has submitted a reply            for Fraud (Count IV) and supposed violations of FDUTPA
memorandum (“Reply”) (DE [38] ). Accordingly, the matter         (Count V) with the specificity required by Federal Rule of
is now ripe for review.                                          Civil Procedure 9(b). Gilead contends Plaintiff’s FDUTPA
                                                                 claim (Count V) fails because it does not apply to claims for
                                                                 personal injury. Finally, Gilead contends Plaintiff’s Breach of
I. BACKGROUND
                                                                 Express and Implied Warranty claims (Counts VI and VII) are
Defendant Gilead Sciences, Inc. (“Gilead”) develops and
                                                                 insufficient and fail as shotgun pleadings.
markets HIV treatment medications, including Atripla and
Viread, which contain the prodrug tenofovir disoproxil
                                                                  *2 In opposition, Plaintiff argues its claims are not
fumarate (“TDF”). Plaintiff Philip B. Epstein’s (“Plaintiff”)
                                                                 preempted by federal law because no federal law prevented
doctors prescribed Atripla, and then Viread, to Plaintiff for
                                                                 Gilead from designing its TDF Drugs to be safer before
a period of about three years, after which his physicians
                                                                 FDA approval and because Gilead could unilaterally change
changed his antiretroviral regimen to one that did not contain
                                                                 their label to make it stronger to comply with state law.
tenofovir. See (Compl. (DE [1] ), ¶ 3). Plaintiff alleges that
                                                                 Plaintiff contends he has satisfied the privity requirements of
Atripla and Viread contained a form of TDF that is toxic
                                                                 his Breach of Express and Implied Warranty claims (Counts
to kidneys and bones in the prescribed amounts and, as a
                                                                 VI and VII) and has met the heightened pleading standard
result of taking Atripla and Viread, he sustained “kidney


               © 2020 Thomson Reuters. No claim to original U.S. Government Works.                           Page 71 of 246   1
          PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 16 of 114 Trans ID: LCV20201846220
  Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 74 of 248 PageID: 83
Epstein v. Gilead Sciences, Inc., Slip Copy (2020)
2020 WL 4333011

required to maintain his Fraud claim (Count IV). In his             both state and federal requirements.” Merck Sharp & Dohme
Response (DE [35] ), Plaintiff voluntarily dismisses his claim      Corp. v. Albrecht, 139 S. Ct. 1668, 1672 (2019) (citation and
for violation of FDUTPA (Count V), however, Plaintiff argues        internal quotations omitted). In that case, a court must find
he has sufficiently pled his remaining claims.                      that the record demonstrates an “inevitable collision” between
                                                                    the state and federal schemes; “dissimilarity of the standards”
                                                                    is not enough. Fla. Lime & Avocado Growers, Inc. v. Paul,
II. LEGAL STANDARD                                                  373 U.S. 132, 143 (1963).
At the pleading stage, a complaint must contain “a short and
plain statement of the claim showing the [plaintiff] is entitled
to relief.” Fed. R. Civ. P. 8(a). Although Rule 8(a) does not          A. Counts I, II, and III
require “detailed factual allegations,” it does require “more       Plaintiff’s Complaint is premised on the allegations that:
than labels and conclusions ... a formulaic recitation of the       (1) Gilead should have designed Atripla and Viread with
cause of action will not do.” Bell Atl. Corp. v. Twombly, 550       TAF instead of TDF, and thus, never should have sold
U.S. 544, 555 (2007). To survive a motion to dismiss, “factual      Atripla and Viread; and/or (2) Gilead failed to adequately
allegations must be enough to raise a right to relief above         warn Plaintiff or his doctors about the bone and kidney
the speculative level” and must be sufficient “to state a claim     risks associated with Atripla and Viread. Gilead argues
for relief that is plausible on its face.” Id. at 555. “A claim     these claims are preempted, because Gilead could not have
has facial plausibility when the plaintiff pleads factual content   marketed or sold medications containing this design change
that allows the court to draw the reasonable inference that the     without first seeking and obtaining FDA approval. See 21
defendant is liable for the misconduct alleged.” Ashcroft v.        C.F.R. § 314.70(b)(2)(i) (defining “changes in the qualitative
Iqbal, 556 U.S. 662, 678 (2009).                                    or quantitative formulation of the drug product” as “major
                                                                    changes” that “requir[e] supplement submission and approval
In considering a Rule 12(b)(6) motion to dismiss, the court’s       prior to distribution of the product”). This Court agrees, it
review is generally “limited to the four corners of the             would have been impossible for Gilead to comply with both
complaint.” Wilchombev v. TeeVee Toons, Inc., 555 F.3d 949,         its state duties to change the products’ labels and its federal
959 (11th Cir. 2009) (quoting St. George v. Pinellas Cty.,          duties not to make such changes without first obtaining FDA
285 F.3d 1334, 1337 (11th Cir. 2002)). Courts must review           approval. See Mut. Pharm. Co., Inc. v. Bartlett, 570 U.S.
the complaint in the light most favorable to the plaintiff, and     472, 475 (2013). Additionally, Plaintiff contends that TAF
it must generally accept the plaintiff’s well-pleaded facts as      should have been used instead of TDF; however, the FDA
true. Hishon v. King & Spalding, 467 U.S. 69, 73 (1984);            approved Gilead’s formula and any changes would have
Am. United Life Ins. Co. v. Martinez, 480 F.3d 1043, 1057           required further approval.
(11th Cir. 2007). However, pleadings that “are no more than
conclusions are not entitled to the assumption of truth. While
legal conclusions can provide the framework of a complaint,            B. Counts IV and V
they must be supported by factual allegations.” Iqbal, 556           *3 Federal Rule of Civil Procedure 9(b) (“Rule 9(b)”)
U.S. at 679.                                                        contains a “heightened pleading standard,” a plaintiff
                                                                    “alleging fraud or mistake ... must state with particularity
                                                                    the circumstances constituting fraud or mistake.” ADA v.
III. DISCUSSION                                                     Cigna Corp., 605 F.3d 1283, 1291 (11th Cir. 2010) (internal
The Supremacy Clause of the U.S. Constitution provides that         quotations omitted). “[P]ursuant to Rule 9(b), a plaintiff
the Constitution and the laws of the United States “shall           must allege: ‘(1) the precise statements, documents, or
be the supreme Law of the Land.” U.S. Const. art. VI,               misrepresentations made; (2) the time, place, and person
cl. 2. Under this principle, “any state law that interferes         responsible for the statement; (3) the content and manner
with, or is contrary to, federal law is preempted.” Estrada v.      in which these statements misled the Plaintiffs; and (4)
Becker, 917 F.3d 1298, 1302 (11th Cir. 2019) (citation and          what the defendants gained by the alleged fraud.’ ” Id.
internal quotations omitted). Congress may preempt state law        (quoting Brooks v. Blue Cross & Blue Shield of Fla.,
through: (1) express preemption, (2) field preemption, and (3)      Inc., 116 F.3d 1364, 1380–81 (11th Cir. 1997)). Here,
conflict preemption. Id. at 1303. Impossibility preemption,         Plaintiff fails to allege any facts differentiating what
a type of conflict preemption that is relevant here, occurs         specific misrepresentations or omissions Plaintiff was himself
“when it is impossible for a private party to comply with           exposed to; the identity of any his doctors, let alone what


                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                             Page 72 of 246   2
          PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 17 of 114 Trans ID: LCV20201846220
  Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 75 of 248 PageID: 84
Epstein v. Gilead Sciences, Inc., Slip Copy (2020)
2020 WL 4333011

                                                                     “shotgun pleadings are routinely condemned by the Eleventh
specific misrepresentations or omissions they were each
allegedly exposed to; when or where exposure to any alleged          Circuit.” Real Estate Mortg. Network, Inc. v. Cadrecha, 2011
misrepresentations or omissions occurred; or the manner in           WL 2881928, at *2 (M.D. Fla. July 19, 2011) (citing Pelletier
which Plaintiff and his doctors “justifiably relied” on such         v. Zweifel, 921 F.2d 1465, 1518 (11th Cir. 1991)); see also
alleged misrepresentations and omissions. Instead, Plaintiff         Davis v. Coca–Cola Bottling Co., 516 F.3d 955, 979 n.54
merely asserts his claims are based on his doctors’ justifiable      (11th Cir. 2008) (“[S]ince 1985 we have explicitly condemned
reliance on Gilead’s representations and omissions regarding         shotgun pleadings upward of fifty times.”); Strategic Income
the state of development and toxicities associated with TAF          Fund, L.L.C. v. Spear, Leeds & Kellogg Corp., 305 F.3d 1293,
and TDF. (Compl. (DE [1] ), ¶¶ 222, 226). Thus, Plaintiff has        1295 n.9 (11th Cir. 2002) (“This court has addressed the topic
not met his burden to plead his Fraud claims or his FDUTPA           of shotgun pleadings on numerous occasions in the past, often
claims with the particularity Rule 9(b) requires. Moreover, as       at great length and always with great dismay.”). Plaintiff’s
to his FDUTPA claim, Plaintiff in his Response (DE [35] ),           breach of warranty claims merely “incorporate[ ] by reference
“voluntarily agrees to dismiss.”                                     each and every allegation made above.” See e.g., (Compl. (DE
                                                                     [1] ), ¶¶ 253, 259). The Complaint (DE [1] ) does not plead the
                                                                     specific factual predicate for each claim or link particular facts
   C. Count VI and VII                                               to the individual causes of action. Accordingly, it is hereby
Defendant argues Plaintiff cannot state a breach of warranty
claim (Counts VI and VII) because: (i) Plaintiff does not stand      ORDERED AND ADJUDGED that the Defendant Gilead
in privity to Gilead; and (ii) these claims do not satisfy Rule      Sciences, Inc.’s Motion to Dismiss Complaint (DE [29] )
8(a). The Eleventh Circuit held there is “no clear rule about        is GRANTED. This cause shall stand DISMISSED
whether privity is required in every Florida express warranty        WITHOUT PREJUDICE. Plaintiff’s claims against Gilead
claim.” Godelia v. Doe, 881 F.3d 1309, 1321 (11th Cir. 2018);        for Fraud (Count IV), Breach of Express Warranty (Count
compare T.W.M. v. Am. Med. Sys., 886 F. Supp. 842, 844               VI), and Breach of Implied Warranty (Count VII) are
(N.D. Fla. 1995) (stating that privity is required for all express   DISMISSED WITHOUT PREJUDICE. Further, Plaintiff’s
warranty claims), with Smith v. Wm. Wrigley Jr. Co., 663 F.          claims against Gilead for Strict Products Liability – Design
Supp. 2d 1336, 1342–43 (S.D. Fla. 2009) (recognizing that            Defect (Count I), Strict Products Liability – Failure to Warn
privity may not be required for all express warranty claims).        (Count II), Negligence (Count III), and Violation of the
Federal Rule of Civil Procedure 8(a), however, requires that         Florida Deceptive and Unfair Trade Practices Act (Count V)
a pleading contain a “short and plain statement of the claim”        are DISMISSED WITH PREJUDICE. The Clerk of Court
showing that the pleader is entitled to relief. Fed. R. Civ.         is directed to CLOSE this case and DENY AS MOOT any
P. 8(a)(2). A “shotgun complaint contains several counts,            pending motions. Plaintiff may move to amend the complaint
each one incorporating by reference the allegations of its           by August 7, 2020.
predecessors, leading to a situation where most of the counts
(i.e., all but the first) contain irrelevant factual allegations     *4 DONE AND ORDERED in Chambers, Fort
and legal conclusions.” Strategic Income Fund, LLC. v. Spear,        Lauderdale, Florida, this 27th day of July 2020.
Leeds & Kellogg Corp., 305 F.3d 1293, 1295 (11th Cir.
2002). Shotgun pleadings make it “virtually impossible to
                                                                     All Citations
know which allegations of fact are intended to support which
claim(s) for relief.” Anderson v. Dist. Bd. of Trs. of Cent. Fla.
                                                                     Slip Copy, 2020 WL 4333011
Cmty. College, 77 F.3d 364, 366 (11th Cir. 1996). Therefore,

End of Document                                                         © 2020 Thomson Reuters. No claim to original U.S.
                                                                                                    Government Works.




                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                Page 73 of 246   3
    PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 18 of 114 Trans ID: LCV20201846220
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 76 of 248 PageID: 85




                            Exhibit D




                                                                         Page 74 of 246
          PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 19 of 114 Trans ID: LCV20201846220
  Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 77 of 248 PageID: 86
Evans v. Gilead Sciences, Inc., Slip Copy (2020)
2020 WL 5189995

                                                                   Federal Rule of Civil Procedure 9(b). Lastly, Evans’ warranty
                                                                   claims are dismissed as vague and conclusory. Accordingly,
                  2020 WL 5189995
                                                                   Gilead's motion to dismiss Evans’ first amended complaint,
    Only the Westlaw citation is currently available.
                                                                   Dkt. No. 20, is GRANTED. Evans is granted leave to amend
       United States District Court, D. Hawai‘i.
                                                                   all but his federally preempted design defect claims.
          Brian EVANS, Plaintiff,
                   v.
                                                                   FACTUAL & PROCEDURAL BACKGROUND
     GILEAD SCIENCES, INC., Defendant.
                                                                   The following facts are drawn from the allegations in the
             Case No. 20-cv-00123-DKW-KJM                          first amended complaint, “documents incorporated into the
                             |                                     complaint by reference, and matters of which a court may take
                   Signed 08/31/2020                               judicial notice.” Tellabs, Inc. v. Makor Issues & Rights, Ltd.,
                                                                   551 U.S. 308, 322 (2007).
Attorneys and Law Firms

Brian Evans, Kihei, HI, pro se.
                                                                     A. Truvada® for PrEP
Alycia A. Degen, Pro Hac Vice, Joshua E. Anderson, Pro             At all times relevant, Defendant Gilead Sciences, Inc.
Hac Vice, Sidley Austin LLP, Los Angeles, CA, Stefan M.            (Gilead) manufactured and marketed the brand-name
Reinke, Lyons Brandt Cook & Hiramatsu, Honolulu, HI, for           prescription drug Truvada. See Dkt. No. 8 at 1, 3.1 Truvada
Defendant.                                                         contains two active ingredients, one of which is relevant here:
                                                                   Tenofovir disoproxil fumarate (TDF). Id. at 4.2 TDF was
                                                                   approved by the Food and Drug Administration (FDA) in
ORDER (1) GRANTING DEFENDANT'S MOTION                              October 2001. Dkt. No. 8 at 4.
TO DISMISS; AND (2) DISMISSING THE FIRST
AMENDED COMPLAINT WITH LEAVE TO AMEND                              *2 On August 2, 2004, the FDA approved Truvada for the
                                                                   treatment of HIV infection in adults.3 On July 16, 2012, the
Derrick K. Watson, United States District Judge
                                                                   FDA approved Truvada for use by HIV-negative adults as a
 *1 This product liability case involves pro se Plaintiff Brian    Pre-Exposure Prophylaxis (PrEP) taken daily to reduce the
Evans’ use of Truvada®, an FDA-approved prescription drug          risk of becoming infected with HIV.4
designed and manufactured by Defendant Gilead Sciences,
Inc., for the prevention and treatment of HIV. Gilead has
moved to dismiss the complaint for failure to state a claim,         B. Alleged Risks Associated With TDF in Truvada
Dkt. No. 20, arguing that the claims are preempted by the          Plaintiff Brian Evans was prescribed Truvada in October
Food, Drug, and Cosmetic Act (FDCA), 21 U.S.C. § 301 et            2018. Dkt. No. 8 at 4. Evans alleges that as a result of taking
seq., and that Evans has failed to adequately allege facts to      Truvada, he “has now suffered irreversible damages to his
support the elements of his claims for failure-to-warn, fraud,     bones.” Id. at 5. Evans also alleges that he now suffers from,
and breach of express and implied warranty.                        and has been diagnosed with, diffuse arthralgia (i.e., joint
                                                                   pain) and is unable to work. Id. at 2, 7.5
First, Evans’ design defect claims are preempted under the
FDCA because it was impossible for Gilead to comply                Evans asserts that, as early as 1997, studies had associated
with both Hawaii tort law and the FDCA's design approval           TDF with bone and kidney damage. See Dkt. No. 8 at 7–8.
requirements. Federal regulations, however, permitted Gilead       In one study, patients who had taken Truvada demonstrated
to unilaterally change its Truvada labeling and, thus, Evans’      accelerated losses of bone density, resulting in “Osteoporosis
failure-to-warn claims are not preempted. Second, Evans has        [and] other joint and bone conditions.” Id. at 2–3. By 2001,
failed to sufficiently allege that the inadequacy of the Truvada   Gilead allegedly knew that Truvada had to be taken by
labeling proximately caused his injuries. Third, Evans has         consumers in high doses to be effective, and thus, patients
not pled his fraud claim with “particularity” as required by



                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                             Page 75 of 246   1
          PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 20 of 114 Trans ID: LCV20201846220
  Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 78 of 248 PageID: 87
Evans v. Gilead Sciences, Inc., Slip Copy (2020)
2020 WL 5189995

taking Truvada were at a higher risk for bone and kidney            symptoms while receiving TDF-containing products [see
damage. Id. at 2, 4, 7.                                             Warnings and Precautions (5.3) ].
                                                                  Dkt. No. 20-2 at 7–8 (brackets in original); see also id. at 8
The Truvada labeling in effect at the time Evans was              (noting that “ADVERSE REACTIONS” include “Bone Loss
prescribed Truvada (October 2018) was approved by the FDA         and Mineralization Defects”); id. at 12 (“In clinical trials
on May 15, 2018. Dkt. No. 20-2.6 The FDA-approved patient         of HIV-1 uninfected individuals, decreases in BMD were
labeling states, in relevant part, “Bone problems can happen      observed.”).
in some people who take TRUVADA. Bone problems include
bone pain, or softening or thinning of bones, which may lead      The “PATIENT COUNSELING INFORMATION” in the
to fractures. Your healthcare provider may need to do tests to    label further instructs physicians to “[a]dvise the patient
check your bones.” Id. at 37 (emphasis in original).              to read the FDA-approved patient labeling (Medication
                                                                  Guide),” id. at 32, “[i]nform patients that decreases in bone
The Truvada labeling also provides information for                mineral density have been observed with the use of TDF
physicians prescribing Truvada. On the first page, under          or TRUVADA,” and “[c]onsider bone monitoring in patients
“WARNINGS AND PRECAUTIONS,” the label notes, inter                and uninfected individuals who have a history of pathologic
alia, “[d]ecreases in bone mineral density (BMD): Consider        bone fracture or at risk for osteopenia [see Warnings and
assessment of BMD in patients with a history of pathologic        Precautions (5.5) ],” id. at 33 (brackets in original).
fracture or other risk factors for osteoporosis or bone loss.”
Id. at 1. Under “DRUG INTERACTIONS,” it provides                  Evans alleges the warnings “partially disclosed material
that “Coadministration of TRUVADA with certain HIV-1              facts” and were “contrary to those [Gilead] gave with respect
protease inhibitors or certain drugs to treat HCV increases       to the exact same drugs in [Europe].” Dkt. No. 8 at 8.
tenofovir concentrations. Monitor for evidence of tenofovir
toxicity.” Id. at 1. In a separate section, entitled “Bone Loss
                                                                     C. TAF is Allegedly “Safer” Than TDF
and Mineralization Defects,” it states:
                                                                  In April 2001, scientists published research for a different
  In clinical trials in HIV-1 infected adults and in a clinical   chemical known as tenofovir alafenamide fumarate (TAF).
  trial of HIV-1 uninfected individuals, TDF (a component of      Dkt. No. 8 at 4. TAF, as compared to TDF, was allegedly
  TRUVADA) was associated with slightly greater decreases         shown to be substantially more effective against HIV with
  in bone mineral density (BMD)[.]                                far less toxicity. Id. at 5. Evans alleges Gilead began clinical
                                                                  trials for TAF but kept the results secret until it announced
   *3                                                             in October 2004 (shortly after Truvada was first FDA-
  ....                                                            approved) that Gilead was abandoning its research on TAF.
                                                                  Id. According to Evans, Gilead “purposefully withheld” TAF,
  Assessment of BMD should be considered for adult and            knowing that it was “safer” than TDF, so that the company
  pediatric patients who have a history of pathologic bone        could “make more money” by continuing to sell Truvada
  fracture or other risk factors for osteoporosis or bone loss.   until the Truvada patents expired and the medication could be
                                                                  purchased from generic prescription drug manufacturers. See
  ....
                                                                  id. at 5, 7; id. at 2. In 2010, Gilead began publishing the results
  Cases of osteomalacia associated with proximal renal            of its earlier studies on TAF. See id. at 5. Between November
  tubulopathy, manifested as bone pain or pain in extremities     2015 and February 2018, the FDA approved at least four TAF-
  and which may contribute to fractures, have been                containing medications manufactured by Gilead. See id. at 5.7
  reported in association with TDF use [see Adverse
  Reactions (6.1) ]. Arthralgia and muscle pain or                *4 As noted, in October 2018, Evans was prescribed
  weakness have also been reported in cases of proximal           Truvada. Id. at 4.8
  renal tubulopathy. Hypophosphatemia and osteomalacia
  secondary to proximal renal tubulopathy should be
  considered in patients at risk of renal dysfunction who           D. Evans’ Claims
  present with persistent or worsening bone or muscle             Although the complaint lacks focus and Evans’ claims
                                                                  concerning Truvada are difficult to deconstruct, heeding the



               © 2020 Thomson Reuters. No claim to original U.S. Government Works.                               Page 76 of 246   2
          PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 21 of 114 Trans ID: LCV20201846220
  Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 79 of 248 PageID: 88
Evans v. Gilead Sciences, Inc., Slip Copy (2020)
2020 WL 5189995

obligation to construe his complaint liberally, Evans’ theory        complaint must contain sufficient fact[s] ... to ‘state a claim to
of liability is twofold. First, Evans alleges Gilead failed to       relief that is plausible on its face.’ ” Ashcroft v. Iqbal, 556 U.S.
adequately disclose on its prescriber and patient labeling           662, 678 (2009) (quoting Twombly, 550 U.S. at 555, 570).
for Truvada that: (a) the drug “could cause damage to the
kidneys and to the bones of those who ingest it,” including           *5 A claim becomes plausible “when the plaintiff pleads
“the problems that [Evans] is now suffering” (i.e., diffuse          factual content that allows the court to draw the reasonable
arthralgia); and (b) doctors should “monitor all TDF patients,       inference that the defendant is liable for the misconduct
on a frequent, specific schedule, for the adverse effects of         alleged.” Iqbal, 556 U.S. at 678. In making this assessment,
TDF-associated bone and kidney toxicity.” See id. at 2, 6–7.         a court “must accept as true all of the factual allegations
Evans also alleges Gilead failed to issue any such “warnings         contained in the complaint,” Erickson v. Pardus, 551 U.S.
until 2018, despite knowing of these effects since 2001.” Id.        89, 94 (2007), and draw “any reasonable inferences” in
at 6. Second, Evans asserts “Gilead purposefully withheld the        favor of the plaintiff. Johnson v. Riverside Healthcare Sys.,
TAF design, which it knew was safer than TDF, to make more           534 F.3d 1116, 1122 (9th Cir. 2008). In other words, a
money.” Id. at 7; see also id. at 6, ¶ 2. Evans’ complaint asserts   plaintiff's “[f]actual allegations must be enough to raise a
the following product liability claims sounding in negligence        right to relief above the speculative level on the assumption
and strict liability: (1) “Strict Products Liability – Failure       that all the allegations in the complaint are true (even if
to Warn”; (2) “Negligence and Gross Negligence – Design              doubtful in fact).” Twombly, 550 U.S. at 555 (internal citations
Defect and Failure to Warn”; (3) “Fraud”; and (4) “Breach of         omitted). That said, the plausibility standard “demands
Express and Implied Warranty.” Id. at 1, 8.                          more than an unadorned, the-defendant-unlawfully-harmed-
                                                                     me accusation,” Iqbal, 556 U.S. at 678, and “labels and
                                                                     conclusions, and a formulaic recitation of the elements of a
   E. Procedural History                                             cause of action will not do.” Id. (quoting Twombly, 550 U.S.
Because Evans filed this lawsuit pro se, seeking to proceed          at 555).
in forma pauperis, the Court conducted its mandatory, sua
sponte screening of the complaint pursuant to 28 U.S.C. §            A court, therefore, judges the sufficiency of a complaint under
1915(a) and dismissed the complaint with leave to amend for          a two-pronged approach: (1) disregard all “legal conclusions”
failure to state a claim upon which relief may be granted. Dkt.      and “conclusory statements”; and (2) determine whether the
No. 7 at 6; 28 U.S.C. § 1915(e)(2)(B); Denton v. Hernandez,          remaining “well-pleaded factual allegations,” accepted as
504 U.S. 25, 32 (1992). Evans filed an amended complaint,            true, “plausibly give rise to an entitlement to relief.” Iqbal,
Dkt. No. 8, which the Court held “may proceed such that              556 U.S. at 678–81. Dismissal is then warranted “where there
Gilead may be served,” but noted that “Gilead ... may still          is no cognizable legal theory or an absence of sufficient
challenge Evans’ claims through any means procedurally               facts alleged to support a cognizable legal theory.” Interpipe
permitted by the Federal Rules.” Dkt. No. 9 at 5.                    Contracting, Inc. v. Becerra, 898 F.3d 879, 886 (9th Cir. 2018)
                                                                     (quoting L.A. Lakers, Inc. v. Fed. Ins. Co., 869 F.3d 795, 800
Pursuant to Federal Rule of Civil Procedure 12(b)(6), Gilead         (9th Cir. 2017)).
has moved to dismiss all claims. Dkt. No. 20.


                                                                     DISCUSSION
STANDARD OF REVIEW
                                                                     Gilead asserts various grounds to dismiss each of Evans’
“Federal Rule of Civil Procedure 8(a)(2) requires only ‘a short      claims. Dkt. No 20-1 at 7–9; Dkt. No. 33 at 2–3. Evans’
and plain statement of the claim showing that the pleader is         opposition consists almost solely of allegations copied from
entitled to relief,’ in order to ‘give the defendant fair notice     an antitrust class action complaint filed against Gilead, Dkt.
of what the ... claim is and the grounds upon which it rests.’
                                                                     No. 31,9 which is irrelevant to Evans’ product liability
” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)
                                                                     claims and the arguments Gilead raises for dismissal.
(ellipsis in original) (quoting Conley v. Gibson, 355 U.S. 41,
                                                                     Notwithstanding Evans’ failure to meaningfully respond to
47 (1957)). “[T]he pleading standard Rule 8 announces does
                                                                     Gilead's arguments, that alone is insufficient grounds to
not require ‘detailed factual allegations,’ ” but it does require
                                                                     conclude that the complaint fails to state a claim, as Gilead
that “[t]o survive a motion to dismiss [under Rule 12(b)(6)], a



                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                 Page 77 of 246    3
          PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 22 of 114 Trans ID: LCV20201846220
  Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 80 of 248 PageID: 89
Evans v. Gilead Sciences, Inc., Slip Copy (2020)
2020 WL 5189995

must still satisfy its burden as the movant.10 Therefore, the       Williams Co., 458 U. S. 654, 659 (1982) (“The existence of a
Court will address Gilead's arguments in turn.                      hypothetical or potential conflict is insufficient to warrant the
                                                                    pre-emption of the state statute”).

I. Federal Preemption Under the FDCA                                Therefore, the defining “question for ‘impossibility’ is
The threshold issue raised by Gilead is federal preemption.         whether the private party could independently do under
Gilead argues that Evans’ complaint must be dismissed in            federal law what state law requires of it.” PLIVA, 564
its entirety because his claims are “all based on his design        U.S. at 620 (citing Wyeth, 555 U.S. at 573); Bates v. Dow
defect and failure to warn theories” and these two claims are       Agrosciences L.L.C., 544 U.S. 431, 445 (2005) (“The proper
“preempted by federal law.” Dkt. No. 20-1 at 20; Dkt. No. 33        inquiry calls for an examination of the elements of the
at 3. For the reasons that follow, the Court agrees with respect    common-law duty at issue; it does not call for speculation as
to Evans’ design defect claims only.                                to whether a jury verdict will prompt the manufacturer to take
                                                                    any particular action.” (internal citations omitted)).

   A. Applicable Preemption Principles
“A fundamental principle of the Constitution”—namely, the              B. Hawaii Tort Law and the FDCA
Supremacy Clause—“is that Congress has the power to                 With the above principles in mind, the Court must compare
preempt state law.” Crosby v. Nat'l Foreign Trade Council,          state tort duties with federal labeling and design requirements
530 U.S. 363, 372 (2000) (citing U.S. Const. art. VI, cl. 2). “In   imposed on brand-name drug manufacturers to determine
all pre-emption cases, ... [courts] ‘start with the assumption      whether it was “impossible” for Gilead to comply with
that the historic police powers of the States were not to           state and federal law. See PLIVA, 564 U.S. at 611. Hawaii
be superseded by the Federal Act unless that was the clear          law applies in this case.12 The federal law at issue is the
and manifest purpose of Congress.’ ” Wyeth v. Levine, 555           Food, Drug, and Cosmetic Act (FDCA), 21 U.S.C. § 301
U.S. 555, 565 (2009) (citations and internal quotation marks        et seq., and its implementing regulations through which the
omitted). The U.S. Supreme Court “has sometimes used                FDA regulates the approval and labeling of brand-name
different labels to describe the different ways in which federal    prescription drugs.
statutes may displace state laws—speaking, for example, of
express, field, and conflict preemption.” Va. Uranium, Inc. v.
Warren, 139 S. Ct. 1894, 1901 (2019). Gilead relies solely on
conflict preemption. See Dkt. No. 20-1 at 23.                       1. Duties Under Hawaii Law

                                                                    Under Hawaii common law, “where a seller or lessor ... sells
 *6 Conflict preemption exists in two forms: impossibility
                                                                    or leases a defective product which is dangerous to the user or
preemption and obstacle preemption. See Crosby, 530 U.S.
                                                                    consumer, and injury results from its use or consumption, the
at 373; Valle Del Sol Inc. v. Whiting, 732 F.3d 1006, 1023
                                                                    seller or lessor will be held strictly liable in tort for the injury.”
(9th Cir. 2013). Gilead argues “it was impossible for Gilead to
                                                                    Tabieros v. Clark Equip. Co., 944 P.2d 1279, 1310 (Haw.
comply simultaneously with both a purported state law duty”
                                                                    1997) (quoting Ontai v. Straub Clinic & Hosp., 659 P.2d 734,
and the requirements imposed by federal law. See Dkt. No.
                                                                    739 (Haw. 1983)). “A product may be defective” by virtue
20-1 at 23–31. As such, the requirements for “impossibility
                                                                    of its manufacturing, design, or “insufficient warning.” Id. at
preemption” govern.
                                                                    1296 (citation omitted). “A plaintiff may establish a defect
                                                                    for purposes of either strict liability or negligence under three
“Impossibility pre-emption is a demanding defense.” Wyeth,
                                                                    approaches: (1) the ‘consumer expectation’ test; (2) the ‘risk-
555 U.S. at 573. The party invoking this preemption defense
                                                                    utility’ test; and (3) the ‘latent danger’ test.” Acoba v. General
must show that it is “ ‘impossible for [that] private party
                                                                    Tire, Inc., 986 P.2d 288, 304 (Haw. 1999) (quoting Tabieros,
to comply with both state and federal requirements.’ ”
PLIVA, Inc. v. Mensing, 564 U.S. 604, 618 (2011) (quoting           944 P.2d at 1310).13

Freightliner Corp. v. Myrick, 514 U.S. 280, 287 (1995)).11
“[T]he mere possibility of impossibility [i]s not enough.”
PLIVA, 564 U.S. at 624 n.8 (citations and internal quotation        2. FDCA Requirements
marks omitted); Wyeth, 555 U.S. at 571; Rice v. Norman



                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                  Page 78 of 246    4
          PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 23 of 114 Trans ID: LCV20201846220
  Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 81 of 248 PageID: 90
Evans v. Gilead Sciences, Inc., Slip Copy (2020)
2020 WL 5189995

 *7 Federal law, in this case, is more robust than state          made pursuant to the CBE regulation. Wyeth, 555 U.S. at
law. Under the FDCA, drug manufacturers must obtain               571. But the possibility of rejection does not preempt state
approval from the FDA before bringing a new drug to               law. For a brand-name manufacturer to establish that “it was
market. 21 U.S.C. § 355(a). “It is beyond dispute that the        impossible” to comply with both federal and state labeling
federal statutes and regulations that apply to brand-name drug    requirements, it must produce “clear evidence that the FDA
manufacturers,” like Gilead, “are meaningfully different than     would not have approved a change to [the] label.” Id.;
those that apply to generic drug manufacturers.” PLIVA, 564       Albrecht, 139 S. Ct. at 1672 (holding that “this question of
U.S. at 626. “A brand-name manufacturer ... is responsible        pre-emption is one for a judge to decide, not a jury”). “[T]he
for the accuracy and adequacy of its label.” See, e.g., PLIVA,    mere fact that the FDA approved [the brand-name drug]’s
564 U.S. at 613 (citing 21 U.S.C. §§ 355(b)(1), (d)). “It         label does not establish that it would have prohibited such a
is charged both with crafting an adequate label and with          change.” Wyeth, 555 U.S. at 573.
ensuring that its warnings remain adequate as long as the drug
is on the market.” Wyeth, 555 U.S. at 571 (citations omitted).    The FDCA is different for generic drug manufacturers.
“A manufacturer seeking generic drug approval, on the other       Since Congress passed what is commonly known as the
hand, is responsible for ensuring that its warning label is the   “Hatch-Waxman Act” in 1984, now “a generic drug” may
same as the brand name's.” See, e.g., PLIVA, 564 U.S. at 613      simply be approved if “the generic drug is identical to
(citing 21 U.S.C. § 355(j)(2)(A)(v), (j)(4)(G); 21 C.F.R. §§      the already-approved brand-name drug” in terms of active
314.94(a)(8), 314.127(a)(7)).                                     ingredients, route of administration, dosage form, strength,
                                                                  and labeling. See Bartlett, 570 U.S. at 477; PLIVA, 564 U.S.
“In the case of a new brand-name drug, FDA approval               at 612; 21 U.S.C. §§ 355(j)(2)(A)(ii)–(v), (8)(B). Moreover,
can be secured only by submitting a new-drug application          unlike brand-name drug manufacturers, the FDCA “prohibits
(NDA).” Bartlett, 570 U.S. at 476 (noting that the “process       generic drug manufacturers from independently changing
of submitting an NDA is both onerous and lengthy”). The           their drugs’ labels.” Bartlett, 570 U.S. at 475, 477 (citing 21
FDA may approve the drug “only if it determines that the          C.F.R. §§ 314.94(a)(8)(iii), 314.150(b)(10) (approval for a
drug in question is ‘safe for use’ under ‘the conditions of       generic drug may be withdrawn if the generic drug's label “is
use prescribed, recommended, or suggested in the proposed         no longer consistent with that for [the brand-name] drug”)).
labeling thereof.’ ” Id. (quoting 21 U.S.C. § 355(d)). FDA
approval of a new drug also includes approval of the “exact        *8    Nonetheless, generic and brand-name drug
text” on the final label. Wyeth, 555 U.S. at 568; 21 C.F.R. §     manufacturers are similar in one important aspect: “Once
314.105(b).                                                       a drug—whether generic or brand-name—is approved, the
                                                                  manufacturer is prohibited from making any major changes
After approval, the FDA's “changes being effected” (CBE)          to the ‘qualitative or quantitative formulation of the drug
regulation permits brand-name drug manufacturers to revise        product, including active ingredients, or in the specifications
their labels “to reflect newly acquired information” if the       provided in the approved application.’ ” Bartlett, 570 U.S. at
change is designed to “add or strengthen a contraindication,      477 (quoting 21 C.F.R. § 314.70(b)(2)(i)).
warning, precaution, or adverse reaction for which [there is]
evidence of a causal association” or to “add or strengthen an     The trilogy of preemption cases the Supreme Court has
instruction about dosage and administration that is intended      decided involving drug manufacturers illustrates how the
to increase the safe use of the drug product.” See, e.g., 21      “different federal statutes and regulations” applicable to
C.F.R. § 314.70(c)(6)(iii)(A), (C); Merck Sharp & Dohme           generic and brand-name drug manufacturers “lead to different
Corp. v. Albrecht, 139 S. Ct. 1668, 1679 (2019); PLIVA,           pre-emption results.” See PLIVA, 564 U.S. at 626.
564 U.S. at 614–15, 624. Brand-name drug manufacturers
“may make the labeling change upon filing [a] supplemental        First, in Wyeth v. Levine, a failure-to-warn lawsuit was
application with the FDA; [they] need not wait for FDA            brought against a brand-name drug manufacturer like Gilead.
approval.” Wyeth, 555 U.S. at 568 (citing 21 C.F.R. §§            555 U.S. at 558. Because it is possible for a brand-name drug
314.70(c)(6)(iii)(A), (C)); Albrecht, 139 S. Ct. at 1673, 1679;   manufacturer to comply with labeling requirements under
PLIVA, 564 U.S. at 624 (“They need only simultaneously            both state and federal law, the Court held that the lawsuit
file a supplemental application with the FDA.”). “[T]he FDA       was not preempted. Id. at 571–73. Specifically, the Court
retains authority to reject” these unilateral labeling changes    reasoned that the CBE regulation, 21 C.F.R. § 314.70(c)(6)



               © 2020 Thomson Reuters. No claim to original U.S. Government Works.                            Page 79 of 246   5
          PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 24 of 114 Trans ID: LCV20201846220
  Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 82 of 248 PageID: 91
Evans v. Gilead Sciences, Inc., Slip Copy (2020)
2020 WL 5189995

(iii), permitted a brand-name drug manufacturer, like Wyeth,         plaintiff's claims from preemption under the FDCA. Id. at
“to unilaterally strengthen its warning” without prior FDA           489–90; see also id. at 487 n.3 (“[O]ur pre-emption cases
approval and Wyeth had not offered any evidence “that the            presume that a manufacturer's ability to stop selling does not
FDA would not have approved a change” to the drug label in           turn impossibility into possibility.”).
question. Id. at 572–73.

Second, in PLIVA, Inc. v. Mensing, the Court held that
                                                                     3. Analysis: Preemption as to Evans’ Claims
state failure-to-warn claims brought against generic drug
manufacturers were preempted by the FDCA because “it                  *9 Liberally construed, the Court interprets the complaint
was impossible” for the defendants “to comply with both              to raise both pre- and post-approval design defect claims
their state-law duty” to strengthen the warning on the label
                                                                     and post-approval failure to warn claims.14 Applying the
and “their federal-law duty to keep the label the same” as
                                                                     standard for impossibility preemption to these claims, the
the corresponding brand-name drug labels. PLIVA, 564 U.S.
                                                                     Court concludes that only Evans’ design defect claims are
at 610, 618–19. “[T]he CBE process was not open to the
                                                                     preempted under the FDCA because it was impossible for
[generic manufacturers],” id. at 615, and, thus, “federal law
                                                                     Gilead to comply with both Hawaii tort law and the FDCA's
would permit the [generic manufacturers] to comply with
                                                                     design approval requirements.
the state labeling requirements if, and only if, the FDA and
the brand-name manufacturer changed the brand-name label
to do so.” Id. at 620, 624. The Court rejected the argument
that preemption turned on whether the manufacturers “asked           a. Evans’ Design Defect Claims are Preempted
the FDA for help in changing the corresponding brand-
                                                                     First, to the extent Evans asserts a pre-approval design
name label.” Id. at 619. Because the generic manufacturers
                                                                     defect claim—i.e., prior to Truvada receiving FDA approval,
could not “independently” change their drug labels “without
                                                                     Gilead should have produced an HIV treatment or PrEP drug
the Federal Government's special permission and assistance,
                                                                     containing TAF, rather than TDF—this claim is preempted.
which is dependent on the exercise of judgment by a federal
                                                                     Specifically, Evans alleges “Gilead abandoned its TAF
agency,” the failure-to-warn claims were preempted. Id. at
                                                                     (tenofovir) design in 2004” and “purposefully withheld the
624.
                                                                     TAF design, which it knew was safer than TDF, to make more
                                                                     money.” See Dkt. No. 8 at 7; see id. 6, ¶ 2 (alleging Gilead
Third, Mutual Pharm. Co. v. Bartlett involved a state-
                                                                     produced “a medication that it knew caused bone issues
law “design-defect claim” brought against a generic drug
                                                                     to those who took the medication, knowing it had a safer
manufacturer. 570 U.S. at 475. The Court held that such
                                                                     medication that would have prevented [Evans’] irreversible
“state-law design-defect claims” are preempted. See id. at
                                                                     injuries”).
476, 487. The Court explained that it “was not possible” for
the manufacturer to “redesign” its generic drug because (a) the
                                                                     The problem with Evans’ theory is that it was impossible for
FDCA requires a generic drug to be chemically identical to
                                                                     Gilead to “independently” distribute a TAF-containing drug.
its brand-name counterpart; and (b) the drug in question was
                                                                     See Mensing, 564 U.S. at 620. Doing so would have required
“chemically incapable of being redesigned” due to its “simple
                                                                     prior FDA approval of the new drug. 21 U.S.C. § 355(a),
composition,” consisting of only one molecule. Id. at 483–84.
                                                                     (d); Bartlett, 570 U.S. at 476. Unlike the CBE process that
Moreover, it was not possible to, alternatively, strengthen the
                                                                     permits “unilateral,” post-approval label changes to be made
drug's warning label to avoid liability because “[a]s PLIVA
                                                                     immediately without prior FDA approval, Wyeth, 555 U.S.
made clear, federal law prevents generic drug manufacturers
                                                                     at 568; Albrecht, 139 S. Ct. at 1679, there is not a process
from changing their labels.” Id. at 484, 486. Although the
                                                                     under the FDCA's regime that permits a drug manufacturer
lower court had reasoned that a generic manufacturer “could
                                                                     to simply submit a new drug application and immediately
escape the impossibility of complying with both its federal-
                                                                     begin distributing that drug until and unless the FDA rejects
and state-law duties by ‘choos[ing] not to make [the generic
                                                                     the application. “[W]hen a party cannot satisfy its state duties
drug] at all,’ ” id. at 488 (citation omitted), the Court rejected
                                                                     without the Federal Government's special permission and
this “ ‘stop-selling’ rationale,” holding “the prospect that a
                                                                     assistance, which is dependent on the exercise of judgment
regulated actor could avoid liability under both state and
                                                                     by a federal agency, that party cannot independently satisfy
federal law by simply leaving the market did not” save the



                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                              Page 80 of 246   6
          PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 25 of 114 Trans ID: LCV20201846220
  Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 83 of 248 PageID: 92
Evans v. Gilead Sciences, Inc., Slip Copy (2020)
2020 WL 5189995

those state duties for pre-emption purposes.” PLIVA, 564 U.S.       approval design defect claims, if any, are preempted under the
at 623–24.                                                          FDCA.

Other courts have reached a different conclusion based on            *10 Second, there is no question that any post-approval
two principal reasons, neither of which square with Supreme         design defect claim is preempted by the FDCA. “Once
Court precedent.15 First, courts have reasoned that nothing         a drug—whether generic or brand-name—is approved, the
requires a brand-name manufacturer “to use the allegedly            manufacturer is prohibited from making any major changes
defective design in the first place.” Holley v. Gilead Scis.,       to the ‘qualitative or quantitative formulation of the drug
Inc., 379 F. Supp. 3d 809, 824 (N.D. Cal. 2019) (quoting            product, including active ingredients, or in the specifications
Trahan v. Sandoz, Inc., No. 3:13-cv-350-J-34MCR, 2015               provided in the approved application.’ ” Bartlett, 570
WL 2365502, at *6 n.5 (M.D. Fla. Mar. 26, 2015)). But               U.S. at 477 (quoting 21 C.F.R. § 314.70(b)(2)(i)). Post-
that theory is essentially a “never-start selling rationale”        approval changes to a drug's composition are divided into
akin to the “stop-selling rationale” rejected in Bartlett, 570      three categories: “major,” “moderate,” and “minor” changes.
U.S. at 488–89. See Yates v. Ortho-Mcneil-Janssen Pharms.,          See 21 C.F.R. § 314.70(b)–(d). Major changes require
Inc., 808 F.3d 281, 300 (6th Cir. 2015) (holding that pre-          FDA “approval prior to distribution of the product made
                                                                    using the change,” while moderate and minor changes
approval drug design defect claims were preempted).16
                                                                    do not. See id. (providing examples of changes within
“[A] manufacturer's ability to stop selling does not turn
                                                                    each category). Because changes in the “the qualitative
impossibility into possibility.” See, e.g., Bartlett, 570 U.S. at
                                                                    or quantitative formulation of the drug product, including
487 n.3; id. at 489 n.5 (“[T]he mere fact that a manufacturer
                                                                    inactive ingredients” and “drug substance” are major changes,
may avoid liability by leaving the market does not defeat a
                                                                    id. § 314.70(b)(2)(i), (iii), clearly substituting TAF for TDF
claim of impossibility.”). Second, some courts have held that
                                                                    as one of the active ingredients in Truvada constitutes
pre-approval design defect claims are not preempted because
                                                                    a “major change” requiring prior FDA approval. See,
a drug manufacturer could have possibly “develop[ed] and
                                                                    e.g., Yates, 808 F.3d at 298 (holding that post-approval
submit[ed] for approval drugs that contained TAF rather than
                                                                    design defect claim against brand-name drug manufacturers
TDF” at an earlier date. See Holley, 379 F. Supp. 3d at
                                                                    was “clearly preempted” because “federal law prohibited
824 (quoting Sullivan, 2015 WL 4879112, at *6). PLIVA,
                                                                    defendants from decreasing the dosage of estrogen post-
however, rejected a similar rationale. See PLIVA, 564 U.S.
                                                                    approval”); Gustavsen v. Alcon Labs., Inc., 903 F.3d 1, 14
at 619–21. Merely “requesting FDA assistance” or “ask[ing]
                                                                    (1st Cir. 2018) (“[C]hanging the product bottle so as to
the FDA for help” in complying with state law “would
                                                                    dispense a different amount of prescription eye solution is a
have satisfied [Gilead's] federal duty, [but] it would not
                                                                    ‘major change’ under 21 C.F.R. § 314.70(b),” meaning that
have satisfied [Gilead]’s state tort-law duty” to provide an
                                                                    “plaintiffs’ attempt to use state law to require such a change is
allegedly safer drug composition. Id. at 619. “The only action
                                                                    preempted.”); Drescher v. Bracco Diagnostics Inc., 2020 WL
[Gilead] could independently take—asking for the FDA's
                                                                    699878, at *8 (D. Ariz. Jan. 31, 2020) (post-approval design-
help [by submitting a TAF-containing drug application]—
                                                                    defect claim against brand-name manufacturer preempted
is not a matter of state-law concern.” See PLIVA, 564 U.S.
                                                                    because the design change advocated for “would constitute
at 624. In short, pre-approval design defect claims against
                                                                    a major change under the regulations” requiring “prior FDA
brand-name drug manufacturers are preempted by the FDCA.
                                                                    approval”); Paulsen v. Abbott Labs., 368 F. Supp. 3d 1152,
See, e.g., Utts v. Bristol-Myers Squibb Co., 226 F. Supp. 3d
                                                                    1173 (N.D. Ill. 2019) (“[A]ny claims by Plaintiff that TAP
166, 185–86 (S.D.N.Y. 2016) (concluding that pre-approval
                                                                    should have changed the formulation of Lupron is preempted
design defect claim against brand-name drug manufacturer
                                                                    by FDA regulations that prohibit a change in the formulation
was preempted, despite plaintiffs’ arguments that “defendants
                                                                    of a drug once it has been approved.”); Batoh v. McNeil-PPC,
had a pre-approval duty to submit a differently designed drug
                                                                    Inc., 167 F. Supp. 3d 296, 322 (D. Conn. 2016) (post-approval
for FDA approval” or, alternatively, “should never have sold
                                                                    design defect claim preempted because “[i]f Defendants
the FDA-approved formulation of Eliquis”); Mahnke v. Bayer
                                                                    had unilaterally changed the active ingredient of Motrin
Corp., No. 219CV07271, 2019 WL 8621437, at *5 (C.D.
                                                                    from ibuprofen to dexibuprofen to satisfy their state law
Cal. Dec. 10, 2019); Brazil v. Janssen Research & Dev. LLC,
                                                                    duty, they would have violated federal law”). Accordingly,
196 F. Supp. 3d 1351, 1364 (N.D. Ga. 2016) (“This original
                                                                    insofar as Evans asserts that Gilead should have changed the
design theory of liability makes little sense in the face of
the Supreme Court's precedents.”). Accordingly, Evans’ pre-


                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                              Page 81 of 246   7
          PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 26 of 114 Trans ID: LCV20201846220
  Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 84 of 248 PageID: 93
Evans v. Gilead Sciences, Inc., Slip Copy (2020)
2020 WL 5189995

formulation of Truvada after it was approved by the FDA, this     prior approval from the FDA.” See, e.g., Albrecht, 139 S.
claim is preempted by the FDCA.                                   Ct. at 1679 (quoting 21 C.F.R. § 314.70(c)(6)(iii)(A)); Wyeth,
                                                                  555 U.S. at 568 (“[I]t may make the labeling change upon
In sum, Evans’ design defect claims are dismissed with            filing [a] supplemental application with the FDA; it need
prejudice as preempted by the FDCA. Because any                   not wait for FDA approval.”). Thus, Gilead could have
amendment to the complaint will not change the law, leave         filed a supplemental application and immediately changed
to amend these claims would be a “futile exercise” and is,        its Truvada label. See Wyeth, 555 U.S. at 571 (“Wyeth had
therefore, denied. Parents for Privacy v. Barr, 949 F.3d 1210,    a duty to provide a warning that adequately described that
1239 (9th Cir. 2020).                                             risk, and the CBE regulation permitted it to provide such
                                                                  a warning before receiving the FDA's approval.”). As the
                                                                  Supreme Court recently emphasized:
b. Evans’ Failure-to-Warn Claims are Not Preempted                   Of course, the FDA reviews CBE submissions and can
                                                                     reject label changes even after the manufacturer has made
As noted, Evans only asserts post-approval failure-to-warn
                                                                     them. See §§ 314.70(c)(6), (7).... But in the interim, the
claims. See supra n.14. Gilead contends that Evans “has not
                                                                     CBE regulation permits changes, so a drug manufacturer
alleged any ‘newly acquired information’ ” that would permit
                                                                     will not ordinarily be able to show that there is an actual
Gilead to utilize the CBE process to make a post-approval
                                                                     conflict between state and federal law such that it was
change to its Truvada labeling and, thus, Evans “cannot state
                                                                     impossible to comply with both.
a non-preempted claim based on a purported post-approval
                                                                  Albrecht, 139 S. Ct. at 1679; Wyeth, 555 U.S. at 571
failure to warn.” See Dkt. No. 20-1 at 30; supra Section
                                                                  (“[A]bsent clear evidence that the FDA would not have
I.B.2. Gilead misapprehends both its burden in establishing
                                                                  approved a change to Phenergan's label, we will not conclude
its preemption defense and the procedural posture of this case.
                                                                  that it was impossible for Wyeth to comply with both
Wyeth, 555 U.S. at 569.
                                                                  federal and state requirements.”); PLIVA, 564 U.S. at 624
                                                                  n.8. As explained, state law failure-to-warn claims are only
First, Evans is not required to plead the existence of
                                                                  preempted by the FDCA and related labeling regulations
“newly acquired information.”17 “FDCA preemption, like            when the drug manufacturer produces “ ‘clear evidence’ that
all federal preemption, is an affirmative defense.” Durnford      the FDA would not have approved the warning [change] that
v. MusclePharm Corp., 907 F.3d 595, 603 (9th Cir. 2018)           state law requires.” Albrecht, 139 S. Ct. at 1676 (quoting
(quoting Lusnak, 883 F.3d at 1194 n.6). “Only when the            Wyeth, 555 U.S. at 571). In 2019, the Supreme Court held
plaintiff pleads itself out of court—that is, admits all the      that “ ‘clear evidence’ is evidence that shows the court
ingredients of an impenetrable defense—may a complaint that       that the drug manufacturer fully informed the FDA of the
otherwise states a claim be dismissed under Rule 12(b)(6).”       justifications for the warning required by state law and that the
Id. (quoting Xechem, Inc. v. Bristol-Myers Squibb Co., 372        FDA, in turn, informed the drug manufacturer that the FDA
F.3d 899, 901 (7th Cir. 2004)); Lusnak, 883 F.3d at 1194          would not approve a change to the drug's label to include that
n.6 (“Ordinarily, affirmative defenses such as preemption         warning.” Id. at 1672; id. at 1678.
may not be raised on a motion to dismiss except when the
defense raises no disputed issues of fact.”). As such, whether    Gilead has not offered such evidence. Gilead has not shown
“newly acquired information” existed prior to when Evans          that it filed a supplemental application, changed its Truvada
was prescribed Truvada, is an issue for post-discovery motion     labeling to include a warning for the injuries Evans allegedly
practice. See Wyeth, 555 U.S. at 569, 571.                        suffered, and that the FDA later rejected that change. The
                                                                  notion that perhaps there was not sufficient “newly acquired
 *11 Second, even if there was little or no “newly acquired       information” or “evidence of a causal association” between
information” relevant to Evans’ claims, that did not make it      Truvada and the risk of injuries alleged here, 21 C.F.R. §
impossible for Gilead to change its Truvada label. The FDA's      314.70(c)(6)(iii)(A), are merely two of any number of reasons
CBE regulation permits a brand-name drug manufacturer,            for the FDA to reject the label changes after Gilead had made
like Gilead, to file a supplemental application and then          them. But federal law did not preclude Gilead from making a
immediately “change a label to ‘reflect newly acquired            label change in the interim.
information’ if the changes ‘add or strengthen a ... warning’
for which there is ‘evidence of a causal association,’ without


               © 2020 Thomson Reuters. No claim to original U.S. Government Works.                             Page 82 of 246   8
          PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 27 of 114 Trans ID: LCV20201846220
  Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 85 of 248 PageID: 94
Evans v. Gilead Sciences, Inc., Slip Copy (2020)
2020 WL 5189995

Accordingly, Evans’ failure-to-warn claims are               not    label says is that “in association with TDF use ... [a]rthralgia
preempted by the FDCA and its labeling regulations.                 and muscle pain or weakness have also been reported in
                                                                    cases of proximal renal tubulopathy.” Id. at 8. The label
                                                                    mentions “arthralgia” but only as a risk in patients with
II. Failure-to-Warn Claims: Merits                                  a specific condition—“proximal renal tubulopathy”—and
Beyond preemption, Gilead contends that Evans’ failure-             that specific and important fact is conspicuously omitted in
to-warn claims fail for two reasons: “(1) the Truvada®              Gilead's brief and replaced with an ellipsis. Dkt. No. 20-1 at
labeling contained the warnings that [Evans] incorrectly            7. The complaint does not indicate Evans has “proximal renal
alleges were lacking; and (2) [Evans] fails to adequately           tubulopathy.” As a result, the Court cannot say, as a matter
allege the causation required to sustain such a claim.” Dkt.        of law, that the label warns patients like Evans of the risk of
No. 20-1 at 11. Only the latter is true.                            arthralgia in terms that are “completely unambiguous” and
                                                                    “forcefully [bring] home the intended message.” Temple, 196
First, the Truvada labeling did not contain the specific            Cal. Rptr. at 533.
warnings relevant to this case. A manufacturer has a duty to
“give appropriate warning of any known dangers which the            The warning for doctors to monitor TDF patients’ “bone
user of its product would not ordinarily discover.” Acoba, 986      mineral density” suffers from the same defect. See Dkt. No.
P.2d at 305 (quoting Ontai, 659 P.2d at 743); Tabieros, 944         20-2 at 1 (“Monitor for evidence of tenofovir toxicity.”); id.
P.2d at 1297–98. “[I]n a strict products liability action, the      at 33 (“Consider bone monitoring in patients and uninfected
issue of whether the seller knew or reasonably should have          individuals who have a history of pathologic bone fracture
known of the dangers inherent in his or her product ... has         or at risk for osteopenia” (emphasis added)). The label
absolutely no bearing on the elements of a strict products          recommends monitoring patients with a history of particular
liability claim.” Tabieros, 944 P.2d at 1298 n.11 (quoting          conditions, none of which are known to be germane to
Johnson v. Raybestos-Manhattan, Inc., 740 P.2d 548, 549             Evans. Therefore, a reasonable jury could conclude that these
(Haw. 1987)). “When a product warning has been provided             warnings were inadequate. As such, the adequacy of the label
by a manufacturer, the adequacy of that warning is generally        in this case is a question for the jury.
a question of fact for the jury.” Acoba, 986 P.2d at 302
(collecting cases). “In rare instances, however, warnings may       Gilead, however, also argues that Evans has failed to allege
be found adequate as a matter of law.” Id. (citing Temple           that any failure to warn was the proximate cause of Evans’
v. Velcro USA, Inc., 196 Cal. Rptr. 531, 533 (Cal. Ct. App.         injuries. Specifically, Gilead contends that to do so Evans
1983)). For example, a warning may be deemed adequate as            “must allege that his doctor would have acted differently (e.g.,
a matter of law where it is “very clear, understandable and         not prescribed Truvada®) had Gilead provided supposedly
completely unambiguous” and “forcefully [brings] home the           adequate warnings.” Dkt. No. 20-1 at 14. Although Hawaii
intended message.” Temple, 196 Cal. Rptr. at 533.                   courts have not directly addressed this specific issue, the
                                                                    Court predicts that the Hawaii Supreme Court would adopt a
 *12 Here, Evans alleges that Truvada's prescriber and
                                                                    similar rule.18
patient labeling did not disclose that: (a) the drug “could cause
damage to the kidneys and to the bones of those who ingest it,”
                                                                    “[I]n order for a manufacturer to be liable for failing to
including “the problems that [Evans] is now suffering” (i.e.,
                                                                    provide an appropriate warning, it must not only be subject
diffuse arthralgia); and (b) doctors should “monitor all TDF
                                                                    to a legal duty to warn, but the breach of that duty (i.e.,
patients, on a frequent, specific schedule, for the adverse
                                                                    the failure to give an adequate warning) must have been
effects of TDF-associated bone and kidney toxicity.” See Dkt.
                                                                    the legal cause of the plaintiff's injuries.” Tabieros, 944
No. 8 at 2, 6–7.
                                                                    P.2d at 1313. “Proof of defect [i.e., manufacture, design, or
                                                                    failure to warn] and causation may be provided by expert
Although the Truvada labeling provided at the relevant
                                                                    testimony or by circumstantial evidence.” Acoba, 986 P.2d
time warned of “[b]one problems,” including “bone pain, or
                                                                    at 304 (emphasis added); see Tabieros, 944 P.2d at 1296–
softening or thinning of bones, which may lead to fractures”;
                                                                    97. Hawaii adheres to the “learned intermediary” rule in the
“[d]ecreases in bone mineral density (BMD)”; and “Bone
                                                                    “the prescription drug arena.” See Craft v. Peebles, 893 P.2d
Loss and Mineralization Defects,” Dkt. No. 20-2 at 1, 7–
                                                                    138, 155 (Haw. 1995). “The learned intermediary rule ...
8, 12, 37, the particular injury at issue here is “diffuse
                                                                    assumes that it is reasonable for a manufacturer to rely on
arthralgia.” Dkt. No. 8 at 2, 7. In that regard, the most the


                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                             Page 83 of 246   9
          PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 28 of 114 Trans ID: LCV20201846220
  Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 86 of 248 PageID: 95
Evans v. Gilead Sciences, Inc., Slip Copy (2020)
2020 WL 5189995

the prescribing physician to forward to the patient, who is the    requirements of Rule 9(b). See Odom v. Microsoft Corp., 486
ultimate user of the drug products, any warnings regarding         F.3d 541, 553 (9th Cir. 2007) (en banc).
their possible side effects.” Id. (citation omitted). As such,
the “the adequacy of [a manufacturer's] warning is measured        To establish a fraud claim, a plaintiff must allege the following
by the effect on the physician, ... to whom it owed a duty         elements: “(1) false representations were made by [the
to warn, and not by its effects on [the patient].” Id. at 156      defendant], (2) with knowledge of their falsity (or without
(citation omitted; emphasis in original). It follows then, as      knowledge of their truth or falsity), (3) in contemplation
other jurisdictions have concluded, that “[w]hen a plaintiff       of plaintiff's reliance upon these false representations, and
brings an insufficient warning claim against a drug company,       (4) plaintiff did rely upon them.” Shoppe v. Gucci Am.,
the learned intermediary doctrine requires a showing that          14 P.3d 1049, 1067 (Haw. 2000) (quoting TSA Int'l Ltd. v.
the prescribing physician, not the patient, would have taken       Shimizu Corp., 990 P.2d 713, 725 (Haw. 1999)). Rule 9(b),
‘a different course of action’ if better warnings had been         in turn, states that “[i]n alleging fraud or mistake, a party
issued.” See, e.g., Luttrell v. Novartis Pharms. Corp., 555 F.     must state with particularity the circumstances constituting
App'x 710, 710 (9th Cir. 2014) (citations omitted; applying        fraud or mistake.” Fed.R.Civ.P.9(b); see Vess v. Ciba-Geigy
Washington law); Motus v. Pfizer, Inc., 358 F.3d 659, 661          Corp. USA, 317 F.3d 1097, 1103 (9th Cir. 2003) (“Rule
(9th Cir. 2002) (applying California law); Tapia v. Davol,         9(b)’s particularity requirement applies to state-law causes of
Inc., 116 F. Supp. 3d 1149, 1158 (S.D. Cal. 2015) (applying        action.”). To satisfy Rule 9(b), “the pleading must identify
California law); see also Holley, 379 F. Supp. 3d at 830           the who, what, when, where, and how of the misconduct
(“[T]he relevant question is whether the plaintiff's physician     charged, as well as what is false or misleading about the
would have ‘prescribed the drug in the same manner.’ ”)            purportedly fraudulent statement, and why it is false.” Depot,
(quoting Alston v. Caraco Pharm., Inc., 670 F. Supp. 2d 279,       Inc. v. Caring for Montanans, Inc., 915 F.3d 643, 668 (9th
285 (S.D.N.Y. 2009)).                                              Cir. 2019) (citations and internal quotation marks omitted). In
                                                                   other words, Evans “must state the time, place, and specific
 *13 Here, Evans has not adequately alleged causation              content of the false representations as well as the identities of
because he has not asserted that stronger warnings would           the parties to the misrepresentation.” Odom, 486 F.3d at 553
have led his physician to either prescribe a medication other      (citation omitted).
than Truvada, prescribe the drug in a different manner, or
prescribe nothing at all. Evans merely alleges that Gilead         The missing pieces here are who stated what to whom
“[i]ntentionally omitting the warnings from their labeling         and when and where was the statement made, as well
caused [Evans] to be diagnosed with Diffuse Arthralgia,            as some allegation as to what makes the statement(s)
secondary to use of Truvada,” and that Gilead's “negligence        false or misleading. Nor is there any allegation in the
caused [Evans] the harm he now suffers.” Dkt. No. 8 at 2, 8;       complaint that Evans and his physician(s) relied on any
see also id. at 7 (“The action or inaction has caused [Evans]      such misrepresentation. See Craft, 893 P.2d at 156. Rather,
with Diffuse Arthralgia.”). These “labels and conclusions ...      Evans has simply stated in conclusory terms that Gilead
will not do.” Iqbal, 556 U.S. at 678 (quoting Twombly, 550         was “defrauding those taking this medication, including
U.S. at 555). Evans must allege that had the Truvada label         [Evans], for their own financial benefit.” Dkt. No. 8 at 5.
contained a stronger warning of the risk of diffuse arthralgia,    This presumably relates to Evans’ contention that Gilead
this would have altered his prescribing physician's “course of     “purposefully withheld the TAF design,” Dkt. No. 3, 7, but
action” in some meaningful way. Because Evans has not done         that decision, even accepted as true, does not constitute an
so, his failure-to-warn claim is dismissed, albeit with leave to   actionable claim for fraud.
amend.
                                                                   Accordingly, Evans’ fraud claim is dismissed with leave to
                                                                   amend.
III. Fraud
Evans alleges that he “is suing for,” among other things,
“Fraud.” Dkt. No. 8 at 8. Gilead contends this claim must be       IV. Breach of Express and Implied Warranty
dismissed because it does not meet the pleading requirements       That leaves Evans’ claim for “Breach of Express and Implied
under Federal Rule of Civil Procedure 9(b) for claims              Warranty.” Dkt. No. 8 at 8.19 These claims are also dismissed
sounding in fraud. Dkt. No. 20-1 at 16. The Court agrees.          as insufficiently pled because the complaint merely “tenders
Evans is far from satisfying the “particularity” pleading


                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                             Page 84 of 246   10
          PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 29 of 114 Trans ID: LCV20201846220
  Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 87 of 248 PageID: 96
Evans v. Gilead Sciences, Inc., Slip Copy (2020)
2020 WL 5189995

‘naked assertion[s]’ devoid of ‘further factual enhancement.’       in Hawaii's statute, means, inter alia, that the goods ‘are fit
” Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 557).        for the ordinary purpose for which such goods are used.’ ” Id.
                                                                    (quoting Haw. Rev. Stat. § 490:2-314(2)(c)). Thus, to state a
 *14 Under Hawaii law, three categories of warranties are           claim for breach of the implied warranty of merchantability,
prescribed by statute: express; implied warranty of fitness for     Evans must allege “(1) the seller is a merchant of such goods,
a particular purpose; and implied warranty of merchantability.      and (2) the product was defective or unfit for the ordinary
See Haw. Rev. Stat. §§ 490:2-313, -314, -315.                       purpose for which it is used.”20 Nielsen, 989 P.2d at 274; see
                                                                    also Larsen v. Pacesetter Sys., Inc., 837 P.2d 1273, 1284–
Express warranties are created as follows:                          85 (Haw. 1992) (“[T]o bring an action in implied warranty
                                                                    for personal injury[,] a plaintiff is required to show product
  (a) Any affirmation of fact or promise made by the seller
                                                                    unmerchantability sufficient to avoid summary judgment on
  to the buyer which relates to the goods and becomes part
                                                                    the issue of defectiveness in a tort strict products liability
  of the basis of the bargain creates an express warranty that
                                                                    suit.”).
  the goods shall conform to the affirmation or promise.

  (b) Any description of the goods which is made part of the         *15 By contrast, “the implied warranty of fitness for a
  basis of the bargain creates an express warranty that the         particular purpose is narrower and more specific.” Ontai,
  goods shall conform to the description.                           659 P.2d at 744. When the seller “has reason to know any
                                                                    particular purpose for which the goods are required and that
   (c) Any sample or model which is made part of the basis of       the buyer is relying on the seller's skill or judgment to select
   the bargain creates an express warranty that the whole of        or furnish suitable goods, there is ... an implied warranty that
   the goods shall conform to the sample or model.                  the goods shall be fit for such purpose.” Haw. Rev. Stat. §
See Haw. Rev. Stat. § 490:2-313(1). “It is not necessary to         490:2-315. “[T]he buyer need not bring home to the seller
the creation of an express warranty that the seller use formal      actual knowledge of the particular purpose for which the
words such as ‘warrant’ or ‘guarantee’ or that he have a            goods are intended or of his reliance on the seller's skill and
specific intention to make a warranty, but an affirmation           judgment, if the circumstances are such that the seller has
merely of the value of the goods or a statement purporting to       reason to realize the purpose intended or that the reliance
be merely the seller's opinion or commendation of the goods         exists.” Ontai, 659 P.2d at 744 (quoting Haw. Rev. Stat. §
does not create a warranty.” Id. § 490:2-313(2). Thus, to state     490:2-315 cmt. 1). Therefore, to adequately allege a claim for
a breach of express warranty claim, Evans must allege that:         breach of the implied warranty of fitness, Evans must allege
“(1) [Gilead] made an affirmation of fact or promise regarding      that: “(1) [Evans] desired a product for a particular purpose,
the product, (2) that statement became part of the basis of the     (2) [Gilead] had reason to know about this purpose, and (3) the
bargain, and (3) the product failed to perform according to the     product sold to [Evans] failed to meet that purpose.” Nielsen,
statement.” Nielsen v. Am. Honda Motor Co., 989 P.2d 264,           989 P.2d at 274.
274–75 (Haw. Ct. App. 1999); Torres v. Northwest Eng'g Co.,
949 P.2d 1004, 1015 (Haw. Ct. App. 1997).                           Because Evans does not allege which implied warranty
                                                                    claim(s) he is pursuing (i.e., merchantability and/or fitness),
Here, the defect in Evans’ express warranty claim is that he        Gilead (and the Court) are left to guess. That is not “fair
has failed to allege that Gilead made a specific “affirmation       notice of what the ... claim is and the grounds upon which
or promise” regarding Truvada or that Gilead provided a             it rests.” Twombly, 550 U.S. at 555 (ellipsis in original)
“description of [Truvada]” that failed to live up to its billing.   (quoting Conley, 355 U.S. at 47). Moreover, Evans does not
Therefore, Evans’ express warranty claim is dismissed with          contend Truvada failed to perform as an HIV treatment or
leave to amend.                                                     PrEP medication for HIV. For these reasons, Evans’ “implied
                                                                    warranty” claim is dismissed. Evans, however, is granted
Implied warranties come in two forms, but Evans has not             leave to amend.21
specified which theory he is pursuing. “The implied warranty
of merchantability is perhaps the broadest warranty in the
Uniform Commercial Code.” Ontai, 659 P.2d at 744. “This
warranty is implied by operation of law into every sale of          CONCLUSION
goods by a merchant seller.” Id. “Merchantability, as provided



                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                             Page 85 of 246   11
         PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 30 of 114 Trans ID: LCV20201846220
  Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 88 of 248 PageID: 97
Evans v. Gilead Sciences, Inc., Slip Copy (2020)
2020 WL 5189995

                                                                     to file an amended complaint by September 21, 2020, may
For the reasons set forth herein, Defendant's Motion to
                                                                     result in the automatic dismissal of this action.
Dismiss the First Amended Complaint, Dkt. No. 20,
is GRANTED, and the First Amended Complaint is
                                                                     IT IS SO ORDERED.
DISMISSED.

Plaintiff may have until September 21, 2020 to file                  All Citations
an amended complaint, to the extent allowed herein
and consistent with a litigant's ethical obligations under           Slip Copy, 2020 WL 5189995
Fed.R.Civ.P. 11(b). The Court cautions Evans that failure


Footnotes
1      See FDA, Truvada, Drugs@FDA: FDA Approved Drugs, https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm?
       event=overview.process&varApplNo=021752 (last visited August 28, 2020). Because a court may take judicial notice of
       any undisputed facts in “records and reports of administrative bodies” in ruling on a Rule 12(b)(6) motion to dismiss,
       Khoja v. Orexigen Therapeutics, Inc., 899 F.3d 988, 999, 1001 (9th Cir. 2018) (quoting United States v. Ritchie, 342
       F.3d 903, 907–09 (9th Cir. 2003)), the Court will consider relevant records and reports issued by the Food and Drug
       Administration, including the FDA-approved Truvada labeling.
2      See U.S. Food & Drug Admin. (FDA), Truvada for PrEP Fact Sheet: Ensuring Safe and Proper Use 1 (2012)
       [hereinafter “Truvada Fact Sheet”], https://www.fda.gov/media/83586/download (last visited August 14, 2020); see
       also FDA, Truvada, Drugs@FDA: FDA Approved Drugs, https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm?
       event=overview.process&varApplNo=021752.
3      U.S. Food & Drug Admin., Drug Approval Package: Truvada (August 2, 2004), https://www.accessdata.fda.gov/
       drugsatfda_docs/nda/2004/021752s000_TruvadaTOC.cfm (last visited August 14, 2004); Letter from Dep't
       of Health & Human Services to Gilead Sciences, Inc., https://www.accessdata.fda.gov/drugsatfda_docs/
       nda/2004/021752s000_Truvada_Approv.pdf.
4      See Truvada Fact Sheet, supra note 2, at 1.
5      Evans attaches a letter from his treating physician, stating in part, that Evans did not have “multi-joint pain prior to taking
       the medication.” Dkt. No. 8-1.
6      Truvada's labeling has been revised on sixteen different occasions since the drug was initially approved.
       See FDA, Truvada, Drugs@FDA: FDA Approved Drugs, https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm?
       event=overview.process&varApplNo=021752.
7      The four specific drugs are Genvoya, Odefsey, Descovy, and Biktarvy. FDA, Genvoya Approval Package, https://
       www.accessdata.fda.gov/drugsatfda_docs/nda/2015/207561Orig1s000TOC.cfm; FDA, Odefsey Approval Package,
       https://www.accessdata.fda.gov/drugsatfda_docs/nda/2016/208351Orig1s000TOC.cfm; FDA, Descovy Approval
       Package, https://www.accessdata.fda.gov/drugsatfda_docs/nda/2016/208215Orig1_toc.cfm; FDA, Biktarvy Approval
       Package, https://www.accessdata.fda.gov/drugsatfda_docs/nda/2018/210251Orig1s000TOC.cfm. The approval dates,
       history, letters, labels, and reviews for each drug are available on the FDA's website and can be accessed through a
       search using the drug's name. See FDA, Drugs@FDA: FDA-Approved Drugs, https://www.accessdata.fda.gov/scripts/
       cder/daf/index.cfm.
8      Evans also alleges that he was prescribed Truvada by his “healthcare provider, contrary to their obligation to do so, ...
       without any testing or bloodwork”; namely, a “negative HIV antibody test.” Dkt. No. 8 at 1, 7. Evans does not allege any
       facts that would indicate that Gilead was somehow responsible for that decision, and Evans has not named his prescribing
       physician as a Defendant in this lawsuit.
9      See Complaint at ¶¶ 1–15, Staley v. Gilead Sciences, Inc., No. 3:19-cv-02573 (N.D. Cal. May 14, 2019), ECF No. 1.
10     See, e.g., V.V.V. & Sons Edible Oils Ltd. v. Meenakshi Overseas, LLC, 946 F.3d 542, 547 (9th Cir. 2019) (plaintiff
       “explicitly did not oppose” dismissal); Stevenson v. City of Seat Pleasant, 743 F.3d 411, 416 n.3 (4th Cir. 2014) (“Even
       though Appellants did not challenge the motions to dismiss, we note that the district court nevertheless has an obligation
       to review the motions to ensure that dismissal is proper.”); Issa v. Comp USA, 354 F.3d 1174, 1178 (10th Cir. 2003)
       (holding that “even if a plaintiff does not file a response to a motion to dismiss ... the district court must still examine the
       allegations in the plaintiff's complaint and determine whether the plaintiff has stated a claim”).




               © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                 Page 86 of 246   12
        PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 31 of 114 Trans ID: LCV20201846220
  Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 89 of 248 PageID: 98
Evans v. Gilead Sciences, Inc., Slip Copy (2020)
2020 WL 5189995

11    The party asserting the defense bears the “burden [of] establishing [its] pre-emption defense.” See, e.g., Wyeth, 555
      U.S. at 569; Lusnak v. Bank of Am., N.A., 883 F.3d 1185, 1191 (9th Cir. 2018); Wolfe v. BNSF Ry. Co., 749 F.3d 859,
      863 (9th Cir. 2014).
12    Hawaii law applies based on the choice-of-law rules of the forum state. Klaxon Co. v. Stentor Elect. Mfg. Co., 313 U.S.
      487, 496–97 (1941); Senne v. Kan. City Royals Baseball Corp., 934 F.3d 918, 928 (9th Cir. 2019); see Mikelson v.
      United Servs. Auto. Ass'n, 111 P.3d 601, 607 (Haw. 2005). Gilead relies primarily on Hawaii product liability law and thus
      appears to agree. See, e.g., Dkt. No. 20-1 at 12.
13    To establish a design defect under the “consumer expectation” test, “it is enough that the plaintiff demonstrates that
      because of its manufacture or design, the product does not meet the reasonable expectations of the ordinary consumer
      or user as to its safety.” Tabieros, 944 P.2d at 1311 (quoting Ontai, 659 P.2d at 739). Under the “risk-utility test,” “a
      product may alternatively be found defective in design if the plaintiff demonstrates that the product's design proximately
      caused his injury and the defendant fails to establish, in light of the relevant factors, that, on balance, the benefits of the
      challenged design outweigh the risk of danger inherent in such design.” Id. (quoting Ontai, 659 P.2d at 739–40); see
      id. at 1310 (noting that relevant factors may include “the gravity of the danger posed by the design, the likelihood that
      such danger would cause injuries, the mechanical feasibility of a safer alternative design at the time that the product
      was manufactured, the financial cost of an improved design, and the adverse consequences, if any, to the product and
      the consumer that would result from an alternative design.”). The third theory—the “latent danger” test—provides that
      “the product is defective in design, even if faultlessly made, if the use of the product in a manner [that] is intended or
      reasonably foreseeable ... involves a substantial danger that would not be readily recognized by the ordinary user of the
      product and the manufacturer fails to give adequate warnings of the danger.” Tabieros, 944 P.2d at 1310 (emphasis in
      original); Masaki v. General Motors Corp., 780 P.2d 566, 579 (Haw. 1989).
14    Evans does not allege that he suffered any injuries by virtue of inadequate warnings in the original FDA approved labeling
      for Truvada. In any event, the various Truvada labels provided before Evans was prescribed the drug in October 2018
      are irrelevant to his failure-to-warn claims because the Truvada labeling had changed by October 2018. Dkt. No. 8 at
      4; See FDA, Truvada, Drugs@FDA: FDA Approved Drugs, https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm?
      event=overview.process&varApplNo=021752.
15    See Holley v. Gilead Scis., Inc., 379 F. Supp. 3d 809, 823–25 (N.D. Cal. 2019) (citing In re Xarelto (Rivaroxaban) Prods.
      Liab. Litig., No. MDL 2592, 2017 WL 3188456, at *6 (E.D. La. July 21, 2017); Young v. Bristol-Myers Squibb Co., No.
      4:16-CV-00108-DMB-JMV, 2017 WL 706320, at *7-8 (N.D. Miss. Feb. 22, 2017); Guidry v. Janssen Pharms., Inc., 206
      F. Supp. 3d 1187, 1206–09 (E.D. La. 2016); Sullivan v. Aventis, Inc., No. 14-CV-2939-NSR, 2015 WL 4879112, at *6
      (S.D.N.Y. Aug. 13, 2015); Estate of Cassel v. Alza Corp., No. 12-CV-771-WMC, 2014 WL 856023, at *2–6 (W.D. Wis.
      Mar. 5, 2014)).
16    It appears the Sixth Circuit is the only Court of Appeals that has addressed whether pre-approval design-defect claims
      against a brand-name manufacturer are preempted. See Holley, 379 F. Supp. 3d at 822.
17    The FDA regulations define “newly acquired information” as “data, analyses, or other information not previously submitted
      to the Agency, which may include (but is not limited to) data derived from new clinical studies, reports of adverse events,
      or new analyses of previously submitted data (e.g., meta-analyses) if the studies, events, or analyses reveal risks of a
      different type or greater severity or frequency than previously included in submissions to [the] FDA.” 21 C.F.R. § 314.3(b);
      see Wyeth, 555 U.S. at 569 (“The rule accounts for the fact that risk information accumulates over time and that the same
      data may take on a different meaning in light of subsequent developments”). Given that the “process of submitting an
      NDA is both onerous and lengthy,” typically “span[ning] thousands of pages and is based on clinical trials conducted over
      several years,” Bartlett, 570 U.S. at 476 (citation omitted), requiring a plaintiff to allege “new clinical studies, reports of
      adverse events, or new analyses” would give new meaning to the phrase “short and plain” under Rule 8(a)(2).
18    See PSM Holding Corp. v. Nat'l Farm Fin. Corp., 884 F.3d 812, 820 (9th Cir. 2018) (“[A] federal court must predict how the
      highest state court would decide the issue using intermediate appellate court decisions, decisions from other jurisdictions,
      statutes, treatises, and restatements as guidance.”).
19    To the extent Evans asserts a claim for “Negligence and Gross Negligence – Design Defect and Failure to Warn,” Dkt. No.
      8 at 8, such claims are necessarily dismissed because, as explained above, Evans’ design defect claims are preempted
      by the FDCA, and he has not adequately alleged causation as to his failure-to-warn claim.
20    The Court notes that any defect based on Truvada's drug composition is necessarily preempted by the FDCA. See supra
      Section I.B.3.a.
21    To assist Evans, the Court will mail Evans a copy of a form complaint for use in a civil pro se proceeding, such as this
      one. Should Evans choose to use the form, he should answer all of the questions clearly and concisely. Evans should



              © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                Page 87 of 246   13
        PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 32 of 114 Trans ID: LCV20201846220
  Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 90 of 248 PageID: 99
Evans v. Gilead Sciences, Inc., Slip Copy (2020)
2020 WL 5189995

      set out each claim under a separate label or heading. Under each claim, Evans must write short, plain statements telling
      the Court the following: (1) the specific basis for this Court's jurisdiction; (2) the legal right(s) he believes were violated;
      (3) the name of the defendant(s) who violated those right(s); (4) exactly what each defendant did or failed to do and
      the underlying facts that provide support; (5) how the action or inaction of a defendant is connected to the violation of
      Evans’ right(s); (6) what specific injury he suffered because of a defendant's conduct; and (7) what relief he seeks. Should
      Evans choose to file an amended complaint, he may not incorporate any part of his present complaint, Dkt. No. 1, in the
      amended complaint. Rather, all allegations must be re-typed or re-written in their entirety. See Lacey v. Maricopa Cty.,
      693 F.3d 896, 928 (9th Cir. 2012) (en banc); LR 10.4.


End of Document                                                        © 2020 Thomson Reuters. No claim to original U.S.
                                                                                                   Government Works.




              © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                 Page 88 of 246   14
     PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 33 of 114 Trans ID: LCV20201846220
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 91 of 248 PageID: 100




                             Exhibit E




                                                                          Page 89 of 246
          PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 34 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 92 of 248 PageID: 101
Robinson on Behalf of T.R. v. Eli Lilly and Company, Not Reported in Fed. Supp. (2018)
2018 WL 4039703

                                                                 T.R.'s father, Timothy Robinson claims that at the time of
                                                                 Gina Robinson's pregnancy, the manufacturer and distributor
                  2018 WL 4039703
                                                                 of Prozac, Eli Lilly and Company, knew through animal
    Only the Westlaw citation is currently available.
                                                                 studies, post-marketing reports and other sources, that Prozac
     United States District Court, E.D. Kentucky,
                                                                 was associated with a significant risk of cardiac defects in
                   Central Division.
                                                                 babies whose mothers ingested Prozac during pregnancy. Id.
                    at Lexington.
                                                                 at 8. Robinson claims that despite this knowledge, Eli Lilly
                                                                 aggressively and actively promoted Prozac “as being a safe
     Timothy ROBINSON, ON BEHALF
                                                                 alternative for pregnant women,” and never informed doctors
       OF T.R., a minor child, Plaintiff,                        of the serious risks. Id., at 10. Robinson's complaint asserts
                     v.                                          multiple claims against Eli Lilly, including strict liability for
                                                                 failure to warn, negligence, breach of warranties, fraudulent
   ELI LILLY AND COMPANY, Defendant.
                                                                 concealment and negligent misrepresentation. Eli Lilly has
                                                                 moved to dismiss the complaint pursuant to Federal Rule
          CIVIL ACTION NO. 5:17-CV-338-KKC
                                                                 of Civil Procedure 12(b)(6). (DE 10). Specifically, Eli Lilly
                           |
                                                                 argues that each of Robinson's claims are either preempted,
                  Signed 08/23/2018
                                                                 fail to meet the pleading requirements, or are not viable claims
Attorneys and Law Firms                                          under Kentucky law. The Court considers the arguments
                                                                 below.
Alex C. Davis, Jasper D. Ward, IV, Jones Ward PLC,
Louisville, KY, for Plaintiff.

Andrew E. Kantra, Pepper Hamilton LLP, Philadelphia, PA,         II. ANALYSIS
Carol Dan Browning, Stites & Harbison, PLLC, Louisville,
KY, for Defendant.                                                  A. Rule 12(b)(6)
                                                                 In determining whether a plaintiff's complaint can withstand
                                                                 a motion to dismiss, the Court will assume the veracity of
                                                                 well-pleaded factual allegations and then determine whether
OPINION AND ORDER
                                                                 they plausibly give rise to an entitlement to relief. Ashcroft v.
Karen K. Caldwell, United States District Judge                  Iqbal, 556 U.S. 662, 679, 129 S.Ct. 1937 (2009). A complaint
                                                                 should be dismissed pursuant to Rule 12(b)(6) if there is no
 *1 This matter is before the Court pursuant to Defendant Eli    law to support the claims, if the alleged facts are insufficient
Lilly's Motion to Dismiss for Failure to State a Claim (DE       to state a claim, or if an insurmountable bar to relief exists
10). For the following reasons, the motion is GRANTED            on the face of the complaint. See Browning v. Pennerton, 633
IN PART and DENIED IN PART. The Court dismisses                  F.Supp.2d 415, 429 (E.D. Ky. Jun. 22, 2009) (citing Rauch v.
Robinson's claims1 alleging design defects, manufacturing        Day & Night Mfg. Corp., 576 F.2d 697 (6th Cir. 1978) ).
defects, breach of warranties, fraudulent concealment, and
negligent misrepresentation. Robinson's failure to warn          “To survive a motion to dismiss, the complaint “must contain
claims, arising in both strict liability and negligence, may     either direct or inferential allegations” establishing each
proceed,                                                         material element required for recovery under some actionable
                                                                 legal theory.” Moore v. Zydus Pharmaceuticals (USA), Inc.,
                                                                 277 F.Supp.3d 873, 877 (E.D. Ky. 2017) (quoting Bishop
                                                                 v. Lucent Technologies, Inc., 520 F.3d 516, 519 (6th Cir.
I. INTRODUCTION                                                  2008) ). “Even under Rule 12(b)(6), a complaint containing a
                                                                 statement of facts that merely creates a suspicion of a legally
In late 2000, during her first trimester of pregnancy, Gina
                                                                 cognizable right of action is insufficient.” Bishop, 520 F.3d
Robinson took Prozac as prescribed by a physician, (DE 1-2
                                                                 at 519.
at 6). She later gave birth to T.R., who was born with cardiac
birth defects, which required corrective surgery at the age of
nine.




               © 2020 Thomson Reuters. No claim to original U.S. Government Works.                            Page 90 of 246   1
          PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 35 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 93 of 248 PageID: 102
Robinson on Behalf of T.R. v. Eli Lilly and Company, Not Reported in Fed. Supp. (2018)
2018 WL 4039703

                                                                   Commonwealth Life Ins. Co., 839 S.W.2d 245, 247 (Ky.
                                                                   1992).
1. Strict Liability in Tort - Failure to Warn

 *2 Robinson's first cause of action is styled as a failure to     In his complaint, Robinson states that Eli Lilly was, among
warn claim sounding in strict liability. (DE 1-2 at 20). To        other things, negligent in manufacturing, researching, and
plead a failure to warn claim in a prescription drug case, the     designing Prozac; and that Eli Lilly failed to adequately test
plaintiff must “allege facts for the Court to infer that (1) the   and warn of the risks and dangers of Prozac both before
manufacturer failed to provide her prescribing physician with      and after its sale. (DE 1-2 at 21). To the extent Robinson's
adequate warnings about risks of which it knew or should           negligence claim is based on a design defect, the claim is
have known and (2) the inadequate warnings proximately             preempted by federal law as discussed in a subsequent section
caused her injuries.” Estate of DeMoss v. Eli Lilly and Co.,       of this Opinion. To the extent Robinson alleges a negligent
234 F.Supp.3d 873, 880 (W.D. Ky. 2017). This test reflects         manufacturing claim, the claim must be dismissed. Robinson
that in 2004, Kentucky adopted the learned intermediary rule,      makes no factual allegations as to how Eli Lilly might have
an exception to the general rule that a drug manufacturer's        breached the duty of care in manufacturing Prozac or deviated
duty to warn of any risks inherent in the product runs to the      from Prozac's intended design. See Greene v. B.F. Goodrich
ultimate consumer. See Larkin v. Pfizer, Inc., 153 S.W.3d 758,     Avionics Systems, Inc., 409 F.3d 784, 788 (6th Cir. 2005)
770 (Ky. 2004). But “even though the manufacturer's duty to        (“Under Kentucky law, a manufacturing defect exists in a
warn runs only to the learned intermediary, that warning must      product when it leaves the hands of the manufacturer in
still be adequate.” Id. at 764.                                    a defective condition because it was not manufactured or
                                                                   assembled in accordance with its specifications”).
At this stage, Robinson has sufficiently alleged that the
warnings provided by Eli Lilly were inadequate, and that           As previously discussed, Robinson has sufficiently claimed
they caused the relevant injury. In his complaint, Robinson        that Lilly failed to warn of potential risks regarding the
adequately set out the specific means by which Eli Lilly           usage of Prozac during pregnancy. This does not, however,
knew or should have known of Prozac's alleged connection           prevent Robinson from asserting his strict liability claim. See
to cardiac birth defects. (DE 1-2 at 7) (citing animal studies,    generally Estate of DeMoss, 234 F.Supp.3d at 881 (W.D.
post-marketing reports, and other sources, including scholarly     Ky. 2017) (“Under Kentucky law, a plaintiff can advance
articles). Robinson alleges Eli Lilly failed to warn physicians    both a strict-liability claim and a negligence claim against the
or consumers of the risk of cardiac birth defects through          manufacturer of a product for injury suffered by that product”)
labeling or any other means. See, e.g., (DE 1-2 at 6-9).           (internal citation omitted).
Robinson further claims that if Ms. Robinson's prescribing
physicians or health care providers had known of this risk,
she would have never started—or subsequently discontinued          3. Breach of Warranty
—her use of Prozac, and T.R. would not have suffered injury.
(DE 1-2 at 12). At this stage of the litigation, the Court          *3 The third and fourth causes of action are breach of
finds that Robinson has stated a claim upon which relief may       warranty claims: express and implied. (DE 1-2 at 22). Neither
be granted. Therefore, Eli Lilly's motion to dismiss will be       claim survives the motion to dismiss.
denied as to Robinson's first cause of action.
                                                                   To begin, the Court questions whether an express warranty
                                                                   claim can be premised on an omission, such as Eli Lilly's
                                                                   failure to warn of a particular risk. See Stray horn v. Wyeth
2. Negligence
                                                                   Pharmaceuticals, Inc., 737 F.3d 378, 395 (6th Cir. 2013)
Robinson also alleges that Eli Lilly was negligent in              (finding no merit to express-warranty claims under Tennessee
manufacturing, researching and designing Prozac. To prevail        law where plaintiff attacked adequacy of drug label, rather
on a negligence claim under Kentucky law, a plaintiff must         than a false affirmation); see also House v. Bristol-Myers
establish that:(l) the defendant owed a duty of care to            Squibb Company, No, 3:15-CGV-00894-JHM, 2017 WL
the plaintiff; (2) the defendant breached its duty; and (3)        55876 (W.D. Ky. Jan, 4, 2017) (finding plaintiff could not
there was consequent injury to the plaintiff, See Mullins v.       base express warranty on an omission, such as failure of




                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                            Page 91 of 246   2
          PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 36 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 94 of 248 PageID: 103
Robinson on Behalf of T.R. v. Eli Lilly and Company, Not Reported in Fed. Supp. (2018)
2018 WL 4039703

prescribing information to contain adequate information,           by whom the statements were made. Such speculation is not
under Kentucky law).                                               sufficient to describe an express warranty, much less one
                                                                   that specifically ran to the ultimate consumer, and therefore
Regardless, claims for breach of warranty under Kentucky           Robinson cannot avail himself of the privity exception.
law may proceed only where there is privity between                Accordingly, Robinson's express warranty claim is dismissed
the parties. See Waterfill v. National Molding Corp., 215          without prejudice.
Fed.Appx. 402, 405 (6th Cir. 2007); see also Naiser v.
Unilever U.S., Inc., 975 F.Supp.2d 727, 738 (W. D, Ky. 2013).
Contractual privity must be uninterrupted and direct from
                                                                   4. Fraudulent Concealment
the seller to “his buyer.” See Compex Intern. Co., Ltd. V.
Taylor, 209 S.W.3d 462, 465 (2006) (citing KRS 355.2318).           *4 Robinson alleges that Eli Lilly fraudulently concealed
Here, Robinson doesn't allege any kind of contractual privity      from others its knowledge concerning the risk of taking
between Lily and the consumer. As such, the claim for implied      Prozac while pregnant, including concealment from Ms.
breach of warranty is dismissed. See Munn v. Pr Hosp.              Robinson, her prescribing physicians, and the FDA. (DE 1-2
Products Group, Inc., 750 F.Supp.244, 248 (W.D. Ky. 1990)          at 23). To the extent that Robinson asserts a claim of fraud
(dismissing an implied warranty claim because the doctor, and      on the FDA, it is preempted and dismissed. See Buckman
not the patient, purchased surgically implanted nails).            Co. v. Plaintiffs' Legal Committee, 531 U.S. 341, 121 S.Ct.
                                                                   1012 (2001); see also Garcia v. Wyeth-Ayerst Labs, 385 F.3d
Robinson argues an exception to privity exists for his             961, 966 (6th Cir. 2004) (“Buckman teaches that state tort
express warranty claim. (DE 14 at 8). A line of cases in           remedies requiring proof of fraud committed against the FDA
the United States District Court for the Western District          are foreclosed since federal law preempts such claims”).
of Kentucky has recognized that Kentucky law allows an
exception to the privity requirement when a manufacturer           The remaining portion of Robinson's claim does not meet
makes express warranties directly to the intended consumer of      the applicable pleading requirement. The Sixth Circuit has
the product. See e.g., Bosch v. Bayer Healthcare Pharm., Inc.,     explained that a claim based in fraud, including fraud by
13 F.Supp.3d 730, 746-49 (W.D. Ky. 2014); see also Huff v.         omission, is subject to a heightened pleading requirement
Howmedica Osteonics, No. 5:14-CV-00134-TBR, 2014 WL                under the Federal Rules of Civil Procedure:
4918807 (W.D. Ky. Sept. 30, 2014). But unlike in Bosch
and Huff, the complaint in this case does not specify the            Rule 9(b) is designed, not only to put defendants on
warranties allegedly made by Eli Lilly. See e.g., Bosch, 13          notice of alleged misconduct, but also to prevent fishing
F.Supp.3d at 746-49 (noting that the complaint identified the        expeditions ... and to narrow potentially wide-ranging
types and sources of communication, when plaintiff received          discovery to relevant matters. To maintain its fraud-by-
the communications, and the specific assertions contained            omission claim under this standard, [plaintiff] must specify
within); see also Huff, No. 5:14-CV-00134-TBR, 2014 WL               the who, what, when, where and how of the alleged
4918807 (noting that the Defendant did not dispute making            omission. Specifically, it must plead: (1) precisely what
express warranties to Plaintiff through the media about the          was omitted; (2) who should have made a representation;
effectiveness and safety of the product).                            (3) the content of the alleged omission and the manner
                                                                     in which the omission was misleading; and (4) what
In the section of his complaint alleging breach of an express        [defendants] obtained as a consequence of the alleged
warranty, Robinson cites a litany of entities to which Eli Lilly     fraud.
supposedly made express warranties, but fails to point to even
one specific communication directed to the consumer of the         Republic Bank & Tr. Co. v. Bear Stearns & Co., Inc., 683
product—and certainly not one in which Lilly represented           F.3d 239, 255-56 (6th Cir. 2012); see also House v. Bristol-
that Prozac was safe for, or intended to be used during,           Myers Squibb Company, No. 3:15-CGV-00894-JHM, 2017
pregnancy. See (DE 1-2 at 22-23). Elsewhere in his complaint,      WL 55876 (W.D. Ky. Jan. 4, 2017) (dismissing Kentucky
Robinson alleges that Eli Lilly misrepresented to the public       fraudulent concealment claim against drug manufacturers
that Prozac was safe to take during pregnancy.2 But Robinson       where plaintiff failed to allege sufficient facts under Rule
again fails to provide the Court with any level of detail,         9(b) ).
leaving the Court to speculate as to when, where, how, and



                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                           Page 92 of 246   3
          PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 37 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 95 of 248 PageID: 104
Robinson on Behalf of T.R. v. Eli Lilly and Company, Not Reported in Fed. Supp. (2018)
2018 WL 4039703

In this case, Robinson alleges that Eli Lilly, “[a]t all times     materials....”). Again, Robinson's complaint fails to identify
relevant hereto ... conducted a sales and marketing campaign       any specific statement by Eli Lilly that makes plausible the
to promote the sale of Prozac and willfully deceive” a             allegation that a misrepresentation was contained therein.
generically broad cast of characters, including “Ms. Robinson      For the same reasons as his fraudulent concealment claim,
and her prescribing physicians and healthcare providers,           Robinson's negligent. misrepresentation claim does not meet
the medical, scientific, pharmaceutical and healthcare             the heightened pleading requirements, and must be dismissed
communities, the FDA, and the public in general.” (DE              without prejudice.
1-2 at 23-24). Robinson alleges that the timeframe of Eli
Lilly's fraudulent concealment is “from the time Prozac
was first tested ... up to the present,” an expansive period         B. Preemption
that presumably begins prior to Ms. Robinson's alleged             Eli Lilly argues that Robinson's design defect and failure to
purchase and use of Prozac in 2000. (DE 1-2 at 23). The            warn claims, sounding in strict liability and negligence, are
extent of Robinson's specificity is that the concealment was       preempted by federal law—specifically through regulations
done through “false, fraudulent and misleading advertising,        enforced by the Food and Drug Administration (“FDA”).
marketing messages, publications and all such public               Eli Lilly asserts that both claims are preempted by the
statements” issued by Eli Lilly. Id. at 24, Notably, Robinson      impossibility doctrine. (DE 10 at 3).
does not cite the Court to a single document or statement
during the—at minimum—eighteen-year period in which he             It is a fundamental principle of the Constitution that Congress
alleges omissions occurred that makes plausible what he            has the power to preempt state law. See Crosby v. National
claims. Robinson discusses the alleged practices “only at a        Foreign Trade Council, 530 U.S. 363, 372, 120 S.Ct. 2288
high level of generality,” and the Court simply cannot find that   (2000). Congress can preempt state law either expressly or
such discussion meets the heightened pleading requirements.        impliedly:
Republic Bank, 683 F.3d at 256. As such, Robinson's claim
                                                                     Express preemption applies where Congress, through a
for fraudulent concealment is dismissed without prejudice.
                                                                     statute's express language, declares its intent to displace
                                                                     state law. Where a court deems express preemption
                                                                     inapplicable, it may still find implied preemption when
5. Negligent Misrepresentation                                       federal and state laws conflict. So-called “conflict
                                                                     preemption” takes two forms: (i) impossibility preemption,
Robinson's sixth cause of action alleges that Eli Lilly              where it is impossible for a private party to comply with
made negligent misrepresentations regarding Prozac and               both state and federal law, and (ii) obstacle preemption,
its use during pregnancy. (DE 1-2 at 26). The Sixth                  where the state law is an obstacle to the accomplishment
Circuit has indicated that, under Kentucky law, negligent            and execution of the full purposes and objectives of
misrepresentation claims are also subject to Rule 9(b)'s             Congress.
heightened pleading requirements. See Republic Bank, 683
F.3d at 247. Rule 9(b) “requires a plaintiff: (1) to specify the   Robbins v. New Cingular Wireless PCS, LLC, 854 F.3d 315,
allegedly fraudulent statements; (2) to identify the speaker;      319 (6th Cir. 2017) (internal citations omitted). Generally,
(3) to plead when and where the statements were made; and          plaintiffs who are injured by brand-name prescription drugs
(4) to explain what made the statements fraudulent.” Id.           retain state-law tort remedies against the manufacturer,
                                                                   “provided it is not impossible for the drug manufacturer to
 *5 Robinson's negligent misrepresentation claim alleges the       comply with both state and federal law.” Yates v. Ortho-
same broad time frame as his fraudulent concealment claim          McNeil-Janssen Pharm., Inc., 808 F.3d 281, 294 (6th Cir.
(DE 1-2 at 26); both claims involve the same sweeping cast         2015). The Supreme Court has stated that, “[t]he question for
of characters allegedly targeted by Eli Lilly (DE 1-2 at 27);      impossibility is whether the private party could independently
and Robinson's negligent misrepresentation claim, similar to       do under federal law what state law requires of it.” PLIVA,
his fraudulent concealment claim, alleges misrepresentations       Inc. v. Mensing, 564 U.S. 604, 620, 131 S.Ct. 2567 (2011).
at only a high level of generality. (DE 1-2 at 27) (“These         Neither party currently contests that Eli Lilly is a brand-name
misrepresentations were made directly by Defendant, by sales       manufacturer for purposes of FDA regulations.
representatives, detail persons and other authorized agents
of said Defendant, and in publications and other written



                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                            Page 93 of 246   4
          PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 38 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 96 of 248 PageID: 105
Robinson on Behalf of T.R. v. Eli Lilly and Company, Not Reported in Fed. Supp. (2018)
2018 WL 4039703

                                                                   In Robinson's second cause of action, he claims Eli Lilly
                                                                   breached a duty in that it negligently and carelessly
1. Failure to Warn Claims
                                                                   manufactured, designed, formulated, produced and prepared
At this point in the litigation, Robinson's failure to warn        Prozac. (DE 1-2 at 21). Eli Lilly alleges that these “design
claims are not preempted. Previously, the Supreme Court has        defect” claims are preempted by federal law and should be
indicated that manufacturers of brand-name pharmaceuticals         dismissed. The Court agrees.
bear the responsibility for the contents of a drug's label at
all times—the manufacturer is charged with both crafting an        Under the Federal Food, Drug, and Cosmetic Act (“FDCA”),
adequate label and ensuring that its label is adequate as long     drug manufacturers must gain approval from the FDA before
as the drug remains on the market. See Wyeth v. Levine, 555        introducing a new drug into interstate commerce. 21 U.S.C. §
U.S. 555, 570-71, 129 S.Ct. 1187 (2009). The Sixth Circuit         355(a). And in contrast to the manufacturer's unilateral ability
has previously explained Wyeth:                                    to strengthen a drug's label discussed above, once a drug is
                                                                   approved, “the manufacturer is prohibited from making any
  In a 2009 opinion authored by Justice Stevens, the Supreme       major changes to the qualitative or quantitative formulation
  Court held that failure-to-warn claims against branded-          of the drug product, including active ingredients, or in the
  drug manufacturers were not preempted by federal law,            specifications provided in the approved application.” Mutual
  because 1) it is not impossible for [a branded-drug              Pharmaceutical Co., Inc. v. Bartlett, 570 U.S. 472, 477 133
  manufacturer] to comply with its state and federal law           S.Ct. 2466 (2013) (quoting 21 C.F.R. § 314.70(b)(2)(i) ).
  obligations and 2) state common-law claims do not stand as
  an obstacle to the accomplishment of Congress' purposes          Here, Robinson's complaint does not cite a single change to
  in the FDCA. In finding no impossibility preemption, the         Prozac's design that was required by Kentucky law—at most,
  Court found that because the changes being effected (CBE)        Robinson alleges that it is the chemical make-up of Prozac
  process allowed branded-drug manufacturers to strengthen         that created the risk suffered by T.R. See (DE 1-2 at 7) (citing
  warnings without prior approval of the FDA, compliance           the dangers of fluoxetine and Prozac's effect on serotonin
  with both federal and state duties was not impossible. The       levels, “the primary human substance affected by Prozac”).
  Court did not find it significant that the FDA has authority     Even assuming Kentucky law required a change regarding the
  to reject unilateral labeling changes made pursuant to           make-up of Prozac, the federal law discussed above makes it
  the CBE process, finding it difficult to accept that the         clear that Eli Lilly could not have independently made such
  FDA would not have permitted a change to a stronger              fundamental changes to Prozac's formula. Thus, Robinson's
  warning. Without clear evidence that the FDA would not           design defect claims are preempted. See PLIVA, Inc., 564
  have approved a change, the Court was unwilling to find          U.S. 604, 624, 131 S.Ct. 2567 (“[W]hen a party cannot
  impossibility.                                                   satisfy its state duties without the Federal Government's
                                                                   special permission and assistance, which is dependent on the
 *6 Fulgenzi v. PLIVA, Inc., 711 F.3d 578, 582 (6th Cir. 2013)     exercise of judgment by a federal agency, that party cannot
(internal citations and quotations omitted). Here, Robinson        independently satisfy those state duties for pre-emption
claims that Eli Lilly should have strengthened Prozac's label      purposes”); see also Yates, 808 F.3d at 297-299 (finding a
to include a more adequate warning regarding the risks             state law claim that manufacturer should have changed dosage
associated with using the drug while pregnant. The Court           level of an active ingredient after FDA approval to be “clearly
has already concluded that Robinson has provided sufficient        preempted”).
allegations to state a claim for failure to warn. At this early
stage of litigation, the Court is faced with no “clear evidence”   To the extent that Robinson attempts to ground his claim in
that the FDA would have denied such a change to Prozac's           a pre-approval duty, the claim is still preempted. See Yates,
labeling, and the Court finds that Robinson's failure to warn      808 F.3d at 300 (“Defendants could not have complied with
claims are not preempted. See e.g., Wyeth 555 U.S. 555,            whatever pre-approval duty might exist without ultimately
570-71, 129 S.Ct. 1187.                                            seeking the FDA's approval prior to marketing [the drug],
                                                                   and certainly prior to [Plaintiff's] use of the drug”); see also
                                                                   Fleming v. Janssen Pharmaceuticals, Inc., 186 F.Supp.3d 826
2. Design Defect Claims                                            (W.D. Tn. 2016) (finding design defect claims premised on
                                                                   Defendant's duty to design drug differently prior to FDA



                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                            Page 94 of 246   5
          PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 39 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 97 of 248 PageID: 106
Robinson on Behalf of T.R. v. Eli Lilly and Company, Not Reported in Fed. Supp. (2018)
2018 WL 4039703

                                                                   *7 Accordingly, and being otherwise sufficiently advised,
approval to be preempted). Accordingly, Eli Lilly's motion to
                                                                  the Court HEREBY ORDERS that:
dismiss is granted as to Robinson's design defect claims.
                                                                    (1) Defendant Eli Lilly's Motion to Dismiss (DE 10) is
                                                                       DENIED as to Robinson's failure to warn claim arising
   C. Request For Leave to Amend
                                                                       in strict liability;
In his response to Eli Lilly's motion to dismiss, Robinson
has also included a request for leave to amend his complaint        (2) Defendant Eli Lilly's Motion to Dismiss (DE 10) is
if the Court were to find that portions were “improperly               DENIED as to Robinson's failure to warn claim arising
pled or insufficient in some respect.” (DE 14 at 13). The              in negligence;
Court does not consider this an appropriate motion to amend.
See DeMoss, 234 F.Supp.3d at 885. If Robinson wants the             (3) Defendant Eli Lilly's Motion to Dismiss (DE 10) is
Court to consider such a request, he should submit a properly          GRANTED as to all other claims; and
supported motion, with a copy of the amended complaint
attached, no later than twenty-one (21) days from the entry         (4) Plaintiff Robinson shall submit its motion and amended
of the Memorandum Opinion and Order. Thereafter, Eli Lilly             complaint no later than twenty-one (21) days from the
may file its response, and the Court will address the merits of        entry of this Memorandum Opinion and Order.
Robinson's motion.
                                                                  It is so ORDERED.


III. CONCLUSION                                                   All Citations

                                                                  Not Reported in Fed. Supp., 2018 WL 4039703


Footnotes
1      The Court notes that these claims are brought by Timothy Robinson, on behalf of T.R., his minor child.
2      Robinson alleges that Eli Lilly “touted Prozac as being a safe alternative for pregnant women,” and “misrepresented and
       continue[s] to misrepresent to the public ... that the drug is safe to take during pregnancy.” (DE 1-2 at 10-11).


End of Document                                                     © 2020 Thomson Reuters. No claim to original U.S.
                                                                                                Government Works.




               © 2020 Thomson Reuters. No claim to original U.S. Government Works.                          Page 95 of 246   6
     PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 40 of 114 Trans ID: LCV20201846220
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 98 of 248 PageID: 107




                             Exhibit F




                                                                          Page 96 of 246
          PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 41 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 99 of 248 PageID: 108
Drescher v. Bracco Diagnostics Incorporated, Slip Copy (2020)
2020 WL 1466296

                                                                (“R&R”) further recommended denying Defendants’ first
                                                                round of Motions to Dismiss (Docs. 15, 16, 20) as moot
                  2020 WL 1466296
                                                                because they were based on the original Complaint, which
    Only the Westlaw citation is currently available.
                                                                was superseded by the First Amended Complaint (Doc.
       United States District Court, D. Arizona.
                                                                35). Plaintiff filed an Objection (Doc. 58) and Defendants
                                                                responded (Doc. 59). For the following reasons, the Court
       Candice DRESCHER, Plaintiff,
                                                                will grant the Motions to Dismiss and adopt Judge Kimmins’
                   v.                                           Report and Recommendation.
         BRACCO DIAGNOSTICS
     INCORPORATED, et al., Defendants.                             I. Background
                                                                Plaintiff filed her original Complaint on February 25, 2019.
            No. CV-19-00096-TUC-RM (LCK)                        (Doc. 1.) Each group of Defendants filed a Motion to Dismiss
                           |                                    the Complaint. (Docs. 15, 16, 20.) Defendants also moved to
                  Signed 03/26/2020                             transfer the case to a judge with related cases, but the request
Attorneys and Law Firms                                         was denied. (Docs. 33, 53.) Plaintiff filed her Amended
                                                                Complaint (FAC) on July 29, 2019. (Doc. 35.) Defendants
C. Brooks Cutter, Pro Hac Vice, Margot P. Cutter, Pro Hac       then filed the Motions to Dismiss which are the subject of
Vice, Cutter Law PC, Sacramento, CA, Curt William Clausen,      Judge Kimmins’ Report and Recommendation. (Docs. 46, 47,
Clausen & Williamson PLLC, Phoenix, AZ, for Plaintiff.          48.)

Donn Christopher Alexander, Jones Skelton & Hochuli PLC,        The Amended Complaint alleges that Plaintiff was injected
Phoenix, AZ, Paul Scott Penticuff, Pro Hac Vice, Thomas         with the linear gadolinium-based contrast agent (GBCA)
N. Sterchi, Pro Hac Vice, Baker Sterchi Cowden & Rice           “OptiMARK,” which is produced and sold by Defendants
LLC, Kansas City, MO, for Defendant Bracco Diagnostics          Guerbet and Mallinckrodt, prior to a January 19, 2013
Incorporated.
                                                                magnetic resonance imaging (MRI) procedure.1 (Doc. 35 ¶
Alison Rebecca Christian, Stephen M. Dichter, Christian         2.) Plaintiff further alleges that she was injected with linear
Dichter & Sluga PC, Phoenix, AZ, Brad Michael Welsh, Pro        GBCA MultiHance, which is produced and sold by Defendant
Hac Vice, Jamie Kendall, Pro Hac Vice, Kendall Law Firm         Bracco, prior to MRIs on August 11, 2015 and November
PC, Bryn Mawr, PA, Brian W. Shaffer, Pro Hac Vice, Morgan       8, 2016. (Id.) At the time of the GBCA injections, Plaintiff
Lewis & Bockius LLP, Philadelphia, PA, Christina Marie          had normal kidney function. (Id. ¶ 43.) Plaintiff alleges
Vitale, Morgan Lewis & Bockius LLP, Houston, TX, for            that a urine test in May 2017 revealed that her body had
Defendants Guerbet LLC, Liebel-Flarsheim Company LLC.           retained high levels of gadolinium, a toxic heavy metal, in
                                                                her organs, bone, and skin and that it had crossed the blood-
Alexix Gustavo Terriquez, Patrick Xavier Fowler, Snell &        brain barrier and deposited in her brain. (Id. ¶ 4.) The retention
Wilmer LLP, Phoenix, AZ, Devin Kyle Ross, Pro Hac Vice,         of gadolinium caused numerous symptoms, including joint
Robert Thomas Adams, Pro Hac Vice, Shook Hardy &                pain, fatigue, cognitive problems, loss of mobility, muscle
Bacon LLP, Kansas City, MO, for Defendants Mallinckrodt         weakness, chronic pain, fibrosis, and skin changes. (Id.)
Incorporated, Mallinckrodt LLC.                                 Plaintiff claims that her doctors have diagnosed and treated
                                                                her for “gadolinium toxicity.” (Id.)


ORDER                                                           Beginning in 2007, the Food and Drug Administration (FDA)
                                                                required all GBCA labels to add a “black box” warning that
Honorable Rosemary Márquez, United States District Judge        GBCAs increased the risk of Nephrogenic Systemic Fibrosis
                                                                (NSF), a disease that causes fibrosis of skin and organs,
 *1 On January 31, 2020, Magistrate Judge Lynette C.            for patients with reduced renal function. (Id. ¶¶ 74,77.) The
Kimmins issued a Report and Recommendation (Doc. 57)            Amended Complaint cites numerous studies documenting
recommending that this Court grant Defendants’ Motions to       gadolinium retention in patients with normal kidney function.
Dismiss (Docs. 46, 47, 48) and grant Plaintiff leave to amend   (Id. ¶¶ 47, 70, 86, 88.) It also cites patient reports of adverse
the operative Complaint. The Report and Recommendation


               © 2020 Thomson Reuters. No claim to original U.S. Government Works.                            Page 97 of 246   1
          PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 42 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 100 of 248 PageID: 109
Drescher v. Bracco Diagnostics Incorporated, Slip Copy (2020)
2020 WL 1466296

events (AERs) after gadolinium exposure despite normal             inferences drawn in the plaintiff’s favor, fail to state a
kidney function, between 2007 and 2016. (Id. ¶¶ 47, 70, 85.)       plausible claim for relief. Id. at 678; see also Erickson v.
In December 2017, the FDA mandated a new warning for all           Pardus, 551 U.S. 89, 94 (2007) (all factual allegations in the
GBCAs for MRIs that gadolinium may be retained in patients’        complaint must be accepted as true). However, allegations
bodies, including the brain, for months to years after receiving   that “contradict matters properly subject to judicial notice
the drug. (Id. ¶ 111.) The FDA required GBCA manufacturers         or by exhibit” need not be accepted as true. Gonzalez v.
to issue a patient medication guide and to conduct further         Planned Parenthood of Los Angeles, 759 F.3d 1112, 1115
studies to assess the safety of GBCAs. (Id.)                       (9th Cir. 2014); see also Sprewell v. Golden State Warriors,
                                                                   266 F.3d 979, 988 (9th Cir. 2001) (courts need not accept as
 *2 Plaintiff alleges that Defendants knew or should have          true allegations that “contradict matters properly subject to
known of the adverse consequences of gadolinium retention          judicial notice or by exhibit” or that are “merely conclusory,
in people, like her, with normal kidney function. (Id. ¶ 50.)      unwarranted deductions of fact, or unreasonable inferences.”)
Plaintiff alleges that the Defendant manufacturers falsely         “[A] court may disregard allegations of the complaint that
promised the gadolinium would leave her body without               are contradicted by attached exhibits.” Castle v. Eurofresh,
harming her. (Id. ¶¶ 2, 6, 9.) Plaintiff further alleges that      Inc., No. CV09-8114-PCT-MHMDKD, 2010 WL 797138, at
Defendants should have sold macrocyclic GBCAs, which               *3 (D. Ariz. Mar. 8, 2010). “[W]here scientific studies are
are less likely to be retained in the body, instead of linear      cited and thus incorporated into the complaint, and where
GBCAs. (Id. ¶¶ 84, 89, 95.) Plaintiff alleges that Defendants      those studies simply do not support the allegations, the Court
limited the warnings regarding gadolinium retention to the         may find that the deficiencies ... go to the very heart of the
subset of patients with abnormal kidney function. (Id. ¶           plausibility standard under Iqbal.” Sabol v. Bayer Healthcare
114.) Plaintiff alleges that Defendants are liable based on:       Pharm., Inc., No. 18 CIV. 11169 (VM), 2020 WL 705170, at
(1) strict product liability: inadequate warning; (2) strict       *12 (S.D.N.Y. Feb. 12, 2020).
product liability: defective design; and (3) negligence due to
inadequate warning and defective design.                           While a complaint need not plead “detailed factual
                                                                   allegations,” the factual allegations it does include “must
In response to Plaintiff’s FAC, Defendants filed Motions to        be enough to raise a right to relief above the speculative
Dismiss, arguing that the FAC should be dismissed for the          level.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 545 (2007).
following reasons: untimely service; preemption; failure to        A plaintiff must allege “enough facts to state a claim to
plead causation; failure to plead foreseeable risk; punitive       relief that is plausible on its face.” Matrixx Initiatives, Inc. v.
damages are barred; and the allegations fail to state a claim      Siracusano, 563 U.S. 27, 45 n.12 (2011) (quoting Twombly,
and violate Fed. R. Civ. P. 8. (Docs. 46, 47, 48.)                 550 U.S. at 570). The allegations must “raise a reasonable
                                                                   expectation that discovery will reveal [material] evidence”
                                                                   and thus “allow the court to draw the reasonable inference
  II. Standard of Review                                           that the defendant is liable” for the alleged misconduct. Id.
A district judge must “make a de novo determination of             at 46. The plausibility standard demands “more than a sheer
those portions” of a magistrate judge’s “report or specified       possibility that a defendant has acted unlawfully.” Iqbal, 556
proposed findings or recommendations to which objection is         U.S. at 678. A formulaic recitation of the elements of a
made.” 28 U.S.C. § 636(b)(1); see also Johnson v. Zema Sys.        cause of action is not enough to establish a claim, and legal
Corp., 170 F.3d 734, 739 (7th Cir. 1999) (“If no objection or      conclusions are not entitled to an assumption of truth. Id. at
only partial objection is made, the district court judge reviews   679.
those unobjected portions for clear error.”); Prior v. Ryan, CV
10-225-TUC-RCC, 2012 WL 1344286, at *1 (D. Ariz. Apr.               *3 In resolving a Rule 12(b)(6) Motion to Dismiss for
18, 2012) (reviewing for clear error unobjected-to portions of     failure to state a claim, “the Court’s task is to assess the legal
Report and Recommendation).                                        feasibility of the complaint, not to assay the weight of the
                                                                   evidence which might be offered in support thereof.” Sabol,
“To survive a motion to dismiss, a complaint must contain          2020 WL 705170, at *6 (internal citations and quotations
sufficient factual matter, accepted as true, to state a claim      omitted). Within the context of the facts stated in the
to relief that is plausible on its face.” Ashcroft v. Iqbal, 556   complaint or documents attached to or incorporated into the
U.S. 662, 678 (2009). Dismissal is only appropriate if the         complaint by reference, the Court must “draw reasonable
complaint’s factual allegations, together with all reasonable


                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                               Page 98 of 246   2
          PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 43 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 101 of 248 PageID: 110
Drescher v. Bracco Diagnostics Incorporated, Slip Copy (2020)
2020 WL 1466296

inferences and resolve any doubts in favor of the non-moving      “the FDA concluded, more than a year after Plaintiff last was
party.” Id.                                                       exposed to gadolinium, that no GBCAs were unreasonably
                                                                  dangerous and there was no known adverse health effect
                                                                  from gadolinium retention.” (Id. at 17.) Therefore, the R&R
   III. Report and Recommendation                                 rejected as conclusory Plaintiff’s allegation that there was a
The Report and Recommendation recommends dismissing               known risk of harm that Defendants could and should have
Plaintiff’s FAC with leave to amend. The R&R addresses each       foreseen prior to 2016. (Id.)
of Defendants’ arguments for dismissal as if raised by all
Defendants. See Silverton v. Dep't of Treasury of U. S. of Am.,   Finally, the R&R addresses Plaintiff’s request for punitive
644 F.2d 1341, 1345 (9th Cir. 1981) (“A District Court may        damages. (Id.) Defendants contend that punitive damages are
properly on its own motion dismiss an action as to defendants     barred by Arizona state law. (Id.) The R&R finds that Plaintiff
who have not moved to dismiss where such defendants are in a      is barred from seeking punitive damages because she did
position similar to that of moving defendants or where claims     not plead that Defendants’ products were non-compliant with
against such defendants are integrally related.”); Bornstein      their FDA-approved manufacturing or labeling. (Id. at 18.)
v. Trans Union LLC, No. CV-18-04773-PHX-JJT, 2019 WL
2372020, at *2 (D. Ariz. June 5, 2019) (applying dismissal         *4 Because the R&R found that Plaintiff’s claims should
argument of one defendant to all defendants because claims        be dismissed in their entirety based upon preemption and
were identical).                                                  failure to plead foreseeability, the R&R does not address
                                                                  Defendants’ other arguments for dismissal. (Id.) The R&R
The R&R first addresses Defendants’ argument that the             recommends granting Plaintiff leave to amend the complaint
FAC should be dismissed for failure to timely serve.              only if she possesses additional factual allegations that allow
The Magistrate Judge found that because Plaintiffs served         her to state at least one claim for relief. (Id.) The R&R finds
Defendants shortly after the deadline, because Plaintiff’s        that, at a minimum, Plaintiff must include allegations of: (1)
claim would be barred by the statute of limitations if            reasonable evidence of a causal association of harm (relevant
dismissed, and because Defendants did not show prejudice          to preemption and causation necessary to state a claim for
resulting from the two-week delay in service, dismissal based     failure to warn or design defect); (2) a foreseeable risk of harm
on improper service is not warranted. (Doc. 57 at 4.)             to patients with normal kidney function from Defendants’
                                                                  linear GBCA products (necessary to state a claim for failure
Next, the R&R addresses Defendants’ argument that                 to warn or design defect); and (3) Defendants’ ability under
Plaintiff’s inadequate warning claim and design defect claim,     federal law to redesign their GBCA products to comply with
sounding in strict liability and negligence, are preempted        state law (necessary to state a claim for design defect). (Id.
by the FDA’s regulatory scheme. (Id. at 5.) The R&R               at 19.)
finds that Plaintiff’s inadequate warning claim is preempted
because it did not state a plausible claim that the Defendant
manufacturers could have changed their labels under the              IV. Objection 1: The Magistrate Judge failed to
Changes Being Affected, or “CBE,” regulation, 21 C.F.R.              properly apply the Motion to Dismiss Standard.
§ 314.70(c)(6)(iii). (Id. at 10.) The R&R further finds           Plaintiff objects that the magistrate judge failed to properly
that Plaintiff’s design defect claim is preempted because         apply the Motion to Dismiss standard by failing to draw all
Plaintiff’s proposed change to Defendants’ linear GBCA            reasonable inferences in Plaintiff’s favor. (Doc. 58 at 2-4,
product would constitute a major change under applicable          Doc. 57 at 7-9.) Plaintiff contends that the R&R failed to
state regulations and would therefore require obtaining prior     draw “important inferences” in Plaintiff’s favor but does not
FDA approval, and a label alteration to ameliorate the            specify what those inferences should have been. (Id. at 4.)
purported risk was also not possible without FDA approval.        Defendants respond that the R&R applied the appropriate
(Id. at 14.)                                                      legal standard by rejecting Plaintiff’s conclusory allegations
                                                                  that are contradicted by the FDA statements and findings set
The R&R goes on to address Defendants’ argument that              forth in the exhibits attached to the complaint. (Doc. 59 at 3.)
Plaintiff failed to plead that Defendants knew, or should
have known, that their linear GBCA products posed an              On de novo review, the Court finds that the magistrate
unreasonable danger to patients with normal kidney function       judge correctly applied the legal standard for motions to
and finds that Plaintiff’s attached exhibits demonstrate that     dismiss. Citing Sprewell, 255 F.3d at 988, the R&R finds


               © 2020 Thomson Reuters. No claim to original U.S. Government Works.                             Page 99 of 246   3
           PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 44 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 102 of 248 PageID: 111
Drescher v. Bracco Diagnostics Incorporated, Slip Copy (2020)
2020 WL 1466296

that “Plaintiff’s conclusory allegations of causation ... are          which the FDA concluded that no causal association had been
contradicted by the supporting facts and studies included              established. (Id. at 5.)
in the Amended Complaint and its attachments” and that
there was no “reasonable evidence of a causal association               *5 The Court finds that Plaintiff’s objection misconstrues
of harm for patients with normal renal function.” (Doc. 57             the R&R’s findings and the standard under which a warning
at 9, 17.) Drawing all reasonable inferences in Plaintiff’s            of a causal relationship between GBCAs and adverse health
favor, the Court finds no basis in the record to reach a               effects in patients with normal kidney function would
different conclusion. The information provided by Plaintiff            be required. First, Plaintiff’s objection ignores the R&R’s
as attachments to the FAC does not provide a basis for a               specific findings regarding the FDA’s explicit findings that
reasonable inference that there exists a causal connection             gadolinium retention has not been directly linked to adverse
between GBCAs and risk of harm to patients with normal                 health effects in patients with normal kidney function. (Doc.
kidney function. Rather, the information provided by Plaintiff         57 at 9-10.) The R&R cites to the FDA’s label change in 2018,
shows that the FDA found, after inquiry and studies, that              which stated that “adverse events involving multiple organ
it could not establish a causal association between adverse            systems have been reported in patients with normal renal
health effects reported by patients with normal kidney                 function without an established causal link to gadolinium
function and gadolinium retention. (See Doc. 35, Exs. C; D at          retention.” (Id. at 9.) Prior to that, the FDA issued a warning
6, 22; E at 6; F at 5, 19; H at 3.) Furthermore, Plaintiff’s factual   in 2017 stating that a causal association between reports of
allegations, supported by the information in the attached              adverse events involving multiple organ systems in patients
exhibits, do not raise a right to relief beyond a speculative          with normal kidney function and gadolinium retention “could
level or state a facially plausible claim. Twombly, 550 U.S.           not be established.” (Id. at 16.) Plaintiff’s objection does
at 545, 570. The magistrate judge, in recommending granting            not address these findings or explain how her argument
the Motions to Dismiss based upon the factual allegations in           that reasonable evidence of a causal association between
and exhibits attached to the FAC, correctly applied the legal          the drug and the adverse event exists is valid considering
standard for motions to dismiss. See Sprewell 266 F.3d at 988          the FDA’s explicit findings to the contrary. In other words,
(courts need not accept as true allegations that “contradict           Plaintiff’s argument that there is reasonable evidence of a
matters properly subject to judicial notice or by exhibit” or          causal association between adverse health effects in people
that are “merely conclusory, unwarranted deductions of fact,           with normal kidney function and gadolinium retention is
or unreasonable inferences.”)                                          plainly contradicted by the FDA warnings.

                                                                       Plaintiff further argues that “it is incorrect to believe that the
   V. Objection 2: The Magistrate Judge erred in finding               FDA ruled out linear GBCAs as a cause for the adverse events
   that the FDA found no causal association between                    reported by patients.” (Doc. 58 at 5.) However, the R&R does
   GBCAs and adverse health effects.                                   not make this finding nor does the FDA mandate warnings
Plaintiff objects to the magistrate judge’s finding that the FDA       for a causal association that has not been ruled out. Rather,
found no causal association between GBCAs and adverse                  the FDA guidance requires “reasonable evidence of a causal
health effects in patients with normal kidney function. (Id.           association between the drug and the adverse event.” (Id.)
at 4-6, Doc. 57 at 9-10, 17.) Plaintiff contends that the FDA          Plaintiff argues that the language in the 2018 label change
requirement that there be “reasonable evidence of a causal             meets this standard but neglects to address the FDA’s finding
association between the drug and the adverse event” in order           that no causal link was established, and instead asks the Court
to include an adverse event in a drug warning, in conjunction          to draw an inference that is both unsupported and explicitly
with the fact that the FDA ordered “actions to alert health            contradicted by the record before it. (See Doc. 57 at 9-10,
care professionals and patients about gadolinium retention             16-17.) Accordingly, the Court finds that the magistrate judge
after an MRI using a GBCA,” provides evidence of a causal              did not err in finding that the FDA found no causal association
relationship between the use of Defendants’ linear GBCA                between GBCAs and adverse health effects in patients with
product and gadolinium retention in patients with normal               normal renal function.
kidney function. (Id. at 5-6.) Defendants respond that the
FDA has expressly confirmed that there is no established
causal association between GBCAs and adverse health effects              VI. Objection 3: The Magistrate Judge erred in
in patients with normal renal function. (Doc. 59 at 4.)                  finding that Plaintiff’s Design Defect claim fails under
Defendants point to the FDA’s warnings in 2017 and 2018 in               Restatement (Third) of Torts § 6(c).


                 © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                Page 100 of 246   4
          PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 45 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 103 of 248 PageID: 112
Drescher v. Bracco Diagnostics Incorporated, Slip Copy (2020)
2020 WL 1466296

Plaintiff objects to the magistrate judge’s finding that her         claims but that Defendants’ duties with respect to product
design defect claims fail under Restatement (Third) of Torts         design apply only to foreseeable risks of harm under that
§ 6(c) because Defendants would have had to change their             section. (Doc. 57 at 13, 15.)
design. (Id. at 6-7, Doc. 57 at 13-14.) Plaintiff objects that the
design defect claims were properly pled because Defendants           § 6(c) states:
should have sold the safer macrocyclic GBCA product instead
of the linear GBCA products, which have defective designs.             A prescription drug or medical device is not reasonably
(Id. at 6.) Plaintiff further contends that she has alleged            safe due to defective design if the foreseeable risks of
sufficient facts to support a claim consistent with Restatement        harm posed by the drug or medical device are sufficiently
(Third) of Torts § 6(c). (Id.)                                         great in relation to its foreseeable therapeutic benefits
                                                                       that reasonable health care providers, knowing of such
Plaintiff’s objection does not address the magistrate judge’s          foreseeable risks and therapeutic benefits, would not
analysis regarding preemption of the design defect claims.             prescribe the drug or medical device for any class of
(Doc. 57 at 11-14.) Plaintiff does not argue and cites to no           patients.
authority supporting the contention that the magistrate judge
incorrectly applied the preemption framework to Plaintiff’s          The commentary to the Restatement provides that “[d]uties
design defect claim pursuant to Mutual Pharm Co., Inc. v.            concerning the design and marketing of prescription drugs
Bartlett, 570 U.S. 472 (2013). The R&R finds that Plaintiff’s        and medical devices arise only with respect to risks of harm
design defect claims are preempted by federal law because            that are reasonably foreseeable at the time of sale.” The R&R
Defendants were unable to alter the formulation of the linear        addresses Plaintiff’s claims of foreseeability and finds that
GBCA drug after its approval by the FDA. (Doc. 57 at 13); see        they are conclusory and are contradicted by factual allegations
21 C.F.R. § 314.70(b)(2)(i) (“Once a drug—whether generic            in the Amended Complaint or its exhibits. (Doc. 57 at 15-16.)
or brand-name—is approved, the manufacturer is prohibited            The Court finds that the record before it provides no basis for a
from making any major changes to the qualitative or                  reasonable inference that the alleged risks posed by the linear
quantitative formulation of the drug product, including active       GBCA agents to patients with normal kidney function were
ingredients[.]”). Plaintiff alleges that Defendants should have      foreseeable. Because the linear GBCA products posed no
sold macrocyclic GBCAs, which are less likely to be retained         reasonably foreseeable risks of harm to patients with normal
in the body, instead of linear GBCAs. However, the active            kidney function, § 6(c) does not provide a basis for Plaintiff’s
ingredients and chemical structures in each of these drugs           design defect claim. Even if Plaintiff could show that the risks
are different and therefore such a change would require FDA          of harm were reasonably foreseeable and that § 6(c) did apply,
approval. (Doc. 17 at 13-14.)                                        the Court would find that Plaintiff’s design defect claims fail
                                                                     due to preemption. (See Doc. 57 at 11-14.)
Furthermore, the Supreme Court expressly rejected Plaintiff’s
argument that Defendants should have simply replaced the             The Court has reviewed Judge Lynette C. Kimmins’s Report
linear GBCA products with macrocyclic GBCA products in               and Recommendation, the parties’ briefs, and the record. The
Bartlett, 570 U.S. 488 (“We reject this ‘stop-selling’ rationale     Court finds no error in Judge Lynette C. Kimmins’s Report
as incompatible with our preemption jurisprudence. Our pre-          and Recommendation.
emption cases presume that an actor seeking to satisfy both
his federal and state-law obligations is not required to cease       Accordingly,
acting altogether in order to avoid liability”); see also Yates
v. Ortho-McNeil-Janssen Pharm., Inc., 808 F.3d 281, 295              IT IS ORDERED that the Report and Recommendation
(6th Cir. 2015) (explaining that the Bartlett court “explicitly      (Doc. 57) is accepted and adopted in full.
rejected the lower court’s conclusion that the defendant could
have complied with both state and federal law by simply              IT IS FURTHER ORDERED that Plaintiff’s Objections
exiting the market[.]”).                                             (Doc. 58) are overruled.


 *6 As for Plaintiff’s argument regarding the magistrate             IT IS FURTHER ORDERED that Defendants’ Motions
judge’s application of the Restatement (Third) of Torts § 6(c),      to Dismiss (Docs. 46, 47, 48) are granted. Plaintiff is
the R&R finds that § 6(c) applies to Plaintiff’s design defect       granted leave to amend the Amended Complaint (Doc. 35)



                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                              Page 101 of 246   5
         PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 46 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 104 of 248 PageID: 113
Drescher v. Bracco Diagnostics Incorporated, Slip Copy (2020)
2020 WL 1466296

consistent with the parameters set forth in the Report and       All Citations
Recommendation.
                                                                 Slip Copy, 2020 WL 1466296


Footnotes
1      Gadolinium is a heavy metal that functions as a contrast agent. Contrast agents are injected into the body before an MRI
       procedure to enhance the imaging. Sabol v. Bayer Healthcare Pharm., Inc., No. 18 CIV. 11169 (VM), 2020 WL 705170,
       at *1 (S.D.N.Y. Feb. 12, 2020).


End of Document                                                     © 2020 Thomson Reuters. No claim to original U.S.
                                                                                                Government Works.




              © 2020 Thomson Reuters. No claim to original U.S. Government Works.                          Page 102 of 246   6
     PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 47 of 114 Trans ID: LCV20201846220
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 105 of 248 PageID: 114




                             Exhibit G




                                                                          Page 103 of 246
          PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 48 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 106 of 248 PageID: 115
Boone v. Boehringer Ingelheim Pharmaceuticals, Inc., --- A.3d ---- (2020)
2020 WL 2121063, Prod.Liab.Rep. (CCH) P 20,887

                                                                 [4] trial court did not abuse its discretion by issuing curative
                                                                 instruction to jury after counsel for executrix improperly
                  2020 WL 2121063
                                                                 suggested during closing argument that manufacturer could
             Supreme Court of Connecticut.
                                                                 be held liable for preempted failure to test claim.
         Geralynn BOONE, Executrix
           (Estate of Mary Boone)                                Affirmed.
                      v.
         BOEHRINGER INGELHEIM
                                                                  West Headnotes (22)
       PHARMACEUTICALS, INC., et al.

                        (SC 20200)                                [1]     Appeal and Error         Evidence and Trial
                             |
                                                                          Executrix of consumer's estate abandoned on
                 Argued December 19, 2019
                                                                          appeal claims that trial court's rulings with
                             |
                                                                          respect to spoliation violated basic notions of
              Officially released May 4, 2020*                            fundamental fairness, due process, and the right
                                                                          to counsel in product liability action against
Synopsis
                                                                          manufacturer of oral anticoagulant medication,
Background: Executrix of consumer's estate brought action
                                                                          where executrix's brief contained no analysis
against manufacturer of oral anticoagulant medication,
                                                                          applying the constitutional principles to the facts
alleging that medication wrongfully caused consumer's death
                                                                          of the case. Conn. Const. art. 1, § 8.
and asserting claims for manufacturer's alleged failure to
give adequate warnings to guard against the risk of bleeding
caused by medication, manufacturer's alleged failure to
                                                                  [2]     Trial   Course and Conduct of Trial in
test the benefits of establishing therapeutic range for the
                                                                          General
medication, and manufacturer's allegedly defective design
due to the absence of reversal agent. The Superior Court,                 A trial court possesses inherent discretionary
Judicial District of Hartford, Ingrid L. Moll, J., granted                powers to control proceedings, exclude
manufacturer's summary judgment motion on design defect                   evidence, and prevent occurrences that might
claim, entered jury verdict in favor of manufacturer, and                 unnecessarily prejudice the right of any party to
denied executrix's motion to set aside verdict, 2018 WL                   a fair trial.
5807932. Executrix appealed, and the Supreme Court
transferred the appeal.
                                                                  [3]     Appeal and Error         Evidence and
                                                                          Witnesses in General
Holdings: The Supreme Court, Kahn, J., held that:                         The Supreme Court reviews a trial court's rulings
                                                                          on evidentiary matters for an abuse of discretion.
[1] doctrine of induced error barred appellate review of
executrix's claim that trial court improperly excluded opening
statements and evidence relating to spoliation;                   [4]     Pretrial Procedure        Failure to Disclose;
                                                                          Sanctions
[2] proffered portion of video recorded deposition of                     The imposition of sanctions for discovery
manufacturer's senior vice president for clinical development             misconduct is vested in the sound discretion of
was not proper rebuttal evidence;                                         the trial court.

[3] design defect claim, relating to reversal agent, was
preempted by federal law; and
                                                                  [5]     Appeal and Error         Evidence and
                                                                          Witnesses in General


               © 2020 Thomson Reuters. No claim to original U.S. Government Works.                          Page 104 of 246     1
         PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 49 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 107 of 248 PageID: 116
Boone v. Boehringer Ingelheim Pharmaceuticals, Inc., --- A.3d ---- (2020)
2020 WL 2121063, Prod.Liab.Rep. (CCH) P 20,887

       Appeal and Error         Evidence and                       at outset of trial to give requested instruction,
       Witnesses in General                                        and trial court afforded executrix broad latitude
       In reviewing a trial court's ruling on an                   to introduce evidence describing work of
       evidentiary matter for abuse of discretion, the             manufacturer's scientist whose documents were
       Supreme Court must make every reasonable                    destroyed.
       presumption in favor of upholding the trial
       court's ruling, and only upset it for a manifest
       abuse of discretion; thus, the Supreme Court's       [9]    Trial      Limiting scope or time of argument
       review of such rulings is limited to the questions          A trial court acts well within its broad discretion
       of whether the trial court correctly applied the            when it restricts the scope of an argument to
       law and reasonably could have reached the                   prevent comment on facts that are not properly
       conclusion that it did.                                     in evidence.



 [6]   Appeal and Error         Invited, induced, or        [10]   Trial     Comments on failure to produce
       encouraged error                                            evidence or call witness
       The induced error principle bars appellate review           Trial     Failure of party to testify or to call
       of induced nonconstitutional error and induced              witness or produce evidence
       constitutional error.
                                                                   Evidence relating to spoliation was not proper
                                                                   material for closing arguments by counsel for
                                                                   executrix of consumer's estate in trial on products
 [7]   Appeal and Error         Estoppel and Waiver;               liability claims against manufacturer of oral
       Invited Error                                               anticoagulant medication, where trial court ruled
       Appeal and Error         Invited, induced, or               at the outset of trial, as part of its decision to
       encouraged error                                            grant executrix's request for adverse inference
       The invited error doctrine rests on principles              instruction, that spoliation evidence would not be
       of fairness, both to the trial court and to the             admitted or presented to the jury.
       opposing party; whether called induced error,
       encouraged error, waiver, or abandonment, the
       result, that the claim is unreviewable on appeal,    [11]   Trial      In general; grounds for admission
       is the same.                                                Proffered portion of video recorded deposition
                                                                   of anticoagulant medication manufacturer's
                                                                   senior vice president for clinical development
 [8]   Appeal and Error         Arguments and conduct              did not contradict testimony presented
       of counsel                                                  by manufacturer's expert witnesses during
       Appeal and Error         Evidence and witnesses             manufacturer's case-in-chief, and thus was not
       in general                                                  proper rebuttal evidence on case of executrix
                                                                   of consumer's estate in products liability trial;
       Doctrine of induced error barred appellate
                                                                   isolated colloquy from deposition established
       review of claim of executrix of consumer's estate
                                                                   only that gastrointestinal bleed could lead
       that trial court improperly excluded opening
                                                                   indirectly to death, senior vice president
       statements and evidence relating to spoliation
                                                                   did not discuss situation in which person's
       in trial on products liability claims against
                                                                   gastrointestinal bleed had resolved prior to death,
       manufacturer of oral anticoagulant medication;
                                                                   and experts addressed more precise question of
       executrix represented to trial court that adverse
                                                                   whether consumer's death was caused by other
       inference instruction would obviate the need
                                                                   medical conditions, and not the gastrointestinal
       for spoliation evidence, executrix agreed not to
                                                                   bleed, which had resolved more than two weeks
       introduce such evidence if trial court agreed
                                                                   before her death. Conn. Practice Book § 15-5(3).


             © 2020 Thomson Reuters. No claim to original U.S. Government Works.                      Page 105 of 246    2
         PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 50 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 108 of 248 PageID: 117
Boone v. Boehringer Ingelheim Pharmaceuticals, Inc., --- A.3d ---- (2020)
2020 WL 2121063, Prod.Liab.Rep. (CCH) P 20,887

                                                                      decide whether the trial court's conclusions are
                                                                      legally and logically correct and find support in
 [12]   Trial      Discretion of court                                the facts that appear in the record.
        The admission of rebuttal evidence lies within
        the sound discretion of the trial court. Conn.
        Practice Book § 15-5(3).                               [18]   States      Conflicting or conforming laws or
                                                                      regulations
                                                                      The dictates of the supremacy clause of the
 [13]   Appeal and Error          Order of proof                      United States Constitution require state law to
                                                                      yield to the extent that it conflicts with federal
        The issue on appeal is not whether any one of the
                                                                      law. U.S. Const. art. 6, cl. 2.
        members of the Supreme Court, sitting as the trial
        court, would have permitted the disputed rebuttal
        testimony to be introduced; the question is rather
        whether the trial court abused its discretion in not   [19]   States      Conflicting or conforming laws or
        allowing the rebuttal testimony. Conn. Practice               regulations
        Book § 15-5(3).                                               A conflict between state and federal law is
                                                                      implicit where, for example, it is impossible for
                                                                      a private party to comply with both state and
 [14]   Trial      In general; grounds for admission                  federal requirements. U.S. Const. art. 6, cl. 2.
        “Rebuttal evidence” is that which refutes the                 1 Cases that cite this headnote
        evidence already presented rather than that
        which merely bolsters one's case.
                                                               [20]   States     Preemption in general
                                                                      There is a strong presumption against federal
 [15]   Witnesses       Right to Contradict Testimony                 preemption of state and local legislation. U.S.
        in General                                                    Const. art. 6, cl. 2.
        There is no requirement that a rebuttal witness
        must respond to every alternate theory offered
        by the defendant; a general contradiction of the       [21]   Products Liability       Design
        testimony given by the defendant is considered                Products Liability       Drugs in general
        permissible rebuttal testimony.                               States     Product safety; food and drug laws
                                                                      Manufacturer of oral anticoagulant medication
                                                                      could not have satisfied its alleged state law
 [16]   Appeal and Error          Summary Judgment                    duty to consumer to develop and market
        The scope of appellate review of a summary                    reversal agent for medication without marketing
        judgment order depends upon the proper                        unapproved drug in violation of federal law, and
        characterization of the rulings made by the trial             thus, design defect claim, relating to reversal
        court.                                                        agent, was preempted by federal law, where
                                                                      reversal agent was not approved by Food
                                                                      and Drug Administration (FDA) until after
 [17]   Appeal and Error          Plenary, free, or                   consumer's gastrointestinal bleed, which was
        independent review                                            allegedly prolonged because reversal agent was
                                                                      not available. U.S. Const. art. 6, cl. 2.
        Appeal and Error          Review for correctness
        or error
        When a trial court draws conclusions of law, the
                                                               [22]   Trial     Particular statements or remarks
        Supreme Court's review of a summary judgment
        order is plenary, and the Supreme Court must


                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                     Page 106 of 246    3
           PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 51 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 109 of 248 PageID: 118
Boone v. Boehringer Ingelheim Pharmaceuticals, Inc., --- A.3d ---- (2020)
2020 WL 2121063, Prod.Liab.Rep. (CCH) P 20,887

         Trial court did not abuse its discretion by               defendants’ motion for summary judgment on a design defect
         issuing curative instruction to jury after counsel        claim relating to the absence of a reversal agent, and (4) issued
         for executrix of consumer's estate improperly             a curative instruction to the jury after closing arguments. We
         suggested during closing argument that                    disagree with each of these claims and, accordingly, affirm
         manufacturer of oral anticoagulant medication             the judgment of the trial court.
         could be held liable for failing to seek approval of
         certain dose of medication proposed by Food and           The following facts and procedural history are relevant to
         Drug Administration (FDA), a claim that trial             the present appeal. After experiencing intermittent heart
         court determined was preempted under federal              palpitations in 2003, the decedent was diagnosed with
         law; manufacturer did not open the door to                nonvalvular atrial fibrillation. That condition may cause
         executrix's use of the exhibit during closing             the formation of blood clots and, as a result, substantially
         arguments, instruction only precluded jury from           increased the decedent's risk of suffering an ischemic stroke.
         considering single exhibit to support claim that          In order to reduce that risk, Jeffrey Fierstein, a cardiologist,
         it had determined was preempted under federal             prescribed an anticoagulant named warfarin to the decedent.
         law, and instruction was brief, contained no              The use of warfarin requires dietary restrictions, frequent
         explicit reprimand, and was conveyed using                blood testing, and dose titration to keep the concentration
         reasonably measured language. U.S. Const. art.            of medication present in the bloodstream within an accepted
         6, cl. 2.                                                 therapeutic range. Like all anticoagulants, warfarin increases
                                                                   the risk of uncontrolled bleeding.2

                                                                   In October, 2010, the defendants received approval from
                                                                   the United States Food and Drug Administration (FDA) to
Attorneys and Law Firms                                            begin selling dabigatran etexilate, an anticoagulant marketed
                                                                   under the brand name Pradaxa. Unlike warfarin, Pradaxa
Brenden P. Leydon, with whom were Neal L. Moskow and
                                                                   requires no dietary restrictions and was approved for use
Kelly A. Koehler, pro hac vice, and, on the brief, Richard I.
                                                                   without blood monitoring or dose titration. In November,
Nemeroff, pro hac vice, for the appellant (plaintiff).
                                                                   2010, Fierstein met with the decedent and recommended
Paul W. Schmidt, pro hac vice, with whom were Patrick M.           switching from warfarin to Pradaxa. Fierstein testified at trial
Fahey, Gregory Halperin and Michael X. Imbroscio, pro hac          that the decedent had been tolerating warfarin well and that
vice, and, on the brief, Phyllis A. Jones, pro hac vice, for the   he had recommended the switch ‘‘out of convenience.’’ The
appellees (defendants).                                            decedent agreed and, for some time, took Pradaxa without any
                                                                   significant side effects.
Robinson, C. J., and Palmer, McDonald, D'Auria, Mullins,
Kahn and Vertefeuille, Js.                                          *2 On March 5, 2014, the decedent suffered a severe
                                                                   gastrointestinal bleed and was admitted to a hospital. The
Opinion
                                                                   decedent underwent kidney dialysis to remove Pradaxa from
KAHN, J.                                                           her blood and was administered multiple blood transfusions.
                                                                   Although the bleeding stopped three days later, the decedent's
 *1 The plaintiff, Geralynn Boone, the executrix of the estate     kidneys began to fail. On March 25, 2014, the decedent
of Mary Boone (decedent), brought the present action against       died. The death certificate lists ‘‘[a]cute [k]idney [i]njury,’’
the defendants, Boehringer Ingelheim Pharmaceuticals, Inc.,        ‘‘chronic kidney [d]is-ease,’’ ‘‘[r]etroperitoneal [f]ibrosis,’’
and Boehringer Ingelheim International, GmbH, alleging,            and ‘‘occult neoplasia’’ as causes of death.3 The death
inter alia, that an oral anticoagulant medication, Pradaxa,        certificate also lists ‘‘[d]abigatran [i]nduced [c]oagulopathy’’
wrongfully caused the decedent's death. A jury returned a          and ‘‘gastrointestinal bleed’’ as ‘‘significant’’ conditions
verdict in favor of the defendants, from which the plaintiff       contributing to the decedent's death. (Emphasis omitted.) No
now appeals.1 The plaintiff claims that the trial court            autopsy was performed.
improperly (1) precluded evidence and arguments related to
spoliation, (2) prevented the plaintiff from using an excerpt      The plaintiff subsequently commenced the present action,
from a particular deposition on rebuttal, (3) granted the          alleging, inter alia, that (1) the defendants negligently failed


                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                            Page 107 of 246   4
          PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 52 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 110 of 248 PageID: 119
Boone v. Boehringer Ingelheim Pharmaceuticals, Inc., --- A.3d ---- (2020)
2020 WL 2121063, Prod.Liab.Rep. (CCH) P 20,887

to give adequate warnings, directions, and instructions to            *3 The following additional facts and procedural history
guard against the risk of bleeding caused by Pradaxa, (2) the        are relevant to our consideration of this claim. In 2012,
defendants negligently failed to test, study, and investigate the    certain federal litigation relating to Pradaxa was centralized
benefits of establishing a therapeutic range for Pradaxa, and        in the Southern District of Illinois pursuant to 28 U.S.C. §
(3) Pradaxa was defectively designed due to the absence of           1407, and a federal district court judge, David R. Herndon,
a reversal agent. On January 24, 2018, the trial court granted       was appointed to preside. In re Pradaxa (Dabigatran
the defendants’ motion for summary judgment on the claim             Etexilate) Products Liability Litigation, 883 F. Supp. 2d
relating to the absence of a reversal agent, concluding, among       1355, 1355–56 (J.P.M.L. 2012). Various discovery disputes
other things, that it was preempted by federal law.4                 in that consolidated federal litigation led to motions
                                                                     seeking sanctions against the defendants. See In re Pradaxa
The plaintiff filed a pretrial motion asking the trial court         (Dabigatran Etexilate) Products Liability Litigation, Docket
to instruct the jury that the defendants had improperly              No. 3:12-MD-02385 (DRH), 2013 WL 6486921, *1 (S.D. Ill.
failed to maintain certain relevant materials for the purpose        December 9, 2013).
of discovery. Specifically, the plaintiff claimed that the
defendants had lost or destroyed files of one of its former          As a result of those disputes, on September 18, 2013,
employees, Dr. Thorsten Lehr, while litigating previous              Judge Herndon issued a mandatory injunction requiring
federal actions relating to Pradaxa. The trial court, applying       the defendants to conduct ‘‘an immediate search for any
the test set forth in Beers v. Bayliner Marine Corp., 236            yet undisclosed materials ....’’ (Internal quotation marks
Conn. 769, 777–79, 675 A.2d 829 (1996), concluded that a             omitted.) Id., at *3–5. During a subsequent deposition, the
spoliation instruction was warranted and, over the defendants’       plaintiffs in that proceeding discovered that Lehr was a
objection, provided such an instruction to the jury at the end       potentially relevant source of additional information and,
of the trial. See footnote 6 of this opinion.                        as a result, requested production of his custodial file. Id.,
                                                                     at *9. Approximately one month after that deposition, the
The jury returned a verdict, finding that, although the              defendants informed Judge Herndon that Lehr had not been
defendants had negligently failed to give adequate warnings,         identified as a custodian and that, as a result, some of his
directions, and instructions to guard against the risk of            documents and files had been destroyed. Id.
bleeding caused by Pradaxa, the plaintiff had failed to prove
that the defendants’ wrongful conduct caused the decedent's          In reviewing a subsequent motion for sanctions, Judge
death. The trial court subsequently rendered judgment in             Herndon found that Lehr ‘‘was a prominent scientist ...
favor of the defendants, from which the plaintiff appealed.          that played a vital role in researching Pradaxa,’’ that the
Additional facts and procedural history will be set forth as         defendants were familiar with his work, and that the evidence
necessary.                                                           on record in that case would ‘‘lead a reasonable person to
                                                                     infer a motive for the defendant[s] to abstain from placing
                                                                     a litigation hold on [Lehr's] materials ....’’ Id., at *12.
                                                                     On the basis of these findings, the court concluded that
I                                                                    the defendants had failed to maintain Lehr's files ‘‘in bad
 [1] The plaintiff first claims that the trial court improperly      faith.’’7 Id., at *18. This conduct, together with certain other
precluded certain evidence and arguments related to the              discovery violations, led Judge Herndon to impose immediate
                                                                     sanctions on the defendants, including a substantial monetary
issue of spoliation.5 Specifically, the plaintiff posits that the
                                                                     fine and an order compelling the attendance of various
absence of such information deprived the jury of the context
                                                                     corporate employees at depositions in the United States.
necessary to decide whether to draw an adverse inference
                                                                     Id., at *20. In a separate ruling, Judge Herndon also
against the defendants, as permitted by the trial court's
                                                                     specifically put the defendants on notice that additional
spoliation instruction. In response, the defendants argue that
                                                                     sanctions, including an adverse inference instruction, would
the trial court's limitations in this regard were proper.6 For the   be considered at the close of discovery and would ‘‘apply to
reasons that follow, we decline to conclude that the trial court     any actions pending before [that] court at [that] time ....’’ In re
abused its discretion by precluding evidence and arguments           Pradaxa (Dabigatran Etexilate) Products Liability Litigation,
relating to the issue of spoliation in the present case.             United States District Court, Docket No. 3:12-MD-02385
                                                                     (DRH), MDL No. 2385, CMO 50-1 (S.D. Ill. December



                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                               Page 108 of 246    5
          PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 53 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 111 of 248 PageID: 120
Boone v. Boehringer Ingelheim Pharmaceuticals, Inc., --- A.3d ---- (2020)
2020 WL 2121063, Prod.Liab.Rep. (CCH) P 20,887

18, 2013), available at https://www.ilsd.uscourts.gov/             difficult’’ to put in context.9 The plaintiff indicated that such
Documents/mdl2385/cmo50-1.pdf (last visited May 1, 2020).          an endeavor would be an unnecessary ‘‘sideshow’’ that would
The defendants challenged Judge Herndon's order by filing          waste both time and judicial resources. On several occasions,
a petition for a writ of mandamus in the United States             the plaintiff represented that she would not seek to introduce
Court of Appeals for the Seventh Circuit. In re Petition           such evidence, if the court were to conclude, at the outset of
of Boehringer Ingelheim Pharmaceuticals, Inc., 745 F.3d
                                                                   the trial, that she was entitled to the requested instruction.10
216, 216–17 (7th Cir. 2014). In that proceeding, the
Seventh Circuit concluded that the order compelling the
                                                                   The court then asked the plaintiff the following specific
deposition of corporate employees in the United States was
                                                                   question: ‘‘[I]f the court granted the requested charge and you
improper. Id., at 219–20. In reaching this conclusion, the
                                                                   didn't put on any evidence of Judge Herndon's order, et cetera,
Seventh Circuit expressly declined to revisit the factual
                                                                   how would the jury be equipped to determine whether to draw
findings underlying the District Court's finding of bad
                                                                   an adverse inference? As ... you know, it's not mandatory.’’
faith and its imposition of other sanctions. Id., at 218.
                                                                   In response, the plaintiff stated that the instruction itself
Following Judge Herndon's decision, the consolidated federal
                                                                   would inform the jury of her claim that the defendants had
litigation settled. See In re Pradaxa (Dabigatran Etexilate)
                                                                   ‘‘intentionally ... or recklessly lost or destroyed’’ documents,
Products Liability Litigation, United States District Court,
                                                                   including files from Lehr, that were relevant ‘‘to the issues of
Docket No. 3:12-MD-02385 (DRH) (S.D. Ill. May 1,
                                                                   the benefits of assessing and adjusting Pradaxa dosing based
2015), available at https://www.ilsd.uscourts.gov/documents/
                                                                   on blood concentrations ....’’ The plaintiff asserted that, armed
mdl2385/MinuteOrder656.pdf (last visited May 1, 2020).
                                                                   with such an instruction and testimony from various witnesses
                                                                   discussing Lehr, the jury ‘‘would be able to put [the spoliation
 *4 Notwithstanding the resolution of the consolidated
federal litigation, several cases related to Pradaxa remained      issue] in context.’’11
pending in this state. Those cases were placed onto a single,
consolidated docket governed by a series of case management        *5 On February 18, 2018, in a comprehensive, written
orders. See In re Connecticut Pradaxa Litigation, judicial         decision,12 the trial court granted the plaintiff's request for
district of Hartford, Complex Litigation Docket, Docket No.        a spoliation charge, finding that, in light of the proceedings
HHD-CV-13-5036974S. The trial court in the present case            before Judge Herndon, the plaintiff had satisfied the elements
noted that, under one such order dated July 23, 2015, ‘‘all        of spoliation set forth in Beers as a matter of law and was
discovery propounded and completed in the [consolidated            entitled to a jury instruction to that effect.13 In so doing,
federal litigation was] deemed propounded and responded            the court noted: ‘‘The parties agreed to be bound by, and
to for purposes of [Connecticut's consolidated Pradaxa             not duplicate, the discovery process that had occurred in
litigation] docket ....’’ That order, which the parties agreed     the [consolidated federal litigation]. It necessarily follows
to be bound by, required the defendants to provide the             that an offending party who failed to identify a custodian of
plaintiff with all evidence produced during the course of the      potentially relevant evidence and who failed to preserve such
consolidated federal litigation, and provided that all discovery   evidence in the underlying proceeding should also be bound
requests and responses in that proceeding ‘‘shall be deem[ed]      by any judicial findings by the underlying court relating to
served in this court for purposes of the parties’ respective       such discovery failures. The contention that Judge Herndon's
rights and obligations with regard thereto.’’                      discovery related findings should be ignored altogether
                                                                   smacks of unfairness under the very unusual circumstances
On January 5, 2018, the plaintiff filed a pretrial request to      of the discovery process in [Connecticut's consolidated
charge, requesting a spoliation charge relating to, among          Pradaxa litigation] docket.’’ The court then concluded that
other things, the defendants’ failure to maintain Lehr's files.8   the ‘‘relitigation of the spoliation issues relating to ... Lehr ...
Relying principally on Judge Herndon's finding of bad              would ... offend principles of judicial economy, would create
faith, the plaintiff requested an instruction indicating that      a trial within a trial, would risk one or more trial counsel
the elements of spoliation had been met as a matter of             being called as witnesses, and would create possible, if not
law. The defendants objected, and the trial court heard oral       inevitable, confusion with the jury, who would be presented
argument on January 29, 2018. During oral argument, the            with testimony and other evidence (e.g., court orders, among
plaintiff argued that the presentation of evidence relating to     other things) relating to the [consolidated federal litigation].’’
spoliation would be ‘‘time-consuming’’ and ‘‘extraordinarily       See footnote 6 of this opinion.



                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                              Page 109 of 246    6
          PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 54 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 112 of 248 PageID: 121
Boone v. Boehringer Ingelheim Pharmaceuticals, Inc., --- A.3d ---- (2020)
2020 WL 2121063, Prod.Liab.Rep. (CCH) P 20,887

                                                                    indicated that certain corporate documents had identified Lehr
The following day, the trial court granted a motion in limine       as the ‘‘father’’ of that same manuscript and that Reilly had
filed by the defendants seeking to exclude ‘‘ ‘evidence,            simply continued Lehr's work.16 The plaintiff's counsel then
testimony, or argument regarding alleged spoliation issues’ ’’      urged the jury to ‘‘pay close attention to the paper and how
relating to Lehr.14 The trial court based its decision on the       it developed.’’17
plaintiff's previous representations that such issues would not
need to be presented to the jury if the court granted, as it did,   One of the plaintiff's expert witnesses, a pharmacologist
her request for a spoliation charge.                                named Laura Plunkett, opined during her testimony that blood
                                                                    monitoring should have been required for Pradaxa because,
On February 23, 2018, the plaintiff filed a motion asking           like warfarin, Pradaxa has a particular therapeutic range
the court to issue the instruction on spoliation at the             that balances the various risks posed by clots and bleeds.
commencement of trial. In that motion, the plaintiff also           She based her opinion, in part, on information contained in
sought permission to ‘‘inform the jury during opening,              Reilly's exposure response paper. Plunkett then testified that
at trial, and during closing argument of [the defendants’]          she had reviewed various communications about the exposure
unlawful destruction of critically important evidence ....’’        response paper and that, in her opinion, important scientific
On that same day, the defendants objected, and the trial            information demonstrating a specific therapeutic range had
court heard oral argument. The court ruled that references to       been suppressed by the defendants in order to avoid the need
spoliation during opening statements risked unfair prejudice
                                                                    for blood monitoring.18 Finally, Plunkett testified, over the
to the defendants and, accordingly, exercised its discretion
                                                                    defendants’ objection, that she had looked for the first draft
to proscribe such references. See Practice Book § 15-6.
                                                                    of the exposure response paper and had been unable to find
The trial court also made clear that, although the plaintiff
was free to discuss Lehr's importance to the case generally,        that document.19
information relating to the ‘‘destruction’’ of documents could
not be communicated to the jury during the evidentiary              Our review of the record indicates that, over the course of
portion of the trial in the absence of a witness with personal      the nearly three weeks of trial that followed, there was only
                                                                    one particular instance in which the plaintiff proffered, and
knowledge of that event.15 The trial court noted that the
                                                                    the trial court excluded, testimony directly relating to the
sanction the plaintiff had procured was powerful. The court
                                                                    destruction of Lehr's files. On that occasion, the plaintiff
was particularly concerned about the use by the plaintiff's
                                                                    sought to introduce an excerpt from a deposition of Andreas
counsel of the terms ‘‘sanction’’ or ‘‘bad faith’’ because,
                                                                    Barner, the defendants’ chairman of corporate management,
‘‘although [it] found as a matter of law that Judge Herndon's
                                                                    relating generally to his awareness of the defendants’ failure
findings satisfies Beers, he made findings that go beyond
                                                                    to preserve Lehr's computer. The plaintiff argued that this
Beers and so he made a bad faith finding that is not necessary
                                                                    excerpt would provide ‘‘bread crumbs’’ to assist the jury in
under Beers.’’ (Internal quotation marks omitted.) Finally, the
                                                                    determining whether to draw an adverse inference against the
trial court expressly reserved decision on whether arguments
                                                                    defendants. The trial court, however, precluded admission of
relating to spoliation would be permitted in closing, noting
                                                                    that excerpt, concluding that the information fell ‘‘squarely
that it had not yet determined whether it would give the
                                                                    within’’ its previous rulings related to spoliation and the
adverse inference instruction when evidence relating to Lehr
                                                                    adverse inference instruction.
was admitted during trial, or after closing arguments.

                                                                     *7 On the final day of the plaintiff's case-in-chief, the
 *6 Lehr's involvement in the development of Pradaxa
                                                                    defendants filed a motion seeking reconsideration of the
featured prominently at trial. In his opening statement,
                                                                    court's previous decision to charge the jury on the issue of
the plaintiff's counsel told the jury that the defendants
                                                                    spoliation. In that motion, the defendants argued, inter alia,
had an interest in suppressing scientific information
                                                                    that the plaintiff's factual basis for requesting a spoliation
showing a ‘‘therapeutic range’’ for Pradaxa because frequent
                                                                    charge had been undercut at trial. See footnote 19 of this
blood testing would place that product at a competitive
                                                                    opinion. The plaintiff objected, arguing that the evidence
disadvantage. The plaintiff's counsel noted, in particular, that
                                                                    presented to the jury did not undermine the requested
the defendants had pressured one of their own scientists, Paul
                                                                    charge. The plaintiff further claimed that, even if evidence of
Reilly, to remove such information from a manuscript relating
                                                                    spoliation was lacking, precluding the charge on that ground
to dabigatran etexilate exposure. The plaintiff's counsel


                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                            Page 110 of 246   7
           PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 55 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 113 of 248 PageID: 122
Boone v. Boehringer Ingelheim Pharmaceuticals, Inc., --- A.3d ---- (2020)
2020 WL 2121063, Prod.Liab.Rep. (CCH) P 20,887

would be improper in light of the fact that the trial court           The plaintiff's closing argument, in fact, discussed the
had excluded evidence of spoliation during trial. The plaintiff       evidence relating to Lehr at length. Specifically, the plaintiff's
noted that the trial court's ‘‘carefully tailored spoliation charge   counsel repeated the argument that the defendants had
is an appropriate sanction for [the defendants’] wrongful             sought to suppress information relating to a therapeutic
conduct.’’ The trial court denied the defendants’ motion.20           range for Pradaxa because blood monitoring would put their
                                                                      product at a competitive disadvantage. The plaintiff's counsel
The defendants subsequently called Reilly as a witness during         emphasized that the authors of the exposure response paper
their case-in-chief. During that testimony, Reilly described          had explored the concept of blood monitoring, that Clemens’
the defendants’ efforts to evaluate blood concentration data,         e-mail implied the existence of an early draft manuscript
stating that the exposure response paper had ‘‘gone through ...       authored by Lehr, and that such a manuscript had never been
multiple iterations’’ and that Lehr had ‘‘initiated ... dose          discovered.21 Finally, the plaintiff's counsel asked the jury to
titration modeling to see whether ... he could identify a target      pay ‘‘close attention’’ to the trial court's instructions relating
range of dabigatran and a target dose adjustment.’’ Reilly            to Lehr and to ‘‘be the judge’’ of whether such facts were
testified that, despite their best efforts, the defendants had        important.
not been able to identify a particular therapeutic range for
Pradaxa and, had such a range been established, it would have          *8 The trial court ultimately issued the following instruction
been communicated to physicians. Reilly then indicated that           to the jury relating to spoliation: ‘‘The plaintiff claims
the FDA and the scientific community had reached the same             that certain evidence was not available to her because [the
consensus.                                                            defendants] destroyed or failed to preserve it, at a time when
                                                                      it had a legal duty to preserve it. Specifically, [the defendants]
On cross-examination, the plaintiff's counsel questioned              destroyed or failed to preserve the desktop computer, laptop
Reilly about a specific e-mail in which Andreas Clemens,              computer, Blackberry phone, and paper files of ... Lehr, about
the head of the department of medical affairs for dabigatran          whom there was some evidence during the trial, who was
etexilate, referred to Lehr as the ‘‘father’’ of the exposure         a scientist and employee of [the defendants and] who did
response paper. (Internal quotation marks omitted.) That              research concerning Pradaxa until he left the company in
correspondence, which was admitted into evidence as a full            September, 2012. The plaintiff contends such evidence is
exhibit, indicates that Reilly ‘‘took [that paper] over and           relevant to her claim concerning the benefits of assessing
changed it significantly.’’ In response, Reilly testified that        blood plasma concentrations. I instruct you that ... Lehr's
he was personally unaware of any drafts of the exposure               desktop computer, laptop computer, Blackberry phone, and
response paper prior to his own and that Clemens had been             paper files were not preserved at a time when [the defendants
‘‘sadly misinformed.’’ See also footnotes 15 and 19 of this           were] on notice of a legal duty to preserve them and that
opinion.                                                              the failure to retain such files was intentional, in the sense
                                                                      that it was not inadvertent. Our law allows you to draw an
Following the close of evidence, the plaintiff again requested        adverse inference that the destroyed evidence would have
permission to inform the jury during closing argument of the          been unfavorable to [the defendants]. You may therefore draw
defendants’ spoliation and the impact it had on the present           an inference that the evidence that was destroyed or not
case. Without such information, the plaintiff argued, the             preserved would be unfavorable to [the defendants], but you
jury would lack the context necessary to draw the adverse             are not required to do so. Understand that this is not a claim
inference invited by the court's instruction. The plaintiff,          for which you would award damages; rather, it permits an
however, did not proffer the substance of the new or additional       adverse inference to be drawn as you consider all the evidence
information relating to spoliation that she wanted to use             relating to the plaintiff's claims. If you choose to draw such
in closing argument. Rather, she again referenced Lehr's              an inference, you may not use the inference to supply the
general importance to the development of Pradaxa and his              place of evidence of material facts or to shift the burden of
involvement with the exposure response paper. The trial court         proof from the plaintiff to [the defendants] on the plaintiff's
ruled that the issue of spoliation would not be ‘‘fodder for          claims, but it may turn the scale when the evidence is closely
closing argument’’ but expressly noted that the parties were          balanced. By giving you this instruction, the court does not
free to ‘‘mention what [had] already come into evidence ....’’        mean to place emphasis on this issue versus any other aspect
                                                                      of the evidence that you may consider, and the court takes no




                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                Page 111 of 246   8
          PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 56 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 114 of 248 PageID: 123
Boone v. Boehringer Ingelheim Pharmaceuticals, Inc., --- A.3d ---- (2020)
2020 WL 2121063, Prod.Liab.Rep. (CCH) P 20,887

view as to whether such an inference should be drawn, as that      *9 [6] [7] We agree with the trial court's assessment that
                                          22
decision is for you, the jury, to decide.’’                       the present case implicates the doctrine of induced error.
                                                                  ‘‘[T]he term induced error, or invited error, has been defined
Following the jury's verdict in favor of the defendants, the      as [a]n error that a party cannot complain of on appeal
plaintiff filed a motion to set aside the verdict, claiming,      because the party, through conduct, encouraged or prompted
among other things, that the trial court had ‘‘improperly         the trial court to make the [allegedly] erroneous ruling....
prevented [her] from informing the jury of [the defendants’]      It is well established that a party who induces an error
acts of spoliation and the court's sanction regarding the         cannot be heard to later complain about that error.... This
same.’’ The plaintiff argued that the issue of spoliation         principle bars appellate review of induced nonconstitutional
was itself relevant and probative to the defendants’ reckless     error and induced constitutional error.... The invited error
disregard for consumer safety. She renewed her claim that the     doctrine rests [on principles] of fairness, both to the trial court
trial court's restrictions on opening statements, the admission   and to the opposing party.... [W]hether we call it induced
of evidence, and closing arguments prevented her from             error, encouraged error, waiver, or abandonment, the result
providing the jury with the context necessary to decide           —that the ... claim is unreviewable—is the same.’’ (Internal
whether to draw an adverse inference against the defendants.      quotation marks omitted.) Independent Party of CT—State
The trial court found this claim to be ‘‘wholly without merit’’   Central v. Merrill, 330 Conn. 681, 724, 200 A.3d 1118 (2019);
because the plaintiff, in seeking an instruction, expressly       see also State v. Fay, 326 Conn. 742, 765 n.22, 167 A.3d 897
represented that evidence relating to spoliation would not        (2017) (‘‘a finding of induced error is supportable when a
need to be presented at trial. Relying in part on the induced     party's claim on appeal will result in an inappropriate ambush
error doctrine, the trial court denied the motion, concluding     of the trial court’’). With these standards in mind, we turn to
that the plaintiff had found ‘‘purported error in the very        the trial court's rulings in the present case.
approach for which she successfully advocated.’’
                                                                    [8] Our review of the record leads us to conclude that
 [2] [3] [4] [5] We begin by noting the standard of review doctrine of induced error precludes the plaintiff from
                                                                   the
and the general principles of law applicable to the plaintiff's    claiming that the trial court improperly excluded opening
claim. ‘‘The trial court possesses inherent discretionary          statements and evidence relating to spoliation. In response
powers to control proceedings, exclude evidence, and prevent       to the plaintiff's pretrial request for an adverse inference
occurrences that might unnecessarily prejudice the right of        instruction, the court specifically asked the plaintiff how
any party to a fair trial.’’ (Internal quotation marks omitted.)   the jury would be able decide whether to draw such an
Downs v. Trias, 306 Conn. 81, 102, 49 A.3d 180 (2012). We          inference without any evidence relating to the underlying
review the relevant rulings of the trial court in the present case conduct. The plaintiff not only represented to the trial court
for an abuse of that discretion. See, e.g., McBurney v. Paquin,    that the requested instruction would obviate the need for such
302 Conn. 359, 378, 28 A.3d 272 (2011) (‘‘[t]he trial court's      evidence; see footnote 10 of this opinion; but also indicated
ruling on evidentiary matters will be overturned only upon a       that the instruction itself, together with evidence generally
showing of a clear abuse of the court's discretion’’ (internal     relating to Lehr's involvement in the development of Pradaxa,
quotation marks omitted)); Naughton v. Hager, 29 Conn.             would adequately equip the jury with the information it would
App. 181, 188, 614 A.2d 852, (‘‘[t]he trial court is vested        need to draw an adverse inference against the defendants.
with broad discretion over the latitude of the statements of
counsel during argument’’), cert. denied, 224 Conn. 920, 618      The trial court afforded the plaintiff broad latitude to
                                                                  introduce evidence and testimony describing the nature of
A.2d 527 (1992).23 In applying that standard, ‘‘[w]e [must]
                                                                  Lehr's work, his research regarding the possible existence
make every reasonable presumption in favor of upholding the
                                                                  of a therapeutic range, and the scope of his involvement in
trial court's ruling, and only upset it for a manifest abuse of
                                                                  the exposure response paper. The plaintiff used the testimony
discretion.... [Thus, our] review of such rulings is limited to
                                                                  proffered by Plunkett and Reilly, in particular, to develop a
the questions of whether the trial court correctly applied the
                                                                  detailed theory that Lehr had authored an early version of
law and reasonably could have reached the conclusion that it
                                                                  the exposure response paper that the defendants had never
did.’’ (Internal quotation marks omitted.) Filippelli v. Saint
                                                                  produced. The trial court's instruction clearly stated that the
Mary's Hospital, 319 Conn. 113, 119, 124 A.3d 501 (2015).
                                                                  defendants had failed to preserve Lehr's files despite having a
                                                                  legal duty to do so, and that the jury could choose to infer that



                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                           Page 112 of 246   9
          PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 57 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 115 of 248 PageID: 124
Boone v. Boehringer Ingelheim Pharmaceuticals, Inc., --- A.3d ---- (2020)
2020 WL 2121063, Prod.Liab.Rep. (CCH) P 20,887

the information in those files would have been adverse to the        facts not in evidence.’’ (Internal quotation marks omitted.)).25
defendants. Having encouraged the trial court to structure the       Because the trial court ruled at the outset that evidence
proceeding in this precise manner, the plaintiff cannot now          relating to the conduct underlying Judge Herndon's finding of
prevail on the ground that opening statements and evidence           bad faith would not be admitted or presented to the jury, we
informing the jury about the defendants’ destruction of Lehr's       agree with the trial court's assessment that such evidence was
files was, in fact, necessary to put the requested instruction in    not proper ‘‘fodder’’ for arguments by counsel.
an appropriate context. Cf. Ferri v. Powell-Ferri, 317 Conn.
223, 236–37, 116 A.3d 297 (2015) (‘‘Our rules of procedure           We note that the plaintiff was not compelled to seek
do not allow a [party] to pursue one course of action at trial       the benefit of the findings made by Judge Herndon or
and later, on appeal, argue that a path he rejected should now       to request an adverse inference instruction as a matter
be open to him.... To rule otherwise would permit trial by           of law. The plaintiff could have, for example, asked the
ambuscade.’’ (Internal quotation marks omitted.)).                   trial court to independently review the evidence relating
                                                                     to the destruction of Lehr's files and, as is typically the
Reaching the opposite conclusion would substantially                 case, argued that any evidence ultimately admitted at trial
undercut the grounds on which the trial court concluded that
                                                                     supported a corresponding instruction.26 See Paylan v. St.
the plaintiff's requested instruction was appropriate in the first
                                                                     Mary's Hospital Corp., 118 Conn. App. 258, 264, 983 A.2d
instance, including improving judicial economy, avoiding a
                                                                     56 (2009) (discussing whether plaintiff adduced sufficient
trial within a trial, and preventing confusion of the jurors.
                                                                     evidence at trial to warrant spoliation instruction under
The trial court's decision to exclude the deposition testimony
                                                                     Beers). The plaintiff could have also chosen to pursue still
relating to Barner's knowledge regarding the destruction of
                                                                     other sanctions available for discovery misconduct under our
Lehr's computer demonstrates this point. If the plaintiff had
                                                                     rules of practice. See Practice Book § 13-14. The plaintiff, as
been permitted to lay a trail of ‘‘bread crumbs’’ for the
jury using that testimony, the defendants would have been            a matter of strategy, chose a different path.27 Accordingly, we
entitled to marshal any admissible evidence showing that this        decline to conclude that the trial court abused its discretion
same trail should not be followed. Presenting such a dispute         by precluding evidence and arguments relating to spoliation
to the jury would necessitate the very ‘‘sideshow’’ that the         in the present case.28
plaintiff had purposefully forgone in requesting a spoliation
instruction before the outset of trial.24
                                                                     II
 *10 [9] [10] Our conclusion that the trial court did not
abuse its discretion by declining to admit evidence that could        *11 [11] The plaintiff next claims that the trial court
have initially been presented at a sanctions hearing also            improperly excluded certain portions of a video recorded
resolves, in large measure, the plaintiff's claims relating to       deposition of Christopher Corsico, the defendants’ Senior
the restrictions that the court imposed on closing arguments.        Vice President for Clinical Development, from her case on
As this court has previously noted, a trial court acts well          rebuttal. The defendants respond by arguing, inter alia, that
within its broad discretion when it restricts the scope of an        the trial court's ruling was correct because the proffered
argument ‘‘to prevent comment on facts that are not properly         testimony did not contradict testimony presented by their
in evidence ....’’ (Internal quotation marks omitted.) Jackson       expert witnesses. We agree with the defendants.
v. Water Pollution Control Authority, 278 Conn. 692, 713, 900
A.2d 498 (2006); cf. State v. Weatherspoon, 332 Conn. 531,           The following additional facts are relevant to our discussion
551, 212 A.3d 208 (2019) (‘‘[w]hile the privilege of counsel         of this claim. During their case-in-chief, the defendants called
in addressing the jury should not be too closely narrowed            two expert witnesses, Stanley Schneller, a cardiologist, and
or unduly hampered, it must never be used as a license to            Michelle Anderson, a gastroenterologist, to testify on the
state, or to comment [on], or to suggest an inference from,          issue of causation. Schneller testified that the decedent's
facts not in evidence’’ (internal quotation marks omitted));         gastrointestinal bleed had resolved three days after she
State v. Lopez, 280 Conn. 779, 803, 911 A.2d 1099 (2007)             arrived at the hospital and that a ‘‘multiplicity of other
(‘‘Counsel may comment [on] facts properly in evidence and           coexisting medical problem[s]’’ had caused her death.
[on] reasonable inferences to be drawn from them.... Counsel         Specifically, Schneller testified that ‘‘acute kidney injury,
may not, however, comment on or suggest an inference from            chronic kidney disease, retroperitoneal fibrosis, and occult



                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                             Page 113 of 246   10
          PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 58 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 116 of 248 PageID: 125
Boone v. Boehringer Ingelheim Pharmaceuticals, Inc., --- A.3d ---- (2020)
2020 WL 2121063, Prod.Liab.Rep. (CCH) P 20,887

neoplasia’’ directly caused the decedent's death, and that          K. Broun, McCormick on Evidence (7th Ed. 2013) § 4, p. 16
those conditions were unrelated to her use of Pradaxa or            (‘‘the plaintiff ... is confined to testimony refuting the defense
her gastrointestinal bleed. See footnote 3 of this opinion.         evidence, unless the trial judge in her discretion permits him
Anderson's testimony supported the same conclusion.                 to depart from the regular scope of rebuttal’’).

After the defendants rested, the plaintiff sought to introduce,      *12 We agree with the trial court's conclusion that the
as rebuttal, a brief segment from Corsico's February, 2014          proffered question and answer from Corsico's deposition
video recorded deposition. During that deposition, Corsico          was not proper rebuttal because Corsico was not discussing
was asked: ‘‘[D]o you understand that there can be a series         a situation in which a person's gastrointestinal bleed had
or a cascade of events that can ultimately lead to one's            resolved prior to his or her death. The isolated colloquy
demise that may be precipitated by a gastrointestinal bleed?’’      from Corsico's deposition establishes only a single, generic
Corsico answered in the affirmative. The defendants’ counsel        proposition: that a gastrointestinal bleed can lead indirectly to
objected, arguing that the admission of that testimony as           death. Such a broad statement does not generally contradict
rebuttal would be improper because it did not conflict with         Schneller's and Anderson's more precise testimony that,
testimony from either Schneller or Anderson. In response, the       in this particular case, the decedent's death was caused
plaintiff's counsel argued that Corsico's testimony undercut        by other medical conditions and not the gastrointestinal
Schneller and Anderson's conclusion that, because the               bleed, which had resolved more than two weeks before
decedent's gastrointestinal bleed had stopped, it did not cause     her death.30 In essence, the experts were asked different
her death.                                                          hypothetical questions, the answers to which were not
                                                                    necessarily contradictory.31 As a result, we conclude that the
The trial court ultimately sustained the defendants’ counsel's
                                                                    trial court did not abuse its discretion by excluding Corsico's
objection, aptly noting: ‘‘I just don't see how ... Corsico's
                                                                    testimony from the plaintiff's case on rebuttal.
testimony ... rebuts testimony by either ... Schneller or ...
Anderson because ... Corsico, in this [question and answer],
was not specifically asked about a [gastrointestinal] bleed that
had ended; nor were [either] Schneller [or] Anderson asked          III
[whether it is] possible that a [gastrointestinal] bleed can lead
to a cascade of events that ultimately led to one's death.’’ The plaintiff's third claim is that the trial court improperly
                                                             granted the defendants’ motion for summary judgment on
 [12] [13] [14] [15] ‘‘It is well settled that the admissiona design defect claim related to the defendants’ failure to
of rebuttal evidence lies within the sound discretion of the develop and market a reversal agent for Pradaxa, pursuant
trial court.’’ Gomeau v. Gomeau, 242 Conn. 202, 208, 698     to the impossibility preemption doctrine. In response, the
A.2d 818 (1997); see also Practice Book § 15-5 (3). ‘‘The    defendants assert that the trial court's preemption analysis
issue on appeal is not whether any one of us, sitting as     was correct because marketing a reversal agent would have
the trial court, would have permitted the disputed testimony required independent approval by the FDA. We agree with the
to be introduced. The question is rather whether the trial   defendants.
court ... abused its discretion in not allowing the rebuttal
testimony ....’’ (Internal quotation marks omitted.) Id., at 209,   The following additional facts and procedural history are
698 A.2d 818. ‘‘[R]ebuttal evidence is that which refutes the       relevant to our consideration of this claim. The FDA
evidence [already] presented ... rather than that which merely      approved Pradaxa in 2010. Five years later, after the
bolsters one's case.’’ (Internal quotation marks omitted.) State    decedent's death, the defendants obtained approval from the
v. Wood, 208 Conn. 125, 139, 545 A.2d 1026, cert. denied,           FDA to sell idarucizumab, a chemical reversal agent for
488 U.S. 895, 109 S. Ct. 235, 102 L. Ed. 2d 225 (1988).             Pradaxa marketed under the brand name Praxbind. Because
‘‘There is no requirement that a rebuttal witness must respond      Praxbind was not available at the time of the decedent's
to every alternate theory offered by the defendant ... a general    gastrointestinal bleed, kidney dialysis was required to remove
contradiction of the testimony given by the defendant is            dabigatran etexilate, the active ingredient in Pradaxa, from her
                                                                    bloodstream. As a result, the decedent's gastrointestinal bleed
considered permissible rebuttal testimony.’’29 State v. Gray,
                                                                    took three days to stop.
221 Conn. 713, 728, 607 A.2d 391, cert. denied, 506 U.S.
872, 113 S. Ct. 207, 121 L. Ed. 2d 148 (1992); see also 1



                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                              Page 114 of 246   11
          PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 59 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 117 of 248 PageID: 126
Boone v. Boehringer Ingelheim Pharmaceuticals, Inc., --- A.3d ---- (2020)
2020 WL 2121063, Prod.Liab.Rep. (CCH) P 20,887

In the present case, the plaintiff sought to advance a            preemption of state and local legislation.’’ (Internal quotation
claim that the defendants could have brought Praxbind to          marks omitted.) Murphy v. Darien, 332 Conn. 244, 249, 210
market earlier and that, because they did not do so, the          A.3d 56 (2019), cert. denied sub nom. Metro North Commuter
decedent's gastrointestinal bleed was prolonged. The plaintiff    Railroad Co. v. Murphy, ––– U.S. ––––, 140 S. Ct. 847, 205
claimed, in particular, that the defendants had defectively       L. Ed. 2d 468 (2020).
designed Pradaxa by failing to seek concurrent approval
for a reversal agent. The defendants subsequently filed a         We begin our analysis of whether such a conflict exists in
motion for summary judgment, arguing that, because the FDA        the present case with a brief review of three decisions from
had not approved Praxbind before the decedent's death, the        the United States Supreme Court examining the question
plaintiff was foreclosed from pursuing a design defect claim      of impossibility preemption in the pharmaceutical context.
predicated on its absence. Specifically, the defendants argued    The plaintiff in Wyeth v. Levine, 555 U.S. 555, 558, 129 S.
that the reasoning set forth in Mutual Pharmaceutical Co. v.      Ct. 1187, 173 L. Ed. 2d 51 (2009), brought an action in a
Bartlett, 570 U.S. 472, 133 S. Ct. 2466, 186 L. Ed. 2d 607        state court alleging, among other things, that she would have
(2013), and PLIVA, Inc. v. Mensing, 564 U.S. 604, 131 S. Ct.      benefited from certain additional warnings in the label for
2567, 180 L. Ed. 2d 580 (2011), clearly established that such     a particular brand-name drug. After extensively reviewing
claims are preempted by federal law. The trial court reached      federal law relating to drug labeling, the United States
the same conclusion and, accordingly, granted the defendants’     Supreme Court concluded that the plaintiff's state law claim
motion for summary judgment on that claim.        32              was not preempted because a particular federal regulation, in
                                                                  fact, would have permitted the defendant to unilaterally add
 *13 [16]        [17] ‘‘The standard of review on summary such additional warnings to the drug's label, while remaining
judgment is well established. Summary judgment shall be           in compliance with federal law. Id., at 568–72, 129 S. Ct.
rendered forthwith if the pleadings, affidavits and other proof   1187, citing 21 C.F.R. § 314.70 (c) (6) (iii) (2008).33
submitted show that there is no genuine issue as to any
material fact and that the moving party is entitled to judgment    *14 The plaintiffs in PLIVA, Inc. v. Mensing, supra, 564
as a matter of law.... The scope of our appellate review          U.S. at 608–609, 131 S.Ct. 2567, also alleged the absence
depends upon the proper characterization of the rulings made      of adequate warning labels. The defendants in that action
by the trial court.... When ... the trial court draws conclusions argued on appeal that, as manufacturers of generic drugs, they
of law, our review is plenary and we must decide whether its      could not make unilateral changes to the labels of generic
conclusions are legally and logically correct and find support    drugs. Id., at 610, 131 S.Ct. 2567. The United States Supreme
in the facts that appear in the record.’’ (Internal quotation     Court agreed, concluding that the plaintiffs’ claim was
marks omitted.) NetScout Systems, Inc. v. Gartner, Inc., 334      preempted because FDA regulations required manufacturers
Conn. 396, 408, 223 A.3d 37 (2020); see also Byrne v. Avery       of generic drugs to simply mirror the labeling of their brand-
Center for Obstetrics & Gynecology, P.C., 314 Conn. 433,          name counterparts.34 Id., at 614, 624, 131 S.Ct. 2567. In
447, 102 A.3d 32 (2014) (‘‘[w]hether state causes of action       reaching that conclusion, the court specifically rejected the
are preempted by federal statutes and regulations is a question   plaintiffs’ argument that proving impossibility would require
of law over which our review is plenary’’).                       the defendants to affirmatively demonstrate that the FDA
                                                                    would have rejected stronger warnings if they had been
 [18] [19] [20] The supremacy clause of the United States proposed. Id., at 620, 131 S.Ct. 2567. The relevant inquiry, the
constitution provides that federal law ‘‘shall be the supreme       court held, was whether the defendants ‘‘could independently
Law of the Land; and the Judges in every State shall be bound       do under federal law what state law requires ....’’ (Emphasis
thereby, any Thing in the Constitution or Laws of any State to
                                                                    added.) Id.35
the Contrary notwithstanding.’’ U.S. Const., art. VI, cl. 2. The
dictates of that provision require state law to yield to the extent
                                                                    The United States Supreme Court extended this reasoning
that it conflicts with federal law. See, e.g., Freightliner Corp.
                                                                    to a state design defect claim two years later in Mutual
v. Myrick, 514 U.S. 280, 287, 115 S. Ct. 1483, 131 L. Ed. 2d
                                                                    Pharmaceutical Co. v. Bartlett, supra, 570 U.S. 472, 133
385 (1995). Such a conflict is implicit where, for example, it is
                                                                    S.Ct. 2466. The plaintiff in that case took a generic drug,
‘‘impossible for a private party to comply with both state and
                                                                    sulindac, and suffered a severe adverse reaction that was
federal requirements ....’’ (Internal quotation marks omitted.)
                                                                    not mentioned in the drug's warning label. Id., at 477–78,
Id. There is, however, ‘‘a strong presumption against federal



               © 2020 Thomson Reuters. No claim to original U.S. Government Works.                           Page 115 of 246   12
          PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 60 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 118 of 248 PageID: 127
Boone v. Boehringer Ingelheim Pharmaceuticals, Inc., --- A.3d ---- (2020)
2020 WL 2121063, Prod.Liab.Rep. (CCH) P 20,887

133 S. Ct. 2466.36 The plaintiff subsequently brought an             S.Ct. 2567. Because the claim relating to the development
action, alleging that sulindac was ‘‘ ‘unreasonably dangerous’       and marketing of Praxbind in the present case does not relate
’’ under state law and obtained a verdict in her favor.              to labeling, the plaintiff's attempt to rely on the distinctions
Id., at 479, 486, 133 S. Ct. 2466. On appeal, the United             between generic and brand-name manufacturers discussed
States Supreme Court noted that, to satisfy the obligation           in Mensing and Bartlett is unavailing. See Yates v. Ortho-
imposed by state tort law, the defendant would have had              McNeil-Janssen Pharmaceuticals, Inc., 808 F.3d 281, 296–
to either (1) alter sulindac's composition or (2) strengthen         97 (6th Cir. 2015) (‘‘contrary to [the plaintiff's] contention
the warning label. Id., at 483–84, 133 S. Ct. 2466. The              that the impossibility preemption in Mensing and Bartlett
court found that the defendant was legally foreclosed from           is limited to generic drugs, we view Levine, Mensing, and
redesigning sulindac as a generic manufacturer and that, in          Bartlett as together stating the same test for impossibility
any event, such alterations were physically impossible in light      preemption’’).
of sulindac's simplistic composition. Id. The court, citing its
decision in Mensing, also concluded that the defendant, as           The plaintiff's remaining arguments against preemption do
a generic manufacturer, was prohibited by federal law from           not warrant a different result. First, the plaintiff's assertion that
strengthening the warnings in sulindac's label. Id., at 486, 133     it was technologically feasible to develop Praxbind before
S. Ct. 2466. As a result, the court concluded that the plaintiff's   the decedent's death is insufficient to preclude preemption.
state tort claim was preempted. Id., at 486–87, 133 S. Ct.           Although such practical considerations may sometimes
2466.                                                                limit the options available to a manufacturer; see Mutual
                                                                     Pharmaceutical Co. v. Bartlett, supra, 570 U.S. at 484, 133
 *15 [21] Our review of these decisions compels us to                S.Ct. 2466; that fact is inapposite to the question of whether
conclude in the present case that the trial court properly           marketing Praxbind in 2014 would have required the FDA's
granted the defendants’ motion for summary judgment as               ‘‘special permission and assistance ....’’37 PLIVA, Inc. v.
to the plaintiff's design defect claim. In order to cure the         Mensing, supra, 564 U.S. at 623–64, 131 S.Ct. 2567. For
design defect alleged by the plaintiff, the defendants would         similar reasons, we are also unpersuaded that the FDA's
have had to bring Praxbind to market before the decedent's           subsequent approval of Praxbind in 2015 is dispositive. The
gastrointestinal bleed in 2014. Because there is no dispute          possibility that the FDA would have looked favorably on an
that Praxbind was not approved by the FDA until 2015,                earlier application does nothing to alter the fact that, at the
the defendants could not have satisfied their alleged state          time of the decedent's death, the defendants were prevented
law duty to the decedent without marketing an unapproved             from unilaterally marketing Praxbind under federal law. See
drug in violation of federal law. In light of that conflict,         footnote 35 of this opinion. Indeed, the United States Supreme
the trial court correctly concluded that the plaintiff's design      Court found that the plaintiff's failure to warn claim in Bartlett
defect claim based on the absence of a reversal agent for            was preempted notwithstanding the fact that, shortly after her
Pradaxa was preempted. See PLIVA, Inc. v. Mensing, supra,            injuries, the FDA agreed with her assessment that sulindac's
564 U.S. at 623–24, 131 S.Ct. 2567 (‘‘when a party cannot            label should include a stronger warning. See footnote 36 of
satisfy its state duties without the [f]ederal [g]overnment's        this opinion.
special permission and assistance, which is dependent on the
exercise of judgment by a federal agency, that party cannot          For the foregoing reasons, we agree with the trial court's
independently satisfy those state duties for [preemption]            assessment that the plaintiff's design defect claim relating
purposes’’).                                                         to Praxbind was preempted by federal law.38 As a result,
                                                                     we conclude that trial court properly granted the defendants’
The plaintiff claims that the test for preemption set forth          motion for summary judgment on that claim.
in Mensing and Bartlett is inapplicable to present case
because those cases do not involve brand-name drugs. We
disagree. Although the different levels of control afforded to
brand-name and generic manufacturers by federal labeling             IV
regulations informed the court's analysis in those cases, the
                                                                      *16 [22] The plaintiff's final claim is that the trial court
nature of the underlying test remained consistent: whether the
                                                                     committed reversible error by issuing a curative instruction
defendant ‘‘could independently do under federal law what
                                                                     to the jury after closing arguments. Specifically, the plaintiff
state law requires ....’’ (Emphasis added.) Id., at 620, 131
                                                                     claims that the trial court abused its discretion by instructing


                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                 Page 116 of 246   13
          PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 61 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 119 of 248 PageID: 128
Boone v. Boehringer Ingelheim Pharmaceuticals, Inc., --- A.3d ---- (2020)
2020 WL 2121063, Prod.Liab.Rep. (CCH) P 20,887

                                                                     held liable for failing to pursue a 110 milligram dose and, as
the jury that it could not hold the defendants liable for failing
                                                                     a result, gave the following curative instruction: ‘‘[M]embers
to conduct tests described in a particular exhibit. In response,
                                                                     of the jury, sometimes in closing arguments things are said by
the defendants contend that the trial court's instruction was
                                                                     one or more lawyers that needs correction by the court. It's not
merited because the plaintiff improperly used that exhibit to
                                                                     uncommon for that to happen.... [I]t was suggested that you
advance a preempted failure to test claim in closing argument.
                                                                     look at exhibit 23 during your deliberations. I am instructing
We review this claim for an abuse of discretion. See, e.g.,
                                                                     you that you may not hold [the defendants] liable for a failure
State v. Northrop, 213 Conn. 405, 422 n.13, 568 A.2d 439
                                                                     to conduct the testing outlined in exhibit 23.’’
(1990). Applying that standard to the arguments and record
before us, we find no reversible error.
                                                                      *17 The plaintiff's principal argument is that her use of
                                                                     exhibit 23 was proper because the defendants had ‘‘opened the
The following additional facts and procedural history
                                                                     door’’ to it during their own closing argument. We disagree.
are relevant to our analysis of this claim. Before the
                                                                     This defendants’ closing argument only broadly discussed
commencement of trial, the court granted in part a motion in
                                                                     the plaintiff's failure to test claim. See footnote 40 of this
limine filed by the defendants seeking to ‘‘exclude evidence,
                                                                     opinion. The ‘‘potential path forward’’ described in exhibit
testimony, or argument regarding [a] 110 [milligram] dose’’
                                                                     23, by contrast, discusses the prospect of FDA approval for a
of Pradaxa. In that ruling, the trial court acknowledged that
                                                                     110 milligram dose. As a result, the defendants did not open
such evidence might be relevant to the plaintiff's claim that
                                                                     the door to the plaintiff's use of that exhibit in closing.
the defendants had failed to adequately warn physicians about
the risk of bleeding associated with the 150 milligram dose
                                                                     The plaintiff also argues that the trial court instructed the
prescribed to the decedent and, accordingly, deferred ruling
                                                                     jury to ‘‘disregard’’ a full exhibit and that doing so infringed
on the admissibility of the evidence for that purpose until
                                                                     on her right to use that evidence in support of her claims.
trial. The court also concluded, however, that such evidence
                                                                     The trial court's instruction, however, only precluded the
could not be used to prove that the defendants negligently
                                                                     jury from considering a single exhibit to support a particular
failed ‘‘to test, study, investigate, or pursue the various action
                                                                     claim that it had determined was preempted under federal
items identified by the FDA in order to secure approval of
                                                                     law. Such a restriction was not improper. Finally, the plaintiff
the 110 [milligram] dose in the United States’’ because such
                                                                     claims that she was unfairly prejudiced because the trial
a failure to test claim would be preempted by federal law.39
                                                                     court had singled out her argument before the jury as doing
During trial, the court consistently applied this dichotomy
                                                                     ‘‘something wrong ....’’ Again, we disagree. The trial court's
when ruling on objections relating to evidence discussing a
                                                                     instruction was brief, contained no explicit reprimand, and
110 milligram dose.
                                                                     was conveyed using reasonably measured language. In fact,
                                                                     the court described such instructions as ‘‘not uncommon ....’’
The defendants’ counsel gave the following closing argument
                                                                     Under these circumstances, we decline to conclude that the
on the plaintiff's failure to test claim:40 ‘‘The failure to test,   trial court abused its discretion by issuing the challenged
you've literally not been given the nature of a test that should     curative instruction to the jury.
be done. Instead what you've been told is we did do a lot
of study of this issue, we went as far we could, we went             The judgment is affirmed.
further than others did, and we came to the view that we
couldn't go farther, a view that the FDA echoed. A failure to
test, no.’’ Notwithstanding the trial court's previous ruling, the
                                                                     In this opinion the other justices concurred.
plaintiff's counsel responded by drawing the jury's attention to
a document, admitted into evidence as exhibit 23, discussing         All Citations
in particular detail a ‘‘potential path forward’’ for the 110
milligram dose previously proposed by the FDA. The trial             --- A.3d ----, 2020 WL 2121063, Prod.Liab.Rep. (CCH) P
court concluded that the plaintiff's counsel's argument had          20,887
improperly suggested to the jury that the defendants could be


Footnotes




                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                             Page 117 of 246   14
         PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 62 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 120 of 248 PageID: 129
Boone v. Boehringer Ingelheim Pharmaceuticals, Inc., --- A.3d ---- (2020)
2020 WL 2121063, Prod.Liab.Rep. (CCH) P 20,887

*     May 4, 2020, the date that this decision was released as a slip opinion, is the operative date for all substantive and
      procedural purposes.
1     The plaintiff appealed from the judgment of the trial court to the Appellate Court, and we transferred the appeal to this
      court pursuant to Practice Book § 65-1 and General Statutes § 51-199 (c).
2     Stanley Schneller, a cardiologist, testified at trial that, ‘‘below [the accepted therapeutic] range [patients] don't get any
      benefit, it's as if they're not taking the drug, and above that range [patients] get no further benefit in terms of stroke
      prevention.’’ Thus, Schneller testified, the ‘‘targeted range is designed to give [patients] stroke protection without undue
      bleeding risk.’’ Fierstein testified that the decedent was inside of the accepted therapeutic range ‘‘at least 75 percent of
      the time’’ she was taking warfarin.
3     According to testimony offered at trial, retroperitoneal fibrosis is a medical condition that can cause kidney damage
      by obstructing the flow of urine. This condition was not related to the decedent's use of Pradaxa. The phrase ‘‘occult
      neoplasia’’ denoted an undiagnosed cancer.
4     The judgment file incorrectly notes that the defendants’ various motions for summary judgment were denied in their
      entirety. This appears to have been a scrivener's error.
5     The plaintiff also makes the conclusory assertion that the trial court's rulings with respect to spoliation ‘‘would seem
      to violate basic notions of fundamental fairness, due process, and the right to counsel.’’ The plaintiff's brief, however,
      contains no analysis applying those constitutional principles to the facts of the present case. As a result, we deem those
      claims, insofar as they were raised, to have been abandoned. See, e.g., Connecticut Light & Power Co. v. Gilmore, 289
      Conn. 88, 124, 956 A.2d 1145 (2008) (‘‘We repeatedly have stated that [w]e are not required to review issues that have
      been improperly presented to this court through an inadequate brief.... Analysis, rather than mere abstract assertion, is
      required in order to avoid abandoning an issue by failure to brief the issue properly.’’ (Internal quotation marks omitted.)).
6     The defendants argue that the trial court's decision to give a spoliation an instruction was, itself, improper. Because the
      defendants prevailed at trial, we decline to address that claim of error in the present appeal. See Practice Book § 61-1; see
      also Seymour v. Seymour, 262 Conn. 107, 110, 809 A.2d 1114 (2002) (‘‘[o]rdinarily, a party that prevails in the trial court
      is not aggrieved’’). We note, however, that other trial courts overseeing Pradaxa trials in this state have adopted divergent
      approaches to this issue. See Bedsole v. Boehringer Ingelheim Pharmaceuticals, Inc., Superior Court, judicial district of
      Hartford, Docket No. CV-XX-XXXXXXX-S (September 14, 2018) (68 Conn. L. Rptr. 206, 2018 WL 8489469) (declining to
      provide adverse inference instruction); Gallam v. Boehringer Ingelheim Pharmaceuticals, Inc., Superior Court, judicial
      district of Hartford, Docket No. CV-XX-XXXXXXX-S, 2018 WL 8582397 (April 13, 2018) (following trial court's approach in
      present case, but also giving spoliation instruction during presentation of evidence); see also In re Petition of Boehringer
      Ingelheim Pharmaceuticals, Inc., 745 F.3d 216, 220 (7th Cir. 2014) (noting wide range of sanctions available to District
      Court).
7     Prior to 2015, there was a split in the federal courts regarding the factual findings necessary to support an imposition
      of sanctions, such as an adverse inference instruction, for the spoliation of electronically stored information; some
      courts imposed sanctions upon a finding a gross negligence, whereas others required intentional destruction. Compare
      Residential Funding Corp. v. DeGeorge Financial Corp., 306 F.3d 99, 99–101 (2d Cir. 2002) (gross negligence standard),
      with Bracey v. Grondin, 712 F.3d 1012, 1020 (7th Cir. 2013) (bad faith standard). The Federal Rules of Civil Procedure
      were ultimately amended in 2015 to require a finding of bad faith. See Fed. R. Civ. P. 37 (e) (2) (permitting court to
      impose sanctions ‘‘only upon finding that the party acted with the intent to deprive another party of the information's use
      in the litigation’’).
8     The plaintiff also requested instructions relating to the destruction of certain text messages and corporate e-mails. Those
      aspects of the plaintiff's request to charge are not at issue in the present appeal.
9     The plaintiff noted, in particular, that such evidence would likely require calling one of the defendants’ attorneys, Eric
      Hudson, as a witness.
10    During oral argument, the plaintiff implied at least three times that the introduction of such evidence could be avoided. On
      one occasion, the plaintiff stated that, ‘‘if the court doesn't grant this motion, then [she] intend[s] to put on evidence that
      there was a prior proceeding in which [the defendants] were obligated to preserve this information and they failed to do
      so.’’ On another occasion, the court asked the plaintiff the following question: ‘‘So, your position is that if the court were
      to grant the request for a spoliation charge, you would not intend to put on any evidence of Judge Herndon's order?’’ The
      plaintiff responded by stating: ‘‘That's correct.’’ Finally, the plaintiff concluded her argument: ‘‘We believe that the motion
      should be granted for the reasons we've articulated, but if the court denies it, we'd ask that it be denied with direction that
      we be permitted to put on the evidence as we've discussed here today.’’




              © 2020 Thomson Reuters. No claim to original U.S. Government Works.                               Page 118 of 246   15
         PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 63 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 121 of 248 PageID: 130
Boone v. Boehringer Ingelheim Pharmaceuticals, Inc., --- A.3d ---- (2020)
2020 WL 2121063, Prod.Liab.Rep. (CCH) P 20,887

11    During a supplemental oral argument before the trial court, the plaintiff repeated her belief that the jury could be provided
      with an adequate context through evidence regarding Lehr's involvement in the research underlying Pradaxa and,
      specifically, the concept of a therapeutic range.
12    The trial court's written decision summarized the proceedings related to spoliation sanctions before Judge Herndon,
      including the relevant factual findings and conclusions.
13    As noted subsequently in this opinion, the ultimate question of whether to draw an adverse inference was reserved for the
      jury. See, e.g., Paylan v. St. Mary's Hospital Corp., 118 Conn. App. 258, 264, 983 A.2d 56 (2009); see also Connecticut
      Civil Jury Instructions (2012) § 2.3-4, available at https://jud.ct.gov/JI/Civil/Civil.pdf (last visited May 1, 2020).
14    In her written objection to the defendant's motion in limine, the plaintiff reiterated her position that she would seek to
      introduce evidence relating to spoliation only in the event the trial court declined to give the requested instruction. The
      plaintiff argued, specifically, that, ‘‘in the event that the spoliation issues addressed by Judge Herndon's orders are to be
      relitigated in this case, then [the] plaintiff believes that the court should admit as full exhibits [the various court orders]
      reflecting Judge Herndon's identification of the discovery orders, [the] bad faith conduct in breaching [the] same, and the
      consequences of that conduct.’’
15    Although conceding that the scheduled witnesses lacked such personal knowledge, the plaintiff did indicate to the trial
      court that a particular corporate e-mail had identified Lehr as the ‘‘father’’ of a manuscript relating to dabigatran etexilate
      exposure, and that expert witnesses who had reviewed the materials produced by the defendants could testify that they
      had been unable to locate any version of that manuscript authored by Lehr. As discussed subsequently in this opinion,
      testimony to this effect was, in fact, ultimately presented to the jury.
16    The published version of that paper, which was admitted into evidence as a full exhibit, lists both Reilly and Lehr as
      authors, and indicates that both Reilly and Lehr ‘‘contributed equally.’’
17    The plaintiff's opening statement was accompanied by various slides that were shown to the jury. One such slide provided:
      ‘‘We do not have the first version of the Pradaxa paper.’’
18    In one e-mail, Reilly wrote that ‘‘I am aware that the conclusions that appear to emerge from this paper are not the
      ones currently wished for by marketing (that dose adjustment will optimize therapy) ....’’ In a separate string of e-mails
      discussing specific upper and lower blood concentration measurements, Reilly noted that he has ‘‘been facing heavy
      resistance internally on this paper about the concept of a therapeutic range, at least stating it outright.’’ In certain other
      communications discussing the need for blood monitoring with Pradaxa in specific populations, Andreas Clemens, the
      head of the department of medical affairs for dabigatran etexilate, wrote: ‘‘This needs [to be] a TelCon and we should
      NOT interact via e-mail on this.’’ All of this correspondence was admitted into evidence and placed before the jury for
      consideration.
19    The defendants sought to undercut this testimony on recross-examination by introducing a version of the exposure
      response paper that Reilly had characterized in an e-mail as the ‘‘first draft.’’ Plunkett later testified that she had specifically
      attempted to locate an earlier version of that paper from Lehr in light of an e-mail that identified Lehr as the ‘‘father’’ of
      the manuscript.
20    During oral argument on the defendants’ motion for reconsideration, the plaintiff stated: ‘‘[W]e wanted the record to be
      clear that [the] plaintiff has understood the court's instruction regarding the spoliation charge was that the plaintiff would
      not be offering evidence during the course of its case as to issues of spoliation or suppression of documents.... [T]o the
      extent that the court entertains the motion to [reconsider], we [do] not want to waive the right to put on such evidence
      by resting ....’’
21    In response, the defendants posited during their closing argument that Reilly's testimony, together with various documents
      and correspondence, had disproved the existence of such a draft.
22    The plaintiff does not claim in the present appeal that the content of the trial court's ultimate instruction deviated in any
      material respect from her request.
23    The plaintiff argues that, in light of the trial court's decision to instruct the jury on spoliation, its decision to ‘‘preclude
      counsel from commenting [on that issue] in any manner’’ should be reviewed de novo. We disagree for two reasons.
      First, as set forth previously in this opinion, the plaintiff was permitted to introduce evidence regarding Lehr's research
      and his involvement with the exposure response paper. Second, to the extent that the plaintiff assails the scope of the
      remedy ultimately fashioned, we note that the imposition of sanctions for discovery misconduct is also vested in the sound
      discretion of the trial court. See, e.g., Ridgaway v. Mount Vernon Fire Ins. Co., 328 Conn. 60, 70, 176 A.3d 1167 (2018);
      Duncan v. Mill Management Co. of Greenwich, Inc., 308 Conn. 1, 28, 60 A.3d 222 (2013).
24    The trial court's exclusion of Barner's deposition testimony, like its pretrial ruling on the defendants’ motion in limine,
      placed the plaintiff on notice that the trial court intended to hold her to the representations she had made in requesting



              © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                   Page 119 of 246   16
         PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 64 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 122 of 248 PageID: 131
Boone v. Boehringer Ingelheim Pharmaceuticals, Inc., --- A.3d ---- (2020)
2020 WL 2121063, Prod.Liab.Rep. (CCH) P 20,887

      an adverse inference instruction. If the plaintiff believed that the instruction she had requested could not properly be
      considered in the absence of Barner's testimony, she could have withdrawn her request for the charge and sought to
      introduce evidence to prove the elements of spoliation under Beers. The plaintiff did not do so. See footnote 26 of this
      opinion.
25    We note that this well established legal principle also undercuts the plaintiff's claim that the trial court's restriction on
      closing arguments was unforeseeable.
26    The plaintiff also did not seek to revert to such a procedure after the trial court granted the defendants’ motion in limine
      and denied her motion for permission to ‘‘inform’’ the jury of the issues relating to spoliation. Both of those rulings, which
      were made before the commencement of trial, clearly indicated that the court intended to severely restrict, if not entirely
      preclude, evidence and arguments relating to the defendants’ destruction of Lehr's files.
27    The plaintiff raises two ancillary arguments warranting brief attention. First, the plaintiff argues that the trial court's decision
      to instruct the jury that an adverse inference was permissible as a matter of law merely relieved her of the burden of
      proving spoliation. That ruling, the plaintiff argues, should have done nothing to prevent her from informing the jury of
      the defendants’ unlawful destruction of evidence. This argument ignores the fact that presenting such evidence to the
      jury would necessitate the very same ‘‘trial within a trial’’ that the court's decision to give an adverse inference instruction
      was, itself, expressly designed to avoid. Second, the plaintiff argues that the restrictions imposed by the trial court run
      contrary to a ‘‘strong public policy ... of seeking to deter spoliation by product liability defendants.’’ We find this argument
      unpersuasive because the trial court, in fact, granted the plaintiff's requested form of relief for spoliation in the present
      case.
28    This conclusion is a relatively narrow one. This case does not require this court to determine whether a spoliation
      instruction was required, or whether the instruction ultimately provided to the jury was proper. See footnote 6 of this
      opinion. Simply put, we only conclude that, in light of the representations made to the trial court in seeking an instruction in
      the present case, the plaintiff cannot prevail on her claim that the trial court improperly precluded evidence and arguments
      related to spoliation.
29    The plaintiff argues that the trial court's ruling was based on the erroneous legal conclusion that rebuttal evidence must
      directly contradict testimony presented by the defendants. Our independent review of the record, however, has located
      no support for the contention that such a standard was applied in the present case.
30    The plaintiff does not argue that she was prohibited from calling additional expert witnesses to rebut the testimony
      from Schneller and Anderson on either the decedent's unrelated medical conditions or the results of the decedent's
      gastrointestinal bleed.
31    The plaintiff asserts that Corsico's recognition that a gastrointestinal bleed can lead to a fatal cascade was relevant
      and, indeed, crucial to proving her case. Specifically, the plaintiff argues that such testimony (1) would have helped
      to bolster her own evidence on causation, (2) would have precluded the defendants from making certain arguments in
      closing, and (3) was clearly important in light of the jury's ultimate verdict. None of these arguments, however, relates
      to whether the trial court erred by declining to admit Corsico's testimony as rebuttal. See, e.g., Di Maio v. Panico, 115
      Conn. 295, 298, 161 A. 238 (1932) (‘‘The rule upon this subject is a familiar one. When, by the pleadings, the burden
      of proving any matter in issue is thrown upon the plaintiff, he must, in the first instance, introduce all the evidence upon
      which he relies to establish his claim. He cannot, as said by Lord Ellenborough, go into half his case, and reserve the
      remainder.’’ (Internal quotation marks omitted.)). Finally, the plaintiff argues that the trial court should have admitted
      Corsico's testimony because presentation of that evidence would not have taken much time. Although the trial court may
      well have been entitled to weigh that fact in reaching its decision; see Gomeau v. Gomeau, supra, 242 Conn. at 211, 698
      A.2d 818; we decline to find an abuse of discretion on that basis alone.
32    The trial court also concluded that the defendants were entitled to summary judgment on this claim because Praxbind
      was a ‘‘different product as a matter of law and not a design element of Pradaxa.’’ Because we conclude that the trial court
      properly granted the defendants’ motion for summary judgment on federal preemption grounds, we need not consider
      this aspect of the trial court's ruling.
33    The court noted that the FDA retained authority to retrospectively reject such unilateral changes to the warnings, but the
      court declined to find impossibility preemption on that ground in the absence of ‘‘clear evidence’’ that the FDA would have
      done so. Wyeth v. Levine, supra, 555 U.S. at 571, 129 S.Ct. 1187. The plaintiff in the present case asserts that a recent
      United States Supreme Court case explaining that particular standard, Merck Sharp & Dohme Corp. v. Albrecht, ––– U.S.
      ––––, 139 S. Ct. 1668, 203 L. Ed. 2d 822 (2019), stands for the broad proposition that impossibility preemption ‘‘only
      applies when a defendant can affirmatively show that it attempted to get the FDA to allow the safer alternative proposed
      by the plaintiff and the FDA affirmatively and officially rejected it.’’ (Footnote omitted.) We disagree. The clear evidence



              © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                   Page 120 of 246   17
         PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 65 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 123 of 248 PageID: 132
Boone v. Boehringer Ingelheim Pharmaceuticals, Inc., --- A.3d ---- (2020)
2020 WL 2121063, Prod.Liab.Rep. (CCH) P 20,887

      standard in Wyeth applies only when a defendant seeks to prove that compliance with a state law obligation remains
      impossible notwithstanding its ability to act unilaterally under federal law. See Gibbons v. Bristol-Myers Squibb Co., 919
      F.3d 699, 708 (2d Cir. 2019) (describing ‘‘clear evidence’’ standard). The brand-name drug manufacturers in Albrecht
      and Wyeth, for example, could have satisfied their state law obligation to provide a label with an adequate warning by
      unilaterally making label amendments. See 21 C.F.R. § 314.70 (c) (6) (iii). No similar federal law would have permitted
      the defendants in the present case to market Praxbind unilaterally, and, as a result, Albrecht is inapposite.
34    The court reasoned: ‘‘To be sure, whether a private party can act sufficiently independently under federal law to do
      what state law requires may sometimes be difficult to determine. But this is not such a case. Before the [defendants]
      could satisfy state law, the FDA—a federal agency—had to undertake special effort permitting them to do so. To decide
      these cases, it is enough to hold that when a party cannot satisfy its state duties without the [f]ederal [g]overnment's
      special permission and assistance, which is dependent on the exercise of judgment by a federal agency, that party cannot
      independently satisfy those state duties for [preemption] purposes.’’ (Emphasis added.) PLIVA, Inc. v. Mensing, supra,
      564 U.S. at 623–24, 131 S.Ct. 2567.
35    Accepting the plaintiffs’ argument, the court concluded, ‘‘would render conflict [preemption] largely meaningless because
      it would make most conflicts between state and federal law illusory. We can often imagine that a third party or the [f]ederal
      [g]overnment might do something that makes it lawful for a private party to accomplish under federal law what state
      law requires of it.... If these conjectures suffice to prevent federal and state law from conflicting for [s]upremacy [c]lause
      purposes, it is unclear when, outside of express [preemption], the [s]upremacy [c]lause would have any force.’’ (Emphasis
      in original.) PLIVA, Inc. v. Mensing, supra, 564 U.S. at 620, 131 S.Ct. 2567; cf. footnote 33 of this opinion.
36    As a result of a comprehensive review commenced in 2005, the year after the plaintiff in Bartlett was prescribed sulindac,
      the FDA recommended the inclusion of such a warning in sulindac's label. See Mutual Pharmaceutical Co. v. Bartlett,
      supra, 570 U.S. at 478–79, 133 S.Ct. 2466.
37    We likewise reject the plaintiff's arguments relating to evidentiary admissibility and general foreseeability because they
      do not inform this analysis.
38    We note that courts in other jurisdictions considering related cases have reached the same conclusion. See Ridings v.
      Maurice, Docket No. 15-00020-CV-W (JTM), 2019 WL 4888910, *6 (W.D. Mo. August 12, 2019) (holding that plaintiffs’
      design defect claims were preempted ‘‘insofar as they are premised on the failure of Boehringer to develop, seek and
      obtain approval for and/ or market a reversal agent for Pradaxa sooner that it did’’ and noting that issue of feasibility was
      ‘‘immaterial’’); Chambers v. Boehringer Ingelheim Pharmaceuticals, Inc., Docket No. 4:15-CV-00068 (CDL), 2018 WL
      849081, *13 (M.D. Ga. January 2, 2018) (‘‘Regardless of when Boehringer started the process, Praxbind approval still
      required the FDA's ‘special permission and assistance.’ Boehringer could not unilaterally offer Praxbind to physicians.
      Therefore, initiating the process that may have led to Praxbind's approval does not enable Boehringer to comply with both
      federal and state law. Further, Boehringer was not required to cease production of Pradaxa until Praxbind was approved
      to comply with federal and state law.... Therefore, [the] [p]laintiff's design defect claim is also preempted. (Citation omitted;
      emphasis in original.)). But see In re Xarelto (Rivaroxaban) Products Liability Litigation, Docket No. 2592 (EEF), 2017
      WL 1395312, *3 (E.D. La. April 13, 2017).
39    The plaintiff contends, in a conclusory fashion, that the trial court's legal conclusion on preemption was incorrect and
      that, as a result, the trial court improperly excluded evidence regarding certain correspondence between the defendants
      and the FDA discussing a 110 milligram dose of Pradaxa. Specifically, the plaintiff argues that, because the information
      contained within those documents shows that the defendants could have continued to pursue FDA approval of that lower
      dose, the trial court incorrectly concluded that the plaintiff's related, failure to test claim was preempted. For the reasons
      discussed previously in this opinion, this argument lacks merit. See footnote 35 of this opinion. To the extent that the
      plaintiff's brief implies evidentiary error on different grounds, we find those claims to have been inadequately briefed.
      See, e.g., Connecticut Light & Power Co. v. Gilmore, 289 Conn. 88, 124, 956 A.2d 1145 (2008).
40    The trial court aptly summarized the failure to test claims ultimately presented to the jury in its instructions as follows: ‘‘The
      plaintiff claims that [the defendants] failed to adequately test, study, and investigate Pradaxa's safety issues, specifically,
      that [the defendants]: (1) failed to study, test, and investigate plasma concentrations so as to maximize stroke prevention
      and minimize risk of bleeding relating to Pradaxa, and (2) failed to study, test, and investigate Pradaxa's relationship to
      gastrointestinal issues and gastrointestinal bleeding.’’


End of Document                                                         © 2020 Thomson Reuters. No claim to original U.S.
                                                                                                    Government Works.



              © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                 Page 121 of 246   18
     PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 66 of 114 Trans ID: LCV20201846220
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 124 of 248 PageID: 133




                             Exhibit H




                                                                          Page 122 of 246
         PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 67 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 125 of 248 PageID: 134
Lyons v. Boehringer Ingelheim Pharmaceuticals, Inc., --- F.Supp.3d ---- (2020)
2020 WL 5835125

                                                             June 1, 2020. After consideration of the parties’ arguments,
                                                             the applicable law, and all appropriate matters of record, the
                 2020 WL 5835125
                                                             Court hereby GRANTS Defendant's Motion for Summary
   Only the Westlaw citation is currently available.
                                                             Judgment [Doc. 75] and DENIES Defendant's Motions to
            United States District Court,
                                                             Exclude [Docs. 76, 77, 78, 79] as MOOT.
           N.D. Georgia, Atlanta Division.

      Kimberly A. LYONS Individually,                        I. FACTUAL BACKGROUND
       as Next of Kin, and as Personal                       Plaintiff Kimberly A. Lyons, individually as next of kin
     Representative of the Estate of Cora                    and as personal representative of the estate of Cora V.
                                                             Underwood, brings this civil action against Boehringer
     V. Underwood, Deceased, Plaintiff,                      Ingelheim Pharmaceuticals, Inc. (“Defendant”) asserting
                      v.                                     claims for damages arising out of Ms. Underwood's use of
        BOEHRINGER INGELHEIM                                 Defendant's drug, Pradaxa. Plaintiff alleges failure to warn,
                                                             design defect, negligence, negligent misrepresentation and/or
   PHARMACEUTICALS, INC., Defendant.                         fraud, fraudulent concealment, punitive damages, pre-death
                                                             injury and pain and suffering, and wrongful death.
    CIVIL ACTION FILE NO.: 1:18-CV-04624-WMR
                        |
               Signed 09/29/2020                                A. Pradaxa's Regulatory History and FDA-Approved
                                                                Warnings
Attorneys and Law Firms
                                                             Pradaxa (dabigatran) is a prescription medicine approved by
Charles Andrew Childers, Childers, Schlueter & Smith,        the U.S. Food and Drug Administration (“FDA”) in October
LLC, Atlanta, GA, Neal L. Moskow, Ury & Moskow LLC,          2010 to reduce the risk of stroke and systemic embolism in
Fairfield, CT, for Plaintiff.                                patients with non-valvular atrial fibrillation. [See Doc. 75-3
                                                             at p. 1].1 Pradaxa is manufactured, marketed, and distributed
Ben J. Scott, Eric E. Hudson, Butler Snow O'Mara Stevens     in the United States by Defendant. [Doc. 1 at p.3 ¶ 6].
& Cannada, Memphis, TN, Christopher Sean Berdy, Butler       Anticoagulants like Pradaxa impede the blood's ability to clot
Snow, LLP, Birmingham, AL, John James DeBoy, Shankar         and can prevent injuries such as strokes. [Doc. 75-19 at p. 2].
Duraiswamy, Paul W. Schmidt, Covington & Burling, LLP,       For this reason, anticoagulants also present the inherent risk
Washington, DC, Mark A. Dreher, Orlando R. Richmond,         of serious bleeding. [Id.]
Sr., Pro Hac Vice, Butler Snow LLP, Ridgeland, MS, David
R. Helmick, Neal J. Callahan, Waldrep, Mullin & Callahan,    The FDA approved a 150 mg dose of Pradaxa for all
LLC, Columbus, GA, E. Righton Johnson Lewis, Butler          patient groups, but it rejected a lower 110 mg dose that was
Snow LLP, Atlanta, GA, for Defendant.                        approved in other countries. [Doc. 75-2 at p. 14 ¶ 50]. When
                                                             the FDA approved Pradaxa, it did not require that plasma
                                                             concentrations of the medicine be monitored by physicians.
ORDER                                                        [Doc. 75-12 at p. 44; Doc. 75-13 at p. 5 (“Follow-up of
                                                             anticoagulant activity is generally not needed”); Doc. 75-14].
WILLIAM M. RAY, II, UNITED STATES DISTRICT                   Since Pradaxa was first approved by the FDA in October
JUDGE                                                        2010, the medicine's label has consistently warned that
                                                             Pradaxa “can cause serious and, sometimes, fatal bleeding.”
 *1 This matter now comes before the Court on Defendant's
                                                             [Doc. 75-3; Doc. 75-31; Doc. 75-33, Doc. 75-47].
Motion for Summary Judgment [Doc. 75], Defendant's
Motion to Exclude Certain Opinions of Laura Plunkett
                                                             In this case, Plaintiff alleges that Defendant failed to
[Doc. 76], Defendant's Motion to Exclude the Testimony of
                                                             adequately warn physicians of the impact of Pradaxa plasma
Winston H. Gandy, M.D. [Doc. 77], Defendant's Motion to
                                                             concentrations (the level of Pradaxa in a patient's blood,
Exclude Certain Opinions of Robert Gosselin [Doc. 78], and
                                                             also referred to as “exposure”) on bleeding risk and, based
Defendant's Motion to Exclude Certain Opinions of Glenn
                                                             on that impact, instruct physicians to monitor Pradaxa
Chertow, M.D. [Doc. 79]. The Court heard oral arguments on
                                                             plasma concentrations to confirm that patients do not have


              © 2020 Thomson Reuters. No claim to original U.S. Government Works.                       Page 123 of 246   1
          PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 68 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 126 of 248 PageID: 135
Lyons v. Boehringer Ingelheim Pharmaceuticals, Inc., --- F.Supp.3d ---- (2020)
2020 WL 5835125

concentrations that are excessive or outside a therapeutic        The FDA's analyses also found, like Defendant's analyses,
range. [Doc. 1]. Additionally, Plaintiff alleges that Defendant   that increasing plasma concentrations were associated with
failed to adequately warn that various patient characteristics    a lower risk of stroke, though the FDA recognized that
—such as weight, age, gastrointestinal impairment, renal          this effect was less pronounced at higher concentrations.
impairment, and usage of other medications—may increase           [Id. at pp. 19-20, 58; Doc 75-37 at p. 133 (“[A]t the low
bleeding risk due to their effect on Pradaxa plasma               concentrations the [stroke risk] curve is steeper than at
concentration levels. [Id.]                                       higher concentrations where it seems to flatten out a little
                                                                  bit more”) ]. In addition, the FDA's pre-approval memoranda
                                                                  addressed the impact of patient characteristics like age, renal
                                                                  function, and concomitant medications on Pradaxa's safety.
1. The FDA's Pre-Approval Understanding of Exposure
                                                                  [See, e.g., Doc. 75-12 at pp. 11-12, 25-27; Doc. 75-13 at p. 5;
Response Relationships and Its Rejection of Plasma
                                                                  Doc. 75-29 at p. 7].
Concentration Monitoring

 *2 Defendant's pre-approval submissions to the FDA               As part of its drug approval process, the FDA convened
included detailed analyses of plasma concentration data.          an Advisory Committee of independent experts to review
These submissions described the relationship between plasma       Pradaxa's safety, recommended dosage, and efficacy. [Doc.
levels, stroke risk, and bleed risk (also known as exposure-      75-24; Doc. 75-29; Doc. 75-37]. At that meeting, both
response analyses). [See, e.g., Doc. 75-30 at p. 55 (“There was   the FDA and Defendant presented their analyses of the
a strong relationship between trough dabigatran [Pradaxa]         relationship between plasma concentration and patient
concentration and an increased probability of having a major      outcomes (i.e., risk of strokes and bleeds). [Doc. 75-37].
bleed”); Doc. 75-11 at p. 34 (“The increase of trough             When one meeting participant raised the possibility of
total dabigatran [Pradaxa] concentration was associated with      monitoring plasma levels, the FDA Pharmacometrics
increased probability of having major bleeds”) ]. These           Reviewer, Dr. Kevin Krudys, responded that the FDA saw no
analyses also showed that as plasma concentrations increased,     need for such monitoring given Pradaxa's favorable safety-
the risk of stroke decreased, but that this effect was more       efficacy profile across all subgroups. [Doc. 75-37 at pp.
pronounced at lower plasma concentrations as opposed to           164-65].
higher plasma concentrations. [See, e.g., Doc. 75-30 at p.
157 (“Increasing plasma dabigatran [Pradaxa] concentrations       On September 27, 2010, Defendant sent the FDA
lowers the stroke risk, although at concentrations above 50       proposed labeling for Pradaxa and attached Pradaxa
ng/mL this effect is modest”) and p. 54 (noting that “the slope   Proposed Prescribing Information. [Doc. 75-15; Doc. 75-16].
of the [stroke] curves decreases with increasing dabigatran       Defendant's proposed label included recommendations
plasma concentrations” and that “[t]here is relatively little     regarding use of the lower 110 mg dose for patients who
difference in stroke risk across a wide range of higher           present a high bleeding risk. [Doc. 75-16 at pp. 4, 10]. It
dabigatran trough concentrations”) ].                             also included language regarding the aPTT test, a blood
                                                                  test that approximates Pradaxa plasma concentrations and
Defendant's pre-approval submissions to the FDA also              anticoagulant activity, stating that an “aPTT test maybe useful
described the effect of specific patient characteristics—such     to assist in determining an excess of anticoagulant activity”
as age, gastrointestinal impairment, renal impairment, and        and that “[a]n aPTT greater than 80 sec is associated with
accompanying use of P-gp inhibitors—on Pradaxa plasma             a higher risk of bleeding.” [Id. at p. 5]. In response to
concentrations and bleeding risk. [Doc. 75-11 at pp. 26-31,       Defendant's proposed label recommendations, however, the
71-78]. Prior to approving Pradaxa, the FDA reviewed              FDA rejected these proposed warnings. [Doc. 75-17; Doc.
Defendant's submissions, undertook its own independent            75-18; see also Doc. 75-39] (FDA directing Defendant to
analyses, and authored numerous memoranda detailing               “please delete all dabigatran 110 [mg] information” from the
its multi-disciplinary review of the medicine's safety and        proposed label).
efficacy. [See, e.g., Doc. 75-12; Doc. 75-13; Doc. 75-28;
Doc. 75-29; Doc. 95-13]. Like Defendant's pre-approval             *3 On October 19, 2010, the FDA approved Pradaxa at
analyses, the FDA's independent pre-approval analyses found       a dose of 150 mg, without any requirement for monitoring
that increasing plasma concentrations were associated with        plasma concentrations, adjusting doses, or treatment based
an increased risk of bleeding. [Doc. 75-12 at pp. 18-20, 34].     on such measurements. [Doc. 75-14; Doc. 75-3; see also



               © 2020 Thomson Reuters. No claim to original U.S. Government Works.                           Page 124 of 246   2
          PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 69 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 127 of 248 PageID: 136
Lyons v. Boehringer Ingelheim Pharmaceuticals, Inc., --- F.Supp.3d ---- (2020)
2020 WL 5835125

Doc. 75-40 (expert testimony acknowledging that the FDA           the exposure-response analysis could suggest a therapeutic
concluded that routine plasma concentration monitoring is         range and what that range might be, but ultimately, they
not required for Pradaxa) ]. At the time of approval, the         reached the conclusion that “[t]here is no single plasma
FDA approved Pradaxa's “launch label” which included the          concentration range that provides optimal benefit–risk for all
warning that “PRADAXA can cause serious and, sometimes,           patients.” [Doc. 75-25 at p. 9]. This conclusion was consistent
fatal bleeding.” [Doc. 75-3 at p. 2]. Although the FDA-           with the FDA's pre-approval statements that the exposure-
approved launch label did not contain any recommendation          response analyses did not suggest a need for monitoring
to monitor plasma concentrations, the label warned of the         plasma concentrations and adjusting dosage. [Doc. 75-37
bleeding risk factors, including patient characteristics, that    at p. 165 (“we didn't see a need for ... monitoring the
must be considered when prescribing Pradaxa. [Id. at pp. 3-4].    concentration because we saw in a study, favorable results in
                                                                  all subgroups”) ].


2. Post-Approval Discussions on Plasma Monitoring
                                                                  3. The FDA's Continued Rejection of Plasma Monitoring and
Following Pradaxa's approval, Defendant continued                 Plaintiff's Other Warning Criticisms
to analyze the relationship between Pradaxa plasma
concentrations and stroke and bleed risk. In 2012, a              In the decade since Pradaxa's approval, the FDA has approved
number of computer simulation analyses were performed “to         Pradaxa's U.S. labeling on nineteen separate occasions.
explore whether exposure measurement using trough plasma          None of those labels recommend plasma monitoring.
concentration might further improve Pradaxa's “positive           [See e.g., Doc. 75-3; Doc. 75-31; Doc. 75-33, Doc.
benefit-risk balance.” [Doc. 75-44 at p. 6]. In reviewing this    75-47; see also https://www.accessdata.fda.gov/scripts/cder/
data, Defendant's experts concluded that the simulations had      daf/index.cfm?event=overview.proces s & applno=022512].
limitations and were unable to accurately predict the dose-       During this time, the FDA has issued numerous statements
response difference between the 110mg and 150mg dose              reaffirming Pradaxa's safety and efficacy when used as
benefit-risk factors seen in a “RE-LY” trial. [Doc. 75-26 at p.   directed by the U.S. label, without any requirement for plasma
21; Doc. 95-9 at pp. 6-8; Doc. 95-10 at pp. 7-8]. Subsequently,   monitoring or dose adjustment. [See Doc. 75-19 at p. 4 (“We
Defendant provided an explanation and analysis of the dose        are constantly examining patient safety data and conducting
titration simulations to the European Medicines Agency            other surveillance activities after products are on the market to
(EMA) as well as to the FDA. [Doc. 75-42; Doc. 75-43]. The        ensure that the labels reflect current knowledge with regard to
EMA “endorsed” Defendant's conclusion that the simulations        benefits and risks.... Based on this evaluation [of new reports],
had “limitations” that rendered them unable to predict actual     FDA has not changed its recommendations regarding the use
patient outcomes or the dose-response difference between          of Pradaxa; it provides an important health benefit when used
the 110 mg and 150 mg doses of Pradaxa (dabigatran), and          as directed”); Doc. 75-20 at p. 2 (“As a result of our latest
Defendant shared the EMA's conclusion with the FDA. [Doc.         findings [regarding bleed risk in older patient populations],
75-26, particularly at p. 22].                                    we still consider Pradaxa to have a favorable benefit to risk
                                                                  profile and have made no changes to the current label or
Additionally, in February 2014, Defendant's scientist Dr.         recommendations for use”); Doc. 75-21 at p. 3 (article by
Paul Reilly, along with other scientists involved in the          three FDA authors on post-marketing reports of bleeding,
RE-LY trial, published a research paper (hereinafter “the         concluding that “[w]e believe that dabigatran provides an
Reilly Paper”) on the effect of Pradaxa (dabigatran) plasma       important health benefit when used as directed”); Doc. 75-22
concentrations and patient characteristics on the frequency       at p. 3 (FDA update of risk of serious bleeding, stating
of ischemic stroke and major bleeding in atrial fibrillation      that “FDA has not changed its recommendations regarding
patients. [Doc. 75-25]. The Reilly paper showed that plasma       Pradaxa. Pradaxa provides an important health benefit when
concentrations increased with age and that bleed risk             used as directed. Healthcare professionals who prescribe
increased as plasma concentrations increased. The Reilly          Pradaxa should carefully follow the dosing recommendations
paper also showed that the risk of stroke decreased as            in the drug label ... to reduce the risk of bleeding”) ].
plasma concentrations increased, although this effect was less
pronounced at the higher concentration levels. [Id. at pp.         *4 In October 2015, after receiving a large number of reports
4-327]. In the Reilly paper, the scientists considered whether    of bleeding among Pradaxa users, the FDA published an



               © 2020 Thomson Reuters. No claim to original U.S. Government Works.                            Page 125 of 246   3
           PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 70 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 128 of 248 PageID: 137
Lyons v. Boehringer Ingelheim Pharmaceuticals, Inc., --- F.Supp.3d ---- (2020)
2020 WL 5835125

article comparing the various anticoagulant drugs that are            prescribed the medicine, the label warned about increased
used in treating atrial fibrillation. [Doc. 75-19]. In the article,   bleeding risk with age. [Doc. 75-31 at p. 8].
the FDA noted that, when compared to patients who were
new users of warfarin, new users of Pradaxa had lower risks
of clot-related stroke, bleeding in the brain, and death, but
                                                                      (b) Effects of Renal Impairment
an increased risk of major gastrointestinal bleeding, which
was consistent with observations from the large clinical trial        Before approval, BI and the FDA also repeatedly analyzed
used to approve Pradaxa. [Id. at p. 4]. The FDA further noted         the clinical data as it relates to renal function, including
that the “freedom from the need to have periodic blood test           the impact of mild to moderate renal impairment on plasma
monitoring” was one of Pradaxa's principal advantages” over           concentrations and bleeding risk. [See, e.g., Doc. 75-11 at
warfarin. [Id. at p. 3].                                              pp. 51, 73-74] (presenting bleed and stroke data for Pradaxa
                                                                      150 mg versus warfarin, a similar drug, in patients with
Additionally, in 2018, a “Think-Tank” meeting sponsored               mild and moderate renal impairment, and concluding that
by the FDA and the Cardiac Safety Research Consortium                 “[d]ecreasing renal function is associated with decreasing
(“CSRC”) convened to discuss whether laboratory                       advantages of dabigatran over warfarin in the rate of major
monitoring and dose adjustment to customize drug exposure             bleeding”); Doc. 75-12 at pp. 11-12, 26-27 (analyzing
would improve the safety and efficacy of novel oral                   increase in exposure to dabigatran in patients with mild and
anticoagulants (such as Pradaxa) in patients with atrial              moderate renal impairment).
fibrillation. [Doc. 75-48]. Following this meeting, four
senior FDA scientists co-authored an article along with               After the FDA's approval of Pradaxa, Defendant continued to
several other scientists summarizing their findings. [Id.] In         provide the FDA with additional information regarding the
this article, the scientists acknowledged that the consensus          medicine's safety—including more recent exposure-response
position is that “[r]outine PK-PD measurements to guide               and dose-titration analyses. [See Doc. 75-42; Doc. 75-43;
NOAC [novel oral anticoagulant] dosing cannot currently be            Doc. 75-45; Doc. 75-26]. At the time Ms. Underwood was
recommended.” [Id. at p. 9].                                          prescribed Pradaxa, the label warned about the impact of renal
                                                                      impairment on exposure to Pradaxa and the importance of
                                                                      assessing renal impairment. [Doc. 75-31 at p. 13].
(a) Effects of Age

The record shows that Defendant submitted detailed
                                                                      (c) Drug interaction between Pradaxa and P-gp inhibitors
information regarding the impact of increasing age on
Pradaxa plasma concentrations and bleeding rates to the FDA            *5 Simvastatin is a medication that is prescribed to treat
prior to approval. [See, e.g., Doc. 75-11 at p. 27 (discussing        patients with high cholesterol. It is one of many medications
age effects on Pradaxa plasma concentrations), and at p.              known as a P-gp inhibitor because it inhibits the transport of
71 (discussing the increased rate of major bleeding as age            P-glycoproteins. [Doc. 75-11 at 29, 53]. Prior to the approval
increases). The FDA also conducted its own pre-approval               of Pradaxa, Defendant informed the FDA that “eight studies
review of the impact of age on Pradaxa plasma concentrations          assessed potential interactions with various P-gp inhibitors,
and patient outcomes. [Doc. 75-12 at p. 25 (recognizing               substrates or inducers.” [Doc. 75-30 at pp. 46-50]. Defendant
increase in Pradaxa plasma concentrations with increasing             shared with the FDA its conclusions that concomitant use of
age); Doc. 75-28 at p. 127 (discussing perceived increased            P-gp inhibitors can increase Pradaxa plasma concentrations
bleeding risk in older patients and finding that there is no          and, therefore, increase the risk of bleeding. [Id. at p. 156
reason to adjust dose in the elderly).                                (“Several Phase I studies demonstrated that there was an
                                                                      interaction with increased exposure to dabigatran [with]
After the FDA's approval of Pradaxa, Defendant continued to           various P-gp inhibitors” and the “risk for increased bleeding
provide the FDA with additional information regarding the             due to an increased dabigatran exposure with administration
medicine's safety—including more recent exposure-response             of P-gp inhibitors cannot be ruled out”) and at p. 49 (table
and dose-titration analyses. [See Doc. 75-42; Doc. 75-43;             showing the percentage of increased risk of major bleeding
Doc. 75-45; Doc. 75-26]. At the time Ms. Underwood was                with P-gp inhibitor co-medication) ].




                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                             Page 126 of 246   4
          PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 71 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 129 of 248 PageID: 138
Lyons v. Boehringer Ingelheim Pharmaceuticals, Inc., --- F.Supp.3d ---- (2020)
2020 WL 5835125

The FDA analyzed Pradaxa's potential interaction with P-            Reddy also understood Pradaxa does not require monitoring
gp inhibitor medications, ultimately concluding that there          of blood plasma levels. [Id. at p. 14, transcript page no. 48].
is “an interaction liability of dabigatran and ... P-gp
inhibitors.” [Doc. 75-12 at p. 33]. At the time Ms.                 After an assessment of Ms. Underwood's renal function
Underwood was prescribed Pradaxa, the label warned that             indicated that she had a normal creatinine clearance, Dr.
“P-gp inhibition and impaired renal function are the major          Reddy prescribed Pradaxa in the 150 mg dose according to
independent factors that result in increased exposure to            the recommended Pradaxa dosing instructions. [Doc. 75-50
dabigatran.” [Doc. 75-31 at pp. 7, 13]. In 2012, Defendant          at pp. 13-14, transcript page nos. 42-47; id. at p. 15, transcript
twice sought to provide additional warnings that P-gp               page no. 51; id. at pp. 24-25, transcript page nos. 89-90; id. at
inhibitor co-medication increases the risk of bleeding, but         p. 56, transcript page nos. 215-217].2
the FDA rejected Defendant's proposals, stating that P-gp
inhibition is an “independent risk factor[ ] for bleeding” that      *6 On March 17, 2016, Ms. Underwood was admitted into
“do[es] not need to be called specifically in the label.” [Doc.     Intensive Care Unit of the Piedmont Henry Hospital, where
75-34 at p. 2].                                                     she was diagnosed as having a cardiac tamponade. [Doc. 75-5
                                                                    at p. 5, transcript page nos. 10-12]. A cardiac tamponade
Thus, the record is clear that, after Pradaxa's approval,           occurs when the presence of fluid in the pericardial sac around
Defendant continued to provide the FDA with additional              the heart (a pericardial effusion) reaches a level of pressure
information regarding the medicine's safety—including the           that acutely interferes with the heart's ability to pump blood
very exposure-response and dose-titration analyses that             throughout the body. [Doc. 75-6 at p. 13, transcript page
Plaintiff claims constituted “newly acquired information.”          nos. 42-44]. She was evaluated by Dr. Gregory Erdelyan,
Having had this information in its possession for years, the        who later performed a pericardial window procedure and
FDA has taken no action to update Pradaxa's labeling to             “removed between six and 700 CC's of ... bloody pericardial
require plasma monitoring or dose-titration—as would be             fluid.” [Doc. 75-7 at p. 5, transcript page no. 10; id. at p.
the FDA's responsibility if it was concerned about patient          14, transcript page no. 49]. Following the procedure, Ms.
safety—reflecting a rejection of the substance of Plaintiff's       Underwood received two doses of Praxbind, the product-
proposed warnings. See 21 U.S.C. § 355(o)(4) (requiring the         specific reversal agent for Pradaxa. [Doc. 75-5 at pp. 14-15,
FDA, if it “becomes aware of new safety information” that it        transcript page nos. 49-50]. A few days later, Ms. Underwood
“determines should be included in the labeling,” either from        improved and was transferred out of ICU. [Doc. 75-6 at p.
a manufacturer's submission or through its own monitoring           40, transcript page no. 153]. However, subsequent testing
of adverse event reports, to notify the manufacturer and            indicated that she was still “over-anticoagulated.” [Doc. 75-8
initiate a process to institute a labeling change, even over the    at p. 5]. On March 26, 2016, Ms. Underwood died. [Doc. 75-5
manufacturer's objection).                                          at p. 5, transcript page nos. 11-13]. Ms. Underwood's death
                                                                    certificate indicates that the immediate cause of death was
                                                                    “multisystem organ failure due to, or as a consequence of,
   B. Ms. Underwood's Use of Pradaxa
                                                                    cardiac tamponade.” [Doc. 75-9].
Ms. Underwood began taking Pradaxa on January 25, 2016.
At that time, she was 75 years old and was already taking
the P-gp inhibitor Simvastatin. [Doc. 75-4 at pp. 3-4 -             II. SUMMARY JUDGMENT STANDARD
Interrogatory Response Nos. 2-3; Doc. 75-50 at p. 15,               Summary judgment is appropriate when there are no genuine
transcript page no. 53; Doc. 75-8 at p. 4]. The prescribing         issues of material fact and the moving party is entitled to
physician, cardiologist Kuchela Reddy, M.D., testified that he      judgment as a matter of law. Fed. R. Civ. P. 56(a). A defendant
knew and understood the risks and warnings associated with          who moves for summary judgment must support its motion
Pradaxa when he prescribed the drug for Ms. Underwood.              with evidence that would entitle it to a directed verdict if
[Doc. 75-50 at pp. 13-14, transcript page nos. 43-47 (dosing        not controverted at trial. Fitzpatrick v. City of Atlanta, 2 F.3d
guided by renal function); id. at pp. 15-16, transcript page nos.   1112, 1115 (11th Cir. 1993). Once the defendant discharges
50-53 (risk of bleeding and potentially fatal bleeding event,       its burden of showing an absence of evidence to support
renal impairment could increase bleeding risk, concomitant          the plaintiff's case, the burden then shifts to the nonmoving
use of certain other drugs could increase bleeding risk,            party to “respond with evidence sufficient to withstand a
bleeding risk increased with age) ]. Knowing all of this, Dr.       directed verdict motion at trial.” Id. In determining whether



                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                              Page 127 of 246   5
          PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 72 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 130 of 248 PageID: 139
Lyons v. Boehringer Ingelheim Pharmaceuticals, Inc., --- F.Supp.3d ---- (2020)
2020 WL 5835125

a genuine dispute of material fact exists to defeat a motion        she has no evidence of defective design or design defect
for summary judgment, the evidence is viewed in the light           causation.
most favorable to the party opposing summary judgment,
drawing all justifiable inferences in the opposing party's favor.   Finally, as a result of these rulings, Defendant is entitled to
Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255, 106 S.Ct.       summary on Plaintiff's claims for wrongful death, damages
2505, 91 L.Ed.2d 202 (1986). A fact is “material” if it is          for pre-death pain and suffering, and punitive damages.
relevant or necessary to the outcome of the suit. Id.

                                                                       A. Preemption
III. ANALYSIS                                                       The doctrine of federal preemption has origins stemming
Plaintiff brings various causes of action premised around the       from the Supremacy Clause of the United States Constitution.
allegation that Defendant failed to adequately warn of certain      U.S. CONST. art. VI, cl. 2. This doctrine generally means
risks of its anticoagulant drug Pradaxa. Plaintiff's claim is       that “when a party cannot satisfy its state duties without
that Defendant failed to adequately warn physicians that the        the Federal Government's special permission and assistance,
blood plasma concentrations of Pradaxa should be monitored.         which is dependent on the exercise of judgment by a federal
Plaintiff also alleges that Defendant failed to adequately warn     agency, that party cannot independently satisfy those state
about the impact of various patient characteristics—such as         duties for pre-emption purposes.” PLIVA, Inc. v. Mensing, 564
age, renal impairment, and concomitant Simvastatin use—on           U.S. 604, 623–24, 131 S.Ct. 2567, 180 L.Ed.2d 580 (2011).
Pradaxa plasma concentrations and bleed risk. [See Doc. 1].         Accordingly, state-law failure-to-warn claims are preempted
                                                                    if FDA approval is needed to add the warning that a plaintiff
Having considered the parties’ arguments on motion for              alleges state law requires. See Wyeth v. Levine, 555 U.S.
summary judgment, the Court concludes that Plaintiff's              555, 568, 129 S.Ct. 1187, 173 L.Ed.2d 51 (2009); Mensing,
failure to warn, negligence, negligent misrepresentation/           564 U.S. at 623–24, 131 S.Ct. 2567. “Generally speaking, a
fraud, and fraudulent concealment claims are preempted by           manufacturer may only change a drug label after the FDA
federal law, for two independent reasons. First, Plaintiff has      approves a supplemental application.” Levine, 555 U.S. at
not met her burden of showing “newly acquired information”          568, 129 S.Ct. 1187. However, manufacturers can unilaterally
supporting her warning criticisms. This is information that         add a warning under the “changes being effected” (CBE)
was “not previously submitted to the [FDA]” and that                regulation. 21 C.F.R. § 314.70(c)(6)(iii). This regulation
“reveal[ed] risks of a different type or greater severity or        “allows drug manufacturers to change [a label] without the
frequency than previously included in submissions to FDA.”          FDA's preapproval if the changes.. ‘reflect newly acquired
21 C.F.R. § 314.3(b). Second, the FDA's repeated rejection          information.’ ” Gibbons v. Bristol-Myers Squibb Co., 919
of the need for plasma monitoring and dose adjustment               F.3d 699 (2d Cir. 2019) (quoting 21 C.F.R. § 314.70(c)(6)
based on plasma levels constitutes “clear evidence” that            (iii)).
the FDA would have rejected Plaintiff's proposed warnings.
Indeed, three separate courts in four different cases have          The FDA nonetheless “retains authority to reject labeling
concluded that claims similar to the ones at issue in this          changes” made through the CBE process. Levine, 555
case are preempted. See Roberto v. Boehringer Ingelheim             U.S. at 571, 129 S.Ct. 1187. Accordingly, even if newly
Pharm., Inc., No. CPL-HHD-CV-XX-XXXXXXX-S, 2019 WL                  acquired information exists, a manufacturer can still establish
5068452 at *21 (Conn. Super. Ct. Sept. 11, 2019); Pradaxa           impossibility preemption through “clear evidence that the
Cases (Lawson), No. CJC-16-004863, 2019 WL 6043513, at              FDA would not have approved a change” to the label. Id.
*3-4 (Cal. Super. Ct. Nov. 8, 2019); Adkins v. Boehringer
Ingelheim Pharm., Inc., No. HHD-CV-XX-XXXXXXX-S, slip               The Court's preemption analysis proceeds in two steps. “First,
opinion at 16–21, 23–25, 2020 WL 1890681 (Conn. Super.              the plaintiff must show that there existed ‘newly acquired
Ct. Mar. 13, 2020) (“Adkins Order”), ECF No. 98-1; Ridings v.       information’ such that the defendants could unilaterally
Maurice, 444 F.Supp.3d 973, 997–99 (W.D. Mo. 2020). This            change the label pursuant to the CBE regulation without
Court agrees with the general reasoning of the above cases in       FDA approval.” See Utts v. Bristol-Myers Squibb Co., 251
holding that Plaintiff's warning claims are preempted here.         F. Supp. 3d 644; see also Merck Sharp & Dohme Corp. v.
                                                                    Albrecht, ––– U.S. ––––, 139 S. Ct. 1668, 1679, 203 L.Ed.2d
 *7 The Court also concludes that Defendant is entitled to          822 (2019) (recognizing that a drug manufacturer can change
summary judgment on Plaintiff's design defect claim because         a drug's label through the CBE process if there is “newly


                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                            Page 128 of 246   6
          PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 73 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 131 of 248 PageID: 140
Lyons v. Boehringer Ingelheim Pharmaceuticals, Inc., --- F.Supp.3d ---- (2020)
2020 WL 5835125

acquired information” to justify the label change) (quoting      to the Agency” that “reveal[s] risks of a different type or
21 C.F.R. § 314.70(c)(6)(iii)(A)). However, “newly acquired      greater severity or frequency than previously included in
information” is not only new data, but can also mean “new        submissions to FDA.” 21 C.F.R. § 314.3(b). Newly acquired
analyses of previously submitted data”. 73 Fed. Reg. 49604;      information “cannot be rooted in conjecture or hypothesis.
Levine, 555 U.S. at 569, 129 S.Ct. 1187 (stating that “if        Rather, it must conclusively establish, by scientifically valid
the sponsor submits adverse event information to FDA, and        measurable and statistically significant data, that the different
then later conducts a new analysis of data showing risks         or increased risks are actual and real.” Pradaxa Cases, 2019
of a different type or of greater severity or frequency than     WL 6043513, at *3. Additionally, Plaintiff must show that
did reports previously submitted to FDA, the sponsor meets       BI acquired the new information before Ms. Underwood's
the requirement for ‘newly acquired information.’ ”). Absent     alleged injury. See id. at *4; Roberto, 2019 WL 4806271, at
such a showing, Plaintiff's claims are preempted.                *14, 19 n.36.

Second, “a manufacturer may still—even after the plaintiff
has identified ‘newly acquired information’—establish
                                                                 (a) The Reilly Exposure-Response Paper and Schumacher
impossibility preemption through ‘clear evidence that the
                                                                 Analysis
FDA would not have approved a change’ to the label.” See
Utts, 251 F. Supp. 3d at 661 (quoting Wyeth, 555 U.S. at 571,    Plaintiff claims the Reilly paper constitutes newly acquired
129 S.Ct. 1187); see also Albrecht, 139 S. Ct. at 1672.          information, but every court to address this argument
                                                                 post-Albrecht has rejected it. See Ridings, 444 F.Supp.3d at
 *8 Plaintiff argues that while the Judge must decide the        985–87, 995–98; Adkins Order at 24, ECF No. 98-1; Pradaxa
factual question of whether the FDA would not have approved      Cases, 2019 WL 6043513, at *3 n.6; Roberto, 2019 WL
a change under Albrecht, the newly acquired information          5068452, at *15–17. For similar reasons, this Court concludes
is an issue of fact for the jury. Id. However, this Court        that the Reilly paper is not newly acquired information.
finds that in order to answer the former question, the latter
must also be answered by the Judge. Like all other court's       First, the FDA was already “well aware” of the “correlation
that have addressed this question post-Albrecht, this Court      between plasma levels and bleed risk” reported in the
finds that both the “newly acquired information” and “FDA        Reilly paper. [Doc. 75-12 at 18-19, 33]. The paper did not
action” questions are for a Judge to decide, not a jury. See     reveal any “risks of a different type or greater severity or
Roberto, 2019 WL 5068452, at *21; Pradaxa Cases, 2019            frequency.” Roberto, 2019 WL 5068452, at *17; see also
WL 6043513, at *3-4; Adkins Order at 16-21, 23-25 [Doc.          Ridings, 444 F.Supp.3d at 1000 n.34 (“[T]he FDA was aware
98-1]; Ridings, 444 F.Supp.3d at 997–99. Because “a judge,       of this correlation dating back to the original Boehringer
not the jury, must decide the pre-emption question,” the Court   submissions for Pradaxa in 2010.”). The FDA also understood
“ ‘may have to resolve subsidiary factual disputes’ that are     the relationship between plasma concentrations and stroke
part and parcel of the broader legal question.” See Albrecht,    risk prior to approval. Adkins Order at 23-25 (“[T]o the
139 S. Ct. at 1676; see also id. at 1680 (explaining that        extent that the plaintiff correctly interprets the Reilly
factual issues do not “warrant submission alone or together      article as finding no significant stroke prevention benefit at
with the larger pre-emption question to a jury” because “these   higher doses, that finding does not differ from the FDA's
factual questions [are] subsumed within an already tightly       information, which found only a ‘gradual’ or ‘minimal’ stroke
circumscribed legal analysis”).                                  reduction benefit at higher concentrations without finding
                                                                 statistical significance. Thus, the Reilly study does not ‘reveal
                                                                 risks of a different type or greater severity or frequency
1. No Newly Acquired Information                                 than previously included in submissions to FDA.’ ”) (citation
                                                                 omitted).
Plaintiff has not met her burden of showing that Defendant
possessed newly acquired information that would have             Second, the Reilly paper's conclusion that “[t]here is no single
enabled it unilaterally to change Pradaxa's labeling after the   plasma concentration range that provides optimal benefit-
FDA's October 2010 approval and before Ms. Underwood's           risk for all patients” is squarely in line with the FDA's pre-
alleged March 2016 injury. “Newly acquired information is        approval conclusion that plasma monitoring is not necessary.
data, analyses, or other information not previously submitted



               © 2020 Thomson Reuters. No claim to original U.S. Government Works.                           Page 129 of 246   7
          PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 74 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 132 of 248 PageID: 141
Lyons v. Boehringer Ingelheim Pharmaceuticals, Inc., --- F.Supp.3d ---- (2020)
2020 WL 5835125

See Ridings, 444 F.Supp.3d at 997 (quoting Reilly paper [Doc.      95-9 at 529-531; Doc. 95-10 at 1092-1093; Doc. 75-43].
75-25 at 328] ).                                                   Defendant ultimately withdrew its application patent due to
                                                                   the unreliable data. Thus, this Court finds that the patent
 *9 Third, Defendant published the paper and submitted it          application was not newly acquired information, but just
to the FDA nearly two years before Plaintiff's alleged injury      a failed opinion. [See Doc. 75-44; see also Ridings, 444
in March 2016. [Doc. 95-17 at 48-51]; see also Ridings, 444        F.Supp.3d at 996 (explaining that “Boehringer's computer
F.Supp.3d at 986. As a result, it cannot be newly acquired         simulation testing was a bad idea that simply did not pan out.
information because it was “previously submitted to the            It does not constitute newly acquired evidence under the CBE
[FDA].” 21 C.F.R. § 314.3(b).                                      regulation”).

Nor do the early drafts or emails reflecting preliminary
discussions about the Reilly paper and the underlying
                                                                   (c) European Label
analyses cited by Plaintiff constitute newly acquired
information. [See Doc. 87 at 27-29]. These documents               Plaintiff argues that the European warning label for Pradaxa
simply reflect an ongoing scientific dialogue regarding            is significantly different from the one approved by the
proposed revisions to drafts of the paper and, at best,            FDA. Due to this, Plaintiff argues that this constitutes
preliminary conclusions about the meaning of the data              newly acquired information that should have prompted
and analysis. They do not constitute new data or analyses          Defendant to unilaterally change the label the U.S. label
substantiating a different or greater risk with unmonitored        of Pradaxa. While evidence may exist that supports the
Pradaxa. See Roberto, 2019 WL 5068452, at *16 (“These              European label's differences, substantially similar evidence
preliminary discussions do not provide reliable evidence           was presented to the FDA and it decided not to give the
of new risks. They are essentially uncorroborated trial            same warning. Accordingly, Defendant is still entitled to
balloons.... [U]ltimately, a preliminary opinion or dissenting     rely upon the defense of federal preemption. “[I]nformation
voice is just that—it is not a final opinion”).                    previously submitted to the FDA is preempted because the
                                                                   CBE regulation cannot be used to make a label change
Finally, the email from Defendant's scientist Dr. Helmut           based on such information.” In re Lipitor (Atorvastatin
Schumacher referenced by the Plaintiff [Doc. 87, Ex. 610]          Calcium) Marketing, Sales Practices & Products Liability
does not qualify as newly acquired information. That email         Litigation, 185 F.Supp.3d 761, 769 (D.S.C. 2016); see also
reflects early “exploratory analyses” of what would become         Dolin v. GlaxoSmithKline LLC, 901 F.3d 803, 815 (7th Cir.
the Reilly paper. Id. Additionally, this email was written         2018) (newly acquired information claim “fails because the
before the modeling analysis was completed. [Doc. 95-7 (the        undisputed evidence shows that the FDA was aware of the
modeling continued into 2012) ]. The email reflects one            nature of the data it received”); 21 C.F.R. § 314.3 (“Newly
scientist's interpretation based on an incomplete analysis of      acquired information is data, analyses, or other information
substantially similar data that was submitted to the FDA           not previously submitted to the Agency”).
previously.
                                                                    *10 This Court concludes that warnings approved for a
                                                                   foreign label are not newly acquired evidence when they are
(b) Patent Application                                             based on substantially similar evidence. Furthermore, foreign
                                                                   drug labels are based on different regulatory standards.
The simulations conducted by Defendant in 2012, and                “The mere existence of a differently structured and written
subsequently explained to the FDA, reflect preliminary             European label does not establish that the U.S. label is
efforts to “explore whether exposure measurement ...               insufficient, misleading, or legally inadequate.” McDowell v.
might further improve” Pradaxa's “positive benefit-risk            Eli Lilly & Co., 2015 WL 845720, op. at *5 (S.D.N.Y. Feb. 26,
balance.” [Doc. 75-44]; [Doc. 75-1]. Based on these                2015); see also Meridia Prod. Liability Litigation v. Abbott
preliminary efforts, Defendant filed a patent application          Labs., 447 F.3d 861, 867 (6th Cir. 2006) (the fact that “the
regarding the general idea of adjusting doses based on plasma      warning label for [the drug's] European equivalent contained
levels. But after further analysis, Defendant concluded            more detailed instructions for the treating physician” was not
that the preliminary computer simulations were statistically       enough for the U.S. label to be declared inadequate).
unreliable and that the data could not support the theory. [Doc.



                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                          Page 130 of 246   8
          PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 75 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 133 of 248 PageID: 142
Lyons v. Boehringer Ingelheim Pharmaceuticals, Inc., --- F.Supp.3d ---- (2020)
2020 WL 5835125


                                                                   This conclusion is reaffirmed by the 2018 Chan paper,
(d) Medical Literature
                                                                   the FDA's most recent statement on plasma monitoring. In
Plaintiff cites various articles in medical literature, but none   the Chan paper, which post-dates Defendant's Reilly paper,
of these articles constitutes newly acquired information.          the internal discussions leading up to the Reilly paper, the
Plaintiff's response brief references seven articles, [Doc. 87     company's dose titration modeling and patent application/
at 38], but Plaintiff fails to explain how any of these articles   withdrawal, and the European label, the FDA concluded
“reveal a risk of a different type or greater severity or          that “[r]outine PK-PD measurements to guide NOAC dosing
frequency than previously included in submissions to FDA”          cannot currently be recommended” due to “lack of clinical
under 21 C.F.R. § 314.3(b).                                        evidence of benefit” and “lack of data to guide appropriate
                                                                   dosing.” [Doc. 75-48 at 66]. This reflects the FDA's judgment
The Chin paper, published in 2014, “proposed a ‘potential          that no newly acquired information exists to recommend
dosing algorithm’ in which ‘[a]nticoagulant tests can be used      plasma monitoring. See Roberto, 2019 WL 5068452, at *19
to check for excessive effect’ in certain patient subgroups        (considering the Chan paper, “the court cannot conclude that
after dosing based on certain patient characteristics like         there is any newly acquired information concerning blood
renal function.” Ridings, 444 F.Supp.3d at 987 (quoting            monitoring”).
Paul K.L. Chin, et al., A Proposal for Dose-Adjustment
of Dabigatran Etexilate in Atrial Fibrillation Guided by
Thrombin Time, 78(3) Brit. J. Clin. Pharm. 599-609 (2014).         2. Evidence FDA Would Not Have Approved Change in
However, this is a proposal based upon substantially similar       Warning
data that was previously available to the FDA, for which it
found a “gradual” or “minimal” stroke reduction benefit at          *11 This Court concludes, using the analysis set forth above,
higher concentrations and still concluded monitoring was not       that Defendant has established through “clear evidence that
necessary. Adkins Order at 23-25 (citation omitted). Differing     the FDA would not have approved a change.” Wyeth, 555 U.S.
conclusions of the Chin paper and the FDA scientists based         at 571, 129 S.Ct. 1187. Additionally, based on the same data
upon substantially similar data does not constitute newly          and analyses that Plaintiff uses as a basis for their warning
acquired information.                                              label criticisms, the FDA has twice rejected Defendant's
                                                                   proposal to warn that the risk of bleeding is increased in
The Reiffel article discusses a potential “sweet spot” based       elderly patients who are also taking P-gp inhibitors. The
on the same data regarding the relationship between plasma         FDA rejected Defendant's proposal and by stating that “all
concentration and bleed risk that was known to the FDA             independent risk factors for bleeding ... do not need to be
prior to Pradaxa's approval. See Roberto, 2019 WL 5068452,         called specifically in the label” because “we do not want [the
at *25 n.12. Moreover, the Reiffel article recognized that         label] to become too long to be useful.” [Doc. 75-34 at p.
whether such monitoring “should be used to guide NOAC              2]. The FDA's repeated refusal to allow Defendant to warn
dosing remained unresolved or at least without consensus,”         that P-gp inhibitor co-medication is a risk factor for bleeding
pending “further discuss[ion] in a follow-up CSRC think            constitutes clear evidence that the FDA would have rejected
tank meeting.” James A. Reiffel et al., NOAC Monitoring,           the warning the Plaintiff seeks. [See Doc. 75-32; Doc. 75-33;
Reversal Agents, and Post-Approval Safety & Effectiveness          Doc. 75-34].
Evaluation: A Cardiac Safety Research Consortium Think
Tank, 177 Am. Heart J. 74, 82 (2016). Due to the inconclusive      Finally, using the aforementioned Chan paper [Doc. 75-48],
nature of this article and data already known to the FDA,          the FDA has further indicated as recently as 2018 that there
it cannot be used as newly acquired information. Overall, a        is a “lack of clinical evidence of benefit” and “lack of data to
close comparison of the documents relied upon by Plaintiff,        guide appropriate dosing” with regards to plasma monitoring.
including but not limited to the two articles above, with          [Doc. 75-48 at 66]. While this study was published after the
the information that Defendant submitted to the FDA prior          Plaintiff's injury, it further shows the FDA's consistency in
to approval and before Ms. Underwood's alleged injury,             its intial conclusions with regard to plasma monitoring and
reveals no newly acquired information that would have              shows the FDA would have rejected the warning the Plaintiff
allowed Defendant to change its warnings to require plasma         seeks.
monitoring without FDA approval.



                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                           Page 131 of 246   9
          PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 76 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 134 of 248 PageID: 143
Lyons v. Boehringer Ingelheim Pharmaceuticals, Inc., --- F.Supp.3d ---- (2020)
2020 WL 5835125

                                                                    the ability to eliminate danger without impairing the
                                                                    usefulness of the product or making it too expensive; and
3. Patient-Specific Failure to Warn Claims
                                                                    the feasibility of spreading the loss in the setting of the
Plaintiff alleges that Defendant failed to warn that Ms.            product's price or by purchasing insurance.
Underwood's specific patient characteristics—increased age,        *12 Id. at 675, n.6.
renal impairment, and concomitant simvastatin use—
increased her risk of bleeding because they made her more          Defendant argues that Plaintiff has no proof of any defect in
likely to have high plasma concentrations. See, e.g., [Doc.        the design of Pradaxa, cannot show that a defect in Pradaxa's
77-2; Doc 77-3].                                                   design caused her alleged injuries, and that the basis of her
                                                                   claim is failure-to-warn, not a defect in the actual design of
The Court concludes that Plaintiff's patient-specific warning      Pradaxa.
claims are also preempted. Plaintiff has presented no data or
analyses regarding the use of Pradaxa in these groups that         In response, Plaintiff argues that Georgia law permits
demonstrates a different or greater risk than the risks the        warning defects to be considered as part of the risk-utility
FDA was already aware of based on Defendant's previous             analysis and that her claim should therefore survive summary
submissions upon which the FDA based their approval                judgment. However, Plaintiff's argument shows that the basis
decision. See 21 C.F.R. § 314.3(b).                                of her claims actually involves the adequacy of Pradaxa's
                                                                   warning label, not any defect or deficiency in the chemical
Furthermore, these patient characteristics are only relevant       composition or formulation of the drug itself. Additionally,
insofar as they impact plasma concentration levels, so these       the Plaintiff has not put forward a “safer alternative design”
claims are preempted for the same reasons as the overall           to Pradaxa, something the Supreme Court of Georgia has
plasma concentration labeling theory. See Pradaxa Cases,           described as the “heart of [proving] a design defect case”
2019 WL 6043513, at *4 (ruling that plaintiff's “additional        under Georgia law. See Jones v. NordicTrack, Inc., 274 Ga.
patient-specific risk factors ... are covered by [p]laintiff's     115, 550 S.E.2d 101, 118-19 (2001). As Plaintiff has failed to
plasma concentration theory” and preempted for the same            support allegations of some design defect in Pradaxa with any
reasons).                                                          evidence, and these claims are dismissed.



   B. Plaintiff's Design Defect Claims                                C. Claims for Wrongful Death, Damages for Pain and
Under Georgia law, Plaintiff must show, through expert                Suffering, and Punitive Damages
testimony, that the product was defective and that the defect      Plaintiff's claims for wrongful death, damages for pre-death
was the proximate cause of the alleged injury. Silverstein v.      pain and suffering, and punitive damages are premised on and
Procter & Gamble Mfg. Co., 700 F. Supp. 2d 1312, 1316              a derivative of her underlying claims. As summary judgment
(S.D. Ga. 2009); see also Ga. Code Ann. § 51-1-11(b)(1)            is granted in favor of Defendant as to the underlying claims
(manufacturer may be liable where the product's “condition         based on the analysis set forth above, the derivative claims are
when sold is the proximate cause of the injury sustained”).        also dismissed. See Anderson v. Dunbar Armored, Inc., 678 F.
Georgia courts have adopted the risk-utility analysis to           Supp. 2d 1280, 1335 (N.D. Ga. 2009); see also United Health
determine whether a manufacturer should be liable for              Servs. of Ga., Inc. v. Norton, 300 Ga. 736, 797 S.E.2d 825,
an allegedly defectively designed product. Banks v. ICI            827 (2017) (holding that it is “longstanding precedent that
Americas, Inc., 264 Ga. 732, 450 S.E.2d 671, 675 (1994). A         a wrongful death action is wholly derivative of a decedent's
“non-exhaustive list of general factors” is usually considered     right of action”); Mowell v. Marks, 269 Ga.App. 147, 603
by court's when conducting this analysis:                          S.E.2d 702, 704 (2004) (“A survivor cannot recover for the
                                                                   decedent's wrongful death if the decedent could not have
  the usefulness of the product; the gravity and severity of the   recovered in his or her own right”).
  danger posed by the design; the likelihood of that danger;
  the avoidability of the danger, i.e., the user's knowledge
  of the product, publicity surrounding the danger, or the            D. Defendant's Motions to Exclude Testimony
  efficacy of warnings, as well as common knowledge and            The Court has concluded that Defendant is entitled to
  the expectation of danger; the user's ability to avoid danger;   summary judgment based on the analysis set forth above. As
  the state of the art at the time the product is manufactured;    the testimony that Defendant seeks to exclude has no bearing


               © 2020 Thomson Reuters. No claim to original U.S. Government Works.                            Page 132 of 246   10
          PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 77 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 135 of 248 PageID: 144
Lyons v. Boehringer Ingelheim Pharmaceuticals, Inc., --- F.Supp.3d ---- (2020)
2020 WL 5835125

                                                                  Winston H. Gandy, M.D. [Doc. 77], Defendant's Motion to
on that analysis, Defendant's various motions to exclude that
                                                                  Exclude Certain Opinions of Robert Gosselin [Doc. 78], and
testimony are DENIED as moot.
                                                                  Defendant's Motion to Exclude Certain Opinions of Glenn
                                                                  Chertow, M.D. [Doc. 79] are DENIED AS MOOT.
IV. CONCLUSION
For the foregoing reasons, it is hereby ORDERED that              IT IS SO ORDERED, this 29th day of September, 2020.
Defendant's Motion for Summary Judgment [Doc. 75] is
GRANTED. It is further ORDERED that the Defendant's
                                                                  All Citations
Motion to Exclude Certain Opinions of Laura Plunkett
[Doc. 76], Defendant's Motion to Exclude the Testimony of         --- F.Supp.3d ----, 2020 WL 5835125


Footnotes
1      For the purposes of this Order, all references to page numbers in documents refer to the ECF (or .pdf) page number,
       not the page number of the original document.
2      Even though Dr. Reddy had knowledge of Ms. Armstrong's alleged bleeding event at the time of his deposition, Dr. Reddy
       testified that he still stood by his decision in 2016 to prescribe Pradaxa to Ms. Underwood, even after he was questioned
       by Plaintiff's counsel about the need for additional warnings. [Doc. 75-50 at p. 34, transcript page no. 128; id. at p. 63,
       transcript page no. 244].


End of Document                                                      © 2020 Thomson Reuters. No claim to original U.S.
                                                                                                 Government Works.




               © 2020 Thomson Reuters. No claim to original U.S. Government Works.                            Page 133 of 246   11
     PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 78 of 114 Trans ID: LCV20201846220
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 136 of 248 PageID: 145




                              Exhibit I




                                                                          Page 134 of 246
          PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 79 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 137 of 248 PageID: 146


     Positive
As of: October 12, 2020 9:52 PM Z


                                         Patton v. Forest Labs., Inc.
                            United States District Court for the Central District of California
                                 September 19, 2018, Decided; September 19, 2018, Filed
                                          Case No. EDCV 17-922-MWF (DTBx)

Reporter
2018 U.S. Dist. LEXIS 160368 *
                                                              Angeles, CA; Thomas Robert Watson, Gordon Rees
                                                              Scully Mansukhani LLP, Los Angeles, CA.
Stephanie Patton, et al. v. Forest Laboratories, Inc., et
al.


                                                              Judges: Honorable MICHAEL W. FITZGERALD, United
                                                              States District Judge.
Subsequent History: Dismissed by, in part, Motion
granted by Patton v. Forest Labs., Inc., 2020 U.S. App.
LEXIS 740 (9th Cir. Cal., Jan. 9, 2020)
                                                              Opinion by: MICHAEL W. FITZGERALD
Affirmed by Patton v. Forest Labs., Inc., 2020 U.S. App.
LEXIS 4520 (9th Cir. Cal., Feb. 11, 2020)


                                                              Opinion
Prior History: Patton v. Forest Labs., LLC, 2017 U.S.
Dist. LEXIS 115284 (C.D. Cal., July 24, 2017)

                                                              CIVIL MINUTES—GENERAL

Counsel: [*1] For Stephanie Patton, Kendrick
Knighten, The Estate of Kennadi Knighten, Plaintiffs:
Michael S Traylor, LEAD ATTORNEY, Michael Traylor             Proceedings (In Chambers): ORDER RE: ALLERGAN
Law Offices, Northridge, CA.                                  SALES, LLC AND ALLERGAN, INC'S MOTION TO
                                                              DISMISS PLAINTIFFS' SECOND AMENDED
                                                              COMPLAINT FOR DAMAGES [129]
For Forrest Labratories, Inc., Defendant: Jennifer
Snyder Heis, John R Ipsaro, PRO HAC VICE, Ulmer               Before the Court is the Motion to Dismiss Plaintiffs'
and Berne LLP, Cincinnati, OH; Kevin W Alexander,             Second Amended Complaint for Damages ("SAC") filed
Gordon Rees Sccully Mansukhani LLP, Los Angeles,              by Defendants Allergan Sales, LLC, and Allergan, Inc.
CA; Thomas Robert Watson, Gordon and Rees LLP,                (together, "Allergan" [*2] or "Defendants") on August
Los Angeles, CA.                                              13, 2018. (Docket No. 129). On August 21, 2018,
                                                              Plaintiffs filed an Opposition. (Docket No. 130).
                                                              Defendants filed their Reply on August 31, 2018.
For Allergan, Inc., Defendant: Kevin W Alexander,
                                                              (Docket No. 133).
Gordon Rees Sccully Mansukhani LLP, Los Angeles,
CA; Thomas Robert Watson, Gordon and Rees LLP,                The Court has reviewed and considered the papers
Los Angeles, CA.                                              submitted and held a hearing on September 17, 2018.
                                                              At the hearing, the parties submitted on the Court's
For Allergan Sales, LLC, Defendant: Kevin W                   tentative order.
Alexander, Gordon Rees Sccully Mansukhani LLP, Los
                                                              For the reasons set forth below, Defendants' Motion is
                                                                                                  Page 135 of 246
           PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 80 of 114 Trans ID: LCV20201846220
  Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 138 of 248 PageID: 147
                                                                                                              Page 2 of 11
                                              2018 U.S. Dist. LEXIS 160368, *2

GRANTED without leave to amend with respect to                     dismissal of two pharmaceutical companies and the
Plaintiffs' remaining claims. Plaintiffs' SAC is barely            Court's dismissal, with leave to amend, of Plaintiffs'
distinguishable from the First Amended Complaint                   claims against two other pharmaceutical companies,
("FAC"), which the Court already found deficient as to all         Plaintiffs filed their FAC. (Docket No. 85).
claims. The SAC therefore fails for many of the same
reasons that caused the FAC to fail. Plaintiffs were               Plaintiffs' FAC asserted nine claims for relief: (1)
warned that any future successful motions to dismiss               violation of the Racketeer Influenced and Corrupt
would be granted without leave to amend, yet they have             Organizations Act ("RICO"), 18 U.S.C. § 1962, against
failed to address adequately the deficiencies the Court            Allergan and the remaining pharmaceutical companies;
identified in the FAC. Further amendment would be                  (2) breach of contract under a third party beneficiary
futile.                                                            theory, against Forest (i.e., Allergan, as a result of the
                                                                   merger); (3) strict products liability, against all
                                                                   Defendants; (4) fraud, concealment and deceit, against
I. BACKGROUND                                                      all Defendants; (5) negligence and negligence per se,
                                                                   against all Defendants; (6) violation of the CLRA,
                                                                   against all Defendants; (7) violation of the UCL, against
                                                                   all Defendants; (8) breach of warranty, against all
A. Procedural History                                              Defendants; and (9) wrongful death, against all
                                                                   Defendants. (Id. ¶¶ 51-134).
On April 4, 2017, Plaintiffs commenced an action in the
Riverside County Superior Court against Allergan and               Allergan moved to strike or dismiss Plaintiffs' claims
other pharmaceutical companies that have since been                pursuant to Rule 12(b)(6). (Docket No. 89). On May 10,
dismissed from this action (or, in the case of Forest [*3]         2018, the Court granted Allergan's motions, striking
Laboratories, LLC ("Forest"), merged into Allergan).               Plaintiffs' RICO and breach of [*5] contract claims and
(Notice of Removal ¶ 1 (Docket No. 1)). The genesis of             dismissing all seven remaining claims. (Docket No.
the lawsuit is the suicide of Plaintiffs' teenage daughter,        115). The Court noted that it "has serious doubts about
Kennadi, which Plaintiffs contend was the result of                Plaintiffs' capacity to state any viable claim against
Kennadi's taking the anti-depressant branded Lexapro               Allergan," but nevertheless permitted Plaintiffs one more
(manufactured by Allergan) and/or its generic                      chance to amend their allegations with respect to their
equivalent, escitalopram (manufactured by other                    strict products liability, fraud, negligence, UCL, breach
pharmaceutical companies). (Id. ¶ 7).                              of warranty, and wrongful death claims. (Id. at 1-2). The
                                                                   Court did not permit Plaintiffs to amend their allegations
(Typically, the Court refers to a minor by his or her              with respect to their CLRA claim, as Plaintiffs did not
initials, here "K.K." Plaintiffs referred to Kennadi as K.K.       provide statutorily required pre-suit notice. (Id. at 2).
in their original Complaint, and the Court did the same in
its prior orders. But the SAC and Opposition briefs refer          On July 9, 2018, Plaintiffs filed their SAC, asserting four
to the minor by her first name. Following the apparent             claims for relief: (1) negligence based upon the "Pre-
wishes of Plaintiffs, to whom the Court again extends its          Allergen Lawsuits Conduct"; (2) negligence based upon
condolences, the minor's first name, Kennadi, is used in           the "Post[-]Allergen Lawsuits Conduct and the CIA
this Order.)                                                       [Corporate Integrity Agreement]"; (3) violation of the
                                                                   UCL; and (4) wrongful death. (SAC ¶¶ 55-116). Plaintiffs
On May 11, 2017, a day after it filed an Answer in                 named as Defendants only Allergan; Forest, now a
Superior Court, Forest properly removed the action to              subsidiary of Allergan; and Forest Pharmaceuticals,
this Court. (Id. at 1).                                            Inc., a subsidiary of Forest. (Id. ¶ 5).

Plaintiffs' original Complaint asserted seven claims for           Allergan has now again moved to dismiss each of
relief: (1) strict products liability; (2) fraud and deceit; (3)   Plaintiffs' claims pursuant to Rule 12(b)(6).
breach of warranty; (4) violation of California's
Consumer Legal Remedies Act ("CLRA"), Cal. Civ.
Code. § 1770; (5) violation of California's Unfair                 B. Relevant Regulatory Framework
Competition Law [*4] ("UCL"), Cal. Bus. & Prof. Code §
17200; (6) negligence; and (7) wrongful death. (Id. ¶ 1).

On January 29, 2018, following Plaintiffs' voluntary

                                                                                                          Page 136 of 246
         PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 81 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 139 of 248 PageID: 148
                                                                                                     Page 3 of 11
                                        2018 U.S. Dist. LEXIS 160368, *5

1. New Drugs                                               Highlights section, such as pregnancy, pediatric use,
                                                           geriatric use, abuse, dependence, overdosage, storage
The approval process. The Federal Food, Drug, and          and handling, etc. See 21 C.F.R. §§ 201.56(d)(1),
Cosmetic Act ("FDCA"), 21 U.S.C. § 301 et seq. [*6] ,      201.57(c).
requires manufacturers of new, brand-name drugs to
secure the approval of the United States Food and Drug     The FDCA does not permit a drug manufacturer to
Administration ("FDA") prior to marketing that new drug    change an approved drug's labeling without prior
by submitting a "new drug application" ("NDA")             approval from the FDA. See 21 U.S.C. § 301 et seq.
demonstrating that the new drug is safe, effective, and    However, pursuant to its regulations, the FDA permits
appropriately labeled. See 21 U.S.C. § 355(b), (d); 21     holders of approved NDAs to make preapproval
C.F.R. § 314.50; Mutual Pharmaceutical Co., Inc. v.        "[c]hanges in the labeling to reflect newly acquired
Bartlett, 570 U.S. 472, 475-76, 133 S. Ct. 2466, 186 L.    information..."     21    C.F.R.   §    314.70(c)(6)(iii);
Ed. 2d 607 (2013). This process "is both onerous and       Supplemental New Drug Applications, 30 Fed. Reg.
lengthy." Bartlett, 570 U.S. at 476.                       993, 993-94 (Jan. 30, 1965). Specifically, the FDA
                                                           allows NDA holders to (based [*8] upon "newly
Labeling requirements. FDA regulations govern the          acquired information") independently: (A) "add or
content and format of prescription drug labeling. See 21   strengthen a contraindication, warning, precaution, or
C.F.R. §§ 201.56 (general requirements), 201.57            adverse reaction"; (B) "add or strengthen a statement
(specific requirements). These regulations apply to a      about drug abuse, dependence, psychological effect, or
broad range of written content relating to prescription    overdosage"; (C) "add or strengthen an instruction
drugs. The FDCA defines "labeling" as "all labels and      about dosage and administration that is intended to
other written, printed, or graphic matter (1) upon any     increase the safe use of the drug product"; or (D)
article or any of its containers or wrappers, or (2)       "delete false, misleading, or unsupported indications for
accompanying such article." 21 U.S.C. § 321(m).            use or claims for effectiveness." 21 C.F.R. §
Relevant FDA regulations define "label" as "any display    314.70(c)(6)(iii)(A)-(D).
of written, printed, or graphic matter on the immediate
container of any article, or any such matter affixed to    As noted above, any unilateral changes to a drug's
any consumer commodity or affixed to or appearing          labeling by a NDA holder must be based upon "newly
upon a package containing any consumer commodity."         acquired information." Such changes are made pursuant
21 C.F.R. § 1.3(b).                                        to the FDA's "changes being effected" ("CBE")
                                                           procedure. See 21 C.F.R. § 314.70(c)(6)(iii)(A). The
Since 2006, the FDA has required that prescription drug    FDA may accept, modify, or reject a CBE supplement,
labeling contain both a more streamlined "Highlights"      and "may order the manufacturer to cease distribution of
section [*7] and a more detailed "Full Prescribing         the drug product(s) made with the [labeling] change." 21
Information" section. See 21 C.F.R. §§ 201.56(d),          C.F.R. § 314.70(c)(7).
201.57(a).
                                                           Outside of the specified CBE circumstances, NDA
The "Highlights" section of a drug's label must include    holders must obtain prior approval from the FDA for any
the drug's name, a "boxed warning," and information        labeling or other changes through the "prior approval
about recent major changes, indications and usage,         supplement" ("PAS") process. 21 C.F.R. § 314.70.
dosage and administration, dosage form and strengths,
contraindications, warnings and precautions, adverse       NDA holders may not make any changes to the
reactions, drug interactions, and use in specific          Highlights section of a drug's labeling without prior FDA
populations. 21 C.F.R. §§ 201.56(d)(1), 201.57(a)(1)-      approval. 21 C.F.R. § 314.70(b)(2)(v)(C).
(13).

The "Full Prescribing Information" section of a            2. Generic Drugs
prescription drug label must contain the same
categories of information required in the "Highlights"     In 1984, Congress passed [*9] the Drug Price
section, including a "boxed warning," but in greater       Competition and Patent Term Restoration Act,
detail. See 21 C.F.R. §§ 201.56(d)(1), 201.57(b)-(c).      commonly referred to as the "Hatch-Waxman Act,"
The Full Prescribing Information section must also         streamlining the FDA approval process for "generic"
contain categories of information not included in the      drugs - i.e., those that replicate their brand-name

                                                                                                  Page 137 of 246
          PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 82 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 140 of 248 PageID: 149
                                                                                                     Page 4 of 11
                                          2018 U.S. Dist. LEXIS 160368, *9

predecessors. See Bartlett, 570 U.S. at 476. Under                complete boxed warning. Increased risk of
Hatch-Waxman, prior to marketing a generic drug, a                suicidal thinking and behavior in children,
manufacturer must submit an "abbreviated new drug                 adolescents    and     young   adults   taking
application" ("ANDA") demonstrating that "the generic             antidepressants     for    major    depressive
drug is identical to the already-approved brand-name              disorder [*11] (MDD) and other psychiatric
drug in several key respects," including chemical                 disorders. Lexapro is not approved for use in
composition, rate and extent of absorption, and labeling.         pediatric patients less than 12 years of age
See 21 U.S.C. § 355(j)(2); 21 C.F.R. § 314.94; Bartlett,          (5.1).
570 U.S. at 476-77.
                                                             (Id.). The "Warnings and Precautions" subsection of the
Once the FDA approves a drug, whether brand-name or          Highlights section provided, inter alia: "Clinical
generic, the manufacturer may not make "any major            Worsening/Suicide Risk: Monitor for clinical worsening,
changes to the 'qualitative or quantitative formulation of   suicidality, and unusual change in behavior, especially
the drug product, including active ingredients, or in the    during the initial few months of therapy or at times of
specifications provided in the approved application.'"       dose changes (5.1)." (Id. at 8).
Bartlett, 570 U.S. at 477 (quoting 21 C.F.R. §
                                                             The Full Prescribing Information section also contained
314.70(b)(2)(i)). "Generic manufacturers are also
                                                             the following, lengthier boxed warning:
prohibited from making any unilateral changes to a
drug's label." Id. (citing 21 C.F.R. §§ 314.94(a)(8)(iii),   WARNINGS: SUICIDALITY AND ANTIDEPRESSANT
314.150(b)(10)). "[T]he warning labels of a brand-name       DRUGS
drug and its generic copy must always be the same -
thus, generic drug manufacturers have an ongoing             Antidepressants increased the risk compared to
federal duty of 'sameness.'" PLIVA, Inc. v. Mensing, 564     placebo of suicidal thinking and behavior
U.S. 604, 613, 131 S. Ct. 2567, 180 L. Ed. 2d 580            (suicidality) in children, adolescents, and young
(2011).                                                      adults in short term studies of major depressive
                                                             disorder (MDD) and other psychiatric disorders.
                                                             Anyone considering the use of Lexapro or any other
C. Lexapro and its Generic Counterparts                      antidepressant in a child, adolescent, or young
                                                             adult must balance this risk with the clinical need.
Escitalopram oxalate is described [*10] as a selective
                                                             Short-term studies did not show an increase in the
serotonin reuptake inhibitor indicated for acute and
                                                             risk of suicidality with antidepressants compared to
maintenance treatment of major depressive disorder in
                                                             placebo in adults beyond age 24; there was a
adults and adolescents aged 12-17 and acute treatment
                                                             reduction in risk with antidepressants compared to
of generalized anxiety disorder in adults. (SAC ¶ 14). In
                                                             placebo     in    adults    aged   65    and   older.
August 2002, the FDA approved Forest's (which has
                                                             Depression [*12] and certain other psychiatric
merged into Allergan) NDA to market escitalopram
                                                             disorders are themselves associated with increases
under the brand name Lexapro. (Id. ¶ 18). In March
                                                             in the risk of suicide. Patients of all ages who are
2009, the FDA approved Lexapro for the treatment of
                                                             started on antidepressant therapy should be
depression in adolescents as young as 12. (Id. ¶ 24).
                                                             monitored appropriately and observed closely for
Subsequently, the FDA approved the ANDAs of                  clinical worsening, suicidality, or unusual changes
numerous other pharmaceutical companies to                   in behavior. Families and caregivers should be
manufacture and market generic escitalopram, including       advised of the need for close observation and
those of Teva and Lupin. (See id. ¶ 30).                     communication with the prescriber. Lexapro is not
                                                             approved for use in pediatric patients less than 12
Between October 2014 and January 2017 (i.e., the time        years of age. [See Warnings and Precautions:
period relevant to this action), Lexapro's (and hence its    Clinical Worsening and Suicide Risk (5.1), Patient
generic counterparts') labeling contained suicide-related    Counseling Information: Information for Patients
warnings. (Mot. at 7). The Highlights section of the         (17.1), and Use in Specific Populations: Pediatric
Lexapro package insert contained the following "boxed        Use (8.4)].
warning":
                                                             (Id.).
    WARNING: Suicidality and Antidepressant
    Drugs See full prescribing information for
                                                                                                  Page 138 of 246
          PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 83 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 141 of 248 PageID: 150
                                                                                                               Page 5 of 11
                                           2018 U.S. Dist. LEXIS 160368, *12

D. Plaintiffs' Second Amended Complaint                         escitalopram. For example, among                many    other
                                                                allegations of this type, Plaintiffs allege:
As it must, the Court assumes the truth of all facts
alleged by Plaintiffs. The Court's Order on May 10,                 • "The Forest Defendants ... spent hundreds of
2018, granting Defendants' Motion to Dismiss First                  millions of dollars running a successful scheme to
Amended Complaint contained a detailed explanation of               deceive the medical profession and the general
the relevant facts. The following section is substantially          public about Lexapro... They presented Lexapro as
similar but has been updated to reflect relevant                    the go-to drug for children, adolescents and adults
additional allegations and citations to the SAC as the              suffering from nearly any type of depression without
operative complaint.                                                establishing the severity of the risks [*15] of
                                                                    suicide among those children ..." (Id. ¶ 32).
Plaintiffs are the parents of Kennadi K., who committed
suicide in May 2016 at the [*13] age of 15. (SAC ¶¶ 1-              • "While carefully navigating their way through the
2). Kennadi, who "had a history of depression," received            FDA regulations for NDAs, the Defendants had,
a single dose of Lexapro for the first time on March 22,            maintained and concealed this information
2016 from a physician at the Riverside County Regional              [regarding suicide risk] while defrauding the FDA,
Medical Center ("RCRMC"). (Id. ¶¶ 3, 48). Prior to that,            physicians and the general public. The Defendants
she "had been treated with medications which did not                never informed the FDA, physicians or the general
include Lexapro or Escitalopram." (Id.). Plaintiffs and             public of these serious, known risks and continue to
Kennadi did not receive "any of the labeling or other               falsely represent (to this day) that Lexapro is safe
information required by the FDA" from any RCRMC staff               for use by children and adolescents." (Id. ¶ 31).
with this initial single dose. (Id. ¶ 51).
                                                                    • "[T]he Defendants ... intentionally misrepresented
Kennadi received two additional prescriptions for                   that Lexapro did not have the harmful side effects
Lexapro. On March 23, 2016, the same RCRMC doctor                   referenced     hereinabove;     including,    without
issued Kennadi a prescription for Lexapro, which she                limitation, the likelihood of causing teenagers to
began taking at home. (Id.). On April 24, 2016, a                   make serious attempts at committing suicide." (Id. ¶
"second     physician"      issued      Kennadi      "another       36).
prescription." (Id. ¶ 52). Plaintiffs do not allege that they
did not receive FDA-mandated labeling with either                   • "[T]he Defendants knew that Lexapro and
prescription.                                                       Escitalopram were not very effective in treating
                                                                    teenagers (and younger patients) for the purposes
On May 22, 2016, Kennadi committed suicide. (Id. ¶ 53).             of reducing depression." (Id. ¶ 37).
Plaintiffs allege that "harmful chemicals and/or
compounds which the Defendants utilized in their effort             • "[T]he Defendants concealed and misrepresented
to distinguish Lexapro and Escitalopram from other anti-            ... the harmful risks and side effects (including their
depressants ... altered Kennadi's emotional state,                  knowledge that use of the drugs would cause
awareness, mental faculties and ability to reason,                  teenagers to make serious attempts at committing
differentiate [*14] and evaluate circumstances to the               suicide) because they knew that dissemination and
point where an overwhelming desire to commit suicide                distribution of any negative [*16]            publicity,
came over Kennadi to the extent that she was unable to              warnings and/or other information would materially
control." (Id. ¶ 54). "Prior to taking Lexapro and/or               reduce their earnings." (Id. ¶ 40).
Escitalopram, Kennadi was taking a competing anti-
                                                                    • "The Defendants have never fully and/or properly
depressant which did not have the effect of causing her
                                                                    informed doctors, pharmacists or other health care
to attempt at suicide." (Id.). "Had Kennadi not taken the
                                                                    providers of these serious risks, even though third-
Lexapro and/or Escitalopram; this sequence of events
                                                                    party research shows the association between
leading to her death would not have occurred and
                                                                    Lexapro/Escitalopram and the likelihood of
Kennadi would not have committed suicide." (Id.).
                                                                    increased teenage suicide. Defendants continued
Plaintiffs allege that Defendants (including Forest, which          to represent that Lexapro was safe for teenagers
has merged into Allergan) misled the FDA, doctors,                  and continued to mislead both consumers and
pharmacists, and the public - through what Plaintiffs call          physicians by failing to include a proper warning(s)
the Lexapro Marketing Scheme - about the suicide-                   on the Lexapro/Escitalopram label and/or inserts or
related risks associated with Lexapro and/or                        in the materials distributed by them to physicians

                                                                                                         Page 139 of 246
           PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 84 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 142 of 248 PageID: 151
                                                                                                             Page 6 of 11
                                            2018 U.S. Dist. LEXIS 160368, *16

    and pharmacists..." (Id. ¶ 43).                              allegations, rather than their extravagantly fanciful
                                                                 nature, that disentitles them to the presumption of
Plaintiffs allege that each of the doctors who prescribed        truth."); Eclectic Properties E., LLC v. Marcus &
Lexapro to Kennadi "had received information about               Millichap Co., 751 F.3d 990, 996 (9th Cir. 2014).
Lexapro through the Lexapro Marketing Scheme, but                "Although 'a well-pleaded complaint may proceed even
was not aware of (nor had ... been made aware by                 if it strikes a savvy judge that actual proof is improbable,'
Defendants of) the significant increases in suicidality by       plaintiffs must include sufficient 'factual enhancement' to
children and adolescents using Lexapro/Escitalopram              cross 'the line between possibility and plausibility.'"
which was well-known to, but had not been disclosed              Eclectic Properties, 751 F.3d at 995 (quoting Twombly,
by, the Defendants." (Id. ¶ 48).                                 550 U.S. at 556-57) (internal citations omitted).

Plaintiffs seemingly acknowledge the suicide warnings            The Court must then determine whether, based on the
on the Lexapro and escitalopram packaging during the             allegations that remain and all reasonable inferences
relevant period. (Id. ¶ [*17] 44). Plaintiffs' core              that may be drawn therefrom, the complaint alleges a
allegation, though, is that "prior to Kennadi's suicide, the     plausible claim for relief. See Iqbal, 556 U.S. at 679;
Defendants had the knowledge, the means and the duty             Cafasso, U.S. ex rel. v. Gen. Dynamics C4 Sys., Inc.,
to provide the medical community (including the                  637 F.3d 1047, 1054 (9th Cir. 2011). "Determining
physicians and pharmacists treating Kennadi) and the             whether a complaint states a plausible claim for relief is
consuming public (including Kennadi and [Plaintiffs])            'a context-specific task that requires the reviewing court
with a stronger warning regarding the association                to draw on its judicial experience and common sense.'"
between       Lexapro       and       Escitalopram     [and      Ebner v. Fresh, Inc., 838 F.3d 958, 963 (9th Cir. 2016)
teenage/adolescent suicide] through reasonable means,            (quoting Iqbal, 556 U.S. at 679). Where the facts as
including but not limited to labeling, continuing                pleaded in the complaint indicate that there are two
education, symposiums, posters, sales calls to doctors,          alternative explanations, only one of which would result
advertisements and promotional materials, etc." (Id.)            in liability, "plaintiffs [*19] cannot offer allegations that
(emphasis added).                                                are merely consistent with their favored explanation but
                                                                 are also consistent with the alternative explanation.
                                                                 Something more is needed, such as facts tending to
II. LEGAL STANDARDS
                                                                 exclude the possibility that the alternative explanation is
                                                                 true, in order to render plaintiffs' allegations plausible."
"Dismissal under Rule 12(b)(6) is proper when the
                                                                 Eclectic Properties, 751 F.3d at 996-97; see also
complaint either (1) lacks a cognizable legal theory or
                                                                 Somers, 729 F.3d at 960.
(2) fails to allege sufficient facts to support a cognizable
legal theory." Somers v. Apple, Inc., 729 F.3d 953, 959
(9th Cir. 2013). "Federal Rule of Civil Procedure 8(a)(2)
                                                                 III. DISCUSSION
requires only 'a short and plain statement of the claim
showing that the pleader is entitled to relief,' in order to     Defendants argue that (1) Plaintiffs' SAC does not
'give the defendant fair notice of what the . . . claim is       allege facts sufficient to state any claim for relief
and the grounds upon which it rests . . . ." Bell Atl. Corp.     plausible on its face; (2) Plaintiffs' UCL claim does not
v. Twombly, 550 U.S. 544, 555, 127 S. Ct. 1955, 167 L.           satisfy the pleading requirements of Rule 9(b); and (3)
Ed. 2d 929 (2007) (quoting Conley v. Gibson, 355 U.S.            to the extent any of Plaintiffs' claims can be interpreted
41, 47, 78 S. Ct. 99, 2 L. Ed. 2d 80 (1957)).                    as failure-to-warn claims directed at pharmaceutical
                                                                 products, they are preempted by federal law.
In ruling on the Motion under Rule 12(b)(6), the Court
follows Twombly, Ashcroft v. Iqbal, 556 U.S. 662, 129 S.
Ct. 1937, 173 L. Ed. 2d 868 (2009), and their Ninth
                                                                 A. Failure to State a Claim for Relief
Circuit progeny. "To survive a motion to dismiss, a
complaint must contain sufficient factual matter [*18] . .       Defendants first argue that Plaintiffs' allegations and
. to 'state a claim to relief that is plausible on its face.'"   four claims - two for negligence, violation of UCL, and
Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at             wrongful death - can be boiled down to an insufficiently
570). The Court must disregard allegations that are              alleged failure-to-warn claim, and regardless, Plaintiffs
legal conclusions, even when disguised as facts. See id.         fail to establish causation as to any claim. (Mot. at 11-
at 681 ("It is the conclusory nature of respondent's             13). Each of Plaintiffs' claims is insufficiently pled,

                                                                                                          Page 140 of 246
          PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 85 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 143 of 248 PageID: 152
                                                                                                       Page 7 of 11
                                         2018 U.S. Dist. LEXIS 160368, *19

independently of whether they collectively boil down to a    "change", or "correct" alleged misinformation or labeling
failure-to-warn claim, and therefore the Court addresses     related to the risk of suicides Lexapro poses to
them [*20] individually.                                     teenagers [*22] and adolescents. (See id.).

                                                             Again, the initial boxed warning at the very top of the
1. Negligence                                                Lexapro package insert reads:

Plaintiffs assert two claims for negligence, one based on        WARNING: Suicidality and Antidepressant
the "Pre-Allergan Lawsuits Conduct" and another based            Drugs See full prescribing information for
on "Post[-]Allergan Lawsuits Conduct and the CIA".               complete boxed warning. Increased risk of
(SAC ¶¶ 55-99). Plaintiffs, however, neither define "Pre-        suicidal thinking and behavior in children,
Allergan Lawsuits Conduct" nor "Post[-]Allergan                  adolescents     and    young     adults  taking
Lawsuits Conduct".                                               antidepressants for major depressive disorder
                                                                 (MDD) and other psychiatric disorders. Lexapro
As far as the Court can tell, Plaintiffs' first negligence       is not approved for use in pediatric patients
claim based on "Pre-Allergan Lawsuits Conduct"                   less than 12 years of age (5.1).
appears to be premised upon Defendants engaging in
the Lexapro Marketing Scheme and involvement in              This warning, standing on its own (i.e., without
various lawsuits and investigations occurring in the late    accounting for the other suicide warnings elsewhere on
1990s and early 2000s, nearly twenty years before            the Lexapro package insert), "directly warns in plain and
Kennadi was prescribed or took the first dose of             explicit terms of the specific risk that caused injury" to
Lexapro on March 22, 2016. (See, e.g., id. ¶¶ 60 ("Prior     Kennadi and Plaintiffs, and is thus adequate. See Utts v.
to the Lexapro Lawsuits ... [Allergan] violated applicable   Bristol-Myers Squibb Co., 251 F. Supp. 3d 644, 673-74
law and ... [engaged in] illegal conduct (as was             (S.D.N.Y. 2017) (citing Kearl v. Lederle Labs., 172 Cal.
determined by the results and judgment in the Lexapro        App. 3d 812, 834-35, 218 Cal. Rptr. 453 (1985)); see
Lawsuits and which is referenced herein as the 'Illegal      also Shah v. Forest Laboratories, Inc., No. 10 C 8163,
Conduct')..."); 66 ("Despite such knowledge of the facts     2015 U.S. Dist. LEXIS 67554, 2015 WL 3396813, at *7-
and risks as alleged hereinabove, Defendants continued       8 (N.D. Ill. May 26, 2015) (package insert provided with
in their Lexapro Marketing Scheme and their Illegal          Lexapro prescriptions filled in 2008 provided adequate
Conduct up to and beyond the times in 2016 when              suicide warnings).
Kennadi was prescribed and took Lexapro.")). [*21]
"Pre-Allergan Lawsuits Conduct" is never defined and         Moreover, Plaintiffs' reliance on the CIA is misplaced, as
"Illegal Conduct" is amorphously defined based on the        the CIA was an agreement between Defendants and the
results and judgment in other actions. Therefore, this       FDA that began in 2010 and expired in 2015, more than
negligence claim is insufficiently pled.                     a year before Kennadi was ever prescribed or took the
                                                             first dose of Lexapro. (Mot. at 6). Plaintiffs' second
Plaintiffs' second negligence claim based on "Post[-         negligence      claim,     premised     on    Defendants'
]Allergan Lawsuits Conduct and the CIA" appears to be        engaging [*23] in the Lexapro Marketing Scheme and
premised upon Defendants engaging in the Lexapro             failing to provide proper labeling, is also insufficiently
Marketing Scheme and failing to provide proper labeling      pled.
with their Lexapro/escitalopram. (See, e.g., id. ¶¶ 76
("[Allergan] agreed to, submitted to and established with    Accordingly, Defendants' Motion is GRANTED without
the federal government a higher standard of care             leave to amend with respect to Plaintiffs' negligence
specifically as it related to distributing accurate          claims.
information about Lexapro in relation to the risks and
dangers..."); 77 ("Similarly, [Allergan] intentionally
excluded such information from the materials which           2. UCL Claim
they continued to distribute as part of the Lexapro
                                                             California's UCL prohibits "any unlawful, unfair or
Marketing Scheme."); 78 ("[Allergan] continued to
                                                             fraudulent business act or practice and unfair,
understate and conceal such information about
                                                             deceptive, untrue, or misleading advertising." Cal. Bus.
Lexapro's impact and effects on teenagers and
                                                             & Prof. Code § 17200. "Because the statute is written in
adolescents.") (emphasis added).). Indeed, Plaintiffs
                                                             the disjunctive, it is violated where a defendant's act or
allege that Defendants failed to "remedy", "dispel",
                                                             practice violates any of the foregoing prongs." Davis v.

                                                                                                    Page 141 of 246
          PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 86 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 144 of 248 PageID: 153
                                                                                                        Page 8 of 11
                                         2018 U.S. Dist. LEXIS 160368, *23

HSBC Bank Nevada, N.A., 691 F.3d 1152, 1168 (9th                 their Illegal Conduct would not only breach the
Cir. 2012). The UCL "does not proscribe specific                 [unclarified] duties set forth hereinabove; but would
activities," but rather, "borrows violations of other laws       actually    result    in [*25]    an    unacceptable,
and treats them as unlawful practices that the [UCL]             unreasonable and continuously-increasing risk of
makes independently actionable." Puentes v. Wells                teenagers and adolescents taking Lexapro and
Fargo Home Mortgage., Inc., 160 Cal. App. 4th 638,               becoming suicidal." (¶ 104).
643-44, 72 Cal. Rptr. 3d 903 (2008) (internal quotation          • "As a result of the foregoing breaches [of
marks and citations omitted).                                    unclarified duties], a steady flow of unreliable, false,
                                                                 misleading and inaccurate information was
Plaintiffs are proceeding under the "fraudulent" prong of        provided to Kennadi, Plaintiffs, Kennadi's
the UCL. See SAC ¶ 101) ("Defendants directly and                healthcare providers and/or other patients by the
indirectly engaged in fraudulent activity described              Defendants as it relates to Lexapro." (¶ 110).
hereinabove in the foregoing causes of action...")
(emphasis added).                                            Among other fatal deficiencies, Plaintiffs fail to define
                                                             precisely what constitutes the "Illegal Conduct", offer no
Conduct is "fraudulent" under the UCL if the conduct is      information about which of the Defendants (Allergan
"likely to deceive." Morgan v. AT & T Wireless Servs.,       Sales, LLC; Allergan, Inc.; or Forest prior to the merger)
Inc., 177 Cal. App. 4th 1235, 1254, 99 Cal. Rptr. 3d 768     made purportedly fraudulent statements in connection
(2009). The particularity requirement of Rule 9(b)           with either the Lexapro Marketing Scheme or Illegal
applies to claims under the fraudulent prong of the UCL.     Conduct, offer no specific content of such statements,
See Kearns v. Ford Motor Co., 567 F.3d 1120, 1125            allege when or how such statements were made, allege
(9th Cir. 2009); Sosa v. Bank of New York Mellon Trust,      specifically who heard or saw the statements, or offer an
No. 12-cv-144-LB, 2012 U.S. Dist. LEXIS 92291, 2012          acceptable reason why the statements were fraudulent.
WL 2568188, at *4 (N.D. Cal. July 2, 2012) [*24] ;           Indeed, Plaintiffs appear to believe that their UCL claim
Briosos v. Wells Fargo Bank, 737 F. Supp. 2d 1018,           is sufficiently alleged because "the allegations in the
1033 (N.D. Cal. 2010). Rule 9(b) requires the plaintiff to   SAC are very similar[] ... to the ongoing rendition of
allege "the who, what, when, where, and how" of the          conduct which subjected [Defendants] to criminal
alleged fraudulent conduct, Vess v. Ciba-Geigy Corp.         charges" [*26] in the late 1990s and early 2000s. (Opp.
USA, 317 F.3d 1097, 1106 (9th Cir. 2003), and "set forth     at 8). This belief and the allegations contained in the
an explanation as to why [a] statement or omission           SAC, however, fall far short of what is required to state
complained of was false and misleading," In re GlenFed,      a viable UCL claim.
Inc. Sec. Litig., 42 F.3d 1541, 1548 (9th Cir. 1994) (en
banc) (superseded by statute on other grounds).              Because Plaintiffs have failed to plead Defendants'
                                                             alleged fraudulent conduct with sufficient particularity,
Here, Plaintiffs' UCL claim is either based on (1)           their attempt to plead a UCL claim under the fraudulent
allegations of a lack of proper labeling, and are thus       prong also fails. See Chase v. Hobby Lobby Stores,
preempted or undermined by Lexapro labeling, see             Inc., No. 17-cv-881-GPC (BLMx), 2017 U.S. Dist. LEXIS
infra; or (2) empty assertions of "fraudulent"               162909, 2017 WL 4358146, at *8 (S.D. Cal. Oct. 2,
representations made by Defendants to unspecified            2017) (dismissing UCL claim under the fraudulent prong
audiences at unspecified times.                              even when the "complaint provides sufficient detail as to
                                                             the 'who, what, when and where' of the alleged
For example, in connection with their UCL claim,
                                                             misconduct ... [but] has not adequately alleged the
Plaintiffs allege, without any factual support, the
                                                             'how').
following:
     • "[Defendants] disseminat[ed] or caus[ed] to be        Accordingly, Defendants' Motion is GRANTED without
     disseminated before the public in this state            leave to amend with respect to Plaintiffs' UCL claim.
     [California], in newspapers and other publications,
     any advertising device, and by public outcry or
     proclamation, and in any other manner or means          3. Wrongful Death
     whatever, including over the Internet, the false
     statements." (SAC ¶ 101).                               In connection with their wrongful death claim, Plaintiffs
                                                             allege that "[t]he conduct alleged in each of the
    • "Defendants had actual, inquiry and constructive       foregoing causes of action, contributed to the death of
    knowledge that the Lexapro Marketing Scheme and
                                                                                                     Page 142 of 246
          PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 87 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 145 of 248 PageID: 154
                                                                                                        Page 9 of 11
                                          2018 U.S. Dist. LEXIS 160368, *26

Kennadi," and that "[b]ut for the conduct ..., reliable       allegations and other claims can be interpreted as
healthcare which would not have resulted in Kennadi's         failure-to-warn claim directed at pharmaceutical
death would have occurred." (SAC ¶¶ 114-115).                 products, that claim is preempted by a federal law. (Mot.
                                                              at 14-15). The Court addresses whether a failure-to-
"Under California Code of Civil Procedure section             warn claim is preempted to give Plaintiffs the benefit of
377.60(a), a wrongful death action may be pursued by a        the doubt, even though the SAC does not label any
decedent's personal representative, surviving spouse          claim as such and the Court has not determined
or [*27] children, or if there are no surviving issue, by a   whether Plaintiffs' allegations would even amount to
person entitled to inherit from decedent by intestate         such a claim. Therefore, even if Plaintiffs' allegations
succession." Harmon v. City of Fresno, No. 08-cv-1311-        amount to a failure-to-warn claim, it is preempted.
LJO (GSAx), 2008 U.S. Dist. LEXIS 88311, 2008 WL
4690897, at *14 (E.D. Cal. Oct. 21, 2008). The elements
of a wrongful death claim are "(1) a 'wrongful act or         1. Overview of Relevant Preemption Law
neglect' on the part of one or more persons that (2)
'cause[s]' (3) the 'death of [another] person.'" Id.          State law is preempted "to the extent of any conflict with
(quoting Cal. Code Civ. Proc. § 377.60) (alterations in       a federal statute," regardless of whether the conflict is
original).                                                    express or implied. Crosby v. Nat'l Foreign Trade
                                                              Council, 530 U.S. 363, 372, 120 S. Ct. 2288, 147 L. Ed.
Since the SAC fails to allege any actionable wrongdoing       2d 352 (2000). Courts must "find preemption [*29]
on the part of Defendants, supra, Plaintiffs' wrongful        where it is impossible for a private party to comply with
death claim must be dismissed. See id. (dismissing            both state and federal law ..., and where under the
wrongful death claim where complaint "alleges no              circumstances of a particular case, the challenged state
wrongdoing on the part of the ... defendants to cause         law stands as an obstacle to the accomplishment and
decedent's death ...").                                       execution of the full purposes and objectives of
                                                              Congress." Id. at 372-73 (internal quotation marks,
Accordingly, because Plaintiffs do not have leave to
                                                              citations, and alterations omitted).
amend any of their underlying claims, Defendants'
Motion is GRANTED without leave to amend with                 The leading cases on preemption in this area are Wyeth
respect to Plaintiffs' wrongful death claim.                  v. Levine, 555 U.S. 555, 129 S. Ct. 1187, 173 L. Ed. 2d
                                                              51 (2009), PLIVA, Inc. v. Mensing, 564 U.S. at 609-10,
                                                              and Bartlett, 570 U.S. at 472.
B. UCL Claim Fails to Satisfy Rule 9(b)
                                                              In Levine, the Court rejected the preemption arguments
Defendants next argue that Plaintiff's UCL claim must         of a name brand drug manufacturer (a NDA holder) and
also be independently dismissed because it does not           held that the manufacturer could have complied with
satisfy the pleading requirements of Rule 9(b). (Mot. at      both federal and state law in giving a stronger warning
13-14). As already discussed above, Plaintiffs' UCL           about the risks of gangrene associated with the name
claim based on the fraudulent prong falls far short of        brand drug, "absent clear evidence that the FDA would
Rule 9(b)'s pleading requirements, because the SAC            not have approved a change to [the drug's] label." 555
does not contain even the barest [*28] allegations of a       U.S. at 571.
misrepresentation or omission that could constitute
fraud, much less the required "who, what, when, where         In Mensing, a case in which the plaintiff challenged the
and how". See Vess, 317 F.3d at 1106.                         sufficiency of a generic drug's labeling, the Court agreed
                                                              with the generic manufacturer defendants that "changes
Accordingly, in addition to granting Defendants' Motion       unilaterally made to strengthen a generic drug's warning
for failing to state a claim for relief, Defendants' Motion   label would violate the statutes and regulations requiring
is also GRANTED without leave to amend as to                  a generic drug's label to match its brand-name
Plaintiffs' UCL claim for failing to meet Rule 9(b)'s         counterpart's." 564 U.S. at 614. "Thus, it was impossible
pleading requirements.                                        for the Manufacturers to comply with both their [*30]
                                                              state-law duty to change the label [to provide stronger
                                                              warnings] and their federal law duty to keep the label
C. Failure-to-Warn Claim Preempted by Federal Law
                                                              the same [as the brand-name label]." Id. at 618. The
Defendants correctly argue that to the extent Plaintiffs'     plaintiffs' state law tort claims against the generic

                                                                                                     Page 143 of 246
          PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 88 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 146 of 248 PageID: 155
                                                                                                      Page 10 of 11
                                          2018 U.S. Dist. LEXIS 160368, *30

manufacturers were thus preempted. Id. at 624.                Second, Defendants argue that Plaintiffs "fail[] to
                                                              identify any 'newly acquired information' that would have
In Bartlett, a case involving a design defect claim           supported a submission of a CBE to change the
against a generic drug manufacturer, the Court                Lexapro label." (Mot. at 17). Plaintiffs, in opposition,
expanded upon its holding in Mensing. The Court held          argue that Defendants were required "to take action with
that because "federal law prevents generic drug               the FDA ... and change its drug label based on safety
manufacturers from changing their labels," federal law        information that becomes available after a drug's initial
also "prohibited [the generic manufacturer defendant]         approval." (Opp. at 16-17). While it is obvious that the
from taking the remedial action required to avoid liability   FDA, in approving the relevant Lexapro initial labeling
under [state products liability] law." 570 U.S. at 486.       and not yet requiring Defendants to change their label,
Therefore, the plaintiff's state design defect claim was      disagreed with Plaintiffs, even if the FDA were wrong,
preempted. Id. at 486-87. In so holding, the Court            only the government (i.e., not Plaintiffs) may bring a
rejected the First Circuit's reasoning that the generic       lawsuit to enforce the FDCA and the FDA's regulations
manufacturer could have met its federal and state law         requiring Defendants to change their label. See 21
obligations by "choos[ing] not to make [the generic drug]     U.S.C. § 337(a) ("all such proceedings for the
at all": "Our pre-emption cases presume that an actor         enforcement, or to restrain violations, of [the FDCA]
seeking to satisfy both his federal- and state-law            shall be by and in the name of the United States");
obligations is not required to cease acting altogether in     Buckman Co. v. Plaintiffs' Legal Committee, 531 U.S.
order to avoid liability." Id. at 488.                        341, 352, 121 S. Ct. 1012, 148 L. Ed. 2d 854 (2001)
                                                              (citing 21 U.S.C. § 337(a) as "clear evidence that
                                                              Congress intended that the [Medical Device
2. Plaintiffs' Failure-to-Warn Claim Preempted                Amendment to the FDCA] be enforced exclusively by
                                                              the Federal Government").
Defendants raise two main points as to why
Plaintiffs' [*31] failure-to-warn claim is preempted by       Accordingly, to extent Plaintiffs' allegations can be
relevant federal law.                                         interpreted as failure-to-warn [*33]     claim, it is
                                                              preempted by federal law. Defendants' Motion is
First, Defendants argue that Plaintiffs ignore the fact       therefore GRANTED without leave to amend with
that Defendants "could not unilaterally or independently      respect to any failure-to-warn claim.
change the Lexapro [Highlights section] label ... [and] all
changes to that section require FDA's pre-approval."
(Mot. at 15-16) (citing 21 C.F.R. § 314.70(b)(2)(v)(C)). In   IV. CONCLUSION
opposition, Plaintiffs do not dispute Defendants'
argument and instead argue that their claims are              For the reasons set forth above, Defendants' Motion is
premised upon "voluntary, affirmative conduct of the          GRANTED without leave to amend. The action is
Defendants to undermine the warning ... and defraud           therefore DISMISSED. Judgement as to all claims and
the medical professionals who prescribe Lexapro."             Defendants shall be entered accordingly.
(Opp. at 16). Plaintiffs then proceed to conclude causes
of action for "breach of warranty, intentional fraud and      IT IS SO ORDERED.
misrepresentation ...., and conspiracy," purportedly
upon which Plaintiffs' allegations are premised, are "not
included within the preemptive reach of federal [law]."       FINAL JUDGMENT AS TO ALL CLAIMS AND
(Id.).                                                        PARTIES

Plaintiffs' response, however, is confusing as Plaintiffs     This action was timely removed to this Court on May 11,
have not alleged a claim for breach of warranty,              2017. All claims have now been resolved against all
intentional fraud and misrepresentation (not arising          parties, as follows:
under the "fraudulent" prong of the UCL), or conspiracy
                                                              Plaintiffs' original Complaint asserted claims against
in their SAC. Moreover, the Court has already
                                                              Defendants Allergan, plc; Allergan, Inc.; Forest
previously dismissed Plaintiffs' breach of warranty and
                                                              Laboratories, Inc.; Actavis, plc ("Actavis"); Lupin
fraud claims alleged in their FAC ( [*32] see Docket No.
                                                              Pharmaceuticals, Inc. ("Lupin"); Cipla Ltd. and Cipla
115 at 33-36, 39-40), and the allegations in the SAC do
                                                              USA, Inc. (collectively, the "Cipla Defendants"); Teva
not change any aspect of the Court's previous analysis.
                                                              Pharmaceuticals USA, Inc. ("Teva"); CVS Pharmacy,

                                                                                                    Page 144 of 246
          PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 89 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 147 of 248 PageID: 156
                                                                                                  Page 11 of 11
                                         2018 U.S. Dist. LEXIS 160368, *33

Inc.; Target Corporation ("Target"); and the Riverside           Second Amended Complaint.
County Regional Medical Center ("RCRMC").                        2. Defendants are awarded their costs as provided
                                                                 by law.
On July 6, 2017, Defendants Actavis and Allergan, plc,
and all claims against them, were dismissed pursuant to      Dated: September 19, 2018
the parties' Stipulation of Voluntary Dismissal of Foreign
Corporate Defendants. (Docket No. 18).                       /s/ Michael W. Fitzgerald

On January 29, 2018, Plaintiffs filed their [*34] First      MICHAEL W. FITZGERALD
Amended Complaint, asserting claims against
                                                             United States District Judge
Defendants Forest Laboratories, Inc. and Forest
Pharmaceuticals, Inc. (together "Forest"); Allergan, Inc.;
Lupin; the Cipla Defendants; Teva; CVS Health
                                                               End of Document
Corporation and CVS Pharmacy, Inc. (together "CVS");
Target; the County of Riverside (the "County"); and
RCRMC. (Docket No. 85).

On February 2, 2018, the Cipla Defendants, and all
claims against them, were dismissed by the Court's
Order re Stipulation of Dismissal with Prejudice of
Defendants Cipla Ltd. and Cipla USA, Inc. (Docket Nos.
86-87). On May 10, 2018, Defendants Lupin, Teva, the
County, RCRMC, CVS, and Target, and all claims
against them, were dismissed as follows:
     • Lupin, Teva, the County, and RCRMC by the
     Court's Order re Joint Motion of Defendants Lupin
     Pharmaceuticals, Inc. and Teva Pharmaceuticals
     USA, Inc. to Strike and Dismiss Plaintiffs' Amended
     Complaint; and
     • CVS and Target by the Court's Order re CVS
     Pharmacy, Inc. and Target Corporation's Motion to
     Dismiss All Claims Against CVS Pharmacy, Inc.
     and Target Corporation.
(Docket No. 115).

On July 9, 2018, Plaintiffs filed their Second Amended
Complaint, asserting claims against only Defendants
Forest; Allergan, Inc.; and [*35] Allergan Sales, LLC
(collectively, the "Allergan Defendants"). (Docket No.
124). Defendant Forest merged into Allergan Sales,
LLC, which took over the defense of Forest.

On September 19, 2018, the Allergan Defendants, and
all claims against them, were dismissed by the Court's
Order re Allergan Sales, LLC, and Allergan, Inc.'s
Motion to Dismiss Plaintiffs' Second Amended
Complaint for Damages. (Docket No. 136).

Now, therefore, pursuant to Rules 54 and 58 of the
Federal Rules of Civil Procedure, IT IS HEREBY
ORDERED, ADJUDGED AND DECREED that
judgment be entered as follows:
    1. Judgment on all claims is entered in favor of all
    Defendants and Plaintiffs shall take nothing by their

                                                                                                Page 145 of 246
     PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 90 of 114 Trans ID: LCV20201846220
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 148 of 248 PageID: 157




                              Exhibit J




                                                                          Page 146 of 246
            PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 91 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 149 of 248 PageID: 158
Maze v. Bayer Healthcare Pharmaceuticals Inc., Slip Copy (2019)
2019 WL 1062387

                                                                            Yaz is a birth-control pill produced, marketed, and sold by
                                                                            defendant Bayer [Doc. 19, at ¶ 15]. It is a combination
     KeyCite Yellow Flag - Negative Treatment                               oral contraceptive (COC), the use of which, in addition
Disagreed With by Holley v. Gilead Sciences, Inc., N.D.Cal., May 10, 2019
                                                                            to preventing pregnancy, treats acne and the symptoms of
                  2019 WL 1062387
                                                                            premenstrual dysphoric disorder [Doc. 19-1, at 3]. The Food
    Only the Westlaw citation is currently available.
                                                                            and Drug Administration first approved Yaz for marketing
     United States District Court, E.D. Tennessee.
                                                                            and sales in 2006 [Doc. 19, at ¶ 19].

         Reagan MAZE, Plaintiff,                                            On July 1, 2015, Maze, who was then a sixteen-year-old
                  v.                                                        girl, suffered a massive ischemic stroke after taking Yaz as
         BAYER HEALTHCARE                                                   prescribed [Doc. 19, at ¶¶ 9–10, 41–42]. The effects were
                                                                            debilitating [Doc. 19, at ¶¶ 43–51]. In her complaint Maze
    PHARMACEUTICALS INC., Defendant.                                        alleges that her stroke was caused when, “[a]s a direct and
                                                                            proximate result of ingesting Yaz ... a thrombus came to block
                    No.:4:18-CV-21-TAV-CHS
                                                                            the middle cerebral artery of [her] brain” [Doc. 19, at ¶¶ 41–
                                |
                                                                            42].
                        Filed 03/06/2019

Attorneys and Law Firms                                                     At the time of Maze's stroke, the warning label and
                                                                            prescribing information for Yaz (exhibit 1 to the amended
Buddy D. Perry, Pro Hac Vice, Buddy D. Perry Law Office,                    complaint),1 which as of that time had not been updated since
Winchester, TN, Thomas D. Graham, Pro Hac Vice, Thomas                      2012, provided the following warnings of stroke:
B. Scolaro, Pro Hac Vice, Leesfield Scolaro, P.A., Miami, FL,
for Plaintiff.                                                                (1) “Use of COCs also increases the risk of arterial
                                                                                 thromboses such as strokes” [Doc. 19-1, at 8];
Kaspar J. Stoffelmayr, Pro Hac Vice, Katharine A. Roin, Pro
Hac Vice, Katherine M. Swift, Pro Hac Vice, Bartlit Beck                      (2) “COCs have been shown to increase both the
LLP, Chicago, IL, Lindsey M. Collins, Matthew J. Evans,                          relative and attributable risks of cerebrovascular events
Paine Bickers LLP, Knoxville, TN, for Defendant.                                 (thrombotic and hemorrhagic strokes)” [Doc. 19-1, at 8];

                                                                              (3) “COCs also increase the risk for stroke in women with
                                                                                 other underlying risk factors” [Doc. 19-1, at 8];
MEMORANDUM OPINION
                                                                              (4) Lists “Serious cardiovascular events and stroke” as
Thomas A. Varlan, CHIEF UNITED STATES DISTRICT
                                                                                 one of three “serious adverse reactions” from the use of
JUDGE
                                                                                 COCs [Doc. 19-1, at 10];
 *1 Plaintiff Reagan Maze claims that the name-brand
                                                                              (5) Places vascular disorders, including “stroke,” at the
birth-control pill Yaz, manufactured by defendant Bayer
                                                                                 top of a list of adverse reactions that are “ordered by
Healthcare Pharmaceuticals, Inc., caused her stroke and failed
                                                                                 frequency” [Doc. 19-1, at 12];
to adequately warn her of that potential outcome on its label.
But because the FDA-approved Yaz warning label contained                      (6) Includes the risk of stroke in a prominent boxed warning
several warnings about the risk of a stroke, and because Maze                    for women who smoke and also use oral contraceptives
has pointed to no new information—or a new interpretation                        [Doc. 19-1, at 22];
of old information—suggesting that the included warning
was inadequate, Maze's failure-to-warn claims are preempted                   (7) Warns that women who have ever had a stroke “should
by federal law. In the absence of any non-preempted claim,                       not take Yaz” [Doc. 19-1, at 28];
Bayer's motion to dismiss the complaint must be granted.
                                                                              (8) States that it “is possible to die or be permanently
                                                                                 disabled from a problem caused by a blood clot, such as
I. Background                                                                    a heart attack or a stroke” [Doc. 19-1, at 30].




                  © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                 Page 147 of 246   1
           PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 92 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 150 of 248 PageID: 159
Maze v. Bayer Healthcare Pharmaceuticals Inc., Slip Copy (2019)
2019 WL 1062387

In her complaint Maze admits that “Bayer devoted
substantial ... space in its Yaz prescribing information ... to       III. Analysis
warning of the risk of venous thromboembolism associated              Maze's two Tennessee state-law tort claims, one based on
with the medication,” but maintains that those warnings were          negligence and one based on strict liability, are preempted
“still inadequate” [Doc. 19, at ¶ 21].                                because they conflict with federal law. Conflict preemption
                                                                      is based on the Supremacy Clause, which states that federal
 *2 Bayer has moved to dismiss Maze's claims, arguing that            law “shall be the supreme Law of the Land; ... any Thing
she has asserted no claim that is not preempted by federal            in the Constitution or Laws of any state to the Contrary
law [Docs. 21, 22]. Maze responded [Doc. 24], and Bayer               notwithstanding.” U.S. Const., art. VI, cl. 2. It exists where
replied [Doc. 25]. For the reasons that follow, the motion will       (1) “it is impossible for a private party to comply with both
be granted and Maze's complaint will be dismissed.                    state and federal law,” and (2) the state law is “an obstacle
                                                                      to the accomplishment and execution of the full purposes
                                                                      and objectives of Congress.” Crosby v. Nat'l Foreign Trade
II. Legal Standard                                                    Council, 530 U.S. 363, 372–73 (2000). Here, Maze's tort
Rule 8(a)(2) of the Federal Rules of Civil Procedure requires         claims seek to hold Bayer liable because the FDA-approved
merely “a short and plain statement of the claim showing that         label for Yaz failed to warn strongly enough about the risk of
the pleader is entitled to relief, in order to give the [opposing     stroke. To avoid the state-law liability that Maze's complaint
party] fair notice of what the ... claim is and the grounds upon      seeks to impose, then, Bayer would need to change Yaz's
which it rests.” Bell Atl. Corp. v. Twombly, 550 U.S. 544,            label. Unsurprisingly, federal law has something to say about
555 (2007) (internal quotation marks and citation omitted).           that.
In ruling on a Rule 12(b)(6) motion to dismiss, a court must
construe the complaint in the light most favorable to the             Wyeth v. Levine, 555 U.S. 555 (2009), is the leading Supreme
plaintiff, accept all factual allegations as true, and draw all       Court case addressing the intersection between federal name-
reasonable inferences in favor of the plaintiff. Id. at 555, 570.     brand labelling requirements and state products-liability
Detailed factual allegations are not required, but a party's          lawsuits. The holding of Wyeth was that the plaintiff's state-
“obligation to provide the ‘grounds’ of his ‘entitle[ment] to         law failure-to-warn claim, which was based on an inadequate
relief’ requires more than labels and conclusions.” Id.               brand-name drug label, was not preempted merely because
                                                                      the FDA had approved that label. See id. at 569–72. Rather,
In short, the Court's task is to determine whether the amended        so the Court held, state law can still hold a manufacturer
complaint here contains “enough facts to state a claim to             liable for failing to update the drug's label based on “newly
relief that is plausible on its face.” Id. at 570; Directv, Inc. v.   acquired information” or even a “new analyses of previously
Treesh, 487 F.3d 471, 476 (6th Cir. 2007) (citation omitted).         submitted data.” Id. at 571. Such updates are authorized by
A complaint must contain enough factual allegations to state a        the so-called Changes Being Effected regulation (CBE), 21
plausible claim, or else it cannot survive a motion to dismiss.       C.F.R. § 314.70(c)(6)(iii), which allows brand-name drug
Ashcroft v. Iqbal, 556 U.S. 663, 678 (2009).                          manufacturers to make changes without prior FDA approval
                                                                      if those changes “reflect newly acquired information,” id.; see
As one district court explained, “It is well-established that         also id. § 314.3(b) (defining “newly acquired information”),
preemption may be analyzed and decided at the motion to               and, as relevant here, “add or strengthen a contraindication,
dismiss stage.” Utts v. Bristol-Myers Squibb Co., 251 F. Supp.        warning, precaution, or adverse reaction for which the
3d 644, 672 (S.D.N.Y. 2017) (citations omitted). Thus, when           evidence of a causal association satisfies the standard
a complaint does not plausibly allege any non-preempted               for inclusion in the labeling,” id. Changes not based on
claim, it must be dismissed under Rule 12(b)(6). See, e.g.,           new information—and thus necessarily based on the same
Mitchell v. Boehringer Ingelheim Pharms., Inc., 2017 WL               information already considered by the FDA—require prior
5617473, at *1 (W.D. Tenn. Nov. 21, 2017) (granting in                FDA approval. 21 C.F.R. § 314.70(b)(2)(v)(A).
part defendants' motion to dismiss Tennessee product liability
claims on preemption grounds); In re Celexa & Lexapro Mktg.            *3 Wyeth thus draws a line that balances the regulatory
& Sales Practices Litig., 779 F.3d 34, 42-43 (1st Cir. 2015)          expertise of the FDA with a state's general police power.
(affirming dismissal for failure to state a claim on preemption       As the First Circuit explained, “the line so drawn lets the
grounds).                                                             FDA be the exclusive judge of safety and efficacy based on
                                                                      information available at the commencement of marketing,


                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                              Page 148 of 246   2
          PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 93 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 151 of 248 PageID: 160
Maze v. Bayer Healthcare Pharmaceuticals Inc., Slip Copy (2019)
2019 WL 1062387

                                                                   Finally, and what seals the deal here, is that the label in effect
while allowing the states to reach contrary conclusions when
                                                                   during the entire relevant time repeatedly warned about the
new information not considered by the FDA develops.” In re
                                                                   risk of stroke. Supra at 2–3. Thus, even assuming the science
Celexa & Lexapro Mktg. & Sales Practices Litig., 779 F.3d
                                                                   marshaled by Maze is newly acquired and says anything at
34, 41 (1st Cir. 2015). Similarly, the Sixth Circuit has framed
                                                                   all about the risk of stroke (as stated above, it is not and does
the Wyeth rule in this way: “As a general matter, plaintiffs
                                                                   not), nothing indicates that the risk is any higher than what
injured by brand-name prescription drugs retain state-law tort
                                                                   is reflected in the Yaz label that the FDA approved in 2012.
remedies against the manufacturer of those drugs, provided it
                                                                   This crucial point distinguishes the facts here from those in
is not impossible for the drug manufacturer to comply with
                                                                   Wyeth, where the plaintiff argued that a drug's warning label
both state and federal law.” Yates v. Ortho-McNeil-Janssen
                                                                   was inadequate for not telling healthcare providers to use a
Pharm., Inc., 808 F.3d 281, 294 (6th Cir. 2015) (citing Wyeth,
                                                                   low-risk method of administering the drug, rather than the
555 U.S. 555).
                                                                   high-risk method that injured the plaintiff.3 See 555 U.S. at
It follows from the above that any claim asserted by               559–60. That “warning” was necessarily inadequate, because
Maze and based on information known to the FDA as of               it did not exist. Thus, the main question from Wyeth—whether
April 2012—when the label at issue here was approved               a nonexistent warning should be included on a label at all
—is plainly preempted by federal law. Maze's complaint             —is different from the one presented here: the adequacy
states, “In 2012 ... pharmaceutical research indicated the         of the FDA-approved, repeated stroke warning that the Yaz
risk of stroke in individuals taking Yaz was 500% greater          label has included all along. The former is heads-or-tails, the
than the risk of stroke in individuals not taking birth control    latter involves matter-of-degree questioning with respect to
medication” [Doc. 19, at ¶ 31]. Assuming this is true, which       something that was clearly known and considered by the FDA
is disputed by Bayer and unclear on the record, to impose          in 2012. Without some indication that the science available
state-law tort liability based on information known to the         now is somehow different, the Court will not second guess
FDA at the time of approval is strictly prohibited under the       the adequacy of Yaz's warning label with state tort law.
Supremacy Clause and Wyeth.
                                                                    *4 Based on the allegations in Maze's complaint, federal
What is more, Maze's complaint cannot plausibly be read to         law (specifically the CBE procedure) would not have allowed
contain any “newly acquired information,” or even a “new           Bayer to modify the Yaz label, which had already been
analyses of previously submitted data,” on the basis of which      approved by the FDA, in the way that plaintiffs suggest is
Bayer could have changed the Yaz label using the CBE               necessary to make its stroke warning adequate. And because
process, at sometime between 2012 and Maze's stroke in             Bayer could not unilaterally change the label, it could not have
2015. Maze submits that “in the years following the April          complied with that construction of Tennessee law without
2012 Yaz label change there emerged more medical evidence          violating federal law in the form of the FDA regulations
in support of the contention that birth control pills containing   cited above. Thus, even if plaintiffs have any claim under
drospirenone (DRSP) are associated with higher rates of side       Tennessee law—a matter the Court does not reach—it is
effects caused by blood clots” [Doc. 24, at 5]. No such            preempted. Maze's complaint therefore must be dismissed.
evidence is included in the complaint, and no further detail
is provided about this asserted new medical consensus. Maze
                                                                   IV. Conclusion
also states, “A search of the FDA Adverse Event Reporting
                                                                   For the reasons explained above, Bayer's motion to dismiss
System indicates numerous adverse incidents suffered by
                                                                   will be GRANTED, and the complaint will be dismissed. A
Yaz users that postdate the FDA approval of the 2012 label
                                                                   separate order will be entered as a judgment.
change.” This reference is once again neither cited nor
explained. These blanket statements are merely conclusory
allegations and do not count as a sufficient “showing” that the    All Citations
plaintiff is entitled to relief.2 See McElroy v. Amylin Pharms.,
Inc., 2013 WL 12099073, at *4 (E.D. Tenn. Aug. 5, 2013).           Slip Copy, 2019 WL 1062387




Footnotes



                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                             Page 149 of 246   3
        PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 94 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 152 of 248 PageID: 161
Maze v. Bayer Healthcare Pharmaceuticals Inc., Slip Copy (2019)
2019 WL 1062387

1     Although at the motion-to-dismiss stage “review is typically limited to the complaint's allegations,” the Court “may look
      outside the four corners of the complaint and consider materials attached to a motion to dismiss if they are referred to in
      the complaint and central to the claim.” Berry v. United States Dep't of Labor, 832 F.3d 627, 637 (6th Cir. 2016). Because
      the Yaz warning label was attached as an exhibit to both the complaint and Bayer's motion to dismiss [Docs. 19-1, 22-1],
      and because it is essential to Maze's claims, considering it is proper.
2     Maze points to another study, conducted in 2015 by Yana Vinogradova. But not only does this study address venous
      thromboembolism (a different vascular condition) rather than stroke, the study is not included or referred to in her amended
      complaint or any attached exhibit. Considering materials beyond the complaint is sometimes permissible, but only “so
      long as they are referred to in the complaint.” Rondigo, L.L.C. v. Twp. of Richmond, 641 F.3d 673, 681 (6th Cir. 2011).
      Because this study was not, whatever it might say about strokes does not apply here.
3     Wyeth is further distinguishable by its procedural posture, as defendant rightly points out. That case was an appeal after
      a jury verdict. 555 U.S. at 558. The Court thus did not confront or even mention the question presented here: whether the
      plaintiff's pleadings were adequate to state a non-preempted claim. Moreover, the Court noted that “[t]he record is limited
      concerning what newly acquired information Wyeth had or should have had about the risks of IV-push administration
      of Phenergan because Wyeth did not argue before the trial court that such information was required for a CBE labeling
      change.” Id. at 569. From that statement it appears that Wyeth forfeited the very defense raised by Bayer here: that newly
      acquired information about the risk of stroke is required to avoid preemption and lacking from the amended complaint.


End of Document                                                      © 2020 Thomson Reuters. No claim to original U.S.
                                                                                                 Government Works.




              © 2020 Thomson Reuters. No claim to original U.S. Government Works.                            Page 150 of 246   4
     PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 95 of 114 Trans ID: LCV20201846220
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 153 of 248 PageID: 162




                             Exhibit K




                                                                          Page 151 of 246
          PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 96 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 154 of 248 PageID: 163
Rossitto v. Hoffman-La Roche Inc., Not Reported in A.3d (2016)
2016 WL 3943335

                                                                the Florida bar, admitted pro hac vice, and Mr. Buchanan, on
                                                                the brief).
                  2016 WL 3943335
    Only the Westlaw citation is currently available.           Before Judges SABATINO, ACCURSO and SUTER.
          UNPUBLISHED OPINION. CHECK                            Opinion
          COURT RULES BEFORE CITING.
                                                                PER CURIAM.
             Superior Court of New Jersey,
                  Appellate Division.                            *1 This is another appeal involving the prescription
                                                                acne drug Accutane, the brand name for isotretinoin.
            Kathleen ROSSITTO,                                  Plaintiffs Kathleen Rossitto, Riley Dean Wilkinson, Rebecca
           Plaintiff–Respondent,                                Ree Wilkins Reynolds, and Jason Young brought product
                                                                liability actions against defendants, Hoffman–La Roche Inc.
                      v.                                        and Roche Laboratories Inc. (collectively “Roche”), the
   HOFFMAN–LA ROCHE INC. and Roche                              manufacturers of Accutane.
  Laboratories Inc., Defendants–Appellants.
                                                                Plaintiffs alleged that the drug caused them to sustain
           Riley Dean Wilkinson,
                                                                ulcerative colitis, an inflammatory bowel disease (“IBD”).
           Plaintiff–Respondent,                                They claimed that the labeling of Accutane that existed at
                      v.                                        the time failed to sufficiently warn them and their prescribing
                                                                physicians of the risk of IBD from using the drug. The
     Hoffman–La Roche Inc. and Roche
                                                                four cases, which were part of the Accutane multicounty
  Laboratories Inc., Defendants–Appellants.
                                                                litigation1, were tried together in 2012.

                 A-1237-13T1, A-1236-13T1
                                                                The jury returned a verdict awarding $9 million each
                            |
                                                                in compensatory damages to Rossitto and Wilkinson, but
                   Argued Feb. 8, 2016.
                                                                returned a verdict in Roche's favor as to Reynolds and
                            |
                  Decided July 22, 2016.                        Young.2 Roche moved for judgment notwithstanding the
                                                                verdict and a new trial as to the Rossitto and Wilkinson
On appeal from the Superior Court of New Jersey, Law            verdicts, which the court denied.
Division, Atlantic County, Docket Nos. L–7481–10 and L–
1311–08.                                                        Roche now appeals, arguing that (1) the court made several
                                                                prejudicial evidentiary rulings, including the admission of
Attorneys and Law Firms                                         a revision to the Accutane label in 2000 constituting a
                                                                subsequent remedial measure inadmissible under N.J.R.E.
Paul W. Schmidt (Covington & Burling, LLP) of the
                                                                407 and arbitrarily restricting the number of testifying experts
Washington, D.C. bar, admitted pro hac vice, argued the cause
                                                                on critical subjects; (2) the Accutane product warnings in use
for appellants in A–1236–13 and A–1237–13 (Gibbons P.C.
                                                                when Rossitto and Wilkinson were prescribed the drug were
and Mr. Schmidt, attorneys; Michelle M. Bufano, on the
                                                                adequate as a matter of New Jersey law; (3) plaintiffs failed to
briefs; Michael X. Imbroscio (Covington & Burling, LLP)
                                                                establish proximate cause; and (4) plaintiffs' claims are time-
of the Washington, D.C. bar, admitted pro hac vice, and Mr.
                                                                barred under New Jersey law. Rossitto and Wilkinson have
Schmidt, of counsel and on the briefs.).
                                                                not cross-appealed any of the trial court's determinations.
David R. Buchanan argued the cause for respondents in
A–1236–13 and A–1237–13 (Seeger Weiss, LLP, attorneys;          For the reasons that follow, we vacate the final judgment and
Mary Jane Bass (Beggs & Lane) of the Florida bar, admitted      remand for a new trial.
pro hac vice, Peter Samberg (Weitz & Luxenberg, P.C.) of the
New York bar, admitted pro hac vice, Troy Rafferty (Levin
Papantonio, Thomas, Mitchell, Rafferty & Proctor, P.A.) of      I.



               © 2020 Thomson Reuters. No claim to original U.S. Government Works.                          Page 152 of 246   1
          PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 97 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 155 of 248 PageID: 164
Rossitto v. Hoffman-La Roche Inc., Not Reported in A.3d (2016)
2016 WL 3943335

The basic circumstances involving the characteristics and          IBD, were also reported in 34% of the clinical trial patients
labeling of Accutane, as well as the reported instances of IBD     taking a chemically similar drug (Vesanoid, the brand name
in patients who used the drug, have already been canvassed at      for tretinoin), manufactured by Roche to treat leukemia.
length in the Supreme Court's opinion in Kendall v. Hoffman–
La Roche, Inc., 209 N.J. 173, 180–83 (2012),3 and several
                                                                   Inflammatory Bowel Disease
unpublished opinions of this court. We will not repeat that
                                                                   As in Kendall and several other Accutane appeals we have
entire background except to amplify certain matters that are
                                                                   considered, this case concerns “the effect of Accutane on
particularly germane to the present appeal, such as Roche's
                                                                   the digestive tract and, in particular, the alleged propensity
interactions with the Food and Drug Administration (“FDA”)
                                                                   of the drug to cause inflammatory bowel disease (IBD).”
on labeling issues and the course of revisions to the warnings
                                                                   Kendall, supra, 209 N.J. at 180–81. IBD refers to “several
on the Accutane label. We also mention certain evidence that
                                                                   chronic incurable diseases characterized by inflammation of
emerged at the current trial to the extent it was not covered in
                                                                   the intestine.” Id. at 181. The disease occurs when a trigger
prior Accutane trials or discussed in our previous Accutane
                                                                   sets off an abnormal or exaggerated immune reaction, that is,
opinions.
                                                                   an ongoing inflammatory reaction.


Accutane                                                           IBD primarily manifests as one of two diseases: ulcerative
Accutane was originally studied for use in treating cancer.        colitis and Crohn's disease. Ibid. Ulcerative colitis, the
In 1992, the FDA approved a New Drug Application                   disease plaintiffs were diagnosed with, is “a chronic condition
(“NDA”), submitted by Roche under the Federal Food, Drug           characterized by ulceration of the colon and rectum.” Ibid.
and Cosmetic Act, 21 U.S.C.A . §§ 301–99 (“FDCA”), to              Crohn's disease is similar to ulcerative colitis in that it causes
market Accutane to treat recalcitrant nodular acne. The acne       inflammation and ulcers, but it can occur in any part of
condition is “marked by an accumulation of sebum under the         the digestive tract from the mouth to the anus. Individuals
skin, which ultimately ruptures the follicle wall and forms an     suffering from IBD generally experience abdominal pain, and
inflamed nodule.” Kendall, supra, 209 N.J. at 180.                 frequent—and often bloody—bowel movements, resulting in
                                                                   fatigue, dehydration, anemia, fever, cramping and bloating.
 *2 Accutane is a retinoid, derived from vitamin A. Ibid.          Ibid. The symptoms often wax and wane, but the condition is
“Although much remains unknown about how Accutane                  permanent and there is no known cure. Ibid.
treats acne, the drug appears to reduce the production of
oil and waxy material in the sebaceous glands.” Ibid. It           The etiology or cause of IBD still remains largely unknown;
is well established that Accutane “has a number of known           however, several factors are associated with a statistically
side effects, including dry lips, skin and eyes; conjunctivitis;   increased rate of IBD, including family history, infections,
decreased night vision; muscle and joint aches; elevated           frequent use of some antibiotics, smoking, and possibly the
triglycerides; and a high risk of birth defects if a woman         use of oral contraceptives and nonsteroidal anti-inflammatory
ingests the drug while pregnant.” Ibid.                            drugs (“NSAID”). Ibid. The peak onset of IBD occurs during
                                                                   adolescence, which is the same period in which patients with
There is scientific evidence, which the parties sharply dispute    acne were likely to have been prescribed Accutane. See ibid.
in certain respects, that Accutane has an adverse effect
on the gastrointestinal tract. Studies prior to the drug's          *3 There have been no post-marketing clinical trials to study
approval by the FDA revealed instances of dose-related             whether Accutane use causes IBD. Such a study is considered
                                                                   the “gold standard” in assessing causation, but would require
gastrointestinal bleeding in dogs treated with the drug.4
Similarly, in an Accutane clinical study conducted by Roche        a very large clinical trial.5
on 523 patients, 21.6% of them (i.e., 113 patients) suffered
gastrointestinal side effects, primarily effects on mucous
                                                                   Accutane Labels and Warnings
membranes, including effects such as increased thirst and
appetite, nausea, and anorexia, as well as more serious            The 1982 “Launch” Label
gastrointestinal bleeding. Five patients left the study because    The FDA did not require a warning about IBD to appear
of undisclosed gastrointestinal effects, but there were no         on the 1982 Accutane “launch label,” even though Roche,
reported cases of IBD. Gastrointestinal symptoms, but not          as the sponsoring pharmaceutical company, had included


                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                             Page 153 of 246   2
          PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 98 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 156 of 248 PageID: 165
Rossitto v. Hoffman-La Roche Inc., Not Reported in A.3d (2016)
2016 WL 3943335

information in its NDA indicating that the drug had an
effect on the gastrointestinal tract. Kendall, supra, 209 N.J.        [ (Emphasis added).]
at 181; see also 21 U.S.C.A . § 355(b)(1)(A) (requiring          The 1984 labeling change, which was reviewed and approved
NDAs to include reports of investigation into the safety and     by the FDA and reprinted in the Physician's Desk Reference
effectiveness of the drug); 21 C .F.R. § 314.50 (same). Nor      (“PDR”), remained in effect until 2000, throughout the time
                                                                 that the plaintiffs took the drug. See 21 C.F.R. § 314.70(c)
did Roche, which was required to submit proposed labeling6
                                                                 (regulation governing changes to an approved application).
as part of the NDA, propose such a warning. See 21 C.F.R. §
201.56(a); 21 C.F.R. § 314.50(c)(2)(i). Instead, the approved
                                                                  *4 In March 1984, Roche issued a “Dear Doctor” letter to
launch label, in accordance with FDA regulations, contained
                                                                 prescribing physicians, which explained that:
information about other adverse effects under sections
headed “Contraindications,” “Warnings,” “Precautions,” and         Ten Accutane patients have experienced gastrointestinal
“Adverse Reactions.” See 21 C.F.R. § 201.80(d)-(g); 21             disorders characteristic of inflammatory bowel disease
C.F.R. § 201.56.                                                   (including 4 ileitis and 6 colitis). While these
                                                                   disorders have been temporally associated with Accutane
Shortly after obtaining FDA approval for Accutane, Roche           administration, i.e., they occurred while patients were
began to receive reports of IBD arising in patients who took       taking the drug, a precise cause and effect relationship has
the drug. As a result, in August 1983, Roche amended the           not been shown. [Roche is] continuing to monitor adverse
“Adverse Reactions” section of the label to provide that           experiences in an effort to determine the relationship
IBD and mild gastrointestinal bleeding had been reported in        between Accutane ... and these disorders.
“less than 1% of patients and may bear no relationship to
therapy[.]”                                                        [ (Second emphasis added).]

The following month, Public Citizen, a nonprofit consumer        At that time, Roche's “Sales Desk Reference,” a manual used
advocacy group, petitioned the FDA for enhanced warnings         by sales personnel in answering questions, provided that some
on Accutane about a variety of serious adverse reactions,        patients had experienced symptoms characteristic of IBD,
including IBD. Public Citizen expressed concern that the         and that “[t]hese disorders have been temporally associated
“potential toxicity” of Accutane had been “seriously under-      with Accutane administration, that is to say, the symptoms
emphasized” because the drug had been approved on limited        occurred while the patients were receiving the drug. A precise
data, had received “fast track” approval, and had been over-     cause and effect relationship has not been shown.”
prescribed by physicians. The group cited to reports of
patients developing IBD. It asserted that the number of
reported cases likely underestimates the actual occurrence of    “Temporally Associated ”
IBD due to known rates of underreporting and recommended         The key term “temporally associated” in the 1984 labeling,
that Roche include a warning about the risk of developing the    which is at the core of the labeling adequacy issues here, was
disease.                                                         subject to differing and somewhat inconsistent definitions
                                                                 in testimony by Roche's company officials. For example,
                                                                 Eileen Leach, Roche's Medical Director of Dermatology,
The 1984 Accutane Label and Its Warnings                         said that the term “temporal” meant that “during the time
In 1984, Roche amended the “Warnings” section of the             that the patient was taking Accutane, [he or she] developed
Accutane package insert provided to physicians (the warning      symptoms, or [he or she] reported symptoms.” On the other
in effect when plaintiffs here took the drug),7 as follows:      hand, Dr. Martin Huber, an oncologist and Roche's former
                                                                 Director of Drug Safety, differed with the definition of
                                                                 “temporal” contained in the sales manual, and said it meant
  Inflammatory Bowel Disease: Accutane has been                  a condition that occurs within a “reasonable proximity,” and
  temporally associated with inflammatory bowel disease          did not have to have occurred at the exact time that a patient
  (including regional ileitis) in patients without a prior       was taking the drug. Dr. Alan Bess, Roche's Director of Drug
  history of intestinal disorders. Patients experiencing         Safety, said that the term “association” was susceptible to
  abdominal pain, rectal bleeding or severe diarrhea should      different meanings within a label.
  discontinue Accutane immediately.



               © 2020 Thomson Reuters. No claim to original U.S. Government Works.                         Page 154 of 246   3
          PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 99 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 157 of 248 PageID: 166
Rossitto v. Hoffman-La Roche Inc., Not Reported in A.3d (2016)
2016 WL 3943335

In June 1994, Roche issued an FDA-approved patient                 However, Dr. Huber stated it was “very difficult to interpret”
brochure which Wilkinson's mother received but could not           positive rechallenge data for IBD because it is a permanent
recall having read. Rossitto's mother similarly could not recall   disease in which the symptoms wax and wane.
having received or read the brochure. The patient brochure did
not specifically refer to IBD, but warned that “ACCUTANE           In any event, in accordance with 21 C.F.R. § 314.80(b),
MAY CAUSE SOME LESS COMMON, BUT MORE                               Roche's medical reviewers examined the completed forms
SERIOUS, SIDE EFFECTS” and that patients should “BE                and then contacted the patient, doctor, or reporter to supply
ALERT FOR ... SEVERE STOMACH PAIN, DIARRHEA,                       any missing information. Roche was required under 21 C.F.R.
[and] RECTAL BLEEDING.” Patients who experienced                   § 314.80(c)(1)(i) to report to the FDA “each adverse drug
any of those symptoms were advised to “discontinue”                experience that is both serious and unexpected, whether
Accutane and consult with a doctor. The brochure also              foreign or domestic, as soon as possible but in no case later
warned that those symptoms “MAY BE THE EARLY                       than” fifteen calendar days after receipt. Also, in compliance
SIGNS OF MORE SERIOUS SIDE EFFECTS WHICH,                          with 21 C.F.R. § 314.80(c)(2), Roche submitted annual and
IF LEFT UNTREATED, COULD POSSIBLY RESULT                           periodic ADE reports to the FDA, containing an analysis of
IN PERMANENT EFFECTS.” The same FDA-approved                       the reports and a determination of whether a labeling change
warnings were printed on the blister packaging, containing         was warranted.
the individual Accutane pills.

Roche's “general data” report concerning the drug stated that      The Two FDA Warning Letters, Internal Roche Reports, and
it is reasonable to conclude based on available literature that    Other Developments
                                                                   In January 1998, while Rossitto and Reynolds were still
colitis “is a possible side effect of ROACCUTANE [8] in very
                                                                   taking Accutane, Roche received a warning letter from the
rare cases, possibly in patients predisposed to inflammatory
                                                                   FDA for deviating from the reporting requirements of 21
gastro-intestinal diseases.”
                                                                   C.F.R. § 314.80(c)(1) by failing to submit a number of
                                                                   ADE reports generated by their facilities in various countries
The Post–Marketing Period                                          for Accutane and other drugs “within 15 working days.”
 *5 After receiving FDA approval for Accutane, Roche had           Although Roche had “initiated corrective actions” to insure
a continuing obligation to monitor the drug's safety. This duty    efficient processing, according to the FDA, Roche continued
included reporting to the FDA any adverse drug experiences         to submit “late reports (with some going back to 1989).” The
and any new information that might affect the “safety,             FDA directed Roche to take “prompt action to correct these
effectiveness or labeling of the drug product,” reviewing the      deviations,” and cautioned that failure to do so “may result in
scientific literature, and reviewing the data for evidence of      regulatory action,” including “seizure and/or injunction.”
potential safety issues that should be included on the product
label. See 21 C.F.R. §§ 314.80–81.                                 Roche also entered the data from the ADE reports into
                                                                   its internal ADVENT database. The ADVENT database
As part of the monitoring process, Roche collected data            contained a field which reflected the drug company's
on adverse drug experiences (“ADE”) or events through              assessment of “relatedness or causality.” Periodically, Roche
its call center and through MedWatch, the FDA's voluntary          prepared internal causality reports, which were not required
reporting system. As required by 21 C.F.R. § 314.80(f),            to be submitted to the FDA, evaluating the ADE reports as
Roche recorded the reports on an FDA form, listing among           entered into their database. In one such internal causality
other information, a description of the event and whether          assessment, Roche indicated that, from 1982 to 1994, 104
it abated after the patient stopped using Accutane and             cases of IBD and related syndromes had been reported
returned after resuming the drug (referred to as “challenge”/”     in Accutane users, of which thirty-three were given a
dechallenge”/”rechallenge”).                                       causality rating of “ ‘possibly’ or ‘probably’ related to the
                                                                   administration of the drug.”
From 1992 to 1998, Roche recorded several positive
rechallenge reports of IBD. Dr. Bess admitted that, in some         *6 Based on this information, Dr. Henry Lefrancq, a
instances, a single positive rechallenge can be significant        physician with Roche, stated in an internal memo dated
enough to warrant inclusion of the event on the label.             February 24, 1994, “[i]t is reasonable to conclude from this
                                                                   data that, in rare cases, ROACCUTANE may induce or


                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                           Page 155 of 246   4
         PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 100 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 158 of 248 PageID: 167
Rossitto v. Hoffman-La Roche Inc., Not Reported in A.3d (2016)
2016 WL 3943335

aggravate a preexisting colitis.” Dr. Lefrancq explained it was   product.” Mike Carter, who reported to Dr. Bess, agreed that
reasonable to assume that Accutane has the “same effect on        “[m]arketing was calling the shots.”
the intestinal mucosa as [has been observed] on the other
mucosae in the body such as the oral or nasal mucosae.” He        Dr. Russell Ellison, Roche's former chief medical officer,
added, “As these reactions have always been reversible, the       who was called as a witness at this trial by both sides,
colitis which may develop in a relatively limited number of       acknowledged that there were some “disagreements” between
patients can as well be regarded as reversible.”                  Roche's marketing and drug safety departments. Dr. Ellison
                                                                  asserted, however, that marketing never “called the shots,”
In another internal report from May 2003, Roche stated that       and that its concerns did not prevail because in February
there had been 159 reports of adverse events from exposure        1998 the Accutane label was changed to include a stronger
to Accutane received from worldwide sources. Sixty-four of        warning about depression. However, he also stated that Roche
those patients had Crohn's disease, of which Roche assessed       had made a significant investment in marketing Accutane,
causality as “related” in twenty-seven cases. The remainder       and that its investment strategy was to “[f]eed the goose
were designated either as unrelated or unknown, and twenty-       that lays the golden eggs.” Dr. Ellison further noted that
nine had IBD (not otherwise specified), of which it assessed      before he started working for Roche in 1997, the company
causality as related in thirteen cases, and as unknown in the     had a “negative” image with the FDA (but not specifically
remaining sixteen cases.                                          regarding Accutane and IBD), which he claimed he had
                                                                  repaired.
Roche also prepared periodic safety update reports (“PSUR”)
for European regulators. In a PSUR dated August 17, 1988,          *7 On March 5, 1998, Roche received a second warning
Dr. Peter Schifferdecker, a physician and Roche product           letter from the FDA in which the agency concluded that
specialist, reviewed the reports received from patients using     Roche's advertising and promotional materials for Accutane
Accutane from January 1 to June 30, 1988, and concluded           were “false or misleading” and promoted “Accutane for an
that “[s]ince introduction, ROCHE Drug Safety received 38         unapproved use.” The FDA found that Roche had failed to
case reports of colitis [IBD] and proctitis in association with   disclose “that depression may be associated with the use of
ROACCUTAN treatment.” Twenty-two patients “recovered”             Accutane,” and had “misleadingly” suggested “that Accutane
after discontinuation of Accutane, but nine patients had          therapy will minimize or improve the patient's psychosocial
persisting colitis or proctitis, and one patient underwent a      status, including depression,” even though Roche had “not
“total colectomy.” In another report dated November 16,           systematically studied” the ability of Accutane to modify
2000, Roche stated that “[i]sotretinoin has been found to         or prevent depression.9 According to the FDA, Roche's
be causally associated with inflammatory bowel disease,           claim was “particularly troublesome in light of information
including colitis.” Later, in a January 2003 report, Dr. Daniel   recently presented in a Dear Doctor letter, that Accutane may
Reshef, Roche's Director of Drug Safety, stated that there        cause depression[.]” The FDA required Roche to cease this
was “an average event latency after the start of the drug” to     promotional activity and to instruct its sales personnel to stop
when symptoms of IBD manifested “ranging from 23 to 1,219         disseminating the materials.
days.”

According to Dr. Bess, in December 1997, while sales of           The 2000 Label Revision
Accutane were escalating sharply, there were differences          In May 2000, after all of the plaintiffs in this trial had
of opinion between Roche's drug safety and marketing              completed their treatment, Roche amended the Accutane
departments about adopting a label change to warn about           warnings section. It removed the term “temporally,” and
depression, a different alleged side effect of Accutane. Dr.      added language about persistent IBD symptoms as follows:
Bess testified that Frank Condella, Roche's vice president of
marketing, “felt very strongly that any label change would          Inflammatory Bowel Disease: Accutane has been
hurt U.S. sales.” The marketing department's “philosophy was        associated with inflammatory bowel disease ... in patients
to protect the franchise” and “build the product,” and thus         without a prior history of intestinal disorders. In some
Condella, during a “very loud disagreement,” “made it very          instances, symptoms have been reported to persist
clear that he wouldn't tolerate any action that would hurt the      after Accutane treatment has been stopped. Patients
                                                                    experiencing abdominal pain, rectal bleeding or severe



               © 2020 Thomson Reuters. No claim to original U.S. Government Works.                           Page 156 of 246   5
         PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 101 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 159 of 248 PageID: 168
Rossitto v. Hoffman-La Roche Inc., Not Reported in A.3d (2016)
2016 WL 3943335

  diarrhea should discontinue Accutane immediately (see            gastroenterologist, complaining of blood in her stool,
  ADVERSE REACTIONS: Gastrointestinal).          [10]              diarrhea, and severe abdominal pain. Dr. Eichel diagnosed her
                                                                   as suffering from ulcerative colitis.

  [ (Emphasis added).]                                             Over the next eleven years, Rossitto's IBD symptoms flared
  Despite the label's acknowledgement of an association,           and remitted. She underwent numerous colonoscopies, was
  Roche's position at trial was that Accutane does not cause       hospitalized several times, and was treated with a variety
  IBD.                                                             of medications, including long-term steroid use. On bad
                                                                   days, she had twenty-five bloody bowel movements a day,
Plaintiffs' Use of Accutane and Their IBD                          and suffered from cramping, fever, and abdominal pain. In
                                                                   June 2011, her colon was surgically removed and her small
Rossitto
                                                                   intestine was brought through a hole in her abdominal wall to
Rossitto is a New Jersey resident. In 1992, when she was
                                                                   drain into an ileostomy bag. In October 2011, she underwent
twelve years old, Rossitto began seeing Dr. James Watt, a
                                                                   a second surgery to reverse the ileostomy.
dermatologist, for treatment of her acne. Dr. Watt initially
prescribed a series of antibiotics and topical creams which did
                                                                   None of Rossitto's treating physicians told her that Accutane
not cause her any gastrointestinal upset, but did not resolve
                                                                   was the cause of her IBD. Rossitto testified that she instead
her acne.
                                                                   first learned of the connection between Accutane and IBD in
                                                                   November 2010, when her friend told her about a television
In 1997, Dr. Watt recommended that Rossitto, who was then
                                                                   commercial that mentioned the disease.
sixteen years old, begin taking Accutane. Dr. Watt, who had
read the Accutane label, discussed certain side effects with
Rossitto and her mother, including dry skin and lips, effects on   Wilkinson
the liver, and the risk of birth defects if she became pregnant    Wilkinson is a resident of Utah. In January 1993, when
while taking the drug. The mother testified that Dr. Watt did      he was fifteen years old, Wilkinson began seeing Dr.
not discuss the risk of developing IBD, asserting that, if he      Robert Orme, a dermatologist, for an acne condition. Like
had, she would not have allowed her daughter to take the           Rossitto, Wilkinson was prescribed a series of antibiotics
drug. The mother also understood from reading the patient          and creams which proved ineffective but did not cause him
brochure, that when you stopped taking the drug, “the side         any gastrointestinal upset. In October 1993, Dr. Orme gave
effect would also stop.”                                           Wilkinson and his mother a copy of the Accutane patient
                                                                   brochure. In July 1994, Dr. Orme “strongly” recommended
Dr. Watt discarded all of his medical records when he              that Wilkinson begin taking Accutane, but Wilkinson's
retired in 2001. At his de bene esse deposition, he could          mother decided to defer possible Accutane treatment to a later
not specifically recall having treated Rossitto. However, he       time for various reasons.
testified that it was his customary practice in 1997 to only
warn patients about the more serious and more common side          In May 1995, Dr. Orme gave Wilkinson and his mother
effects of the drug, including dry skin and lips, and birth        another copy of the patient brochure. Dr. Orme, who had
defects. Dr. Watt testified that the information provided in       read the 1984 label, discussed with them various side
the 1984 label did not warn him that Accutane can cause            effects of taking Accutane, including dry eyes and skin,
permanent IBD, asserting that if it had, he would have relayed     photosensitivity, joint pain, headaches, depression, birth
that information to his patients.                                  defects, and dry mucous membranes, but not IBD. He testified
                                                                   that “[i]n all likelihood,” if the label had warned that Accutane
 *8 In December 1997, Rossitto began taking Accutane with          had been “possibly or probably associated” with IBD he
her mother's consent. She completed her treatment in April         would still have prescribed the drug for Wilkinson and
1998. During this approximately six-month treatment period,        would not have changed the content of the warnings he
Rossitto experienced dry skin and lips, but no gastrointestinal    gave to Wilkinson. However, Dr. Orme also testified that if
effects.                                                           Roche had warned that taking Accutane presented a risk of
                                                                   developing IBD, he “[d]efinitely” would have warned them
In July 1999, about fourteen months after she stopped              about IBD. Wilkinson's mother confirmed that Dr. Orme had
taking Accutane, Rossitto saw Dr. Richard Eichel, a                not discussed the risk of developing IBD, stating that, if he


                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                            Page 157 of 246   6
         PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 102 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 160 of 248 PageID: 169
Rossitto v. Hoffman-La Roche Inc., Not Reported in A.3d (2016)
2016 WL 3943335

had, she would not have allowed her son to take the drug even      Relying on a variety of sources, Dr. Sachar opined that
if Dr. Orme had “highly recommended it.”                           Accutane in prescribed doses can cause, trigger or exacerbate
                                                                   ulcerative colitis in humans, and was in fact the cause of
In May 1995, Wilkinson, then seventeen years old, began            plaintiffs' ulcerative colitis in this case. He explained that
taking Accutane with his mother's consent. He completed that       although Accutane has a half-life of only about ten-to-twenty
course of treatment in October the same year. While taking         hours, it acts as a trigger, setting in motion an inflammatory
Accutane he suffered from dry lips and a few nosebleeds, but       effect that results in the latent development of Accutane-
no gastrointestinal problems.                                      induced IBD.

 *9 In May 1996, approximately seven months after he               As to specific causation, Dr. Sachar found that Wilkinson's
stopped taking Accutane, Wilkinson began experiencing              Accutane use in 1995 had caused his ulcerative colitis. Dr.
bouts of worsening abdominal pain and bloody diarrhea.             Sachar noted that Wilkinson had received a high dose for
The symptoms persisted. In June 1997, approximately twenty         a relatively long period (five months), and had become
months after he stopped taking Accutane, Wilkinson was             symptomatic approximately six to twelve months after he had
diagnosed with ulcerative colitis.                                 stopped taking the drug, which was well within the latency
                                                                   period. Further, Dr. Sachar ruled out other potential triggers,
Over the next several years, Wilkinson was treated with a          including family history, prior infections, and NSAID and
variety of medications, including steroids. In May 2001, his       antibiotic use.
colon was surgically removed and he was fitted with an
ileostomy bag. He later underwent a second surgery to reverse      Similarly, Dr. Sachar found that Rossitto's use of Accutane
the ileostomy and replace his colon with a surgically created J-   from December 1997 to April 1998 had caused her ulcerative
pouch. He subsequently developed bouts of pouchitis caused         colitis. He explained that Rossitto had received an “escalated”
by J-pouch infections.                                             dose for four months, and was diagnosed with ulcerative
                                                                   colitis approximately fourteen months after she stopped
None of Wilkinson's treating physicians had ever told him that     taking Accutane, which was also well within the drug's
Accutane was the cause of his IBD. Wilkinson testified that        latency period. Dr. Sachar likewise ruled out other causes of
he first learned of the connection between Accutane and IBD        Rossitto's IBD.
in December 2006, when he saw a television commercial on
the subject.                                                        *10 Dr. Cheryl Blume, a pharmacologist and consultant,
                                                                   testified as plaintiffs' expert in regulatory affairs,
                                                                   “pharmacovigilance,” and drug labeling. Dr. Blume opined,
Expert and Related Testimony                                       as she had in Kendall and in other prior Accutane cases,
The parties presented at trial numerous competing liability        that the 1984 Accutane label or warning in effect when the
experts addressing the critical issues of causation and            present plaintiffs took the drug did not accurately reflect
labeling.                                                          the knowledge that Roche actually had at that time about
                                                                   IBD. Dr. Blume conceded that when the 1984 FDA-approved
                                                                   label for Accutane was first adopted, it appropriately warned
Plaintiffs' Experts
                                                                   about IBD, based on the information Roche had at that time.
Plaintiffs' presented Dr. David Sachar as their causation
                                                                   However, Dr. Blume opined that by the late 1980s the label
expert, who linked generally the use of Accutane with IBD
                                                                   was no longer accurate because Roche had received, through
and addressed specific causation with respect to plaintiffs'
                                                                   its post-marketing surveillance, numerous reports of patients
own medical conditions.11 Dr. Sachar is a board-certified          who had developed IBD months after taking Accutane.
gastroenterologist and internist. He has been a professor          Many of those reports contained positive rechallenge events.
at Harvard and Mount Sinai Schools of Medicine. He                 According to Dr. Blume, given generally accepted FDA rates
was also the past chairman of the FDA Gastrointestinal             of under-reporting, those reports may constitute only one-
Drugs Advisory Committee, and has authored or co-authored          to-ten percent of the actual incidences of IBD in Accutane
approximately a hundred articles on IBD in peer-reviewed           patients.
publications.




                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                           Page 158 of 246   7
         PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 103 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 161 of 248 PageID: 170
Rossitto v. Hoffman-La Roche Inc., Not Reported in A.3d (2016)
2016 WL 3943335

Based on the post-marketing ADE reports and the company's         had been reported in the scientific literature and accepted
own internal conclusions, Dr. Blume concluded that Roche          as “exacerbat[ing]” ulcerative colitis, including antibiotics,
had deviated from the applicable standard of care on labeling.    NSAIDs, and oral contraceptives, but not Accutane. Dr.
She testified that the 1984 label, which had remained             Dieckgraefe opined that Accutane was not the trigger for
unchanged for sixteen years, should have contained stronger,      Wilkinson's ulcerative colitis because his exposure to the drug
more specific language to clearly communicate the risk that       was “not proximate” to his developing the disease. The expert
taking Accutane can cause IBD. She criticized the label's use     could not, however, detect any identifiable known risk or
of the phrase “temporally associated” as deficient because        trigger for the onset of Wilkinson's ulcerative colitis. He thus
Roche had received reports of a latency effect, signifying that   characterized the condition as “idiopathic.”
a patient could develop IBD long after he or she had stopped
taking the drug.                                                  Countering plaintiffs' labeling expert Dr. Blume, Dr. David
                                                                  Feigal testified for Roche that the 1984 Accutane label, in fact,
Further, Dr. Blume opined that Roche should have                  was appropriate. Dr. Feigal is an epidemiologist specializing
recommended in the “Precautions section” that patients who        in drug regulatory affairs, labeling, and pharmacovigilance.
are susceptible to IBD should be given a lower dose of            He recognized that in 1983 Roche had received nine or ten
Accutane or not prescribed the drug at all. According to          case reports of patients who developed IBD while taking
Dr. Blume, Roche should also have referred to the “very           Accutane and asserted that Roche responded to those reports
important” multiple positive rechallenge events, because          “rather promptly,” noting that during an FDA advisory
there are instances where even a single positive rechallenge is   committee meeting in October 1983, Roche proposed
included in a warning label. Dr. Blume also found significant     certain labeling language to “convey that information to
that Roche had received two warning letters from the FDA          physicians[.]” The FDA presented counterproposals, and
about the shortcomings of its advertising and promotional         ultimately approved the language contained in the amended
materials for Accutane about depression, albeit not about         1984 label.
IBD.
                                                                  Dr. Feigal testified that the 1984 label, which is at issue here,
                                                                  contained a “very strong and very effective warning” about
Roche's Experts                                                   IBD. He submitted that the term “temporally associated”
Roche's experts proffered countering opinions on causation        used on the label indicates a “strong association,” and
and labeling adequacy. On the subject of general causation,       communicates that IBD is a possible side effect of taking
Roche presented Dr. Maria Oliva–Hemker, an expert in              Accutane. Dr. Feigal added that the patient brochure given
pediatric gastroenterology who focused on Rossitto's case.        to plaintiffs was another tool by which a physician could
She opined that Accutane in prescribed doses cannot cause         communicate information about Accutane to a patient.
or substantially contribute to IBD in humans, and was not         Although IBD was not specifically referenced in the patient
the cause of Rossitto's ulcerative colitis. Dr. Oliva–Hemker      brochure, the symptoms of the disease were. The brochure
stated that, although the cause of ulcerative colitis remains     instructed a patient to discontinue taking the drug and to
unknown, studies have shown that genetics and exposure to         check with his doctor if he or she experienced any of those
certain triggers—but not Accutane—play a role in developing       symptoms.
the disease. Dr. Oliva–Hemker stressed that the incidence rate
of ulcerative colitis, which has been diagnosed in patients       Dr. Feigal agreed that a label should be changed if there is
since 1875, had not risen after Accutane came on the market in    reasonable evidence of an association of a serious hazard with
1982. As to specific causation, she opined that the most likely   a drug. However, he found no evidence in the ADE reports or
trigger of Rossitto's ulcerative colitis was her “extensive       the scientific literature of a change in the frequency or severity
exposure to antibiotics” in the five years before taking          of IBD, or of a latency effect, sufficient to warrant such a
Accutane.                                                         change.

 *11 Similarly, Dr. Brian Dieckgraefe, Roche's expert in          In this regard, Dr. Feigal noted that from 1992 to 1993,
gastroenterology and IBD who focused on Wilkinson's case,         Roche received only nine reports of IBD from among the
opined that the available evidence does not support a causal      approximately 300,000 Accutane users. From 1992 to 1998,
connection between Accutane and IBD. He asserted that             there were about 190 reports of IBD from the approximately
“[g]enetics cause” IBD, and that a number of triggers


               © 2020 Thomson Reuters. No claim to original U.S. Government Works.                             Page 159 of 246   8
         PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 104 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 162 of 248 PageID: 171
Rossitto v. Hoffman-La Roche Inc., Not Reported in A.3d (2016)
2016 WL 3943335

eight million Accutane users in the United States. After
adjusting for the increased number of patients taking the drug,   Dr. Ellison acknowledged that, after the Accutane label was
Dr. Feigal found no change in the frequency of reported cases     amended in 2000, there were discussions about whether the
of IBD, and found only five cases, out of eight million, where    FDA would refer an evaluation of the label to an advisory
the patient experienced a latency effect. Dr. Feigal further      committee on a variety of side effects, including IBD.12 An
stated that the causality reports and epidemiological studies     internal Roche “briefing document,” dated April 6, 2000,
showed only an association, not causation.                        addressed to Kevin Rigby, Roche's vice president of business
                                                                  policy and governmental affairs, noted that Roche had entered
 *12 On the whole, Dr. Feigal opined that Roche had               into negotiations with the FDA over the label. However, the
acted in accordance with FDA standards by conducting post-        briefing document further indicated that the discussions had
marketing surveillance, and in complying with reporting           “degenerated,” and that the company's responses to the FDA's
and warning letter requirements. Although Dr. Feigal              concerns had “almost uniformly been rejected [by the FDA]
acknowledged that Roche had received a warning letter in          as insufficient.” The internal document concluded that Roche
1998 about its failure to timely submit ADE reports to the        had three options: (1) pressure the FDA to prevent an advisory
FDA, he testified that such a failure was not indicative of       committee; (2) work toward and prepare for a narrowed
a “system deficiency,” because the late reports had been          advisory committee hearing; or (3) prepare for a fairly
generated in France and not in the United States.                 open advisory committee hearing. Regardless of whether the
                                                                  potential hearing was “narrow” or “open,” the document
                                                                  cautioned that “any review of adverse events could lead to
Dr. Ellison's Testimony
                                                                  questions by committee members on any listed adverse event
Dr. Feigal's expert opinions on labeling dove-tailed
                                                                  or members of the public could raise those issues in a manner
substantially with the factual testimony of Dr. Ellison, who
                                                                  likely to prove extremely harmful to Roche.” (Emphasis in
was responsible at Roche for the contents of the Accutane
                                                                  original).
label between 1997 and 2002.

Dr. Ellison maintained that the 1984 label, which provided        The Verdict and the Present Appeals
that Accutane “has been temporally associated” with                *13 After its deliberations, the jury issued a verdict finding
IBD, was medically accurate and “was the strongest                that: (1) Roche failed to provide an adequate warning to
representation” of the risks based on the data that Roche then    the prescribing physicians of Rossitto, Wilkinson, Reynolds
possessed. He asserted that the term “associated” was a “very     and Young; (2) Roche's failure to warn was a substantial
accurate way of saying may cause,” and that the term “has         factor in the decisions of Rossitto and Wilkinson, but not of
been” in the label was “very strong” language intended to         Reynolds and Young, to take Accutane; and (3) Accutane
convey that the potential risk “has been observed.”               was a substantial factor in Rossitto and Wilkinson developing
                                                                  IBD. As we have already noted, the jury awarded an identical
Dr. Ellison further contended the warning was consistent with     $9 million in compensatory damages to both Rossitto and
the scientific literature, in which authors frequently had used
                                                                  Wilkinson. This appeal by Roche ensued.13
the terms “has been associated” and “temporal relationship”
in discussing Accutane and IBD.

According to Dr. Ellison, the 2000 revision to the Accutane       II.
label did not alter the “fundamental purpose” of the warning,
that is, to warn physicians that there was a risk of developing   We begin with a short overview of the governing substantive
IBD from taking Accutane. To that end, Dr. Ellison asserted       law. Plaintiffs hinge their claims in this case upon the New
that even if the warning had not been changed, it would           Jersey Product Liability Act (“PLA”), N.J.S.A. 2A:58C–1 to
still have been medically accurate, appropriately written, and    –11. Although Wilkinson is a citizen of Utah (unlike Rossitto
complete. Moreover, he noted that the FDA had not asked           who is a citizen of this state), all parties agree that the PLA
Roche to amend the warning to include the information             and the substantive laws of New Jersey, where Roche is
plaintiffs' expert Dr. Blume claimed should have been listed,     headquartered, govern the liability issues in this case. The
including positive rechallenges, causality assessments, and a     product liability laws of Utah and New Jersey, although not
latency effect.                                                   identical, are sufficiently similar to justify that choice of law


               © 2020 Thomson Reuters. No claim to original U.S. Government Works.                            Page 160 of 246   9
         PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 105 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 163 of 248 PageID: 172
Rossitto v. Hoffman-La Roche Inc., Not Reported in A.3d (2016)
2016 WL 3943335

designation. See P.V. ex rel. T.V. v. Camp Jaycee, 197 N.J. 132,   basis prior to FDA approval by the use of what is known
143 (2008) (applying a “most significant relationship test”        as a “changes being effected” (“CBE”) supplement. See
to determine the governing choice of law on legal issues);         21 C.F.R. § 314.70(a)-(d). A supplement “is appropriate
Rowe v. Hoffmann–La Roche, Inc., 189 N.J. 615, 621 (2007)          to amend the labeling for an approved product only to
(instructing, in the context of an Accutane products liability     reflect newly acquired information ... to add or strengthen
case, that choice-of-law determinations should be made on an       a contraindication, warning, precaution, or adverse reaction
issue-by-issue basis).14                                           only if there is sufficient evidence of a causal association.”
                                                                   Bailey v. Wyeth, Inc., 424 N.J.Super. 278, 292 (Law Div.2008)
The PLA was enacted by our Legislature in 1987 “as a               (quoting 73 Fed.Reg. 2848 (Jan. 16, 2008)). The FDA defines
remedial measure to limit the liability of manufacturers           “ ‘newly acquired’ as ‘data, analyses, or other information
by establishing ‘clear rules with respect to certain matters       not previously submitted to the agency.’ “ Ibid. (quoting
relating to actions for damages for harm caused by products,’      73 Fed.Reg. at 2850). Ultimately, as it did with respect to
“ and in particular, to “reduce the burden on manufacturers        Accutane, the FDA reviews all “modified labeling to ensure
of FDA-approved products resulting from products liability         compliance with FDA regulations.” Id. at 291–92.
litigation.” Kendall, supra, 209 N.J. at 194. In accordance
with common-law principles, the PLA provides that a                In failure-to-warn claims involving pharmaceuticals, the New
manufacturer shall be liable for harm caused by a product          Jersey Legislature “recognized the preeminent role of federal
that was “not reasonably fit, suitable or safe for its intended    regulation of drugs,” Cornett v. Johnson & Johnson, 211 N.J.
purpose” because it “failed to contain adequate warnings.”         362, 387 (2012), by including the following section in the
N.J.S.A. 2A:58C–2. A manufacturer “shall not be liable for         PLA:
harm caused by a failure to warn if the product contains an
                                                                     If the warning or instruction given in connection with a
adequate warning,” which is defined as
                                                                     drug or device or food or food additive has been approved
  one that a reasonably prudent person in the same or similar        or prescribed by the federal Food and Drug Administration
  circumstances would have provided with respect to the              under the “Federal Food, Drug, and Cosmetic Act,” ...
  danger and that communicates adequate information on the           a rebuttable presumption shall arise that the warning or
  dangers and safe use of the product, taking into account ...       instruction is adequate.
  in the case of prescription drugs ... the characteristics of,
                                                                     [N.J.S.A. 2A:58C–4 (emphasis added).]
  and the ordinary knowledge common to, the prescribing
  physician.
                                                                   “Compliance with FDA regulations provides compelling,
  [N.J.S.A. 2A:58C–4.]                                             although not absolute, evidence that a manufacturer satisfied
                                                                   its duty to warn about the dangers of its product.” Kendall,
Following FDA approval, a manufacturer has a continuing            supra, 209 N.J. at 195. This “virtually dispositive” statutory
duty to warn of all known adverse effects of a drug as             “super-presumption” under the PLA is difficult to overcome.
soon as reasonably feasible based upon actual or constructive      Id. at 195–197; Dreier, Keefe & Katz, Current N.J. Products
knowledge of a danger. Feldman v. Lederle Labs., 97 N.J.           Liability & Toxic Torts Law § 15:4 at 464–65 (2016). It
429, 456–57 (1984). In this regard, FDA regulations require        is “stronger and of greater evidentiary weight than the
that “the labeling accompanying a prescription drug ‘describe      customary presumption referenced in N.J.R.E. 301.” Bailey,
serious adverse reactions and potential safety hazards' and        supra, 424 N.J.Super. at 314.
that the labeling ‘be revised to include a warning as soon as
there is reasonable evidence of an association of a serious        To overcome the PLA's “super-presumption,” a plaintiff must
hazard with a drug.’ “ Rowe, supra, 189 N.J. at 625 (quoting       show either: (1) “deliberate concealment or nondisclosure of
21 C.F.R. § 201.80(e)).                                            after-acquired knowledge of harmful effects,” Perez, supra,
                                                                   161 N.J. at 25; Rowe, supra, 189 N.J. at 626; or (2)
 *14 The process of changing an FDA-approved drug label            substantial evidence of economically-driven manipulation
is governed by federal regulation. For example, proposed           of the post-market regulatory process, McDarby v. Merck
changes in labeling are generally first submitted to the FDA       & Co., 401 N.J.Super. 10, 63, 66 (App.Div.2008), certif.
for approval. However, when a new safety issue emerges, a          dismissed as improvidently granted, 200 N.J. 267 (2009).
company may add to the product's labeling on a temporary           Compensatory damages are reserved for those “rare cases


                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                          Page 161 of 246   10
         PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 106 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 164 of 248 PageID: 173
Rossitto v. Hoffman-La Roche Inc., Not Reported in A.3d (2016)
2016 WL 3943335

when the presumption is overcome.” Perez, supra, 161 N.J.           N.J. 141 (1996); Lavin v. Fauci, 170 N.J.Super. 403, 407
at 25.                                                              (App.Div.1979).

                                                                    Initially, as it had in other Accutane trials, the trial court
                                                                    barred admission of the 2000 revised label (which, as we have
III.
                                                                    noted, removed the term “temporally” and added language
 *15 Roche argues that it was seriously prejudiced in               about persistent symptoms) as a subsequent remedial measure
defending this case by several erroneous evidentiary rulings        disallowed by Rule 407. As we will discuss, infra, the court
of the trial court. Those challenged rulings included, among        reversed course on that ruling later in the case.
other things, (1) allowing plaintiffs' counsel to reveal, when
examining Dr. Ellison, that the Accutane label's warning            A threshold question under Rule 407 is whether the
was changed in 2000 after plaintiffs had ceased using the           2000 label change qualifies as a subsequent remedial
drug, despite the court having previously ruled that the            measure. Consistent with the public policy underlying
subsequent labeling change would be excluded at trial under         Rule 407, the Rule has been “held not to bar evidence
N.J.R.E. 407; (2) arbitrarily restricting the number of expert      of subsequent remedial conduct which was taken under
witnesses who could testify on a particular subject; and (3)        governmental mandate rather than voluntarily.” Biunno,
not permitting Roche to introduce into evidence a scientific        Weissbard & Zegas, Current N.J. Rules of Evidence, comment
study that it contends undercuts plaintiffs' causation theories.    1 on N.J.R.E. 407 (2016). For example, in Harris v.
                                                                    Peridot Chemical (N.J.), Inc., 313 N.J.Super. 257, 292
We agree with Roche that the trial court misapplied its             (App.Div.1998), we held Rule 407's evidentiary prohibition
discretion with respect to the first two of these challenged        was inapplicable because the safety measures taken by the
rulings, which had the cumulative impact of skewing the             defendant in that case were not remedial, but rather were
jurors' fair consideration of this case.                            mandated by the Department of Environmental Protection.
                                                                    Hence, “admission of the evidence would not violate the
                                                                    policy underlying the Rule.” Ibid.; see also Cepeda v.
                                                                    Cumberland Eng'g Co., Inc., 76 N.J. 152, 193 n. 11 (1978)
A.
                                                                    (noting that proof of a defendant's installation of a safety
N.J.R.E. 407 directs that “[e]vidence of remedial measures          device was not barred from evidence as a subsequent remedial
taken after an event is not admissible to prove that the event      measure because it was installed as the result of an official
was caused by negligence or culpable conduct. However,              demand, not a voluntary action), overruled on other grounds,
proof of such subsequent remedial conduct may be admitted           Suter v. San Angelo Foundry & Mach. Co., 81 N.J. 150
as to other issues.” Rule 407 codifies our state's “strong public   (1979).
policy encouraging prompt remedial measures[.]” Szalontai
v. Yazbo's Sports Cafe, 183 N.J. 386, 402 (2005). The Rule          *16    We therefore must consider whether the FDA
recognizes those remedial objectives can be thwarted if a           “mandated” the label change in 2000.15 Dr. Ellison testified
defendant's post-accident corrective actions are admitted as        that the Accutane label was amended in 2000, in accordance
liability proofs in product liability cases. See In re Petition     with the FDA's suggestion to take out the word “temporally”
of S.D., 399 N.J.Super. 107, 124 (App.Div.2008) (noting             and to add language about persistent symptoms. He explained
that New Jersey has a longstanding public policy favoring           that Roche “effectively agreed” with that suggestion because
the immunization of remedial measures from negative                 it did not “dispute it.”
inferences).
                                                                    If, in fact, the FDA's “suggestion” is deemed to be a mandated
Subject to considerations of unfair prejudice and other             label change, then the court's admission of the 2000 label
countervailing factors under N.J.R.E. 403, evidence of              would not violate the policy underlying Rule 407 and would
remedial conduct at times may be admitted under N.J.R.E.            not be barred as a subsequent remedial measure. On the other
407 as to other issues, including efforts to impeach the            hand, if the label change is deemed voluntary, evidence of that
credibility of a witness. See Kane v. Hartz Mountain Indus.,        remedial conduct still might be admissible under Rule 407 for
Inc., 278 N.J.Super. 129, 148 (App.Div.1994), aff'd o.b., 143       purposes other than proving culpable conduct or causation.
                                                                    Kane, supra, 278 N.J.Super. at 148. Nonetheless, “[e]ven



                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                            Page 162 of 246   11
         PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 107 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 165 of 248 PageID: 174
Rossitto v. Hoffman-La Roche Inc., Not Reported in A.3d (2016)
2016 WL 3943335

where subsequent remedial conduct evidence has relevance to         authority to mandate such changes until 2007. We disagree
some fact in issue other than negligence, it may be excluded        with the trial court's ultimate finding that the FDA's role
if the prejudicial effect outweighs the probative value.” Ibid.     in proposing the labeling change in 2000 rendered the drug
                                                                    company's adoption of that proposal involuntary. Hence, both
Having originally considered the 2000 label change as a             the terms and the underlying public policies of Rule 407 do
non-mandated subsequent remedial measure, the trial court           pertain here.
altered its course later in this trial. On the twenty-ninth day
of trial, Dr. Ellison testified that the 1984 label was medically   Although Dr. Ellison would not concede the point, it is
accurate and was the strongest representation of the risks          manifestly clear that the 2000 warning did strengthen the
based on the data that Roche had at that time. He contended         label's warning relating to IBD and gastrointestinal disorders
the “temporally associated” warning conveyed causation, and         by removing the “temporally associated” phrasing that had
that removing the word “temporally,” might “weaken the              preceded it. The revelation of the 2000 label change could
association in the minds of the doctor,” because a doctor might     easily have been viewed by the jurors as “smoking gun”
wonder how Roche had determined there was an association.           evidence, signifying that the Accutane label that had preceded
He concluded that “[t]o a degree,” inclusion of the term            the 2000 version was deficient.
“temporally” made the warning stronger and “was a good
thing.”                                                             We disagree with the trial court's assessment that plaintiffs'
                                                                    disclosure of the 2000 label change was justified by Rule 407's
At that point, the court, over Roche's objection, granted           exception for “other issues” such as witness impeachment.
plaintiffs' application to admit the 2000 label into evidence       To be sure, Dr. Ellison did maintain that the previous 1984–
under Rule 407, for the stated purpose of impeaching Dr.            vintage label was more than adequate, and that inclusion of
Ellison's credibility. The court subsequently denied Roche's        the word “temporally” was beneficial to patients and their
motion for a mistrial on this issue. It instructed the jury that    doctors. But such a retrospective defensive posture is a natural
the label change was “admissible only for the purpose of            aspect of a classic Rule 407 factual paradigm, in which
attacking the credibility of the statements of the witness,” and    defendants and their witnesses are tasked with justifying the
was not proof “that the label was inadequate.”                      sufficiency of past conduct or the benign quality of past
                                                                    conditions that preceded a subsequent remedial change.
In later denying Roche's post-trial motion for JNOV, the
trial court found that Dr. Ellison had “opened the door” to         In any event, even if we agreed the disclosure of the 2000
justify the admission of the 2000 label. As part of the court's     label change to the jury fell within an exception to Rule 407,
reasoning, it concluded, on reflection, that Roche's assent         the probative value of that impeachment was substantially
to the FDA's suggested change to the label in 2000 did not          overcome by the strong prejudice to the defense and by
amount to a voluntary “remedial measure” within the ambit           the important public policies underlying the Rule. The court
of Rule 407.                                                        failed to afford sufficient consideration to the offsetting
                                                                    reasons for exclusion under N.J.R.E. 403. See Green v. N.J.
As an appellate court we must afford due deference to the trial     Mfrs. Ins. Co., 160 N.J. 480, 495–501 (1999).
court's authority over evidential rulings. Hisenaj v. Kuehner,
194 N.J. 6, 16 (2008). Nonetheless, we conclude that the court      The impact of this error was compounded by plaintiffs'
seriously erred in allowing plaintiffs' counsel to divulge to       summation. A substantial portion of the summation focused
the jury that the Accutane label was altered in 2000 after          upon attacking Roche's conduct that post-dated plaintiffs'
plaintiffs had already stopped ingesting the drug. The court        ingestion of Accutane, including an explicit argument that the
originally—and correctly—recognized before this trial began         “stronger” 2000 label change proved the inadequacy of the
the substantial prejudice to Roche in allowing the subsequent       earlier warning. As part of his closing, plaintiffs' counsel told
post-ingestion labeling change to be considered by the jury. It     the jury:
should not have strayed from that correct determination.
                                                                      Roche failed to provide an adequate warning. Dr. Blume
 *17 We are not persuaded that the 2000 labeling revision             told you so. I think you know so. You have seen the
was a “mandated” change. As we have already noted, supra              information. And this is what you got last week from Dr.
note 15, the FDA did not acquire the express regulatory               Ellison, his interpretation of the label.



                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                             Page 163 of 246   12
         PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 108 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 166 of 248 PageID: 175
Rossitto v. Hoffman-La Roche Inc., Not Reported in A.3d (2016)
2016 WL 3943335

                                                                    In sum, the trial court's ill-advised departure from its
  He said, first of all, very important fact, [w]e never made       original ruling to exclude the 2000 label change under Rule
  the label weaker. I established that. That was the first point    407 constituted reversible error. The error was of such a
  I established with him.                                           magnitude, particularly coupled with the expert-limitation
                                                                    issue we now address, to warrant relief.
  And then you learned about five minutes later that, in fact,
  what they did, after claiming that temporally associated
  was a stronger warning to patients [and] that [it] conveyed
  more than association ... was that in 2000, they took it out      B.
  of the label. It was removed. And Dr. Ellison, this is the
  2000 label change, something you learned about just last          The trial court also misapplied its discretion, albeit without
  week, removed, and Dr. Ellison told you what it meant,            having the benefit of more recent published case law, by
  when “temporally” was taken out of the label, it conveyed         curtailing the number of expert witnesses that Roche could
  to prescribers that this event could develop after somebody       present in its behalf on particular subjects.
  stopped taking the drug. Latency. Latency. Not in time for
  these folks, notwithstanding the company had information          In McLean v. Liberty Health System, 430 N.J.Super. 156, 160
  on latency years before. Not in time for their doctors.           (App.Div.2013), an opinion we issued after the verdict in this
                                                                    case, we held that a trial court erred in prohibiting a plaintiff
   *18 [ (Emphasis added).]                                         “from presenting the testimony of a second expert witness
This robust and pointed argument shows that,                        on the subject of medical malpractice because his testimony
notwithstanding the court's limiting instruction, the 2000 label    would be duplicative.” Our opinion explained that:
change was used within plaintiffs' advocacy for its substantive
evidential power. Despite the court's instruction, the evidence          [T]he trial court erred in limiting expert witnesses to
was obviously not deployed solely as mere impeachment                    only one per side for each relevant field of medicine, in
proof to undermine Dr. Ellison. Instead, it was advocated as             particular, on the crucial issue of deviation from accepted
direct proof of the prior warning's deficiencies, accentuated            standards of medical care. The court's pretrial ruling was
by counsel's dramatic point that the remedial measure came               a mistaken exercise of its discretionary authority to control
“too late” for these plaintiffs.                                         the presentation of evidence at the trial. See N.J.R.E. 611(a)
                                                                         (“court shall exercise reasonable control over the mode and
The clear potential for unfair prejudice to Roche was further            order of interrogating witnesses and presenting evidence”).
illuminated by the question the jurors posed as their very               Nothing in our rules of evidence, or other laws or rules,
first request during deliberations. The jury asked, “Can we              gives a trial court authority to balance the number of
see all the evidence or only for 1998 back[?] In reference               witnesses presented by each side at the trial. Nor is the trial
to the last Accutane brochure showed [sic] in court with                 court authorized by N.J.R.E. 403 or any other rule or law to
the new language.” While counsel were discussing with the                bar crucial evidence merely on the ground that it duplicates
judge in chambers how to deal with this request, the jury then           another witness's testimony.
indicated that “they didn't need an answer, that they found
                                                                          *19 A trial court would likely abuse its discretion if it
what they were looking for.” Roche's counsel argued that the
                                                                         imposed a limitation of only one witness for each side to
posing of the request suggested that the jury was “talking
                                                                         testify on a factual matter that is vital to the resolution of
about the 2000 label change,” and that the jury presumably
                                                                         a disputed issue. ...
intended to improperly “use the evidence prior to 1998, and
then [compare it substantively to] the 2000 label[.]” The                Here, the testimony that plaintiff wished to present went
judge responded that the court could not interfere with the              to the heart of her case: whether defendant deviated from
jury's deliberation, or speculate as to the reason for the jury's        accepted standards of care for an emergency department
request. We do not share the trial court's confidence that the           physician. Although a second expert would have taken
request was inconsequential, even if it is not totally certain           more time at the trial, it might have been time well-spent. In
what motivated the inquiry. Instead, it provides further indicia         the field of medicine, second opinions are often sought to
that the improvident admission of the 2000 revised label had             test the accuracy of a diagnosis or the benefits and risks of
the capacity to cause a miscarriage of justice. R. 2:10–2.               proposed treatment. Surely it cannot be said that additional
                                                                         expert testimony in a case that involved complicated


                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                Page 164 of 246   13
          PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 109 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 167 of 248 PageID: 176
Rossitto v. Hoffman-La Roche Inc., Not Reported in A.3d (2016)
2016 WL 3943335

  issues of emergency and diagnostic medicine had such low
  probative value as to be substantially outweighed by its            *20 Although we do not do so lightly, we therefore set aside
  partially repetitive nature.                                       the verdict because of these two critical and cumulative errors
                                                                     and remand for a new trial. See Pellicer ex rel. Pellicer v.
  [Id. at 165–68 (emphasis added).]                                  St. Barnabas Hosp., 200 N.J. 22, 52–57 (2009) (applying the
                                                                     cumulative error doctrine); Barber v. ShopRite of Englewood
We further explained:                                                & Assocs., 406 N.J.Super. 32, 52–53 (App.Div.) (same),
                                                                     certif. denied, 200 N.J. 210 (2009).
  We note that Rule 403 does not refer to “duplicative
  evidence” but to “needless ... cumulative evidence” that
  might cause undue delay in the trial and a waste of
  time. By our holding today, we do not preclude a trial             C.
  judge from excluding expert evidence when its cumulative
  nature substantially outweighs its probative value. We hold,       We reject the remainder of Roche's evidentiary arguments.
  however, that two expert witnesses on the central issue of         However, one of them is worthy of discussion, as it could bear
  liability in a medical malpractice case do not per se reach        upon the retrial.
  the level of needless cumulative evidence that substantially
  outweighs its probative value. The trial court mistakenly          Roche argues that the trial court erred in excluding from
  exercised its discretion in granting defendant's pretrial          evidence the “latest science,” which at the time of this trial
  motion to limit expert witnesses to one on each side on a          included a pre-publication abstract of an epidemiological
  central disputed issue in the case.                                study, later published at Antoine Racine et al., Isotretinoin
                                                                     Use and Risk of Inflammatory Bowel Disease: A French
  [Ibid. (Emphasis added).]                                          Nationwide Study, supra, 109 Am. J. Gastroenterology 563
                                                                     (2014) (“Racine study”). For procedural reasons, the court
Here, the trial court erred in refusing to allow all four of         excluded the study, which largely supports Roche's position
Roche's experts to testify, as it desired, on the critical subject   of a lack of IBD causation.
of general causation. As Roche asserts, it was forced to limit
Dr. Dieckgraefe to “a simple net opinion that [p]laintiffs then      The Racine study was published in abstract form in February
attacked before the jury by falsely portraying his knowledge         2012. During depositions conducted that same month, Dr.
on the general cause question,” while plaintiffs, on the             Oliva–Hemker testified that she had not relied on the study in
other hand, were permitted to present general causation              forming her opinion because it had not yet been published or
evidence through both Dr. Sachar and from another scientist          presented at a conference. The Racine study was presented at
who had commented on a published article addressing the              a conference later that spring. A few months later, the court
subject. Because of the trial court's announced prohibition on       initially ruled that the abstract of the study, which contained
repetitive expert testimony, Roche did not call another expert       only limited information, was admissible, and ordered prompt
it had lined up, Dr. Bruce Thiers, a medical school professor        discovery of the contents.
who has prescribed Accutane to over a thousand patients, and
had been prepared to address causation issues as well.               During this additional discovery, plaintiffs were provided
                                                                     with a series of email conversations between Colleen
To be sure, we are mindful of the practical realities                Hennessey, a defense attorney; one of the Racine authors;
confronting the trial court in presiding over this complicated,      and a defense expert who was not called as a witness in
lengthy, and hard-fought case. We are equally mindful that the       this trial. The emails appeared to have been redacted, but
judge did not have at the time the benefit of the guidance we        were not stamped as such. Pursuant to court order, defense
subsequently provided in McLean. Nevertheless, in a matter           counsel provided plaintiffs with unredacted copies of the
of this complexity on “a central issue of liability,” McLean,        emails, which then included a reference to an attachment
supra, 430 N.J.Super. at 168, the court should have allowed          that was not supplied to plaintiffs. Roche represented that the
the defense freer rein to have overlap in the key causation          attachment had been deleted from the email chain and was
opinions of its testifying experts. The impact of this error,        not available.
although it alone might not have required a new trial, adds to
the prejudice concerns we have already mentioned.



                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                             Page 165 of 246   14
         PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 110 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 168 of 248 PageID: 177
Rossitto v. Hoffman-La Roche Inc., Not Reported in A.3d (2016)
2016 WL 3943335

Upon questioning by the trial judge during a pretrial hearing       arguments seeking reversal for sake of completeness and
on this issue, Hennessey testified under oath that she had          because of their potentially dispositive character.
not received the attachment because it had been deleted from
the email chain by the defense expert, but she represented
that the expert had told her the attachment was a copy of the
                                                                    A.
abstract of the Racine study that had already been provided to
plaintiffs. A few hours later, however, at the court's direction,   Roche contends that the 1984 version of the Accutane
defense counsel located the attachment. The attachment was,         label was adequate as a matter of law under the PLA. It
in fact, a different version of the abstract that had been          maintains that plaintiffs failed to present sufficient evidence
provided to plaintiffs, in that the abstract listed a different:    to overcome the statutory rebuttable presumption of adequacy
(1) number of years (2009–2010 vs.2008–2009); (2) number            that flows from FDA approval under N.J.S.A. 2A:58C–4.
of IBD cases in the general population (7593 vs. 4402); (3)
number of IBD cases among people who had taken Accutane             We previously rejected Roche's categorical argument on this
(26 vs. 17); and (4) “odds ratio” (0.59 vs. 0.68).                  issue in both McCarrell I, supra, slip op. at 108 (finding
                                                                    the trial proofs were ample to reasonably support the jury's
 *21 Presented with two conflicting abstracts of the same           finding that the 1984 label was inadequate), and in Kendall,
Racine study, the court ruled that neither abstract was
                                                                    supra, slip op. at 87.16
sufficiently reliable to be admissible at that trial, but noted
the abstract might be admissible at a future trial once it
                                                                    As in McCarrell I and Kendall, here there was evidence
was determined which version was correct. In later denying
                                                                    that the 1984 warning, as it existed when plaintiffs took
Roche's motion for a new trial, raising this issue again, the
                                                                    the drug from 1992 to 1998, was inadequate even though
court further explained that the abstract of the Racine study
                                                                    it specifically referred to IBD, because it did not accurately
would have been admitted, but for the conduct of the defense
                                                                    reflect the knowledge the company allegedly had. As we
expert, which made it impossible to determine if there were
                                                                    have noted, Dr. Blume testified that during the sixteen years
two abstracts, two studies, or whether the abstracts were drafts
                                                                    that the label had remained unchanged (from 1984 to 2000),
or redrafts.
                                                                    Roche had received information through ADE reports that
                                                                    indicate both a causal relationship between Accutane and
As a general proposition, learned treatises may be admissible
                                                                    IBD and a latency effect, which she asserted was critically
in evidence under N.J.R.E. 803(c)(18), an exception to
                                                                    important information for a physician to have in making a
the hearsay rule, if “established as a reliable authority
                                                                    risk/benefit analysis. Dr. Blume also criticized Roche's use
by testimony or by judicial notice.” However, “[m]ere
                                                                    of the term “temporally associated,” which was subject to
publication does not automatically render a text a reliable
                                                                    differing definitions by the company's own employees, and
authority.” Jacober v. St. Peter's Med. Ctr., 128 N.J. 475, 491
                                                                    which she said meant while a patient was taking the drug. The
(1992).
                                                                    labeling expert opined that the use of the term “temporally”
                                                                    falsely suggested that the disease was reversible, and that
We concur with the trial court's exclusion of the Racine
                                                                    there was no latent effect.
abstract under these circumstances. The defense, on the verge
of trial, had cast doubt on the reliability of the abstract and
                                                                     *22 We recognize that the FDA approved the 1984 version
its actual contents. The court did not abuse its discretion in
                                                                    of the label. Nevertheless, plaintiffs marshalled sufficient
excluding this evidence, given the procedural setting. Bd. of
                                                                    competing evidence upon which a jury reasonably could
Educ. of Clifton, 409 N.J.Super. 389, 430 (App.Div.2009).
                                                                    rely to overcome the rebuttable statutory presumption of
However, we agree the study may be introduced, subject to
                                                                    adequacy. At a minimum, viewing the record from this trial,
any appropriate objections or competing evidence, at a retrial.
                                                                    as we must, in a light most favorable to the respondents, see
                                                                    Dolson v. Anastasia, 55 N.J. 2, 5 (1969), there was potentially
                                                                    credible proof of the company's “deliberate concealment or
IV.                                                                 nondisclosure of after-acquired knowledge of [Accutane's]
                                                                    harmful effects[.]” Perez, supra, 161 N.J. at 25 (emphasis
Having set aside the verdict on the grounds we have                 added); see also Rowe, supra, 189 N.J. at 626. On a retrial,
already discussed, we nonetheless address Roche's additional        the parties are free to continue to litigate the general causation


                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                              Page 166 of 246   15
         PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 111 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 169 of 248 PageID: 178
Rossitto v. Hoffman-La Roche Inc., Not Reported in A.3d (2016)
2016 WL 3943335

issues bearing upon Accutane's actual “harmful effects” and         not read the warning, or had independent knowledge of the
the adequacy of the 1984 label, with the opportunity to expand      risks. Perez, supra, 161 N.J. at 28. In order for dismissal of
the proofs to include more recent scientific studies further        the lawsuit to be warranted on this basis, the evidence must
addressing those questions.                                         be clear and unequivocal. “Where the plaintiffs' prescribing
                                                                    physicians unequivocally testify that they had full knowledge
We need not reach whether the alternative basis for                 of the dangers associated with a drug and that neither
overcoming the presumption, i.e., “economically-driven              that knowledge nor anything in the enhanced post-injury
manipulation of the post-market regulatory process,”                warnings supplied by the manufacturer would have altered
McDarby, supra, 401 N.J.Super. at 63, was reasonably shown          their decision to prescribe it, the plaintiff has failed to show
here. However, if that second prong is placed in issue on a         that inadequate warnings are a proximate cause of injury and
retrial, the company's interactions with the FDA respecting         there must be a verdict for defendant.” See Dreier, Keefe &
Accutane's effects of depression, as distinct from IBD, would       Katz, supra, § 8:3–2 at 200 (emphasis added). “Where such
be of some, but only limited, relevance to this case. See           a statement is not unequivocal the matter is properly for the
N.J.R.E. 401 (providing that evidence is relevant if it has a       jury.” Ibid.; see also Strumph, supra, 256 N.J.Super. at 328
mere “tendency” to prove or disprove a fact of consequence to       (Skillman, J., dissenting) (concluding that “a defendant drug
the case). The depression-related evidence, including Roche's       manufacturer may not be held liable for an alleged inadequate
internal briefing document on the subject, would not, in            warning where the only evidence on the issue of causation
and of itself, be sufficient evidence to surmount that second       is the prescribing doctor's unequivocal testimony that his or
prong. Instead, if plaintiffs choose to litigate the second prong   her decision to prescribe the drug was not affected by the
again, they must present adequate evidence of alleged market        warning”) (emphasis added).
manipulation concerning IBD side effects, and not solely of
depression; otherwise the depression-related proofs should be       As to Rossitto, her dermatologist Dr. Watt testified that he
excluded.                                                           understood from reading the warnings, which had remained
                                                                    unchanged for thirteen years, that Accutane was only
                                                                    temporally associated with IBD, meaning to him that the
                                                                    symptoms only occurred while the patient was taking the
B.
                                                                    drug. The 1984 label did not warn that Accutane can cause
Roche further argues that plaintiffs failed to present sufficient   permanent IBD, or of a latency effect. If it had, Dr. Watt
evidence of proximate causation. It contends that the claims        testified that he would have considered that information in
of Rossitto and Wilkinson must be dismissed because their           conducting a risk/benefit analysis and would have relayed
respective physicians would have prescribed Accutane for            that information to Rossitto. The proofs were sufficient to
them anyway, even if the 1984 label had contained a stronger        support a reasonable inference that, if properly warned, Dr.
warning. See Strumph v. Schering Corp., 256 N.J.Super. 309,         Watt would have communicated the risk of developing IBD
323–28 (App.Div.1992) (Skillman, J., dissenting), rev'd on          to her, and her mother would not have allowed her to take the
dissent, 133 N.J. 33 (1993).                                        drug.

We do not view the evidence in such a conclusive or                 Nor, as argued by Roche, was the chain of causation
absolute manner. Viewing the record in a light most favorable       necessarily broken by Dr. Watt's alleged failure to read the
to plaintiffs, their prescribing physicians both expressed          warning. Dr. Watt testified that although he could not recall
significant reservations about whether the label sufficiently       if he had read the Accutane label prior to prescribing the
alerted them to the risks of patient IBD. The evidence is by no     drug for Rossitto, he had, in making a risk/benefit analysis,
means so one-sided that a stronger warning would have had           relied on multiple sources. Those sources included Roche's
no effect on the doctors' interactions with plaintiffs and their    “Dear Doctor” letter; the PDR, which he kept in his office;
parents, or upon whether the patients would have necessarily        drug company representatives, who had been instructed to say
agreed to take the drug in spite of a stronger IBD warning.         that the IBD symptoms occurred while the patient was taking
                                                                    the drug, and that a precise cause and effect relationship had
 *23 Under New Jersey law, the inadequacy of a warning              not been established; and his medical training and continuing
cannot be the proximate cause of an injury where there is           education classes. There is ample evidence that Dr. Watt
an intervening cause, that is, that the physician either did        read the warning (because it was repeated in the “Dear



                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                            Page 167 of 246   16
         PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 112 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 170 of 248 PageID: 179
Rossitto v. Hoffman-La Roche Inc., Not Reported in A.3d (2016)
2016 WL 3943335

Doctor” letter) and there was no evidence that he had any        function as a “learned intermediary,” Niemiera v. Schneider,
independent knowledge that Accutane could cause IBD or           114 N.J. 550, 559 (1989), it should not be assumed that a
that the symptoms would be permanent, not temporary.             doctor will issue a prescription to an informed patient who
                                                                 is unwilling to risk a drug's side effects. The evidence was
 *24 We reach the same conclusion as to Wilkinson,               sufficiently debatable to have the causation issue resolved by
although the proofs as to his own prescribing physician,         the jurors as the fact-finders.
Dr. Orme, are weaker. As we previously noted, Dr. Orme
did acknowledge at one point in his testimony that “[i]n
all likelihood,” if the label had warned that Accutane had       C.
been “possibly or probably associated” with IBD, instead of
“temporally associated,” he “would have still prescribed it      Lastly, Roche argues that the trial court should have ruled
to ... Wilkinson with the same communication that [he] did       that Rossitto's and Wilkinson's claims were time-barred,
in fact give to [Wilkinson's] parents.” However, this evidence   under the two-year statute of limitations, N.J.S.A. 2A:14–2,17
is contradicted, at least in part, by other testimony by Dr.     and should not have permitted their cases to proceed under
Orme stating that if Roche had warned that taking Accutane       principles of equitable tolling.
presented a risk of developing IBD, he “[d]efinitely” would
have warned Wilkinson and his mother about the disease.           *25 The trial court concluded that both Rossitto, who filed
Unlike the circumstances in Strumph, this is not a case in       suit in December 2010, and Wilkinson, who filed suit in April
which the prescribing doctor's testimony on this key issue is    2008, brought their claims within two years of learning of
“unequivocal.” Id. at 328.                                       a connection between their use of Accutane and their IBD
                                                                 symptoms. The trial court reached these conclusions after
In addition, it is significant that Dr. Orme had multiple        conducting appropriate pretrial evidentiary hearings on the
discussions with Wilkinson and his mother of the risks and       timeliness issues pursuant to Lopez v. Swyer, 62 N.J. 267,
benefits of Accutane over a span of more than a year before      275–76 (1973), and making associated credibility findings.
the decision to prescribe it was made. There is more than        Having reviewed the proofs developed at those hearings, we
ample evidence to infer that the label's alleged failure to      are satisfied that there is ample reasonable support for the trial
sufficiently discuss the risks of IBD could have affected        court's findings of timeliness, and that they are consistent with
the prescribing decision and the patient's willingness to take   the principles expressed by the Supreme Court in Kendall,
the drug. With a stronger warning passed on by Dr. Orme,         supra, 209 N.J. at 197–98, including the application of the
the medical decision would then have fallen to Wilkinson's       public policies underlying the PLA statute. We affirm those
mother, who could have then appropriately considered the         determinations, substantially for the reasons expressed by the
IBD risk. As we have noted, the mother testified that if Dr.     trial court.
Orme had warned that Accutane caused IBD, she would not
have let her son take the drug, even if Dr. Orme had highly
recommended it. Her reluctance in this regard is consistent
                                                                 V.
with her conduct. Dr. Orme raised Accutane as a treatment
option in October 1993, and again in 1994, but Wilkinson's       For the foregoing reasons, we vacate the judgments entered
mother did not allow her son to take the drug until May 1995.    in favor of Rossitto and Wilkinson and remand for a new trial
                                                                 consistent with this opinion.
Viewing this evidence in a light most favorable to Wilkinson,
there was sufficient evidence of proximate causation to          Affirmed in part, vacated in part, and remanded in part.
present to a jury. The “prescribing decision”—insofar as it
logically entails both a physician's recommendation and a
patient's assent to follow that recommendation after being       All Citations
apprised of the pertinent risks—could have been affected by
the absence of a stronger warning. Although a physician can      Not Reported in A.3d, 2016 WL 3943335



Footnotes



               © 2020 Thomson Reuters. No claim to original U.S. Government Works.                            Page 168 of 246   17
       PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 113 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 171 of 248 PageID: 180
Rossitto v. Hoffman-La Roche Inc., Not Reported in A.3d (2016)
2016 WL 3943335

1     As of July 9, 2016, there were 3925 cases listed on New Jersey's Accutane mass tort case list. See Accutane, N.J.
      Judiciary, http://www.judiciary.state.nj.us/mass-tort/accutane (last visited on July 11, 2016). Prior to the verdict in this
      case, decisions were issued in: McCarrell v. Hoffman–La Roche, Inc. (McCarrell I), No. A–3280–07 (App.Div. Mar. 12,
      2009), certif. denied, 199 N.J. 518 (2009); Kendall v. Hoffman–La Roche, Inc., No. A–2633–08 (App.Div. Aug. 5, 2010),
      aff'd, 209 N.J. 173 (2012); and Sager v. Hoffman–La Roche, Inc., No. A–3427–09 (App.Div. Aug. 7, 2012), certif. denied,
      213 N.J. 568 (2013). After the verdict, decisions were issued in Gaghan v. Hoffman–La Roche, Inc., No. A–2717–11,
      A–3211–11, A–3217–11 (App.Div. Aug. 4, 2014) and McCarrell v. Hoffman–La Roche, Inc. (McCarrell II), A–4481–12
      (App.Div. Aug. 11, 2015), certif. granted, 223 N.J. 555 (2015).
2     Reynolds, a resident of California, and Young, a resident of New Jersey, did not appeal.
3     Roche's appeal (A–301–14) of a separate $1.578 million jury verdict in favor of Kendall on a retrial of her case was argued
      back-to-back with the present appeals. That appeal has since been dismissed, as the result of a recent settlement with
      that individual plaintiff.
4     In an internal document from 1978, Roche noted a call from Dr. Manfred Hein, a pharmacologist with the FDA, in which
      he expressed concern about the gastrointestinal bleeding observed in the dog studies.
5     Recent epidemiological studies have yielded mixed results regarding the disputed link between Accutane and IBD. For
      instance, in an article published in 2009, Charles N. Bernstein et al., Isotretinoin Is Not Associated with Inflammatory
      Bowel Disease: A Population–Based Case–Control Study, 104 Am. J. Gastroenterology 2774 (2009) (the “Bernstein
      article”), the authors concluded that “isotretinoin is not likely to cause chronic IBD.” Additionally, in an article published
      in 2010, Seth D. Crockett et al., Isotretinoin Use and the Risk of Inflammatory Bowel Disease: A Case–Control Study,
      105 Am. J. Gastroenterology 1986 (2010) (the “Crockett article”), the authors found that ulcerative colitis, but not Crohn's
      disease, is associated with Accutane, but cautioned that a causal association with IBD “remains unproven.”
6     “Labeling” is a term of art within the arena of drug regulation. The term refers to “all labels and other written, printed or
      graphic matters (1) upon any article or any of its containers or wrappers, or (2) accompanying such article.” 21 U.S.C.A.
      § 321(m).
7     Plaintiffs Rossitto and Wilkinson took Accutane on various dates from May 1995 to April 1998. When the other two
      plaintiffs from this trial, Reynolds and Young, are included, the relevant time span of usage expands from November
      1992 to November 1998.
8     RoAccutane, also spelled RoAccutan, is the brand name for Accutane in Europe.
9     We discuss, infra, the disputed relevance of these depression-related communications to the issues before us that
      concern IBD.
10    In 2003, the warnings were further strengthened, Kendall, supra, 209 N.J. at 183, although those 2003 changes were not
      admitted into evidence at this trial. In 2009, defendants withdrew Accutane from the market, but generic makers continue
      to manufacture it. Id. at 180 n. 3.
11    This court has upheld the admissibility of Dr. Sachar's expert opinions in some of the previous Accutane appeals. Roche
      has not challenged, in its present appeal, the admission of Dr. Sachar's opinions at the trial of Rossitto and Wilkinson,
      although the drug company asserts that more recent scientific studies have conflicted with Dr. Sachar's theories of
      causation.
12    “Advisory committees provide independent advice and recommendations to the FDA on scientific and technical
      matters related to products ... regulated by the Agency.” New Drug Application (NDA), Food & Drug Admin.,
      http://www.fda.gov/Drugs/DevelopmentApprovalProcess/ HowDrugsareDevelopedandAppro ved/ApprovalApplications/
      NewDrugApplicationNDA (last updated Mar. 29, 2016).
13    Roche has not argued on appeal that the damages the jury awarded to the two prevailing plaintiffs were excessive.
14    There are some differences between New Jersey and Utah law on product liability issues in the prescription drug context,
      although the parties do not argue that these differences affect the issues now before us on appeal. We do note that
      Utah, unlike New Jersey, adopted the reasoning of Restatement (Second) of Torts § 402A cmt. k (1965), and classifies
      all prescription drugs “as unavoidably dangerous in design[.]” Schaerrer v. Stewart's Plaza Pharm., Inc., 79 P.3d 922,
      928 (Utah 2003); Perez v. Wyeth Labs., 161 N.J. 1, 10 (1999) (declining to hold as a matter of law that all prescription
      drugs are unavoidably unsafe). As a result, under Utah law “prescription drugs cannot, as a matter of law, be defective if
      approved by the United States Food and Drug Administration (FDA) and ‘properly prepared, compounded, packaged, and
      distributed.’ “ Schaerrer, supra, 79 P.3d at 928 (quoting Grundberg v. Upjohn Co., 813 P.2d 89 (Utah 1991)). However,
      in Utah, as in New Jersey, manufacturers are not shielded from strict liability claims based on inadequate warnings,
      which are at issue here. Ibid. We should also note that the statutory rebuttable presumptions concerning the effect of
      FDA approval for a drug differ, in that New Jersey's presumption is stronger and of greater evidentiary weight than a



              © 2020 Thomson Reuters. No claim to original U.S. Government Works.                              Page 169 of 246   18
       PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 114 of 114 Trans ID: LCV20201846220
 Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 172 of 248 PageID: 181
Rossitto v. Hoffman-La Roche Inc., Not Reported in A.3d (2016)
2016 WL 3943335

      customary presumption, Kendall, supra, 209 N.J. at 195, while in Utah, “a preponderance of the evidence is sufficient to
      rebut it.” Egbert v. Nissan N. Am., Inc., 167 P.3d 1058, 1063 (Utah 2007).
15    The FDA did not acquire the ability to mandate a labeling change until the passage of the Food and Drug Administration
      Amendments Act of 2007 (FDAA), Pub. Law 110–85, 121 Stat. 823. The FDA can now mandate a labeling change based
      on new information about an approved label. 21 U.S.C.A. § 355(o)(4).
16    We cite these unpublished opinions involving the same defendant and the same drug for non-precedential purposes,
      because they are related cases. See R. 1:36–3. In doing so, we need not address whether any principles of issue
      preclusion or collateral estoppel are applicable, which plaintiffs have not asserted in any event.
17    The parties agree that New Jersey law governs the statute-of-limitations issues, and thus the choice-of-law questions
      currently before the Supreme Court in McCarrell II are not of concern here.


End of Document                                                    © 2020 Thomson Reuters. No claim to original U.S.
                                                                                               Government Works.




             © 2020 Thomson Reuters. No claim to original U.S. Government Works.                          Page 170 of 246   19
       PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 1 of 27 Trans ID: LCV20201846220
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 173 of 248 PageID: 182




   ANTHONY GAETANO,                            SUPERIOR COURT OF NEW JERSEY
                                               LAW DIVISION: PASSAIC COUNTY
                        Plaintiff,                CASE NO. PAS-L-002011-20

                 v.                                       CIVIL ACTION

   GILEAD SCIENCES, INC.; ST. JOSEPH’S
   HEALTH, INC.; MICHAEL LANGE; JOHN
   DOES 1-10 (fictitious names representing
   unknown individuals); and/or JANE DOES 1-
   10 (fictitious names representing unknown
   individuals),

                        Defendants.


  ______________________________________________________________________________

      BRIEF OF GILEAD SCIENCES, INC. IN SUPPORT OF ITS MOTION TO DISMISS
                             PLAINTIFF’S COMPLAINT
  ______________________________________________________________________________

                                               SILLS CUMMIS & GROSS P.C.
                                               One Riverfront Plaza
                                               Newark, New Jersey 07102
                                               Telephone: (973) 643-7000
                                               Facsimile: (973) 643-6500

                                               SIDLEY AUSTIN LLP
                                               555 West Fifth Street, Suite 4000
                                               Los Angeles, CA 90013
                                               Telephone: (213) 896-6000
                                               Facsimile: (213) 896-6600

                                               Attorneys for Defendant
                                               Gilead Sciences, Inc.
  BETH S. ROSE, ESQ.
  Of Counsel and On the Brief




                                                                               Page 171 of 246
          PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 2 of 27 Trans ID: LCV20201846220
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 174 of 248 PageID: 183




                                                     TABLE OF CONTENTS

  INTRODUCTION ...........................................................................................................................1
  STATEMENT OF FACTS ..............................................................................................................3
                       A.         Gilead’s HIV Medications ...........................................................................3
                       B.         Plaintiff’s Allegations and Causes of Action ...............................................4
  LEGAL STANDARD ......................................................................................................................5
  ARGUMENT ...................................................................................................................................6
            I.         PLAINTIFF’S CLAIM AGAINST GILEAD IS PREEMPTED BY FEDERAL
                       LAW. .......................................................................................................................6
                       A.         Principles of Federal Preemption .................................................................6
                       B.         Mutual Pharmaceuticals Co., Inc. v. Bartlett ..............................................7
                       C.         Federal Regulations Regarding Drug Design and Labeling Changes .........8
                       D.         Federal Law Preempts Plaintiff’s Design Defect Theory of Liability. ......10
                       E.         Federal Law Preempts Plaintiff’s Failure To Warn Theory. .....................16
            II.        THE TRUVADA® LABELING IS ADEQUATE AS A MATTER OF LAW. ...19
  CONCLUSION ..............................................................................................................................22




                                                                         i
                                                                                                                                 Page 172 of 246
          PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 3 of 27 Trans ID: LCV20201846220
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 175 of 248 PageID: 184




                                                TABLE OF AUTHORITIES

                                                                                                                                Page(s)

  Cases

  In re: Accutane Litig.,
      235 N.J. 229 (2018) ...........................................................................................................19, 20

  Adams v. Synthes Spine Co., LP,
     298 F.3d 1114 (9th Cir. 2002) .................................................................................................21

  Aston v. Johnson & Johnson,
     248 F. Supp. 3d 43 (D.D.C. 2017) ...........................................................................................14

  Bailey v. Wyeth, Inc.,
     424 N.J. Super. 278 (App. Div. 2008) ............................................................................. passim

  Banner v. Hoffman-La Roche Inc.,
     383 N.J. Super. 364 (App. Div. 2006) ...............................................................................19, 21

  Boone v. Boehringer Ingelheim Pharms., Inc.,
     SC 20200, 2020 WL 2121063, -- A.3d -- (Conn. May 4, 2020)........................................14, 15

  In re Celexa & Lexapro Mktg. & Sales Prods. Liab. Litig.,
      779 F.3d 34 (1st Cir. 2015) ..................................................................................................9, 18

  DeBenedetto v. Denny’s, Inc.,
     421 N.J. Super. 312 (App. Div. 2010) .......................................................................................5

  Desai v. Sorin CRM USA, Inc.,
     No. 12-2995, 2013 WL 163298 (D.N.J. Jan. 15, 2013) .............................................................5

  Drescher v. Bracco Diagnostics Inc.,
     No. CV-19-00096, 2020 WL 1466296 (D. Ariz. Mar. 26, 2020) ......................................14, 17

  Epstein v. Gilead Sciences, Inc.,
     No. 19-81474, 2020 WL 4333011 (S.D. Fla. July 27, 2020)........................................... passim

  Evans v. Gilead Sciences, Inc.,
     No. 20-cv-00123, 2020 WL 5189995 (D. Haw. Aug. 31, 2020) .................................13, 15, 16

  Farina v. Nokia Inc.,
     625 F.3d 97 (3rd Cir. 2010) .......................................................................................................6

  Fleming v. Janssen Pharm., Inc.
     186 F. Supp. 3d 826 (W.D. Tenn. 2016)..................................................................................13




                                                                ii
                                                                                                                         Page 173 of 246
          PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 4 of 27 Trans ID: LCV20201846220
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 176 of 248 PageID: 185




  Gibbons v. Bristol-Myers Squibb Co.,
     919 F.3d 699 (2d Cir. 2019) ................................................................................................8, 16

  Gustavsen v. Alcon Labs., Inc.,
     903 F.3d 1 (1st Cir. 2018) ........................................................................................................13

  Holley v. v. Gilead Sciences, Inc.,
     379 F. Supp. 3d 809 (N.D. Cal. 2019) ...................................................................15, 16, 17, 19

  Lyons v. Boehringer Ingelheim Pharms., Inc.,
     No. 1:18-cv-04624, -- F.Supp. 3d --, 2020 WL 5835125 (N.D. Ga. Sept. 29,
     2020) ........................................................................................................................................17

  Maze v. Bayer Healthcare Pharms., Inc.,
    No. 4:18-cv-21, 2019 WL 1062387 (E.D. Tenn. Mar. 6, 2019) ..............................................19

  McGee v. Boehringer Ingelheim Pharms., Inc.,
    No. 4:16-cv-2082, 2018 WL 1399237 (N.D. Ala. Mar. 20, 2018) ..................................8, 9, 18

  Mutual Pharms. Co., Inc. v. Bartlett
     570 U.S. 472 (2013) ......................................................................................................... passim

  Patton v. Forest Labs., Inc.,
     No. 17-cv-922, 2018 U.S. Dist. LEXIS 160368 (C.D. Cal. Sept. 19, 2018) ...........................18

  PLIVA, Inc. v. Mensing,
     564 U.S. 604 (2011) ......................................................................................................... passim

  Robinson v. Eli Lilly & Co.,
     5:17-cv-338, 2018 WL 4039703 (E.D. Ky. Aug. 23, 2018) ....................................................14

  Rollins v. Wackenhut Servs., Inc.,
     703 F.3d 122 (D.C. Cir. 2012) .................................................................................................21

  Rossito v. Hoffman-La Roche Inc.,
     A-1237-13T1, 2016 WL 3943335 (App. Div. July 22, 2016) .................................................19

  Teamster Local 97 v. State,
     434 N.J. Super. 393 (App. Div. 2014) ...................................................................................5, 6

  Trejo v. Johnson & Johnson,
     13 Cal. App. 5th 110 (2017), petition for review denied, No. S243672 (Oct.
     11, 2017) ............................................................................................................................14, 15

  Utts v. Bristol-Myers Squibb Co.,
      226 F. Supp. 3d 166 (S.D.N.Y. 2016).............................................................................. passim




                                                                         iii
                                                                                                                                  Page 174 of 246
          PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 5 of 27 Trans ID: LCV20201846220
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 177 of 248 PageID: 186




  Utts v. Bristol-Myers Squibb Co.,
      251 F. Supp. 3d 644 (S.D.N.Y. 2017).............................................................................. passim

  Wyeth v. Levine,
     555 U.S. 555 (2009) .................................................................................................................10

  Yates v. Ortho-McNeil-Janssen Pharm., Inc.,
     808 F.3d 281 (6th Cir. 2015) .............................................................................................12, 15

  Zardo v. Merck & Co. Inc.,
     168 F.3d 504 (9th Cir. 1999) ...................................................................................................21

  Other Authorities

  21 C.F.R. § 314.3 .....................................................................................................................10, 16

  21 C.F.R. § 314.70 ................................................................................................................. passim

  21 U.S.C. § 355 ......................................................................................................................2, 8, 15

  Federal Food, Drug, and Cosmetic Act of 1938 ..............................................................................8

  N.J.S.A. 2A:58C ..................................................................................................................... passim

  N.J. Rule 1:36-3 ...............................................................................................................................6

  N.J. Rule 4:6-2(e).............................................................................................................................5




                                                                         iv
                                                                                                                                Page 175 of 246
        PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 6 of 27 Trans ID: LCV20201846220
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 178 of 248 PageID: 187




                                         INTRODUCTION

         Gilead Sciences, Inc. (“Gilead”) develops and markets life-saving medications, including

  Truvada®—an HIV medication containing tenofovir disoproxil fumarate (“TDF”). Plaintiff

  Anthony Gaetano does not, and could not, allege that Truvada® was ineffective for use in

  treating his HIV. Truvada® is approved by the U.S. Food and Drug Administration (“FDA”) for

  the treatment of HIV infection; TDF-containing medications, including Truvada®, are core

  components of the U.S. Department of Health and Human Services’ recommended regimens for

  HIV treatment1; and TDF is listed as an “essential” medicine by the World Health Organization.2

         Instead, Plaintiff alleges that he experienced “pain related to musculoskeletal disorders”

  after taking Truvada®. See Complaint, Dated July 8, 2020 (“Compl.”) at ⁋ 11. Plaintiff asserts a

  Negligence claim (Count I) against his treating physician and against a medical service provider

  where he was treated for HIV, and asserts a Strict Products Liability claim (Count II), subject to

  the New Jersey Product Liability Act (“PLA”), against Gilead, based on two theories: (1)

  Truvada® was defectively designed because, by 2009, a “safer, alternative design [i.e., a

  medication containing a different drug, tenofovir alafenamide (“TAF”), instead of TDF] existed

  that would have reduced or prevented the harm caused to the Plaintiff,” and (2) although

  “Truvada’s labelling included a warning to monitor patients,” like Plaintiff, “who were at risk for

  adverse kidney events,” it failed to adequately warn of the need to similarly monitor other

  patients who, unlike Plaintiff, were not at such risk. See Compl. ⁋⁋ 11, 20-22, 40-42, 70, 73.

  Plaintiff’s claim against Gilead should be dismissed with prejudice for two reasons.


  1
    Guidelines for the Use of Antiretroviral Agents in Adults and Adolescents Living with HIV,
  DEP’T OF HEALTH AND HUM. SERV., at G-4, G-19, G-25 (Dec. 18, 2019),
  https://clinicalinfo.hiv.gov/sites/default/files/guidelines/documents/AdultandAdolescentGL.pdf.
  2
    WHO Model List of Essential Medicines, WORLD HEALTH ORG., at 19-21 (2019),
  https://apps.who.int/iris/bitstream/handle/10665/325771/WHO-MVP-EMP-IAU-2019.06-
  eng.pdf?ua=1.


                                                                                         Page 176 of 246
        PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 7 of 27 Trans ID: LCV20201846220
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 179 of 248 PageID: 188




         First, Plaintiff’s Strict Products Liability claim (Count II) against Gilead, premised on

  design defect and failure to warn theories, is preempted by federal law. Specifically, Plaintiff’s

  design defect theory that Gilead should have replaced TDF with TAF is preempted, because

  Gilead could not have marketed or sold medications containing TAF without first seeking and

  obtaining FDA approval. See 21 U.S.C. § 355(a) (requiring FDA approval of a new drug

  application to market a drug); 21 C.F.R. § 314.70(b)(2)(i) (defining “changes in the qualitative or

  quantitative formulation of the drug product” as “major changes” that “requir[e] supplement

  submission and approval prior to distribution of the product”). Where, as here, state-law design

  defect claims seek to require manufacturers to render a drug safer by altering its composition,

  and thereby conflict with federal laws that prohibit manufacturers from unilaterally altering drug

  composition without FDA approval, they are preempted by federal law. Plaintiff’s design-defect

  theory also fundamentally conflicts with FDA’s decisions to approve Truvada® for use in the

  treatment of HIV and never to revoke that approval in the more than 16 years since Truvada®

  was approved. For these reasons, other courts have recently dismissed, as preempted, similar

  design defect claims brought against Gilead regarding Truvada® and other TDF medications.

         Likewise, Plaintiff’s allegations that Gilead failed to sufficiently warn of the need to

  monitor patients for bone and kidney risks associated with Truvada® are preempted, because

  (a) state law claims challenging, as inadequate, warnings contained in a drug’s FDA-approved

  original labeling are preempted by federal law, and (b) Plaintiff fails to allege any “newly

  acquired information” that would have allowed Gilead to strengthen warnings in the Truvada®

  labeling without prior FDA approval.

         Because Plaintiff’s sole claim against Gilead is based entirely on these design defect and

  failure to warn theories, it is preempted and should be dismissed with prejudice.




                                                   2
                                                                                          Page 177 of 246
        PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 8 of 27 Trans ID: LCV20201846220
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 180 of 248 PageID: 189




         Second, the FDA-approved Truvada® labeling is sufficient as a matter of law, and

  Plaintiff thus has not pled a cognizable failure to warn theory for that independent reason.

  Pursuant to the PLA, New Jersey recognizes a “‘virtually dispositive’ statutory ‘super-

  presumption’” that warnings or instructions on FDA-approved drug labels are adequate as a

  matter of law. See N.J.S.A. 2A:58C-4. Not only does Plaintiff fail to plead any facts to rebut

  that presumption, he concedes that, “[a]t all times relevant herein, Truvada’s labelling included a

  warning to monitor patients who were at risk for adverse kidney events as clinically

  appropriate.” Compl. ⁋ 20; see also id. ⁋ 22 (same). Although Plaintiff alleges that the label did

  not adequately warn of the need to monitor other patients who were not at risk, see id. ⁋⁋ 40-42,

  Plaintiff concedes that his diagnoses prior to taking Truvada® “made him at risk for adverse

  kidney events.” Id. ⁋⁋ 21(a), 23(a) (emphasis added). Because the Truvada® labeling

  indisputably warned of the need to monitor patients, like Plaintiff, who were “at risk for adverse

  kidney events,” Plaintiff cannot state a viable failure to warn claim.

                                     STATEMENT OF FACTS

         A.      Gilead’s HIV Medications

         Gilead manufactures and sells medications for the treatment of HIV, Compl. ⁋ 2,

  including Truvada®, a “fixed-dose combination tablet[] containing emtricitabine and [TDF].”3 In

  August 2004, FDA approved Truvada® for use in treatment of HIV. Compl. ⁋ 31.

         On November 5, 2015, after Plaintiff was no longer taking Truvada®, FDA approved

  Genvoya®, the first FDA-approved HIV medication containing TAF. Id. ⁋⁋ 18, 70.




  3
   Center for Drug Evaluation and Research (“CDER”), Truvada® Approved Labeling,
  https://www.accessdata.fda.gov/drugsatfda_docs/nda/2004/021752s000_Truvada_Prntlbl.pdf.


                                                   3
                                                                                         Page 178 of 246
        PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 9 of 27 Trans ID: LCV20201846220
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 181 of 248 PageID: 190




         B.      Plaintiff’s Allegations and Causes of Action

         Plaintiff alleges that he was prescribed and ingested Truvada® for the treatment of HIV

  between 2005 and 2014. Id. ⁋⁋ 17-18. Prior to ever taking Truvada®, Plaintiff allegedly was

  diagnosed with chronic kidney disease, Type 2 diabetes mellitus, renal insufficiency, anemia of

  chronic diseases, and dyselectrolytemia. Id. ⁋⁋ 15-16, 21, 23. As a result, Plaintiff admits that,

  prior to taking Truvada®, he was “at risk for adverse kidney events.” Id. ⁋⁋ 21(a), 23(a).

         Plaintiff does not allege that Truvada® was ineffective for treating his HIV. Instead, he

  alleges that, three years after he stopped taking Truvada®, he suffered “chronic pain related to

  musculoskeletal disorders.” Id. ⁋ 11. Plaintiff further alleges that (i) Truvada® was defectively

  designed, because its “risks outweighed its utility,” or “a practical, feasible, safer, alternative

  design,” i.e., TAF, “existed that would have reduced or prevented the harm caused to the

  Plaintiff,” and (ii) the Truvada® label failed to adequately warn of the need to monitor patients

  for adverse kidney and bone risks associated with Truvada®. Id. ⁋⁋ 40-42, 73. Plaintiff asserts

  one cause of action against Gilead for Strict Products Liability (Count II).4

         Notwithstanding his design defect theory (i.e., that TAF was a safer, alternative design),

  Plaintiff concedes that no medication containing TAF could have been approved until at least

  2009, four years after Plaintiff was prescribed and began ingesting Truvada®. Id. ⁋ 70 (alleging

  that Genvoya® “could have been conceivably approved in 2009”).

         And notwithstanding his failure to warn theory (i.e., that Gilead failed to warn of the need

  to monitor patients for kidney and bone risks), Plaintiff does not dispute that “[a]t all times




  4
   Plaintiff also asserts a separate cause of action for Negligence (Count I) against St. Joseph’s
  Health, Inc., a medical service provider where Plaintiff was treated for HIV, and Dr. Michael
  Lange, Plaintiff’s treating physician.



                                                     4
                                                                                            Page 179 of 246
       PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 10 of 27 Trans ID: LCV20201846220
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 182 of 248 PageID: 191




  relevant herein, Truvada’s labelling included a warning to monitor patients who,” like Plaintiff,

  “were at risk for adverse kidney events as clinically appropriate.” Id. ⁋⁋ 20-23 (emphasis

  added). Indeed, since its FDA-approval, and since Plaintiff was first prescribed Truvada®, the

  Truvada® labeling has warned, among other things, that “[p]atients at risk for, or with a history

  of, renal dysfunction . . . should be carefully monitored for changes in serum creatinine and

  phosphorous.”5 See also Compl. ⁋ 46 (alleging that Gilead “should have warned doctors to

  check for serum phosphorous and/or urine glucose, more effective markers of kidney damage”).

                                        LEGAL STANDARD

         “[A] complaint may be dismissed for failure to state a claim if it fails to articulate a legal

  basis entitling plaintiff to relief.” DeBenedetto v. Denny’s, Inc., 421 N.J. Super. 312, 318 (App.

  Div. 2010) (internal quotations omitted); see also N.J. Rule 4:6-2(e). “[I]f the complaint states

  no basis for relief and discovery would not provide one, dismissal is the appropriate remedy. . . .

  [A] motion to dismiss may not be denied based on the possibility that discovery may establish

  the requisite claim; rather, the legal requisites for plaintiff’s claim must be apparent from the

  complaint itself.” DeBenedetto, 421 N.J. Super. at 318 (internal quotations omitted).

         “In evaluating motions to dismiss, courts consider allegations in the complaint, exhibits

  attached to the complaint, matters of public record, and documents that form the basis of a

  claim.” Teamster Local 97 v. State, 434 N.J. Super. 393, 412 (App. Div. 2014) (internal

  quotations omitted).6


  5
   CDER, Truvada® Approved Labeling at 16,
  https://www.accessdata.fda.gov/drugsatfda_docs/nda/2004/021752s000_Truvada_Prntlbl.pdf.
  6
    Because the FDA-approved Truvada® labeling cited herein (i) is a matter of public record
  available on FDA’s official website, and (ii) forms the basis for Plaintiff’s failure to warn claim,
  the Court may consider the content of the labeling in deciding Gilead’s Motion to Dismiss
  without converting the motion to one for summary judgment. Teamster Local 97, 434 N.J.
  Super. at 412; see also, e.g., Desai v. Sorin CRM USA, Inc., No. 12-2995, 2013 WL 163298, at


                                                    5
                                                                                           Page 180 of 246
        PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 11 of 27 Trans ID: LCV20201846220
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 183 of 248 PageID: 192




                                            ARGUMENT

  I.      PLAINTIFF’S CLAIM AGAINST GILEAD IS PREEMPTED BY FEDERAL
          LAW.

          Plaintiff’s Strict Products Liability claim is based on two theories: (1) Gilead should have

  changed the design of Truvada® to contain TAF instead of TDF; and (2) Gilead failed to

  adequately warn of the need to monitor patients taking Truvada® for bone and kidney risks.

  Because federal law preempts both of these theories, Plaintiff’s claim should be dismissed.7

          A.     Principles of Federal Preemption

          “The Supremacy Clause establishes that federal law ‘shall be the supreme Law of the

  Land . . . [,] any Thing in the Constitution or Laws of any State to the Contrary

  notwithstanding.’” PLIVA, Inc. v. Mensing, 564 U.S. 604, 617 (2011) (quoting U.S. Const., Art.

  VI, cl. 2).

          Pursuant to the Supremacy Clause, “[f]ederal law can preempt state law in three ways:

  (1) express preemption, (2) field preemption, and (3) conflict preemption.” Farina v. Nokia Inc.,

  625 F.3d 97, 115 (3rd Cir. 2010). “Express preemption applies where Congress . . . declares its

  intent to displace state law. Field preemption applies where ‘the federal interest is so dominant

  that the federal system will be assumed to preclude enforcement of state laws on the same

  subject.’ Conflict preemption nullifies state law inasumuch as it conflicts with federal law,”

  including “where compliance with both laws is impossible . . . .” Id. (emphasis added).




  *4 (D.N.J. Jan. 15, 2013) (taking “judicial notice of the FDA’s website” in deciding motion to
  dismiss). Similarly, the court may consider content available on the U.S. Department of Health
  & Human Services and World Health Organization websites, see supra n.1, 2, both of which
  similarly constitute “matters of public record.” Teamster Local 97, 434 N.J. Super. at 412.
  7
    Pursuant to N.J. Rule 1:36-3, Gilead is attaching copies of unpublished opinions to the
  Certification of Beth S. Rose submitted herewith. Cases appear in the order in which they are
  cited in this Brief.


                                                   6
                                                                                         Page 181 of 246
       PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 12 of 27 Trans ID: LCV20201846220
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 184 of 248 PageID: 193




         This case involves conflict preemption, because “it is ‘impossible for [Gilead] to comply

  with both state and federal requirements.’” Mensing, 564 U.S. at 618; see also id. (conflict

  preemption applied, because “[w]e find impossibility” where “[i]t was not lawful under federal

  law for the Manufacturers to do what state law required of them”).

         Set forth below is a description of the U.S. Supreme Court’s application of conflict

  preemption under similar circumstances, and the relevant federal requirements, with which

  Plaintiff’s state law claims conflict and to which they “must give way.” Id. at 617.

         B.      Mutual Pharmaceuticals Co., Inc. v. Bartlett

         In Mutual Pharms. Co., Inc. v. Bartlett, the U.S. Supreme Court considered whether

  federal law preempted state law design defect claims, in which plaintiff alleged, as here, that a

  drug’s design and/or labeling should have been changed to make it safer. 570 U.S. 472, 475

  (2013). The Court recognized that contrary to these purported state law duties, federal law is

  clear that “[o]nce a drug—whether generic or brand-name—is approved, the manufacturer is

  prohibited from making any major changes to the ‘qualitative or quantitative formulation of the

  drug product, including active ingredients, or the specifications provided in the approved

  application.’” Id. at 477 (quoting 21 C.F.R. ⸹ 314.70(b)(2)(i)). Therefore, “state-law design-

  defect claims . . . that place a duty on manufacturers to render a drug safer by either altering its

  composition or altering its labeling are in conflict with federal laws that prohibit manufacturers

  from unilaterally altering drug composition or labeling.” Id. at 490. In other words, “[w]here

  state law imposes a duty to take such remedial measures, it actually conflicts with federal law by

  making it impossible for a private party to comply with both state and federal requirements.” Id.

  (internal quotations omitted).




                                                    7
                                                                                           Page 182 of 246
       PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 13 of 27 Trans ID: LCV20201846220
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 185 of 248 PageID: 194




         As a result of this conflict and impossibility, plaintiff’s state law claims were preempted

  by federal law. Id. at 493. Indeed, “it has long been settled that state laws that conflict with

  federal law are ‘without effect,’” and that state law claims are thus “pre-empted where it is

  impossible for a private party to comply with both state and federal requirements.” Id. at 479-80.

         C.      Federal Regulations Regarding Drug Design and Labeling Changes

         The manufacture, use, and sale of drugs are regulated by the Federal Food, Drug, and

  Cosmetic Act of 1938 (“FDCA”). Utts v. Bristol-Myers Squibb Co., 226 F. Supp. 3d 166, 176

  (S.D.N.Y. 2016) (citing Merck KGaA v. Integra Lifesciences I, Ltd., 545 U.S. 193, 196 (2005)),

  aff’d by Gibbons v. Bristol-Myers Squibb Co., 919 F.3d 699 (2d Cir. 2019); see also Bailey v.

  Wyeth, Inc., 424 N.J. Super. 278, 287-88 (App. Div. 2008). Pursuant to the FDCA, a drug

  manufacturer must submit a new drug application (“NDA”) to FDA and obtain its authorization

  before marketing or selling the drug. Bailey, 424 N.J. Super. at 287-88; see also 21 U.S.C. §

  355. The NDA process “is both onerous and lengthy,” Bartlett, 570 U.S. at 476, and to obtain

  FDA approval of an NDA, a manufacturer must show that its drug is safe and effective. Bailey,

  424 N.J. Super. at 287-88; Utts, 226 F. Supp. 3d at 177 (quoting 21 U.S.C. § 355(b)(1)); see also,

  e.g., McGee v. Boehringer Ingelheim Pharms., Inc., No. 4:16-cv-2082, 2018 WL 1399237, at *3

  (N.D. Ala. Mar. 20, 2018) (“Before the FDA permits a manufacturer to sell a new drug, the

  manufacturer must submit a new drug application and demonstrate that its drug is safe and

  effective.”). Specifically, FDA requires a manufacturer to demonstrate that its drug is “‘safe for

  use under the conditions prescribed, recommended, or suggested in the proposed labeling,’” and

  the manufacturer must likewise “prove the drug’s effectiveness by ‘substantial evidence that the

  drug will have the effect it purports or is represented to have under the conditions of use

  prescribed, recommended or suggested in the proposed labeling.’” Utts, 226 F. Supp. 3d at 177




                                                    8
                                                                                          Page 183 of 246
       PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 14 of 27 Trans ID: LCV20201846220
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 186 of 248 PageID: 195




  (quoting 21 U.S.C. § 355(d)); see also Bailey, 424 N.J. Super. at 288-89 (quoting 21 U.S.C. §

  355(d)). As described above, upon approval, a manufacturer is prohibited “from making any

  major changes to the ‘qualitative or quantitative formulation of the drug product, including

  inactive ingredients, or in the specifications provided in the approved NDA.’” Utts, 226 F. Supp.

  3d at 177 (quoting 21 C.F.R. § 314.70(b)(2)(i)).

         In addition to proving a new drug’s safety and efficacy, manufacturers must submit

  proposed labeling for the drug, and “FDA’s premarket approval of an NDA includes the

  approval of the exact text in the proposed label.” Id. (citing 21 U.S.C. § 355; 21 C.F.R.

  § 314.50(c)(2)(i), 314.105(b)); McGee, 2018 WL 1399237, at *3 (“The FDA must approve the

  label’s exact text before the manufacturer can sell the new drug.”); Bailey, 424 N.J. Super. at 290

  (“Often several versions of the labeling are exchanged between the FDA and the pharmaceutical

  company before reaching the final approved labeling.”). Accordingly, FDA approval of drug

  labeling constitutes “a specific finding that [the drug’s] label was not ‘false or misleading in any

  particular.’” In re Celexa & Lexapro Mktg. & Sales Prods. Liab. Litig., 779 F.3d 34, 36 (1st Cir.

  2015) (quoting 21 U.S.C. § 355(d)(7); 21 C.F.R. § 314.125(b)(6)).

         Like prohibitions on changes to an approved drug’s formulation, “a manufacturer may

  only change a drug label after the FDA approves a supplemental application.” McGee, 2018 WL

  1399237, at *3 (emphasis added). While a manufacturer may make certain changes to drug

  labeling without prior approval under the federal “Changes Being Effected” (“CBE”)

  regulation—i.e., “[t]o add or strengthen a contraindication, warning, precaution, or adverse

  reaction for which the evidence of a causal association satisfies the standard for inclusion in the

  labeling under” federal regulations—such changes must be based on “newly acquired

  information.” 21 C.F.R. § 314.70(c)(6)(iii)(A).; see also Bailey, 424 N.J. Super. at 292 (FDA




                                                     9
                                                                                          Page 184 of 246
       PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 15 of 27 Trans ID: LCV20201846220
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 187 of 248 PageID: 196




  has “reaffirmed its longstanding position” that a CBE supplement “is appropriate to amend the

  labeling for an approved product only to reflect newly acquired information”). “Newly acquired

  information is data, analyses, or other information not previously submitted to the Agency,

  which may include (but is not limited to) data derived from new clinical studies, reports of

  adverse events, or new analyses of previously submitted data (e.g., meta-analyses) if the studies,

  events, or analyses reveal risks of a different type or greater severity or frequency than

  previously included in submissions to FDA.” 21 C.F.R. § 314.3; see also Bailey, 424 N.J. Super.

  at 292 (“The FDA explicitly defines ‘newly acquired’ as ‘data, analyses, or other information not

  previously submitted to the agency’”).

         However, FDA still “retains authority to reject labeling changes made pursuant to the

  CBE regulations,” Wyeth v. Levine, 555 U.S. 555, 571 (2009), and “[b]y expressly requiring that

  a CBE supplement only reflect newly acquired information and ‘be based on sufficient evidence

  of a causal association,’ the FDA ensures ‘that scientifically accurate information appears in the

  approved labeling.’” Utts v. Bristol-Myers Squibb Co., 251 F. Supp. 3d 644, 659-60 (S.D.N.Y.

  2017) (citation omitted). FDA further recognizes that “‘[e]xaggeration of risk, or inclusion of

  speculative or hypothetical risks [on drug labeling], could discourage appropriate use of a

  beneficial drug . . . or decrease the usefulness and accessibility of important information by

  diluting or obscuring it.’” Id. at 659 (citation omitted).

         D.      Federal Law Preempts Plaintiff’s Design Defect Theory of Liability.

         Plaintiff’s theory that Gilead should have altered the design for Truvada® to contain TAF

  instead of TDF is preempted by federal law. In particular, Plaintiff’s design defect theory is that

  a TAF medication “could have been conceivably approved in 2009,” Compl. ⁋ 70, and it

  constituted a “feasible, safer, alternative design” to TDF “that would have reduced or prevented




                                                    10
                                                                                          Page 185 of 246
       PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 16 of 27 Trans ID: LCV20201846220
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 188 of 248 PageID: 197




  the harm caused to the Plaintiff.” Id. ⁋ 73. In other words, Plaintiff’s claim is premised on

  assertions that, notwithstanding FDA’s approval of Truvada®, Gilead should have stopped

  selling it, and instead state law required it to manufacture and sell a different medication entirely,

  i.e., a medication containing TAF instead of TDF. That theory, however, is preempted by

  federal law, because it fundamentally conflicts with FDA’s approval of Truvada®, and because

  such a material change to Truvada® would have required FDA approval, making it impossible

  for Gilead to comply simultaneously with both a purported state law duty to change an active

  ingredient in Truvada® and federal regulations prohibiting Gilead from doing so unilaterally.

         As the Supreme Court has explained, “[w]here state and federal law directly conflict,

  state law must give way,” and “state and federal law conflict where it is impossible for a private

  party to comply with both state and federal requirements.” Mensing, 564 U.S. at 617-18

  (internal citations omitted). Moreover, “[t]he question for ‘impossibility’ is whether the private

  party could independently do under federal law what state law requires of it.” Id. at 620

  (emphasis added). “[W]hen a party cannot satisfy its state duties without the Federal

  Government’s special permission and assistance, which is dependent on the exercise of judgment

  by a federal agency, that party cannot independently satisfy those state duties for pre-emption

  purposes.” Id. at 623-24. Thus, “state-law design defect claims . . . that place a duty on

  manufacturers to render a drug safer by . . . altering its composition” are preempted, because they

  “conflict with federal laws that prohibit manufacturers from unilaterally altering drug

  composition” without FDA approval. Bartlett, 570 U.S. at 490; see also id. at 484 (design defect




                                                   11
                                                                                           Page 186 of 246
       PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 17 of 27 Trans ID: LCV20201846220
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 189 of 248 PageID: 198




  claims are preempted where they would require an “NDA [for the allegedly alternative drug] to

  be marketed in interstate commerce”).

         The Sixth Circuit’s decision in Yates v. Ortho-McNeil-Janssen Pharm., Inc. is directly on

  point. Plaintiff asserted a design defect claim, alleging that defendants should have altered the

  formulation of their Ortho Evra® patch, after FDA approval, by reducing the amount of estrogen

  in each patch. Yates v. Ortho-McNeil-Janssen Pharm., Inc., 808 F.3d 281, 298 (6th Cir. 2015).

  Applying the Supreme Court’s Wyeth, Bartlett, and Mensing decisions, the court held that

  impossibility preemption barred plaintiff’s post-approval design defect theory—i.e., that

  defendants could have altered the drug’s formulation after FDA approval—because “FDA

  regulations provide that once a drug, whether generic or brand-name, is approved, the

  manufacturer is prohibited from making any major changes to the ‘qualitative or quantitative

  formulation of the drug product . . . .’ Therefore, to the extent [plaintiff] argues that defendants

  should have altered the formulation of [the product] after the FDA had approved the patch, we

  find this claim clearly preempted.” Id. at 298 (quoting 21 C.F.R. § 314.70(b)(2)(i)).8

         Several courts have dismissed similar design defect claims, including those asserting, as

  here, that Gilead should have designed Truvada® or other TDF medications to contain TAF




  8
    Likewise, plaintiff’s theory that defendants should have designed “a different drug in the first
  instance”—plaintiff’s pre-approval design defect theory—also was preempted, because
  defendants could not independently introduce an alternatively designed medication without FDA
  approval. Id. at 299-300. “Even if [state] law requires defendants to produce and market a
  different design, the ultimate availability to [plaintiff] is contingent upon whether the FDA
  would approve the alternate design in the first place. . . . Defendants could not have complied
  with whatever pre-approval duty might exist without ultimately seeking the FDA’s approval
  prior to marketing [the product], and certainly prior to [plaintiff’s] use of the drug.” Id. The
  court found that plaintiff’s pre-approval design defect theory amounted to an untenable and
  preempted argument that “defendants should never have sold the FDA-approved formulation of
  [the drug] in the first place.” Id. at 300 (“We reject this never-start selling rationale for the same
  reasons the Supreme Court in Bartlett rejected the stop-selling rationale of the First Circuit.”).


                                                   12
                                                                                           Page 187 of 246
       PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 18 of 27 Trans ID: LCV20201846220
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 190 of 248 PageID: 199




  instead of TDF. For example, in July, a Florida district court dismissed design defect claims

  premised on allegations that Gilead should have designed TDF medications to contain TAF

  instead of TDF as preempted by federal law, “because Gilead could not have marketed or sold

  medications containing this design change without first seeking and obtaining FDA approval,”

  or, in other words, “FDA approved Gilead’s formula and any changes would have required

  further approval.” Epstein v. Gilead Sciences, Inc., No. 19-81474, 2020 WL 4333011, at *2

  (S.D. Fla. July 27, 2020). Similarly, in August, a Hawaii district court dismissed design defect

  claims premised on allegations that Gilead should have designed Truvada® to contain TAF

  instead of TDF as preempted by federal law, because “doing so would have required prior FDA

  approval,” such that “it was impossible for Gilead to ‘independently’ distribute a TAF-

  containing drug,” and once Truvada® was FDA-approved, Gilead was “prohibited from making

  any major changes” under federal law. Evans v. Gilead Sciences, Inc., No. 20-cv-00123, 2020

  WL 5189995, at *9-10 (D. Haw. Aug. 31, 2020). See also, e.g., Gustavsen v. Alcon Labs., Inc.,

  903 F.3d 1, 14 (1st Cir. 2018) (“changing the product bottle so as to dispense a different amount

  of prescription eye solution is a ‘major change’ under 21 C.F.R. § 314.70(b),” such that

  “plaintiffs’ attempt to use state law to require such a change is preempted”); Fleming v. Janssen

  Pharm., Inc. 186 F. Supp. 3d 826, 832-33 (W.D. Tenn. 2016) (dismissing as preempted design

  defect claim “premised on the proposition that Defendants should have designed Invokana

  differently”); Utts, 226 F. Supp. 3d at 185-86 (dismissing as preempted plaintiffs’ claims that

  “defendants had a pre-approval duty to submit a differently designed drug for FDA approval,”

  and stating that “[i]nsofar as the plaintiffs’ design defect claim suggests that the defendants




                                                   13
                                                                                          Page 188 of 246
       PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 19 of 27 Trans ID: LCV20201846220
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 191 of 248 PageID: 200




  should never have sold the FDA-approved formulation of Eliquis, such claims have been

  explicitly repudiated by the Supreme Court”).9

         Here, Plaintiff asserts a post-approval design defect theory. He alleges that Gilead should

  have substituted TAF for TDF in its formulation of Truvada®, see Compl. ⁋⁋ 58-70, and, more

  specifically, that such a “TAF medication . . . could have been conceivably approved in 2009,”

  five years after Truvada® was FDA-approved and marketed, id. ⁋ 31. But any such post-

  approval substitution of TAF for TDF indisputably would have required Gilead to obtain prior

  FDA approval. See 21 C.F.R. § 314.70(b)(2)(i) (providing that “changes in the qualitative or

  quantitative formulation of the drug product” require supplemental submission to, and approval

  from, FDA); see also 21 C.F.R. § 314.70(h) (“An applicant may not supplement a 505(b)(2)

  application to seek approval of a drug that is a different drug from the drug in the approved

  505(b)(2) application.”). Thus, “to the extent [plaintiff] argues that [Gilead] should have altered

  the formulation of” Truvada®, or sold a different medication entirely, his claim is “clearly



  9
    See also, e.g., Robinson v. Eli Lilly & Co., 5:17-cv-338, 2018 WL 4039703, at *6 (E.D. Ky.
  Aug. 23, 2018) (pre- and post-approval design defect claims preempted because defendant
  “could not have independently made such fundamental changes to Prozac’s formula”); Drescher
  v. Bracco Diagnostics Inc., No. CV-19-00096, 2020 WL 1466296, at *5 (D. Ariz. Mar. 26,
  2020) (dismissing design defect claim where “Plaintiff alleges that Defendants should have sold”
  a different drug formulation, because doing so “would require FDA approval,” and “the Supreme
  Court expressly rejected Plaintiff’s argument that Defendants should have simply replaced the
  linear GBCA products with macrocyclic GBCA products in Bartlett”); Aston v. Johnson &
  Johnson, 248 F. Supp. 3d 43, 54 (D.D.C. 2017) (“‘state-law design defect claims . . . that place a
  duty on [pharmaceutical] manufacturers to render a drug safer by . . . altering its composition . . .
  are in conflict with federal laws that prohibit manufacturers from unilaterally altering drug
  composition or labeling’ and are therefore preempted”) (quoting Bartlett, 570 U.S. at 490);
  Boone v. Boehringer Ingelheim Pharms., Inc., SC 20200, 2020 WL 2121063, at *12, 15, -- A.3d
  -- (Conn. May 4, 2020) (design defect claim based on allegations that “defendants could have
  brought [another drug] to the market earlier” was preempted, because “defendants could not have
  satisfied their alleged state law duty to the decedent without marketing an unapproved drug in
  violation of federal law”); Trejo v. Johnson & Johnson, 13 Cal. App. 5th 110, 154 (2017) (“In
  light of the statutes and regulations regarding new drug applications and preventing changes to
  drugs already approved by the FDA, defendants could not have ‘unilaterally changed the active
  ingredient of Motrin from ibuprofen to dexibuprofen to satisfy their state law duty’ without
  violating federal law.”), petition for review denied, No. S243672 (Oct. 11, 2017).


                                                   14
                                                                                          Page 189 of 246
       PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 20 of 27 Trans ID: LCV20201846220
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 192 of 248 PageID: 201




  preempted.” Yates, 808 F.3d at 298. In other words, “[e]ven if [state] law require[d] [Gilead] to

  produce and market a different design” or a different medication, Gilead could not do so under

  federal law “without ultimately seeking the FDA’s approval.” Id. at 299-300. Therefore, it

  “could not have satisfied [its] alleged state law duty . . . without marketing an unapproved drug

  in violation of federal law.” Boone, 2020 WL 2121063, at *15.10

         At bottom, Plaintiff’s claim is that Gilead should have switched to a purportedly safer

  “alternative drug” containing TAF and should have stopped selling Truvada®, despite the fact

  that FDA specifically authorized Gilead to market and sell this medication. Such design defect

  claims are “incompatible with . . . pre-emption jurisprudence,” and should be dismissed.

  Bartlett, 570 U.S. at 488; Yates, 808 F.3d at 300.11


  10
     Given that Truvada® was FDA-approved in 2004, Compl. ⁋ 31, and Plaintiff only alleges that a
  TAF alternative “could have been conceivably approved in 2009,” id. ⁋ 70, Plaintiff cannot
  assert a pre-approval design defect theory, i.e., that Gilead could have designed Truvada® to
  contain TAF before seeking FDA approval. But in any event, any such pre-approval design
  defect theory would be preempted for the same reasons described above. See 21 U.S.C. § 355(a)
  (providing NDA requirements); Yates, 808 F.3d at 299-300; Utts, 226 F. Supp. 3d at 185-86;
  Epstein, 2020 WL 4333011, at *2 (dismissing, as preempted, theory that Gilead “never should
  have sold” its TDF medications); Evans, 2020 WL 5189995, at *9 (“to the extent [plaintiff]
  asserts a pre-approval design defect claim—i.e., prior to Truvada receiving FDA approval,
  Gilead should have produced an HIV treatment . . . containing TAF, rather than TDF—this claim
  is preempted.”).
  11
    In Holley v. v. Gilead Sciences, Inc., 379 F. Supp. 3d 809 (N.D. Cal. 2019), plaintiffs asserted
  similar design defect claims regarding Gilead’s TDF medications. The court noted that plaintiffs
  abandoned their post-approval design defect claim in response to Gilead’s preemption argument,
  but held that even though Gilead could not have independently sold or marketed TAF
  medications without FDA approval, plaintiffs’ pre-approval design defect claims were not
  preempted, because Gilead could have “develop[ed] and submit[ed] for FDA approval drugs that
  contained TAF rather than TDF . . . .” Id. at 821, 822 n.6, 824. Holley is irrelevant here,
  because as set forth above, Plaintiff concedes that no TAF medication “could have been
  conceivably approved” until 2009, Compl. ⁋ 70, and he thus cannot assert the pre-approval
  design defect claim that survived dismissal in Holley. Additionally, the Holley court incorrectly
  ignored that Gilead could not independently market any TAF medication “without the Federal
  Government’s special permission and assistance, which is dependent on the exercise of judgment
  by a federal agency . . . .” Mensing, 564 U.S. at 623-24; see also Boone, 2020 WL 2121063, at
  *15 (the mere feasibility of “develop[ing] [the drug] before the decedent’s death is insufficient to


                                                  15
                                                                                         Page 190 of 246
       PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 21 of 27 Trans ID: LCV20201846220
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 193 of 248 PageID: 202




         E.      Federal Law Preempts Plaintiff’s Failure To Warn Theory.

         Plaintiff asserts, in support of his failure to warn theory, that the FDA-approved labeling

  for Truvada® did not adequately warn of the need to monitor patients for bone and kidney risks

  associated with the medication. See Compl. ⁋⁋ 40-49. Like his design defect theory of liability,

  these allegations are preempted by federal law, and should be dismissed.

         Absent “newly acquired information” about safety, a manufacturer cannot change a

  drug’s labeling without prior FDA approval. See supra § I.C; 21 C.F.R. § 314.70(b)(2)(v);12 see

  also Utts, 226 F. Supp. 3d at 177. Thus, failure to warn claims based on a purported state law

  duty to change a drug’s FDA-approved labeling, without an allegation of newly acquired safety

  information, are preempted. Utts, 251 F. Supp. 3d at 662-73 (dismissing failure to warn claims

  because plaintiffs failed to allege “newly acquired information” that would have allowed

  defendant unilaterally to change its labeling). In Gibbons, the Second Circuit affirmed the Utts

  court’s dismissal of failure to warn claims as preempted, where plaintiffs did not adequately

  identify “newly acquired information.” Gibbons, 919 F.3d at 707-08. Plaintiffs there alleged

  that “Defendants became aware of many reports of serious hemorrhaging” and that “numerous . .

  . studies published after [the drug’s] approval in 2012 confirm the problematic bleeding events

  associated with [the drug].” Id. However, plaintiffs “provide[d] no basis upon which the court




  preclude preemption,” because “that fact is inapposite to the question of whether marketing [the
  drug] in 2014 would have required FDA’s ‘special permission and assistance’”) (quoting
  Mensing, 564 U.S. at 623-24) (emphasis added)). Nor did the Holley court address the
  implications of plaintiffs’ claim—i.e., that Gilead should never have sold medications that FDA
  specifically approved for sale. A federal district court in Hawaii recently rejected Holley’s
  reasoning as inconsistent with Supreme Court precedent. Evans, 2020 WL 5189995, at *9.
  12
    Under certain circumstances, “newly acquired information” may allow a prescription drug
  manufacturer to change the labeling or strengthen a warning without prior FDA approval. 21
  C.F.R. § 314.70(c)(6)(iii); see also 21 C.F.R. § 314.3 (defining “newly acquired information”).



                                                  16
                                                                                        Page 191 of 246
       PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 22 of 27 Trans ID: LCV20201846220
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 194 of 248 PageID: 203




  could conclude that the bleeding events covered by the alleged ‘reports’ and ‘studies’ presented a

  different type of risk than those the company had discussed with the FDA, or were more severe

  or more frequent than the bleeding events that the government already knew about,” such that

  they did not constitute “newly acquired information” required for defendants to change the

  drug’s labeling. Id.; see also, e.g. Epstein, 2020 WL 4333011, at *2 (dismissing failure to warn

  claims regarding Gilead’s TDF medications as preempted, because “it would have been

  impossible for Gilead to comply with both its state duties to change the products’ labels and its

  federal duties not to make such changes without first obtaining FDA approval”).13

         Here, Plaintiff has not alleged any “newly acquired information” and, thus, cannot state a

  non-preempted claim based on a purported post-approval failure to issue sufficient warnings. To

  the contrary, Plaintiff repeatedly alleges that before Truvada® was approved, Gilead was aware

  of the same risks associated with TDF about which Plaintiff now complains. See Compl. ⁋ 33

  (“Before the introduction of TDF based antiretroviral medications into the market, Defendant’s

  preclinical trials of TDF showed exposure to TDF caused bone toxicity . . . and reduced bone

  mineral density.”); id. ⁋ 34 (“By 2004 and the introduction of the Product into the market,




  13
     See also, e.g., Holley, 379 F. Supp. 3d at 828, 830 (dismissing failure to warn claims based on
  post-approval labeling as preempted, where “Plaintiffs allege that [Gilead] knew that TDF posed
  risks to patients’ kidneys and bones before the first TDF drug was approved by the FDA,” such
  that “the Court cannot conclude that Plaintiffs have plausibly alleged the existence of ‘newly
  acquired information’—i.e., ‘data, analyses, or other information not previously submitted to the
  FDA’”) (quoting 21 C.F.R. § 241.3(b); emphasis omitted); Drescher, 2020 WL 1466296, at *3
  (affirming magistrate judge finding that “Plaintiff’s inadequate warning claim is preempted
  because it did not state a plausible claim that the Defendant manufacturers could have changed
  their labels under the [CBE] regulation”); Lyons v. Boehringer Ingelheim Pharms., Inc., No.
  1:18-cv-04624, -- F.Supp. 3d --, 2020 WL 5835125, at *6, 9 (N.D. Ga. Sept. 29, 2020) (failure to
  warn claims were preempted where plaintiff did not show “‘newly acquired information’
  supporting her warning criticisms,” despite evidence of, inter alia, a “European warning label”
  that was “significantly different from the one approved by the FDA”).



                                                  17
                                                                                         Page 192 of 246
       PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 23 of 27 Trans ID: LCV20201846220
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 195 of 248 PageID: 204




  Defendant had years’ worth of evidence that TDF medications were causing liver and bone

  damage.”); id. ⁋ 35 (“By this time, medical literature identified multiple cases of renal

  dysfunction and failure even in those with no preexisting kidney issues.”); id. ⁋ 36 (“By this

  time, Defendant’s long-term clinical data also showed that TDF was damaging bones”).

         Thus, any post-approval theory that Gilead should have revised its Truvada® labeling

  should be dismissed as preempted, and to the extent Plaintiff purports to maintain that the

  Truvada® labeling fails to warn about associated risks, his theory is necessarily that FDA

  incorrectly approved the initial Truvada® labeling. But state law claims challenging, as

  inadequate, warnings contained in a drug’s FDA-approved original labeling are preempted by

  federal law. See, e.g., Utts, 226 F. Supp. 3d at 184-85 (dismissing claims, because “[t]o the

  extent that the failure to warn claims are premised on the adequacy of the label as approved by

  the FDA when the drug was first marketed in the United States, they are preempted”); McGee,

  2018 WL 1399237, at *4 (“To the extent [plaintiff] asserts that [defendant] should have alerted

  the FDA about [the drug’s] DKA risk before [the drug’s] approval, the claim is preempted

  because the claim is essentially one of failure to communicate with the FDA.”); Patton v. Forest

  Labs., Inc., No. 17-cv-922, 2018 U.S. Dist. LEXIS 160368, *32 (C.D. Cal. Sept. 19, 2018)

  (dismissing failure to warn claim as preempted by federal law); Epstein, 2020 WL 4333011, at

  *2 (dismissing pre-approval failure to warn claim against Gilead regarding TDF medication

  labeling, because “it would have been impossible for Gilead to comply with both its state duties

  to change the products’ labels and its federal duties not to make such changes without first

  obtaining FDA approval”). Indeed, Plaintiff cannot use state law to “second guess . . . an FDA

  judgment,” and FDA is “the exclusive judge of safety and efficacy based on information

  available at the commencement of marketing . . . .” In re Celexa & Lexapro Mktg. & Sales




                                                   18
                                                                                          Page 193 of 246
        PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 24 of 27 Trans ID: LCV20201846220
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 196 of 248 PageID: 205




  Pracs. Litig., 779 F.3d at 41; see also Maze v. Bayer Healthcare Pharms., Inc., No. 4:18-cv-21,

  2019 WL 1062387, at *3 (E.D. Tenn. Mar. 6, 2019) (“any claim asserted by Maze and based on

  information known to the FDA as of April 2012—when the label at issue here was approved—is

  plainly preempted by federal law”).14

         Thus, Plaintiff’s claims based on allegedly inadequate warnings contained in the Truvada®

  labeling are preempted, and should be dismissed.

  II.    THE TRUVADA® LABELING IS ADEQUATE AS A MATTER OF LAW.

         Plaintiff also fails to plead a viable failure to warn claim because the FDA-approved

  Truvada® labeling is adequate as a matter of law.15 Under the New Jersey PLA, warnings and

  instructions contained on FDA-approved pharmaceutical labeling are subject to a “‘virtually

  dispositive’ statutory ‘super-presumption’” of adequacy as a matter of law. Rossito v. Hoffman-

  La Roche Inc., A-1237-13T1, 2016 WL 3943335, at *14 (App. Div. July 22, 2016) (quoting

  Kendall v. Hoffman La-Roche, Inc., 209 N.J. 173, 195-97 (N.J. 2012) (emphasis added)); see

  also In re: Accutane Litig., 235 N.J. 229, 276 (2018) (the presumption “gives pharmaceutical

  companies the protection necessary to research and develop the drugs that will improve and

  extend the lives of people around the world,” and “protects manufacturers from unmeritorious



  14
    The court’s holding in Holley—that plaintiffs’ pre-approval failure to warn claims were not
  preempted—is inconsistent with the above-referenced cases, which correctly and logically hold
  that failure to warn claims challenging the adequacy of an original label approved and deemed
  sufficient by FDA are preempted. See Holley, 379 F. Supp. 3d at 825; see also supra § I.C
  (explaining that FDA’s approval of drug labeling constitutes “a specific finding that [the drug’s]
  label was not ‘false or misleading in any particular’”).
  15
     New Jersey follows the learned intermediary doctrine, pursuant to which Gilead owed any
  duty to warn to Plaintiff’s doctor, not to Plaintiff himself. N.J.S.A. 2A:58C-2; Banner v.
  Hoffman-La Roche Inc., 383 N.J. Super. 364, 375-76 (App. Div. 2006) (“Our statute incorporates
  the ‘learned intermediary’ doctrine under which a pharmaceutical manufacturer generally fulfills
  its duty to warn the ultimate user of its prescription drug . . . when it supplies physicians with
  adequate information about a drug’s dangerous propensities.”).


                                                  19
                                                                                        Page 194 of 246
       PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 25 of 27 Trans ID: LCV20201846220
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 197 of 248 PageID: 206




  lawsuits”); N.J.S.A. 2A:58C-4 (codifying the presumption where “the warning or instruction

  given in connection with a drug . . . has been approved or prescribed by the federal Food and

  Drug Administration under the ‘Federal Food, Drug, and Cosmetic Act’”). The Truvada®

  labeling, which was indisputably approved by the FDA, Compl. ⁋ 31, is thus presumptively

  adequate.

         A plaintiff may only overcome the presumption by showing “[1] deliberate concealment

  or nondisclosure of after-acquired knowledge of harmful effects, . . . [2] economically-driven

  manipulation of the post-market regulatory process, . . . [or] [3] clear and convincing evidence

  that a manufacturer knew or should have known in the postmarketing phase that the drug

  warnings were inadequate based on the label warning updating requirements” under the federal

  regulations. In re: Accutane Litig., 235 N.J. at 277. As set forth above, Plaintiff has not alleged

  any “newly acquired information” that would have allowed Gilead to update the Truvada®

  labeling under the federal regulations. See supra ⸹ I.E; In re: Accutane Litig., 235 N.J. at 275

  (analyzing applicability of the third exception to the presumption under this same “newly

  acquired information” standard for revising FDA-approved labeling). Nor has Plaintiff

  attempted to plead any facts supporting any other basis for overcoming the “virtually

  dispositive” presumption. See, e.g., In re: Accutane Litig., 235 N.J. at 277-81 (rejecting failure

  to warn theory that drug labeling was inadequate, in light of lack of evidence rebutting the

  presumption that the FDA-approved warnings were adequate); Bailey, 424 N.J. Super. at 324

  (rejecting failure to warn theory, because “the actions and/or inactions of defendants have to be

  viewed in light of plaintiffs’ failure to warn claim and the presumption of adequacy established

  by our Legislature,” and “[p]laintiffs have not presented compelling or substantial evidence of

  the type necessary to rebut the presumption of adequacy”).




                                                  20
                                                                                          Page 195 of 246
       PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 26 of 27 Trans ID: LCV20201846220
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 198 of 248 PageID: 207




         Not only does Plaintiff fail to plead any facts to rebut this presumption that the Truvada®

  labeling was adequate, he concedes that “[a]t all times relevant herein, Truvada’s labelling

  included a warning to monitor patients who were at risk for adverse kidney events as clinically

  appropriate.” Compl. ⁋ 20; see also id. ⁋ 22 (same). Although Plaintiff alleges that the label did

  not adequately warn of the need to monitor other patients who were not at risk, see id. ⁋⁋ 40-42,

  he further concedes that his diagnoses prior to being prescribed Truvada® rendered him “at risk

  for adverse kidney events.” Id. ⁋⁋ 21(a), 23(a) (emphasis added). In other words, despite

  Plaintiff basing his failure to warn claim on the theory that the Truvada® labeling did not

  adequately warn of the need to monitor patients for bone and kidney risks associated with the

  medication, see id. ⁋⁋ 40-49, the label undisputedly did contain a warning, at all relevant times,

  that patients like Plaintiff should be monitored for these risks.16

         As a result, Plaintiff has not pled a viable claim that the Truvada® label inadequately

  warned of the need to monitor him for bone and kidney risks, and his failure to warn claim

  should be dismissed. See, e.g., Banner, 383 N.J. Super. at 382 (dismissing failure to warn claim

  because “the warnings given . . . ‘were accurate, clear, and unambiguous’, and were, therefore,

  adequate as a matter of law”).17


  16
     To the extent Plaintiff maintains that the monitoring instruction on the Truvada® labeling was
  nevertheless inadequate because it “should have warned doctors to check for serum phosphorous
  and/or urine glucose, more effective markers of kidney damage,” id. ⁋ 46, he ignores that the
  Truvada® label did, at all times, warn that “[p]atients at risk for, or with a history of, renal
  dysfunction . . . should be carefully monitored for changes in serum creatinine and
  phosphorous.” CDER, Truvada® Approved Labeling at 16,
  https://www.accessdata.fda.gov/drugsatfda_docs/nda/2004/021752s000_Truvada_Prntlbl.pdf.
  17
    See also, e.g., Zardo v. Merck & Co. Inc., 168 F.3d 504, 504 (9th Cir. 1999) (warning was
  adequate as a matter of law, where it “clearly states a risk of” the complained-of side-effect);
  Adams v. Synthes Spine Co., LP, 298 F.3d 1114, 1118 (9th Cir. 2002) (label was adequate as a
  matter of law, where “[i]t plainly said that” complained-of adverse event could occur); Rollins v.
  Wackenhut Servs., Inc., 703 F.3d 122, 130 (D.C. Cir. 2012) (affirming dismissal where the
  “warning label warned of the precise risk of increased suicidal tendencies”); Utts, 251 F. Supp.


                                                    21
                                                                                         Page 196 of 246
       PAS-L-002011-20 10/16/2020 3:16:53 PM Pg 27 of 27 Trans ID: LCV20201846220
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 199 of 248 PageID: 208




                                         CONCLUSION

         For the foregoing reasons, Gilead’s Motion to Dismiss should be granted, and Plaintiff’s

  Complaint should be dismissed with prejudice.



  Dated: October 16, 2020                              Respectfully submitted,

                                                       /s/ Beth S. Rose

                                                       Beth S. Rose (NJ ID #028491987)
                                                       R. Michael Riecken (NJ ID #211402016)
                                                       SILLS CUMMIS & GROSS P.C.
                                                       One Riverfront Plaza
                                                       Newark, New Jersey 07102
                                                       Telephone: (973) 643-7000
                                                       Facsimile: (973) 643-6500
                                                       brose@sillscummis.com
                                                       rriecken@sillscummis.com

                                                       Joshua E. Anderson (pro hac vice pending)
                                                       Alycia A. Degen (pro hac vice pending)
                                                       SIDLEY AUSTIN LLP
                                                       555 West Fifth Street, Suite 4000
                                                       Los Angeles, CA 90013
                                                       Telephone: (213) 896-6000
                                                       Facsimile: (213) 896-6600
                                                       janderson@sidley.com
                                                       adegen@sidley.com




  3d at 673 (dismissing warning claim “because the warnings given on the [] label were, as a
  matter of law, sufficient to warn of” the alleged injury).


                                                  22
                                                                                      Page 197 of 246
        PAS-L-002011-20 11/18/2020 1:44:46 PM Pg 1 of 3 Trans ID: LCV20202093824
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 200 of 248 PageID: 209




               FARKAS & DONOHUE, LLC
                                          -Counselors at Law-
                                      25A Hanover Road, Suite 320
                                    Florham Park, New Jersey 07932
                                              (973) 443-9400
                                            (973) 443-4330 Fax
                                  Email: Office@FarkasandDonohue.com
                                      www.FarkasandDonohue.com
  EVELYN CADORIN FARKAS *                                                      * Certified By The Supreme
  DAVID C. DONOHUE # *                                                           Court of New Jersey as a
  ROBERT J. MORMILE **                                                           Certified Civil Trial Attorney
  BETH A. HARDY*                                                              ** Admitted in NJ & PA
  CHARLES E. MURRAY III +                                                      + Admitted in NJ & NY
  NANCY CROSTA LANDALE*                                                         # Admitted in NJ & AZ
  EILEEN M. KAVANAGH +                                                         Of Counsel
  JENNIFER SALFI GIANETTI 
  GUY M. MAGNUSSON 
  CHRISTINE M. JONES +
  SEAN D. MCMURTRY##


                                          November 18, 2020

  Sent via Electronic Filing
  Honorable Joseph S. Conte, J.S.C.
  New Court House
  77 Hamilton Street, 6th Floor
  Paterson, NJ 07505

         Re:     Gaetano v. St. Joseph’s Health, Inc. et. al.
                 Docket No.: PAS-L-2011-20
                 Our File No.: STJI-436

  Dear Judge Conte:

         Our office represents defendants, St. Joseph’s Health, Inc. and Dr. Michael Lange in the
  above-referenced matter. Please accept this letter in lieu of a more formal submission in partial
  opposition to co-defendant’s motion to dismiss, presently returnable December 4, 2020.


         These defendants do not take a formal position one way or the other on the motion’s
  merits or the truth of any of the factual allegations vis a vis dismissal of plaintiff’s complaint as
  to co-defendant. This letter is submitted to confirm that dismissal of cross-claims is not
  warranted due to dismissal of the plaintiff’s direct claims against defendant, Gilead Sciences,
  Inc. Defendants are still entitled to an allocation of percentage of fault attributable to any
  dismissed defendants.




                                                                                             Page 198 of 246
        PAS-L-002011-20 11/18/2020 1:44:46 PM Pg 2 of 3 Trans ID: LCV20202093824
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 201 of 248 PageID: 210


         In Burt v. West Jersey Health Systems, 339 N.J. Super. 296 (App. Div. 2001), the
  Appellate Division held that co-defendants cross claims were to be preserved despite the
  dismissal of the direct claims for failure to provide an Affidavit of Merit. See, also, Brodsky v.
  Grinnell Haulers, Inc., 181 N.J. 102 (2004)(where the Supreme Court held that a jury should
  assess the fault of a driver where the defendant had been dismissed by virtue of being discharged
  in bankruptcy); Malik v. Cooper Tire and Rubber Co., 2015 WL 3440856 (D.N.J. 2015) (where
  defendant was allowed to seek an allocation of fault against a driver who was not named as a
  defendant and the court found that sufficient notice was provided in supplemental answers to
  interrogatories); Carter v. University of Medicine of Dentistry of New Jersey, 854 F. Supp. 310
  (D.N.J. 1994), (where the court granted the defendants permission to have a physician who
  settled in a separate suit appear on the verdict sheet for purposes of apportionment); Young v.
  Latta, 123 N.J. 584 (1991).


         The court in Burt held that if the plaintiff fails to provide an affidavit of merit to a
  defendant against whom a cross-claim has been asserted, that defendant is not subject to liability
  either to the plaintiff or to a codefendant who has asserted a cross-claim. Instead, plaintiff's
  recovery is diminished by the percentage of negligence the jury allocates to that defendant. Id. at
  306-10, 771.


         The allocation of fault doctrine stems from both the Comparative Negligence Act and the
  Joint Tortfeasors Contribution Law. Town of Kearny v. Brandt, 214 N.J. 76, 96 (2013). There is
  a strong public policy preference that defendants should only pay their actual percentage of
  negligence. Under the Comparative Negligence Act, in negligence and strict liability actions in
  which the question of liability is in dispute, the trier of fact makes the following findings: (1) the
  amount of damages which would be recoverable by the injured party regardless of any
  consideration of negligence or fault, that is, the full value of the injured party’s damage; (2) the
  extent, in the form of a percentage, of each party’s negligence or fault. The percentage of
  negligence or fault of each party shall be based on 100% and the total of all percentages of
  negligence or fault of all parties to the suit shall be 100%. N.J.S.A. 15-5.2(a).


         The Joint Tortfeasors Contribution Law plays a complementary role in the statutory
  scheme. N.J.S.A. 2A:53A-3. The statute “was enacted to promote the fair sharing of the burden
  of judgment by joint tortfeasors and prevent a plaintiff from arbitrarily selecting his or her


                                                                                           Page 199 of 246
         PAS-L-002011-20 11/18/2020 1:44:46 PM Pg 3 of 3 Trans ID: LCV20202093824
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 202 of 248 PageID: 211


  victim.” Halloway v. State, 125 N.J. 386, 400-401 (1991). As the New Jersey Supreme Court
  has noted “when applied together, the [Comparative Negligence Act and Joint Tortfeasors
  Contribution Law] implement New Jersey’s approach to fair apportionment of damages among
  plaintiffs and defendant, and among joint defendants.” Erny v. Estate of Merola, 171 N.J. 86, 99
  (2002). This is true even in circumstances where a negligent party is not listed as a defendant.


          Based on the foregoing, it is respectfully requested that the defendants’ cross-claims be
  preserved for purposes of allocation at the time of trial. Thank you for your time and attention to
  this matter. I look forward to hearing from Your Honor regarding the above.


                                         Respectfully submitted,

                                        /s/ Charles E. Murray, III, Esq.

                                          Charles E. Murray, III, Esq.
                                          cmurray@farkasanddonohue.com



  CEM/hlv
  cc: all counsel of record (via electronic filing)




                                                                                        Page 200 of 246
         PAS-L-002011-20 11/18/2020 1:05:18 PM Pg 1 of 26 Trans ID: L0V20202093361
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 203 of 248 PageID: 212

                      LANDEL BERNSTEIN & KALOSIEH, LLP
                                               ATTORNEYS AT LAW
   Robert E. Landel, Esq.*                       279 Franklin Avenue                      New York Office
   An G. Bernstein, Esq. +                     Wyckoff, New Jersey 07481                  4180 Purchase Street
   Joseph G. Kalosieh, Esq. #                                                             Purchase, NY 10577
                                                Telephone: (201) 891-6955                 Tel: (914) 524-7375
                                                    Fax: (201) 891-7420
   Thomas S. Garlick, Esq. +
   Of Counsel
     Hon. Edward V. Torack, J.S.C. (Ret.) **

   *Admitted in NJ
   +Admitted in NJ, NY
   # LL.M. in Taxation
     Admitted in NJ, NY & DC
   **Court Approved Mediator

                                                                  November 18, 2020

  VIA E-COURTS
  Clerk, Law Division
  Passaic County Superior Court
  77 Hamilton Street
  Paterson, New Jersey 07505-2017


            Re:        Anthony Gaetano v. Gilead Sciences, Inc., et al.
                       Docket No.: PAS L-2011-20
                       Motion to Dismiss Plaintiff's Complaint (Returnable: 12/4/2020)


  Dear Sir/Madam:

          Please be advised that this office represents the Plaintiff, Anthony Gaetano, in connection with
  the above-referenced matter. A Motion to Dismiss Plaintes Complaint for Failure to State a Claim
  filed by Defendant, Gilead Sciences, Inc., is presently returnable on December 4, 2020 before Judge
  Joseph S. Conte. In connection with same and in response/opposition thereto, I am submitting herewith,
  on behalf of my client, a Legal Brief for electronic filing with the Court.

         By copy of this letter (with the enclosed Opposition Legal Brief) to Judge Conte, I am providing
  His Honor with a copy of same marked "COURTESY COPY".

            Thank you for your assistance with this matter.

                                                                  Very truly yours,


                                                                  An G. Bernstein



  AGB/an
  Enclosure
  cc:     Hon. Joseph S. Conte, J.S.C. (w/encl.) (via first-class mail)
          Client (w/encl.) (via first-class mail)
          Evelyn Farkas, Esq. (w/encl.) (via e-mail)
          Beth S. Rose, Esq. (w/encl.) (via e-mail)




                                                                                            Page 201 of 246
        PAS-L-002011-20   11/18/2020 1:05:18 PM Pg 2 of 26 Trans ID: LCV20202093361
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 204 of 248 PageID: 213




  An G. Bernstein, Esq.
  Attorney I.D. No.: 024841992
  LANDEL, BERNSTEIN & KALOSIEH, LLP
  279 Franklin Avenue
  Wyckoff, New Jersey 07481
  (201) 891-6955
  Attorneys for PlaintiffAnthony Gaetano


   ANTHONY GAETANO,                              SUPERIOR COURT OF NEW JERSEY
                                                 LAW DIVISION: PASSAIC COUNTY
                       Plaintiff,
                                                 Docket No.: PAS-L-2011-20
             v.
                                                              CIVIL ACTION
   GILEAD SCIENCES, INC.; ST. JOSEPH'S
   HEALTH, INC.; MICHAEL LANGE, MD;
   JOHN DOES         1-10 (fictitious names
   representing unknown individuals); and/or
   JANE DOES         1-10 (fictitious names
   representing unknown individuals),

                        Defendants.




  PLAINTIFF'S BRIEF IN OPPOSITION TO GILEAD SCIENCES, INC.'S MOTION TO
      DISMISS PLAINTIFF'S COMPLAINT FOR FAILURE TO STATE CLAIM




                                           LANDEL, BERNSTEIN & KALOSIEH, L.L.P.
                                           279 Franklin Avenue
                                           Wyckoff, New Jersey 07481
                                           (201) 891-6955
                                           Attorneys for the Plaintiff', Anthony Gaetano

  On the Brief:

  ART G. BERNSTEIN, ESQ.




                                                                                Page 202 of 246
       PAS-L-002011-20     11/18/2020 1:05:18 PM Pg 3 of 26 Trans ID: LCV20202093361
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 205 of 248 PageID: 214




                                    TABLE OF CONTENTS

  TABLE OF AUTHORITIES                                                                            iii
  COUNTER STATEMENT OF MATERIAL FACTS                                                               1
  LEGAL STANDARD                                                                                   3
  LEGAL ARGUMENT                                                                                   5

    I. DEFENDANT GILEAD'S MOTION TO DISMISS PLAINTIFF'S COMPLAINT
    SHOULD BE DENIED BECAUSE GILEAD CANNOT SHOW THAT PLAINTIFF'S
    CLAIM IS PREEMPTED BY FEDERAL LAW                                                              5
       A. Standards of Federal Conflict Preemption                                                 5
       B. The Bartlett Case: Irrelevant and Distinguishable                                        7
       C. Relevant Federal Regulations Regarding Drug Labeling Changes                            10
       D. Plaintiff's Design Defect Claim is not Preempted                                        11
       E. Plaintiff's Failure to Warn Claim is not Preempted                                      12

    II. DEFENDANT GILEAD'S MOTION TO DISMISS PLAINTIFF'S COMPLAINT
    SHOULD BE DENIED BECAUSE PLAINTIFF'S HAS PLED SUFFICIENT FACTS TO
    OVERCOME THE PRESUMPTION OF ADEQUACY OF TRUVADA' S LABELING.                                14
        A. Plaintiff has pled facts to overcome pre-approval presumptions of adequacy in
        Truvada's labeling.                                                                     16
        B. Plaintiff has pled facts sufficient to overcome post-approval presumptions of adequacy
        of Truvada's labeling                                                                   17
        C. Plaintiff's pleadings allege rare circumstances where the presumption of adequacy of
        Truvada's labeling is overcome.                                                         18

    III. DEFENDANT'S MOTION TO DISMISS PLAINTIFF'S COMPLAINT WITH
    PREJUDICE SHOULD BE DENIED AS PLAINTIFF IS ENTITLED TO LEAVE TO
    AMEND HIS PLEADINGS                                                                          20

  CONCLUSION                                                                                     21




                                                 11


                                                                                      Page 203 of 246
       PAS-L-002011-20 11/18/2020 1:05:18 PM Pg 4 of 26 Trans ID: L0V20202093361
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 206 of 248 PageID: 215




                                 TABLE OF AUTHORITIES

  Cases
  Banco Popular North America v. Gandi,
     184 N.J. 161 (2005)                                                     4, 14
  Buckman Company v. Plaintiffs' Legal Committee,
     531 U.S. 341 (2001)                                                         13
  Cornett v. Johnson & Johnson,
     414 N.J. Super. 365 (App. Div. 2010)                                         5
  Cornett v. Johnson,
     211 N.J. 362 (2012)                                                         18
  Di Cristofaro v. Laurel Grove Memorial Park,
     43 N.J.Super. 244 (App. Div. 1957)                                        3, 5
  Feldman v. Lederle Labs.,
     125 N.J. 117 (1991)                                                     8,14
  Guidry v. Janssen Pharms., Inc.,
     206 F. Supp. 3d 1187 (E.D. La. 2016)                                         8
  Hall v. Saint Joseph's Hosp.,
     343 N.J. Super. 88 (App. Div. 2001)                                          5
  Holley v. Gilead Scis., Inc.,
     379 F. Supp. 3d 809 ( N.D. Cal. 2019)                                 passim
  In re Accutane Litig.,
     235 N.J. 229 (2018)                                            9, 14, 15, 18
  Kendall v. Hoffman-La Roche, Inc.,
     209 N.J. 173 (2012)                                                         15
  McDarby v. Merk & Co., Inc.,
  401 N.J. Super. 10 (App. Div. 2008)                                   15, 18, 19
  Mut. Pharm. Co. v. Bartlett,
     570 U.S. 472 (2013)                                                       6, 7
  NCP Litigation Trust v. KPMG, L.L.P.,
     187N1. 353 (2006)                                                         4,5
  Perez v. Wyeth Labs. Inc.,
     161 N.J. 1(1999)                                                       15, 16
  PLIVA, Inc. v. Mensing,
     564 U.S. 604 (2011)                                                          6
  Printing Mart-Morristown v. Sharp Electronics Corp,
     116 N.J. 739 (1989)                                                  3, 4, 20
  Roberts v. Rich Foods,
      139 N.J. 365 (1995)                                                         5
  Schulman v. Wolff & Samson, P.C.,
     401 N.J.Super. 467 (App. Div. 2008)                                     4, 14
  Wyeth v. Levine,
     555 U.S. 555 (2009)                                                   passim
  Yates v. Ortho-Mcneil-Janssen Pharms., Inc.,
     808 F.3d 281 (6th Cir. 2015)                                                 8


                                               111

                                                                     Page 204 of 246
       PAS-L-002011-20    11/18/2020 1:05:18 PM Pg 5 of 26 Trans ID: LCV20202093361
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 207 of 248 PageID: 216




  Other Authorities
  21 CFR §§314.70                                                                         11
  73 Fed. Reg. 49609                                                                      14
  Pressler, Current Ni Rules (2016)                                                        3




                                             iv

                                                                              Page 205 of 246
       PAS-L-002011-20 11/18/2020 1:05:18 PM Pg 6 of 26 Trans ID: L0V20202093361
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 208 of 248 PageID: 217




                       COUNTER STATEMENT OF MATERIAL FACTS


  1.    On or about September 8, 2005, Defendant, Anthony Gaetano (hereinafter, sometimes

        referred to as "Plaintiff" or "Anthony"), sought treatment at St. Joseph's Hospital in

        Paterson, New Jersey. See, Complaint dated July 28, 2020 ("Compl.") at ¶14.

  2.    After being diagnosed with HIV and myriad of other diseases affecting his kidney health,

        Anthony was prescribed the antiretroviral Truvada, developed by Defendant, Gilead

        Sciences, Inc. (hereinafter, "Defendant Gilead"), on or about December 27, 2005. Id at

        ¶¶15-17.

  3.    When Anthony was initially prescribed Truvada, Defendant Gilead's labeling warned to

        monitor only those patients at risk of adverse kidney events. Id at ¶42-46.

  4.    However, in its warning to monitor those patients at risk of adverse kidney events,

        Defendant Gilead only recommended that patients be monitored for high creatinine

        clearance, a marker that would only indicate kidney damage once the damage was

        irreversible. Id at 1[46.

  5.    Even in Defendant Gilead's warning to monitor those patients at risk of adverse kidney

        events, Defendant Gilead failed to instruct as to how often this biochemical marker

        should be checked, only stating that these markers should be checked "as clinically

        appropriate." Id at 1[48.

  6.    In 2005, before Anthony began taking Truvada, Defendant Gilead's labels for Truvada in

        the European Union included warnings for the careful monitoring of renal function using

        serum creatinine and serum phosphate on a consistent four-week schedule in the first year

        and, thereafter, every three months. Id at ¶¶51-52.




                                                 1

                                                                                      Page 206 of 246
       PAS-L-002011-20 11/18/2020 1:05:18 PM Pg 7 of 26 Trans ID: LCV20202093361
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 209 of 248 PageID: 218




  7.    In 2001, three years before Truvada entered the market and four years before Anthony

        Gaetano was prescribed Truvada, Defendant Gilead discovered a safer composite of

        tenofovir known as tenofovir alafenamide fumarate ("TAF") that would allow for the

        same antiviral benefits of TDF at doses up to 10 times smaller. Id at ¶¶58-60.

  8.    In 2004, despite consistent positive results from clinical trials, Defendant Gilead abruptly

        stopped its research and development of TAF medications. Id at ¶61.

  9.    Defendant Gilead only renewed its development of TAF in 2010. Id at ¶64.

  10.   In a statement to the Capital Markets Healthcare Conference on March 2, 2001,

        Defendant Gilead's President explicitly stated that Defendant Gilead stopped research

        into TAF to protect its market dominance. Id at ¶67.

  11.   Anthony took Truvada regularly, as prescribed by his doctor until the introduction of

        Odesfey, a TAF drug manufactured by Gilead. Id at ¶18.

  12.   Anthony was exposed to the harmful effects of Truvada for approximately a decade

        before he was switched to Odesfey, while TAF medications like Odesfey could have been

        available as early as 2009 absent Defendant Gilead's unconscionable conduct, which

        would have cut Anthony's exposure to Truvada's nephrotoxic side effects in half. Id at

        ¶¶18,70.

  13.   Had Defendant Gilead provided proper warnings on their labeling of Truvada, Anthony

        would have been properly monitored by his healthcare providers as monitoring would

        have been universal among patients notwithstanding the presence of susceptibility to

        adverse kidney events. Id at ¶¶42-46, 78-79.




                                                 2

                                                                                         Page 207 of 246
       PAS-L-002011-20 11/18/2020 1:05:18 PM Pg 8 of 26 Trans ID: LCV20202093361
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 210 of 248 PageID: 219




  14.    Had Defendant Gilead provided proper warnings on their labeling of Truvada, Anthony,

         upon reading the labeling, would have insisted he be monitored for kidney health despite

         his lack of knowledge regarding his kidney health issues. Id at 11[21-23,42-26,78-79.

  15.    Plaintiff filed a Complaint against Defendant Gilead alleging design defect and failure to

         warn claims on July 8, 2020.

  16.    In lieu of filing an Answer, Defendant Gilead filed a Motion to Dismiss the Plaintiff's

         Complaint pursuant to Rule 4:6-2(e) alleging that Plaintiff's claim is preempted by

         federal law and that their labeling is adequate as a matter of law. Mot. to Dismiss

         Plaintiff's Complaint, Dated October 16, 2020 ("Mot. to Dis.").

  17.    Plaintiff opposes said Motion.


                                         LEGAL STANDARD

         As stated by the New Jersey Supreme Court in New Jersey in Printing Mart-Morristown

  v. Sharp Electronics Corp., 116 N.J. 739, 772 (1989), trial courts should approach applications

  for dismissal for failure to state a cause of action upon which relief may be granted with great

  caution. "We have sought to make clear that such motions, almost always brought at the very

  earliest stage of the litigation, should be granted in only the rarest of instances." Id.

         Moreover, as set forth in the New Jersey Court Rules, the court must search the

  complaint in depth and with liberality to ascertain whether the cause of action may be garnered

  even from an ambiguous statement of claim, opportunity being given to amend if necessary. Di

  Cristofaro v. Laurel Grove Memorial Park, 43 N.J. Super. 244, 252, (App. Div. 1957). Every

  reasonable inference is accorded to the plaintiff and the motion is granted only in rare instances

  and ordinarily without prejudice. See Pressler, Current N.J. Rules, comment 4.1.1 on Rule 4:6-

  2(e) (2016).

                                                     3

                                                                                              Page 208 of 246
       PAS-L-002011-20 11/18/2020 1:05:18 PM Pg 9 of 26 Trans ID: LCV20202093361
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 211 of 248 PageID: 220




         The only question to be resolved on a motion to dismiss is whether any viable cause of

  action exists. "[T]he test for determining the adequacy of a pleading [is] whether a cause of

  action is 'suggested' by the facts." Printing Mart, 116 N.J at 746. Further, "the court should

  assume that the non-movant's allegations are true and give that party the benefits of all

  reasonable inferences." NCP Litigation Trust v. KPMG, L.L.P., 187 N.J. 353, 365 (2006).

  Further, a complaint should not be dismissed for failure to state a claim where a cause of action

  is suggested by the facts and a theory of actionability may be articulated by amendment of the

  complaint. Printing Mart, 116 N.J. at 746.

         In order to defeat a motion to dismiss, the plaintiff does not have to prove the case but

  only needs to plead allegations which, if proven, would create a valid cause of action. Schulman

  v. Wolff & Samson, P.C., 401 N.J. Super. 467, 473-74 (App. Div. 2008). This broad and liberal

  standard on motions to dismiss was further set forth by the Court in Banco Popular North

  America v. Gandi, 184 N.J. 161 (2005):

                At this preliminary stage of the litigation [a] [c]ourt [should not be]
                concerned with the ability of the plaintiffs to prove the allegation
                contained in the complaint... [P]laintiffs are entitled to every
                reasonable inference of fact. The examination of a complaint's
                allegations of fact required by the aforestated principles should be
                one that is at once painstaking and undertaken with a generous and
                hospitable approach. Id. at 165.

         As will be shown below, Plaintiff has more than met this burden and for all of the reasons

  set forth below, Defendant Gilead's Motion to Dismiss Plaintiff s Complaint should be denied.




                                                  4

                                                                                          Page 209 of 246
       PAS-L-002011-20 11/18/2020 1:05:18 PM Pg 10 of 26 Trans ID: LCV20202093361
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 212 of 248 PageID: 221




                                      LEGAL ARGUMENT

                                              POINT I

        DEFENDANT GILEAD'S MOTION TO DISMISS PLAINTIFF'S COMPLAINT
     SHOULD BE DENIED BECAUSE GILEAD CANNOT SHOW THAT PLAINTIFF'S
                  CLAIM IS PREEMPTED BY FEDERAL LAW.

         Anthony Gaetano's (hereinafter, sometimes referred to as "Plaintiff" or "Anthony") Strict

  Products Liability Claim is based on the following theories: (1) Gilead should have designed and

  submitted Truvada utilizing TAF rather than TDF before its introduction into the market; (2)

  Gilead failed to adequately warn of the need to monitor all patients for adverse bone and kidney

  events; and (3) Gilead failed to adequately warn of the need to monitor patients at risk of

  adverse kidney and bone events.' Federal preemption, as an affirmative defense, places the

  burden of proving the defense on Defendant Gilead. See generally, Hall v. Saint Joseph's Hosp.,

  343 N.J. Super. 88, 108-109 (App. Div. 2001); Roberts v. Rich Foods, 139 N.J. 365, 378 (1995);

  Cornett v. Johnson & Johnson, 414 N.J. Super. 365, 391 (App. Div. 2010). Thus, Defendant

  Gilead has a super burden in arguing that their Motion to Dismiss should be granted based on

  federal preemption grounds: Defendants are both responsible for affirmatively showing that that

  they can comply with both federal and state law and that compliance would be impossible when

  viewing the pleadings in the light most favorable to the Plaintiff with every reasonable inference

  drawn to the benefit of Plaintiff therein. See, NCP Litigation Trust, 187 N.J. at 365; Di

  Cristofaro, 43 N.J. Super. At 252; Roberts, 139 N.J. at 378.

         A. Standards of Federal Conflict Preemption

         Defendant Gilead argues that Plaintiffs state-law design defect and failure to warn

  claims are preempted because it would be impossible for them to comply with both state and




                                                  5

                                                                                       Page 210 of 246
       PAS-L-002011-20 11/18/2020 1:05:18 PM Pg 11 of 26 Trans ID: LCV20202093361
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 213 of 248 PageID: 222




  federal duties. See, Mot. to Dis. at pgs6-7. What Defendant Gilead cites as conflict preemption is

  more commonly referred to as impossibility preemption, so named, because "Impossibility

  preemption is a demanding defense,' and the burden for demonstrating impossibility rests with

  the party asserting preemption." Holley v. Gilead Scis., Inc., 379 F. Supp. 3d 809, 819 ( N.D.

  Cal. 2019) (quoting Wyeth v. Levine, 555 U.S. 555, 573 (2009).

           In the pharmaceutical failure to warn and design defect context, the defining issue that

  determines      whether      impossibility     preemption       exists    is   whether      manufacturers       can

  "independently do under federal law what state law requires of it." PLIVA, Inc. v. Mensing, 564

  U.S. 604, 620 (2011). While generic drug manufacturers are prevented in most contexts from

  undertaking unilateral acts to change the design or labeling of a product, brand-name

  manufacturers have greater ability to unilaterally change their labeling. See, Mensing, 564 U.S.

  at 620; Levine, 555 U.S. at 569-571. Defendant Gilead, in presenting the Supreme Court's

  opinion in Mutual Pharmaceuticals Co., Inc. v. Bartlett for the proposition that Plaintiff s claim

  is federally preempted, seeks to destroy carefully established distinctions between the liabilities

  of brand name versus generic drug manufacturers. See generally, Mut. Pharm. Co. v. Bartlett,

  570 U.S. 472 (2013); Levine, 555 U.S. at 569-571. Defendant Gilead argues that decades of legal

  analysis of federal preemption as applied to drug manufacturers as outlined in Levine are

  effectively and definitively overruled a single line of dicta contained in the former. Id. Plaintiff,

  conversely, will demonstrate that Bartlett is inapplicable and, instead, this Court should adopt the

  well-reasoned analysis of Holley, the only published opinion that directly addresses the lack of

  federal preemption of Plaintiff's claims as well as the persuasive weight of the various



  1 Defendant Gilead's characterization of Plaintiff's claims should be given no weight considering that the pleadings,
  for the purpose of a summary judgment motion, must be read in the light most favorable to the plaintiff with every
  reasonable inference accorded to the plaintiff See, Pressler, Supra.

                                                           6

                                                                                                        Page 211 of 246
       PAS-L-002011-20 11/18/2020 1:05:18 PM Pg 12 of 26 Trans ID: LCV20202093361
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 214 of 248 PageID: 223




  unpublished court opinions denying motions to dismiss complaints regarding the harmful effects

  of TDF medications manufactured by Defendant Gilead.


         B. The Bartlett Case: Irrelevant and Distinguishable

         In Bartlett, a New Hampshire woman sued the manufacturer of a generic nonsteroidal

  anti-inflammatory drug sulindac, (hereinafter the "NSAID") for not properly warning of the risk

  that the NSAID would cause skin necrosis. Bartlett, 570 U.S. at 478-479. The woman sued under

  both design defect and failure to warn strict liability claims. Id at 475. The Court, reasoning that

  Mensing established that federal law prohibits generic drug manufacturers from changing their

  labels unilaterally, and that drug manufacturers should not be forced to exit a marketplace to

  comply with both state and federal law, ruled that "state-law design defect claims that turn on

  the adequacy of a drug's warnings are pre-empted by federal law under [Mensing]." Bartlett,

  570 U.S. at 476 (emphasis added).

         The particular phrasing of Bartlett's holding is important in order to understand the

  narrow scope of its holding: Bartlett is unique in that the failure to warn claim was dismissed

  after the woman's doctor admitted he failed to read the warning labels on the NSAID. Id at 479.

  As Bartlett involved both a peculiar hybrid design-labeling defect claim of a generic drug

  manufacturer who is unable to unilaterally change their labeling and a design defect claim that

  demanded the manufacturer withdraw from the market, it is not applicable to Plaintiff's claims

  against Defendant Gilead in the present case as the Defendant is a brand-name drug

  manufacturer. Further, Defendant Gilead knew of TDF's nephrotoxicity before the introduction

  of Truvada into the market and, thus, their duty was to present Truvada to the FDA with a TAF

  composition and, alternatively, continue independently with the introduction of TAF into the

  market instead of prioritizing market dominance over the health of its consumers.

                                                   7

                                                                                         Page 212 of 246
       PAS-L-002011-20 11/18/2020 1:05:18 PM Pg 13 of 26 Trans ID: LCV20202093361
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 215 of 248 PageID: 224




           Instead, this court should adopt the legal analysis and holdings found in Holley.2 Holley,

  379 F. Supp. 3d. In Holley, a group of 140 consumers of Defendant Gilead's TDF medications

  sued Defendant Gilead for various state failure to warn and design defect claims. Id at 814. In

  determining the applicability of Bartlett to claims almost identical to Plaintiffs, the court noted

  that:

                   [T]he Bartlett court did not reach the sweeping conclusion that all design
                   defect claims are preempted by federal law, but rather applied the
                   impossibility preemption analysis to the plaintiffs design defect claim
                   regarding a generic drug, and clarified that preemption cannot be avoided
                   if the only way a manufacturer can comply with both federal and state law
                   is to exit the market. Holley, F. Supp. 3d. at 822 (citing Yates v. Ortho-
                   Mcneil-Janssen Pharms., Inc., 808 F.3d 281, 296 (6th Cir. 2015).

           The Holley court, in determining the applicability of federal preemption, applied the

  following two-part test: First, it determined whether a drug manufacturer may independently act

  in compliance with both state and federal law. Id at 821. Second, if this independent action is

  possible, the claims are preempted "only if there is clear evidence that the FDA would not grant

  their approval." Holley, 379 F. Supp. at 821.

          Using this test, the court in Holley refused to dismiss design defect claims against

  Defendant Gilead, noting that "The Question is not whether a drug manufacturer can

  'independently sell pharmaceutical drugs without FDA approval'; it is whether 'a drug

  manufacturer [can] independently design a reasonably safe drug in compliance with its state-law

  duties before seeking FDA approval.' Id at 824 (citing Guidry v. Janssen Pharms., Inc., 206 F.

  Supp. 3d 1187, 1208 (E.D. La. 2016). In concluding that "Gilead has not satisfied the

  'demanding' defense of impossibility preemption," as to the group's design defect claims



  2 Defendant Gilead's claims that Holley should not be given weight where it is inconsistent with their cited
  unpublished opinions holds no basis in law. In fact, New Jersey published jurisprudence is consistent with Holley's
  finding of no preemption. See, Feldman v. Lederle Labs., 125 N.J. 117 (1991) (finding that state law failure to warn

                                                           8

                                                                                                       Page 213 of 246
       PAS-L-002011-20 11/18/2020 1:05:18 PM Pg 14 of 26 Trans ID: LCV20202093361
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 216 of 248 PageID: 225




  because "Plaintiffs contend that, under state law, [Gilead] should have offered for FDA approval

  a drug formulation with fewer side effects, and that [Gilead] could have complied with both state

  and federal law by formulating a drug with TAF, a formulation that eventually was approved by

  the FDA." Id at 825.

          In rejecting arguments that claims against Defendant Gilead for failure to warn were

  preempted with regard to pre-approval of their labeling, the court in Holley noted that Defendant

  Gilead possessed the ability to implement stronger warning language into labelling and

  submit that labeling for FDA approval. Holley, F. Supp. 3d.at 826. Thus, failure to warn

  claims "do not conflict with any state-law duties regarding adequacy of warnings, and it is

  therefore not impossible for a manufacturer to comply with both state and federal law prior to

  submitting a new drug application to the FDA for approval." Id at 826.

          In rejecting the same arguments regarding changing of Defendant Gilead's labeling post-

  approval, the court in Holley noted that up until 2008, regulations allowed Defendant Gilead to

  change their labeling unilaterally via the Changes Being Effected ("CBE") regulations and thus

  did not apply to claims that Truvada should have changed their labeling before 2008. Id at 828.

  Thus, applying this analysis to Anthony Gaetano's claims, the allegations can properly be read to

  claim that, from Plaintiff s first use of Truvada in 2005 until 2008, Defendant Gilead should

  have utilized CBE regulations to unilaterally change their labeling to strengthen warnings

  regarding the nephrotoxicity and need to monitor markers of kidney health with definitive

  regularity.

          Finally, Holley's analysis should control this Court's analysis of federal preemption

  because it contains therein fact-specific rejections of the many opinions, both published and


  claims are not preempted by federal drug regulations); In re Accutane Litig., 235 N.J. 229 (2018) (cited Wyeth
  positively in finding that failure to warn claims against brand-name manufacturers were not preempted).

                                                        9

                                                                                                  Page 214 of 246
       PAS-L-002011-20 11/18/2020 1:05:18 PM Pg 15 of 26 Trans ID: LCV20202093361
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 217 of 248 PageID: 226




  unpublished, cited and relied upon by Defendant Gilead in their Opposition. First, the court in

  Holley notes that nationally, courts not bound to the opinions of the sixth circuit have refused to

  apply the Yates court's rational in support of preemption for design defect claims. Id at 823. The

  court in Holley also notes, as discussed above, that design defect claims for TDF medications are

  a question of submitting safer designs or independently designing a safer drug, rather than

  whether Defendant Gilead can market the safer design without FDA approval. Id at 824. This

  means that all unpublished opinions cited by Defendant Gilead finding federal preemption

  because the formula of an already-manufactured drug cannot be changed should be disregarded

  as inapplicable to Plaintiff s claims. See, Motion at pgll fn9. Additionally, as Plaintiff's claims

  cover Truvada's labeling from 2005 onward, and Defendant Gilead had the ability to unilaterally

  change their labeling from 2005-2008, any unpublished opinions regarding the preemption of

  post-2008 failure to warn claims should be disregarded in favor of Holley's pre-2008 failure to

  warn preemption analysis. Holley, 379 F. Supp. 3d. at 828.


         C. Relevant Federal Regulations Regarding Drug Labeling Changes

         As set forth in both Levine and Holley, a drug manufacturer is permitted to make certain

  changes to their labeling before receiving agency approval. Id at 819. The process regarding the

  ability to change drug labeling prior to FDA approval was described by the Levine court:

             There is, however, an FDA regulation that permits a manufacturer to make
             certain changes to its label before receiving FDA approval. Among other this,
             this "change being effects" (CBE) regulation provides that if a manufacturer is
             changing a label to "add or strengthen a contraindication, warning, precaution,
             or adverse reaction" or to "add or strengthen an instruction about dosage and
             administration that is intended to increase the safe use of the drug product," it
             may make the labeling change upon filing its supplemental application with




                                                  10

                                                                                         Page 215 of 246
       PAS-L-002011-20 11/18/2020 1:05:18 PM Pg 16 of 26 Trans ID: LCV20202093361
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 218 of 248 PageID: 227




               the FDA; it need not wait for FDA approval. Levine, 555 U.S. at 568 (citing
               21 CFR §§314.70(c)(6)(iii)(A),(C).3

  Thus, as established in Levine and subsequently followed by Holley, a drug manufacturer cannot

  claim impossibility preemption if they have the ability to modify their labels by utilizing CBE

  regulations absent clear and convincing evidence that the FDA would not ultimately grant

  approval. See, Levine, 555 U.S. at 571; Holley, 379 F. Supp. 3d. at 821.

          D. Plaintiffs Design Defect Claim is not Preempted

          As stated above, Plaintiff argues that Defendant Gilead should have 1) introduced

  Truvada with a TAF rather than TDF composition (Plaintiff s pre-approval design defect claim)

  and 2) should have introduced TAF medication into the market in 2009 mitigating harms to

  Plaintiff. Holley, in determining whether a pre-approval design defect claim against Defendant

  Gilead for failing to design TDF medications with TAF, found that the weight of authority

  dictated a finding against preemption. Holley, 379 F. Supp. 3d. at 824. In determining a lack of

  preemption, the Holley court noted that Defendant Gilead failed to cite federal law that would

  have prevented it from submitting drugs that contained TAF for approval rather than TDF. Id.

  Additionally, the court noted that a pre-approval design defect theory does not implicate Bartlett

  or Yates because a preapproval design theory does not demand that a drug manufacturer not act,

  but rather act differently. Id at 825.

          Just as Defendant Gilead failed to do in Holley, Defendant Gilead cites no federal law

  that would have prevented it from submitting for approval Truvada with a composition including

  TAF rather than TDF. This pre-approval claim would not prevent Defendant Gilead from

  participating in the marketplace: by 2004 Defendant Gilead had already developed and was


  3 While Defendant Gilead asserts that under CBE regulations, they can only change their labels to reflect newly
  acquired information, the regulations were amended to include this requirement in 2008, three years after Plaintiff
  began taking Truvada and four years after Defendant Gilead first introduced Truvada into the market.

                                                          11

                                                                                                      Page 216 of 246
       PAS-L-002011-20 11/18/2020 1:05:18 PM Pg 17 of 26 Trans ID: LCV20202093361
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 219 of 248 PageID: 228




  marketing Viread, another TDF medication. Instead, Defendant Gilead could have easily met

  their duties under both state and federal law by submitting Truvada with TAF formulation.

         E. Plaintiffs Failure to Warn Claim is not Preempted

         Similarly, Plaintiff s pre-approval and post-approval failure to warn claims are not

  preempted.4 As discussed by both the Levine and Holley courts, the test for whether Plaintiff's

  failure to warn claims are preempted is whether Defendant Gilead could have acted unilaterally

  by either initially presenting adequate labeling to the FDA or amending its labeling thereafter.

  Holley, 379 F. Supp. 3d. at 821; Levine, 555 U.S. at 571. If Defendant Gilead could have acted

  unilaterally to change its labeling prior to FDA approval, the burden shifts to Defendant Gilead

  to show clear evidence that such a labeling change would not be approved. Holley, 379 F. Supp.

  3d. at 821; Levine, 555 U.S. at 571. Defendant Gilead does not argue that its changed labeling of

  Truvada would not have been approved by the FDA, nor could it considering Truvada's labeling

  has been subsequently amended and approved to reflect some of the stronger warnings that

  should have been included in its prior labeling. Thus, the issue is whether Defendant Gilead

  could have amended the labeling of their product unilaterally. Viewing the pleadings in a light

  most favorable to the Plaintiff, Defendant Gilead could have unilaterally acted to change their

  labeling and thus Plaintiff's failure to warn claims are not preempted.

         While the FDA and drug manufacturers participate in an arduous approval process for

  initial drug labeling, Defendant Gilead cites no statute or regulation that would have prevented

  them from presenting an adequate label to FDA prior to drug approval. Holley, 379 F. Supp. 3d.

  at 826. When analyzing whether federal preemption applied to failure to warn claims regarding

  TDF medications including Truvada, the Holley court determined that the ability for Truvada to




                                                  12

                                                                                      Page 217 of 246
       PAS-L-002011-20 11/18/2020 1:05:18 PM Pg 18 of 26 Trans ID: LCV20202093361
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 220 of 248 PageID: 229




  present stronger labeling to the FDA for approval did not conflict was not restricted by federal

  law or regulations and thus pre-approval failure to warn claims against Truvada were not

  preempted. Id. The case at bar presents the exact same situation: Defendant Gilead fails to show

  why they could not present adequate labeling to the FDA for initial approval.5 Without such a

  restriction, Defendant Gilead cannot show it could not comply with both its federal and state law

  duties. Thus, Defendant Gilead fails to meet its demanding burden of proving federal

  preemption.

           Defendant Gilead also fails to show why Plaintiff's post-approval failure to warn claims

  are preempted. After the introduction of Truvada into the market in 2004 until the amendment of

  CBE regulations in 2008, Defendant Gilead had the ability to unilaterally change their labeling to

  strengthen warnings and instruction about administration of Truvada in order increase safe use of

  Truvada. Levine, 555 U.S. at 568. While Defendant Gilead claims that Plaintiff has not pled that

  Defendant Gilead had "newly acquired information" that would permit it to unilaterally change

  its labeling prior to FDA approval, such does not bar Plaintiff's claim that Defendant Gilead

  should have updated its labeling between 2004 and 2008. Even if Plaintiff's claim were subject

  to preemption pursuant to post-2008 CBE regulations, the Supreme Court in Levine noted that

  such "newly acquired information" is defined broadly by the FDA:

                    As the FDA explained in its notice of the final rule, "newly acquired
                    information' is not limited to new data, but also encompasses "new
                    analyses of previously submitted data." The rule accounts for the fact that
                    risk information accumulates over time and that the same data may take on
                    a different meaning in light of subsequent developments: "[I]f the sponsor
                    submits adverse event information to FDA, and then later conducts a new

  4 Defendant Gilead spuriously claims that Plaintiff only alleges a post-approval failure to warn claim. However,
  Plaintiff's allegations properly alleged that Defendant Gilead's labeling was inadequate from its inception and
  throughout the time Anthony Gaetano was prescribed Truvada. See, Compl. At 740-49.
  5 It is important to note that Plaintiff did not allege that Defendant Gilead engaged in any fraud upon the FDA. Thus,
  Plaintiff's claims do not rely on any "fraud on the agency" theories and instead rest on traditional state tort law
  issues preventing any blanket preemption of Plaintiff's failure to warn claims. See, Holley, 379 F. Supp. 3d. at 825
  (citing Buckman Company v. Plaintiffs' Legal Committee, 531 U.S. 341, 353-353 (2001).

                                                           13

                                                                                                         Page 218 of 246
       PAS-L-002011-20 11/18/2020 1:05:18 PM Pg 19 of 26 Trans ID: LCV20202093361
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 221 of 248 PageID: 230




                 analysis of data showing risks of a different type or of greater severity or
                 frequency than did reports previously submitted to FDA, the sponsor
                 meets the requirement for 'newly acquired information.' Levine, 555 U.S.
                 at 569 (citing 73 Fed. Reg. 49609).

         Reading Plaintiffs complaint with every reasonable inference drawn in his favor,

  Plaintiff has properly pled that Defendant Gilead had evidence that two of its similar

  antiretroviral medications caused significant kidney and bone damage. Compl. At ¶32; see also,

  Gandi, 184 N.J. at 165; Schulman, 401 N.J. Super. at 473-74. Additionally, Defendant Gilead's

  preclinical trial showed that exposure to TDF caused bone toxicity. Compl. at ¶33. By the time

  Defendant Gilead introduced Truvada into the market, it had years' worth of data that TDF

  medications caused kidney and bone damage. Compl. At ¶34. Defendant Gilead Sciences must

  have realized through subsequent analysis or other newly acquired information that Truvada's

  warnings remained inadequate as they provided stronger labeling warning of adverse kidney

  events and encouraged more consistent and universal monitoring for the European Union doctors

  and consumers. Compl. at ¶¶50-54. Thus, Anthony Gaetano's post-approval failure to warn

  claims are not preempted because, as pled, Defendant Gilead had, at all times after the approval

  of Truvada, the ability to unilaterally update their labeling pursuant to CBE regulations.

                                              POINT II

      DEFENDANT GILEAD'S MOTION TO DISMISS PLAINTIFF'S COMPLAINT
  SHOULD BE DENIED BECAUSE PLAINTIFF'S HAS PLED SUFFICIENT FACTS TO
  OVERCOME THE PRESUMPTION OF ADEQUACY OF TRUVADA'S LABELING.


         Defendant Gilead, in arguing its motion to dismiss, claims that its labeling is adequate as

  a matter of law. See, Motion pg19. While New Jersey presumes that labeling approved by the

  FDA is adequate, this presumption is rebuttable. See, Feldman v. Lederle Labs., 125 N.J. 117,

  156-157 (1991); In re Accutane Litig., 235 N.J. 229, 270-272 (2018). Most recently in Accutane,



                                                   14

                                                                                         Page 219 of 246
       PAS-L-002011-20 11/18/2020 1:05:18 PM Pg 20 of 26 Trans ID: LCV20202093361
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 222 of 248 PageID: 231




  the New Jersey Supreme Court described how the strength of presumptive validity of drug

  labeling pursuant to the New Jersey Product Liability Act ("PLA") was dependent on the

  strength in oversight procedures by the FDA. In re Accutane, 235 N.J. at 270-273. The New

  Jersey Supreme Court, in initially evaluating the strength of the label adequacy presumption of

  the PLA, expressed that absent deliberate concealment or nondisclosure of after-acquired

  knowledge, presumptions should be virtually dispositive. Perez v. Wyeth Labs. Inc., 161 N.J. 1,

  25 (1999). Subsequently, however, the New Jersey Supreme Court noted that such a high burden

  was only dictum whose persuasiveness has all but eroded:

                 The "flaws in that post-marketing oversight process," the Appellate
                 Division reasoned, "render[ed] the dictum of Perez less all-encompassing
                 than it might then have appeared" and "provide[d] the foundation for [a]
                 further exception to the presumption of adequacy" enunciated in McDarby
                 . . . In Cornett, 211 N.J. at 388, 48 A.3d 1041, this Court recognized the
                 McDarby exception. In re Accutane, 235 N.J. at 272-273 (citations
                 omitted).

  Still, New Jersey courts recognize that there are still unique circumstances where this

  presumption of labeling adequacy may be overcome. See, McDarby, 401 N.J. Super. at

  63 (citing Perez, 161 N.J. at 25).

         Thus, New Jersey currently recognizes two different standards for strength of

  presumption of adequacy of labeling: a strong pre-approval presumption and a weaker post-

  approval presumption. Id. However, the New Jersey Supreme Court has been reluctant to apply

  such a burdensome standard in preliminary hearings and filings:

                 Rather, [the presumption of adequacy of labeling] should be treated, as
                 would any presumption in the ordinary course, as capable of being
                 overcome by evidence which "tends to' disprove the presumed fact,
                 thereby raising a debatable question regarding the existence of the
                 presumed fact." If, in the face of the evidence, reasonable people would
                 differ regarding the presumed fact, the presumption will be overcome.
                 Kendall v. Hoffman-La Roche, Inc., 209 N.J. 173, 197-198 (2012)
                 (citations omitted).

                                                  15

                                                                                            Page 220 of 246
       PAS-L-002011-20 11/18/2020 1:05:18 PM Pg 21 of 26 Trans ID: LCV20202093361
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 223 of 248 PageID: 232




  Whether a weaker or stronger presumption of validity is placed on Plaintiff's claim, Plaintiff has

  pled facts sufficient to overcome both burdens. Additionally, Plaintiff's claims that Defendant

  Gilead knew of their inadequate labeling through their actions to protect consumers in the

  European Union demonstrate unique circumstances that overcome any presumption of labeling

  adequacy.

         A. Plaintiff has pled facts to overcome pre-approval presumptions of adequacy in
            Truvada's labeling.

         A general presumption can be overcome when evidence may disprove the presumed fact.

  Id at 197. Viewing Plaintiff's pleadings in the light most favorable to them, and drawing all

  reasonable inferences therein, Plaintiff has overcome this burden. Plaintiff, in his complaint,

  notes that Truvada labeling should have warned all patients to be monitored for markers

  indicating kidney damage. Compl. At ¶40-41. Further, Plaintiff indicates that Defendant Gilead

  "knew universal monitoring should be done." Compl. At ¶44. In addition, Truvada's labeling

  warning to monitor those for markers of kidney damage were inadequate in that they both failed

  to warn doctors to check for effective indicators of kidney damage and failed to indicate with

  what regularity at risk patients should be monitored. Compl. At ¶46-48. All of these allegations

  are more than sufficient in tending to disprove the presumption of adequacy of Truvada's

  labeling for purposes of Defendant Gilead's Motion to Dismiss.

         Alternatively, Plaintiff can defeat any heightened presumption of validity. According to

  the New Jersey Supreme Court in Perez, the presumption of the adequacy of a pharmaceutical

  label is dispositive "absent deliberate concealment or nondisclosure of after-acquired

  information." Perez, 161 N.J. at 25. Plaintiff, in his complaint, properly alleges that, during the

  time Defendant Gilead introduced Truvada into US markets, Defendant Gilead provided stronger

  recommendations and warnings to European Union doctors and patients. Compl. At ¶50.

                                                  16

                                                                                        Page 221 of 246
       PAS-L-002011-20 11/18/2020 1:05:18 PM Pg 22 of 26 Trans ID: LCV20202093361
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 224 of 248 PageID: 233




  Additionally, Plaintiff alleges that even before the introduction of Truvada into the market,

  Defendant Gilead told their sales representatives to downplay TDF's nephrotoxicity and

  downplay side effects experienced by patients. Id at ¶38. These allegations clearly indicate that

  Defendant Gilead was deliberately concealing and failing to disclose the harm of TDF

  medications to the FDA that would have affected the FDA's determination of the adequacy of

  their labeling.   Thus, Plaintiff has pled facts sufficient to overcome the presumption that

  Truvada's labeling was adequate.

         B. Plaintiff has pled facts sufficient to overcome post-approval presumptions of
            adequacy of Truvada's labeling.
         Viewing the adequacy of Truvada's labeling as a general presumption, Plaintiff easily

  demonstrates that he has pled facts that tend to disprove this assumption with regard to the

  adequacy of Defendant Gilead's Truvada labeling after Truvada's introduction into the market.

  In addition to the allegations described regarding Defendant Gilead's initial labeling, Defendant

  Gilead provided for doctors in the EU after Truvada's introduction into the market

  recommendations of careful monitoring of renal function before taking Truvada, every four

  weeks during the first year, and every three months thereafter. Compl. at ¶52. Additionally, after

  the introduction of Truvada into the market, Defendant Gilead began using suspiciously

  convenient methodologies in their published studies with the purpose of concealing the

  seriousness of kidney damage associated with TDF medications. Id at ¶55. These allegations,

  when viewed in the light most favorable to Plaintiff, would properly rebut the presumption that

  Defendant Gilead's labelling of Truvada was adequate.

         Even if Plaintiff is forced to face a stronger presumption of adequacy of Truvada's

  labeling, Plaintiff can still rebut this presumption. The New Jersey Supreme court recently noted

  that, in light of the FDA's lack of resources available to properly regulate drugs post-marketing,


                                                  17

                                                                                       Page 222 of 246
       PAS-L-002011-20 11/18/2020 1:05:18 PM Pg 23 of 26 Trans ID: LCV20202093361
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 225 of 248 PageID: 234




  claims of inadequate post-marketing labeling fell under an exception to the "virtually

  dispositive" super presumption articulated in Perez. In re Accutane, 235 N.J. at 272-274.

  Specifically, an accusation of post-market manipulation is sufficient to overcome adequacy

  presumption under the New Jersey law. McDarby v. Merk & Co., Inc., 401 N.J. Super. 10, 63-64

  (App. Div. 2008). Further, Plaintiffs complaint should be read indulgently in the context of a

  motion to dismiss. Cornett v. Johnson, 211 N.J. 362, 388-389 (2012). As stated above, Defendant

  Gilead used suspiciously convenient methodologies in their studies of the adverse effects of their

  TDF medication after the introduction of Truvada into the market. Compl. At ¶55. Defendant

  Gilead also stated in its 10-K filings in 2002 through 2004 that the company would suffer if

  Viread (one of Defendant Gilead's TDF medications) did not maintain or increase its market

  acceptance. Compl. at ¶61. These two facts show that Defendant Gilead, in order to maintain its

  market dominance, manipulated information available to the medical community and thus

  Defendant Gilead cannot maintain that its labeling was adequate as a matter of law.

         C. Plaintiffs pleadings allege rare circumstances where the presumption of
            adequacy of Truvada's labeling is overcome.

         While the New Jersey Supreme Court has addressed specific circumstances where the

  presumption of labeling validity under the PLA may be overcome, the Court has recognized that

  the legislature provided no guidance with regard to what evidence may be sufficient to overcome

  this presumption. In re Accutane, 235 N.J. at 270. In determining the role of the PLA's adequacy

  presumption in light of the regulatory framework of the FDA, the Accutane court cites positively

  the Supreme Court's proposition in Levine that state-law failure to warn claims, "provide a

  'complementary form of drug regulation." In re Accutane, 235 N.J. at 269 (quoting Levine, 555

  U.S. at 578. Consequently, evidential requirements for rebutting the PLA's adequacy

  presumption has and continues to evolve as the court considers different claims against various

                                                 18

                                                                                        Page 223 of 246
       PAS-L-002011-20 11/18/2020 1:05:18 PM Pg 24 of 26 Trans ID: LCV20202093361
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 226 of 248 PageID: 235




  manufacturers. Id at 270-273. As a result, this court should consider whether Plaintiff properly

  alleges unique circumstances where the adequacy presumption of the PLA is overcome.

  McDarby, 401 N.J. Super. at 63 (citing Perez, 161 N.J. at 25).

         Plaintiff properly alleges these unique circumstances against Defendant Gilead. While

  Defendant Gilead attempts to argue that their labeling was adequate as a matter of law, their

  actions in marketing TDF medications and purposefully delaying the introduction of TAF

  medications show that Defendant Gilead knew that its labeling was inadequate. Seemingly

  prioritizing the health and safety of their European consumers, Defendant Gilead provided

  stronger warnings of the harmful effects of Truvada and other TDF medications to doctors and

  patients in the EU. Compl. At ¶50. While only recommending for Truvada consumers the

  monitoring of a single ineffective indicator of kidney damage for those at risk of adverse kidney

  events for unspecific intervals until Defendant Gilead changed Truvada's labeling in 2008,

  Defendant Gilead, since 2005, recommended to all consumers that their kidney function be

  monitored using more sensitive markers of kidney damage for specified intervals. Id at ¶51-52.

  Additionally, Defendant Gilead recommended to EU patients and doctors that those at risk of

  adverse kidney events be monitored more frequently. Id at ¶52. In 2006, Defendant Gilead also

  released a "Dear Doctor" letter to physicians in the EU stressing the importance of frequent

  monitoring of kidney health. Id at ¶53.

         In contrast, Defendant Gilead failed to warn that all patients should be monitored for

  kidney health while taking Truvada until 2008. Id at ¶45. Defendant Gilead also failed to advise

  for monitoring of other biochemical markers of kidney health while taking Truvada until 2018,

  despite similar recommendations to EU doctors and patients over a decade earlier.      Id at ¶46-

  47,52. Throughout the time Plaintiff was taking Truvada, Defendant Gilead's Truvada labeling



                                                  19

                                                                                      Page 224 of 246
       PAS-L-002011-20 11/18/2020 1:05:18 PM Pg 25 of 26 Trans ID: LCV20202093361
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 227 of 248 PageID: 236




  provided for monitoring of kidney health "as clinically appropriate" while providing EU doctors

  and patients with a specific monitoring schedule of "every four weeks during the first year, and

  then every three months." Id at ¶48,52.

            As described above, Defendant Gilead knew that its labeling was inadequate and, instead

  of changing their labeling pursuant to CBE regulations, chose to prioritize the wellbeing of their

  European consumers over their American consumers. As a consequence, Plaintiff has overcome

  any presumption regarding the adequacy of Truvada's labeling.

                                               POINT III

         DEFENDANT'S MOTION TO DISMISS PLAINTIFF'S COMPLAINT WITH
    PREJUDICE SHOULD BE DENIED AS PLAINTIFF IS ENTITLED TO LEAVE TO
                         AMEND HIS PLEADINGS

            As discussed above, the granting of a motion to dismiss, especially with prejudice, should

  only be done in the rarest of circumstances. Printing Mart, 116 N.J. at 772. Further, where there

  is a cause of action even suggested by the claim, courts should liberally grant leave to Plaintiffs

  to amend their complaints where an amendment may render a claim actionable. Id at 746. When

  considering Defendant Gilead's motion to dismiss a mass action against them in Holley, the

  court held that, where the consumers' claims were insufficient to escape dismissal, these

  consumers were granted leave to amend all of the dismissed complaints. Holley, 379 F. Supp. 3d

  at 834.

            This Court should extend the same leave to Anthony Gaetano. In his Complaint, Plaintiff

  articulates very serious and actionable claims that suggest that Defendant Gilead failed to

  provide adequate warnings to monitor kidney and bone health on Truvada. Compl. At ¶¶40-49.

  Plaintiff also claims that while Defendant Gilead's labeling for Truvada in the United States

  remained inadequate, it provided stronger adequate labeling in the EU. Id at ¶¶50-54. Finally,



                                                    20

                                                                                         Page 225 of 246
       PAS-L-002011-20       11/18/2020 1:05:18 PM Pg 26 of 26 Trans ID: LCV20202093361
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 228 of 248 PageID: 237




   Plaintiff claims that Defendant Gilead purposefully ended development into TAF, a safer

   composite of TDF that would have eliminated the nephrotoxicity of Defendant Gilead's

   antiretroviral for purposes of maintaining market dominance and preventing Truvada from losing

   its market share. Id at 58-71. As demonstrated above, Anthony Gaetano has made sufficient

   claims against Defendant Gilead for violating its state law duties to design a safe drug and warn

   of its dangers where Defendant Gilead had the ability to comply in light of complimentary state

   and federal laws. Should this Court determine that the Pleadings are not sufficient in any manner,

   Anthony Gaetano should have the ability to amend his Pleadings as to not deny him his day in

   Court.



                                               CONCLUSION

            For the foregoing reasons, it is respectfully submitted that Defendant Gilead's Motion to

   Dismiss should be denied in its entirety.



                                                     LANDEL, BERNSTEIN & KALOSIEH, LLP
                                                     Attorneys for PlaintffAnthony Gaetano


   Dated: November 18, 2020                    By:
                                                     An G. Bernstein, Esq.




                                                      21

                                                                                         Page 226 of 246
       PAS-L-002011-20 11/30/2020 4:09:20 PM Pg 1 of 20 Trans ID: LCV20202164697
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 229 of 248 PageID: 238




   ANTHONY GAETANO,                            SUPERIOR COURT OF NEW JERSEY
                                               LAW DIVISION: PASSAIC COUNTY
                        Plaintiff,                CASE NO. PAS-L-002011-20

                 v.                                       CIVIL ACTION

   GILEAD SCIENCES, INC.; ST. JOSEPH’S
   HEALTH, INC.; MICHAEL LANGE; JOHN
   DOES 1-10 (fictitious names representing
   unknown individuals); and/or JANE DOES 1-
   10 (fictitious names representing unknown
   individuals),

                        Defendants.


  ______________________________________________________________________________

      GILEAD SCIENCES, INC.’S REPLY IN SUPPORT OF ITS MOTION TO DISMISS
                             PLAINTIFF’S COMPLAINT
  ______________________________________________________________________________

                                               SILLS CUMMIS & GROSS P.C.
                                               One Riverfront Plaza
                                               Newark, New Jersey 07102
                                               Telephone: (973) 643-7000
                                               Facsimile: (973) 643-6500

                                               SIDLEY AUSTIN LLP
                                               555 West Fifth Street, Suite 4000
                                               Los Angeles, CA 90013
                                               Telephone: (213) 896-6000
                                               Facsimile: (213) 896-6600

                                               Attorneys for Defendant
                                               Gilead Sciences, Inc.
  BETH S. ROSE, ESQ.
  Of Counsel and On the Brief




                                                                               Page 227 of 246
         PAS-L-002011-20 11/30/2020 4:09:20 PM Pg 2 of 20 Trans ID: LCV20202164697
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 230 of 248 PageID: 239




                                             TABLE OF CONTENTS

  INTRODUCTION ......................................................................... Error! Bookmark not defined.
           I.       FEDERAL LAW PREEMPTS PLAINTIFF’S DESIGN DEFECT
                    THEORY ............................................................... Error! Bookmark not defined.
           II.      FEDERAL LAW PREEMPTS PLAINTIFF’S FAILURE TO WARN
                    THEORY ............................................................... Error! Bookmark not defined.
                    A.       Federal Law Preempts Plaintiff’s Pre-Approval Failure to Warn
                             Theory ........................................................ Error! Bookmark not defined.
                    B.       Federal Law Preempts Plaintiff’s Post-Approval Failure to Warn
                             Theory ........................................................ Error! Bookmark not defined.
           III.     THE TRUVADA® LABELING IS ADEQUATE AS A MATTER OF
                    LAW ...................................................................... Error! Bookmark not defined.
           IV.      PLAINTIFF’S COMPLAINT SHOULD BE DISMISSED WITH
                    PREJUDICE .......................................................... Error! Bookmark not defined.
  CONCLUSION .............................................................................. Error! Bookmark not defined.




                                                             i
                                                                                                           Page 228 of 246
          PAS-L-002011-20 11/30/2020 4:09:20 PM Pg 3 of 20 Trans ID: LCV20202164697
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 231 of 248 PageID: 240




                                                 TABLE OF AUTHORITIES

                                                                                                                                 Page(s)

  Cases

  In re: Accutane Litig.,
      235 N.J. 229 (2018) ...........................................................................................................10, 14

  Boone v. Boehringer Ingelheim Pharms., Inc.,
     SC 20200, 2020 WL 2121063, -- A.3d -- (Conn. May 4, 2020)............................................5, 7

  Epstein v. Gilead Sciences, Inc.,
     No. 19-81474, 2020 WL 4333011 (S.D. Fla. July 27, 2020)........................................... passim

  Matter of Estate of Jensen,
     No. A-2901-17, 2020 WL 479074 (App. Div. Jan. 30, 2020) .................................................15

  Evans v. Gilead Sciences, Inc.,
     No. 20-cv-00123, 2020 WL 5189995 (D. Haw. Aug. 31, 2020) ..................................... passim

  Feldman v. Lederle Labs.,
     125 N.J. 117 (1991) .................................................................................................................10

  Fleming v. Janssen Pharm., Inc.
     186 F. Supp. 3d 826 (W.D. Tenn. 2016)....................................................................................5

  Holley v Gilead Sciences, Inc.,
     379 F. Supp. 3d 809 (N.D. Cal. 2019) ............................................................................. passim

  Johnson v. Glassman,
     401 N.J. Super. 222 (App Div. 2008) ......................................................................................15

  Malin v. Union Carbide Corp.,
     219 N.J. Super. 428 (App. Div. 1987) ....................................................................................13

  Mut. Pharm Co., Inc. v. Bartlett,
     570 U.S. 472 (2013) ...................................................................................................................7

  PLIVA, Inc. v. Mensing,
     564 U.S. 604 (2011) .....................................................................................................5, 7, 8, 10

  Port Auth. of New York & New Jersey v. Arcadian Corp.,
     189 F.3d 305 (3rd Cir. 1999) ..................................................................................................13

  Robinson v. Eli Lilly & Co.,
     5:17-cv-338, 2018 WL 4039703 (E.D. Ky. Aug. 23, 2018) ......................................................5



                                                                      ii
                                                                                                                           Page 229 of 246
          PAS-L-002011-20 11/30/2020 4:09:20 PM Pg 4 of 20 Trans ID: LCV20202164697
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 232 of 248 PageID: 241




  Rossito v. Hoffman-La Roche Inc.,
     A-1237-13T1, 2016 WL 3943335 (App. Div. July 22, 2016) .................................................12

  Utts v. Bristol-Myers Squibb Co.,
      226 F. Supp. 3d 166 (S.D.N.Y. 2016)....................................................................................5, 9

  Wyeth v. Levine,
     555 U.S. 555 (2009) .................................................................................................................12

  Yates v. Ortho-McNeil-Janssen Pharm., Inc.,
     808 F.3d 281 (6th Cir. 2015) ........................................................................................... passim

  Statutes

  21 U.S.C. § 355(d)(7) ......................................................................................................................9

  Other Authorities

  21 C.F.R. § 314.125(b)(6)................................................................................................................9

  47 Fed. Reg. at 46,623 ...................................................................................................................11

  73 Fed. Reg. 2848 ..........................................................................................................................11




                                                                       iii
                                                                                                                              Page 230 of 246
        PAS-L-002011-20 11/30/2020 4:09:20 PM Pg 5 of 20 Trans ID: LCV20202164697
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 233 of 248 PageID: 242




                                          INTRODUCTION

         As set forth in Gilead Sciences, Inc.’s (“Gilead”) Brief in Support of its Motion to

  Dismiss Plaintiff’s Complaint (“Brief” or “Br.”), Plaintiff’s design defect and failure to warn

  theories—the sole theories underlying his Strict Liability claim against Gilead—are preempted

  by federal law, and the FDA-approved Truvada® labeling is adequate as a matter of law under

  the New Jersey Product Liability Act’s (“PLA”) strong presumption of adequacy. Plaintiff’s

  Brief in Opposition (“Opposition” or “Opp.”) misconstrues federal preemption law, ignores

  cases cited by Gilead dismissing as preempted materially identical claims against Gilead and

  other drug manufacturers, and ignores his own Complaint’s allegations. At bottom, Plaintiff’s

  Opposition only confirms the conclusion that he has not stated a plausible Strict Liability cause

  of action against Gilead, and that his claim against Gilead should be dismissed with prejudice.

         First, Plaintiff has not stated a plausible design defect theory of liability, i.e., that Gilead

  should have replaced the TDF in Truvada® with TAF. Br. at 10-15. Plaintiff makes virtually no

  attempt to defend his post-approval design defect theory (i.e., that Gilead could have replaced

  TDF with TAF after FDA approved Truvada®), and does not address any of the myriad cases

  dismissing as preempted post-approval design defect claims that similarly purport to require drug

  manufacturers to alter a drug’s formulation. See Id. at 12-14. Instead, Plaintiff ignores his own

  post-approval allegations, see Compl. ⁋ 70 (alleging a TAF medication could not have been

  approved until five years after FDA’s approval of Truvada®), and insists that he has asserted a

  pre-approval design defect theory (i.e., that Gilead should have designed Truvada® to contain

  TAF instead of TDF before obtaining FDA approval). E.g. Opp. at 5. Not only does Plaintiff’s

  argument ignore his own allegations, but federal law preempts his purported pre-approval design

  defect theory, because Gilead could not have marketed a TAF medication without prior FDA

  approval. Br. at 12 n.8, 15 n.10; Yates v. Ortho-McNeil-Janssen Pharm., Inc., 808 F.3d 281, 298



                                                                                             Page 231 of 246
        PAS-L-002011-20 11/30/2020 4:09:20 PM Pg 6 of 20 Trans ID: LCV20202164697
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 234 of 248 PageID: 243




  (6th Cir. 2015) (affirming dismissal of pre-approval design defect claim as preempted). Plaintiff

  also ignores recent decisions dismissing as preempted virtually the same pre-approval design

  defect theory regarding Truvada® that he asserts. E.g., Evans v. Gilead Sciences, Inc., No. 20-

  cv-00123, 2020 WL 5189995, at *9 (D. Haw. Aug. 31, 2020); Epstein v. Gilead Sciences, Inc.,

  No. 19-81474, 2020 WL 4333011, at *2 (S.D. Fla. July 27, 2020).

         Second, Plaintiff’s failure to warn theory is likewise preempted. Br. at 16-19. Plaintiff

  makes no attempt to address extensive case law dismissing state law challenges to warnings

  contained in a drug’s original labeling as preempted by federal law, id. at 18-19, and contrary to

  Plaintiff’s argument, his Complaint fails to allege any “newly acquired information” that would

  have allowed Gilead to invoke the federal Changes Being Effected (“CBE”) regulation or its

  predecessor regulation to modify the Truvada® labeling after FDA approval. Id. at 16-18.

  Instead, Plaintiff repeatedly points only to allegations that Gilead was aware of the risks

  associated with Truvada® before, not after, FDA approval. Opp. at 12 (citing Complaint); see

  also Br. at 17-18. As numerous courts have found, including as to claims materially identical to

  Plaintiff’s, such allegations, as a matter of law, cannot constitute “newly acquired information.”

         Third, Plaintiff’s failure to warn theory also fails because the Truvada® labeling is

  adequate as a matter of law. Br. at 19-21. Not only does Plaintiff fail to plead facts that could

  plausibly overcome the PLA’s “‘virtually dispositive’ statutory ‘super-presumption’” that

  warnings on FDA-approved drug labels are adequate as a matter of law, he also continues to

  ignore the indisputable fact that the Truvada® labeling has, at all times, contained the warnings

  that he asserts should have been included. Br. at 19-21.

         Plaintiffs’ Strict Liability claim against Gilead is based entirely on his design defect and

  failure to warn theories. Because those theories do not state a viable claim, and because Plaintiff




                                                   2
                                                                                          Page 232 of 246
        PAS-L-002011-20 11/30/2020 4:09:20 PM Pg 7 of 20 Trans ID: LCV20202164697
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 235 of 248 PageID: 244




  has not suggested any manner in which he could amend his pleading to cure its fatal deficiencies,

  his Strict Products Liability claim against Gilead should be dismissed with prejudice.

  I.     FEDERAL LAW PREEMPTS PLAINTIFF’S DESIGN DEFECT THEORY.

         As Gilead has explained, Plaintiff’s Complaint does not assert a pre-approval design

  defect claim, i.e., that Gilead should have introduced a TAF medication prior to FDA’s approval

  of Truvada® in 2004. Br. at 10-11, 15 n.10. Rather, he alleges that if Gilead had not stopped

  TAF research in 2004, a TAF medication “could have been conceivably approved in 2009,” five

  years after the FDA approved Truvada® with TDF. Compl. ⁋⁋ 63, 70 (emphasis added); Br. at

  10-11. Plaintiff repeats this assertion in his Opposition. Opp. at 2 ⁋ 12 (“TAF medications . . .

  could have been available as early as 2009”); id. at 11 (Gilead “should have introduced TAF

  medication into the market in 2009”). Accordingly, Plaintiff’s Complaint can only be read as

  asserting a post-approval design defect theory—i.e., that Gilead only could have “conceivably”

  replaced TDF with TAF “in 2009,” Compl. ⁋ 70, years after FDA approved Truvada® in 2004.

         Plaintiff’s post-approval design defect theory, however, is preempted by federal law,

  because Gilead indisputably could not independently alter the formulation of Truvada® after it

  received FDA approval, making it impossible for Gilead to comply simultaneously with its

  purported state law duty to change an active ingredient in Truvada® and federal regulations

  prohibiting Gilead from doing so unilaterally. See, e.g., Yates, 808 F.3d at 298 (dismissing post-

  approval design defect claim as preempted by federal law, because “FDA regulations provide

  that once a drug, whether generic or brand-name, is approved, the manufacturer is prohibited

  from making any major changes to the ‘qualitative or quantitative formulation of the drug

  product. . . .’ Therefore, to the extent [plaintiff] argues that defendants should have altered the

  formulation of [the product] after the FDA had approved the [product], we find this claim clearly

  preempted”) (quoting 21 C.F.R. § 314.70(b)(2)(i)); Epstein, 2020 WL 4333011, at *2


                                                    3
                                                                                           Page 233 of 246
        PAS-L-002011-20 11/30/2020 4:09:20 PM Pg 8 of 20 Trans ID: LCV20202164697
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 236 of 248 PageID: 245




  (dismissing post-approval design defect claim regarding medication containing TDF, because

  “FDA approved Gilead’s formula and any changes would have required further approval.”);

  Evans, 2020 WL 5189995, at *9-10 (dismissing post-approval design defect claim regarding

  Truvada®, because once Truvada® was FDA-approved, Gilead was “prohibited from making any

  major changes” under federal law); see also Br. at 12-13 (collecting cases).

         In response, Plaintiff does not cite a single case holding that a post-approval design

  defect theory challenging the formulation of an FDA-approved medication can survive

  dismissal.1 Moreover, notwithstanding his allegation that Gilead “should have introduced TAF

  medication into the market in 2009,” Opp. at 11, Plaintiff makes virtually no attempt to dispute

  that such a claim is “clearly preempted.” Yates, 808 F.3d at 298. Instead, Plaintiff reverses

  course, ignores his own allegations (repeated in his Opposition) that Gilead only could have

  “conceivably” introduced a TAF medication five years after Truvada® was on the market,

  Compl. ⁋ 70, and now argues that he has actually asserted a pre-approval design defect theory,

  i.e., that Gilead “should have [] introduced Truvada with a TAF rather than TDF composition”

  before obtaining FDA approval. Opp. at 11.

         Plaintiff does not, and cannot, square this theory with his explicit concession that a TAF

  medication could not “conceivably” have been introduced until 2009, Compl. ⁋ 70; Opp. at 2 ⁋

  12, five years after Truvada® was already on the market. Compl. ⁋ 31 (acknowledging that

  Truvada® was approved by the FDA in 2004). Accordingly, any pre-approval design defect

  theory is belied by Plaintiff’s own pleading, and cannot form the basis of a plausible claim.




  1
    In Holley v Gilead Sciences, Inc., plaintiffs abandoned their post-approval design defect theory
  in response to Gilead’s preemption argument. 379 F. Supp. 3d 809, 822 n.6 (N.D. Cal. 2019)
  (“Plaintiffs’ opposition makes clear that they are not pursuing claims that Gilead should have
  pursued a different drug composition after approval.”).


                                                   4
                                                                                         Page 234 of 246
        PAS-L-002011-20 11/30/2020 4:09:20 PM Pg 9 of 20 Trans ID: LCV20202164697
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 237 of 248 PageID: 246




         In any event, even if this pre-approval design defect theory was not patently inconsistent

  with Plaintiff’s own allegations, it still would not support a viable cause of action, because it

  would also be preempted by federal law. Indeed, “[t]he question for ‘impossibility’ [preemption]

  is whether the private party could independently do under federal law what state law requires of

  it,” PLIVA, Inc. v. Mensing, 564 U.S. 604, 620 (2011), and Gilead could not have independently

  introduced an alternatively designed formulation of Truvada® without FDA approval, i.e.,

  “without the Federal Government’s special permission and assistance, which is dependent on the

  exercise of judgment by a federal agency.” Id. at 623-24. Accordingly, numerous courts have

  dismissed similar pre-approval design defect claims as preempted by federal law. E.g., Yates,

  808 F.3d at 299 (pre-approval design defect claim was preempted, because “Defendants could

  not have complied with whatever pre-approval duty might exist without ultimately seeking the

  FDA’s approval prior to marketing [the product], and certainly prior to [plaintiff’s] use of the

  drug.”); Utts v. Bristol-Myers Squibb Co., 226 F. Supp. 3d 166, 185-86 (S.D.N.Y. 2016)

  (“dismissing as preempted plaintiffs’ claims that “defendants had a pre-approval duty to submit a

  differently designed drug for FDA approval,” and “[i]nsofar as the plaintiffs’ design defect claim

  suggests that the defendants should never have sold the FDA-approved formulation of Eliquis,

  such claims have been explicitly repudiated by the Supreme Court”).2




  2
    Fleming v. Janssen Pharm., Inc. 186 F. Supp. 3d 826, 832-33 (W.D. Tenn. 2016) (dismissing
  as preempted design defect claim “premised on the proposition that Defendants should have
  designed Invokana differently”); Robinson v. Eli Lilly & Co., 5:17-cv-338, 2018 WL 4039703, at
  *6 (E.D. Ky. Aug. 23, 2018) (pre-approval design defect claim preempted because defendant
  “could not have independently made such fundamental changes to Prozac’s formula”); Boone v.
  Boehringer Ingelheim Pharms., Inc., SC 20200, 2020 WL 2121063, at *12, 15, -- A.3d -- (Conn.
  May 4, 2020) (“design defect claim based on allegations that “defendants could have brought
  [another drug] to the market earlier” was preempted, because “defendants could not have
  satisfied their alleged state law duty to the decedent without marketing an unapproved drug in
  violation of federal law”).


                                                    5
                                                                                           Page 235 of 246
       PAS-L-002011-20 11/30/2020 4:09:20 PM Pg 10 of 20 Trans ID: LCV20202164697
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 238 of 248 PageID: 247




         Plaintiff fails to address recent decisions rejecting and dismissing materially identical

  pre-approval design defect claims against Gilead. Epstein, 2020 WL 4333011, at *2 (dismissing,

  as preempted, theory that Gilead “never should have sold” its TDF medications); Evans, 2020

  WL 5189995, at *9 (“to the extent [plaintiff] asserts a pre-approval design defect claim—i.e.,

  prior to Truvada receiving FDA approval, Gilead should have produced an HIV treatment . . .

  containing TAF, rather than TDF—this claim is preempted.”); Br. at 12-13, 15 n.10.

         Furthermore, Plaintiff’s reliance on Holley, 379 F. Supp. 3d 809, to argue that he can

  state a pre-approval design defect claim is misplaced. See, e.g., Opp. at 8-11. Holley did not

  involve, as here, a concession that no TAF medication “could have been conceivably approved

  until 2009,” Compl. ⁋ 70, or any other allegations that are flatly inconsistent with Plaintiff’s

  attempt to re-frame his design defect theory as challenging Gilead’s pre-approval conduct.

  Additionally, Holley incorrectly ignored, as Plaintiff does here, that Gilead could not

  independently market any TAF medication without FDA approval, focusing instead on only

  whether Gilead could have merely submitted for FDA consideration a differently designed

  medication. See Holley, 379 F. Supp. 3d at 824; Opp. at 10 (arguing that pre-approval “design

  defect claims for TDF medications are a question of submitting safer designs or independently

  designing a safer drug, rather than whether Defendant can market the safer design without FDA

  approval”) (emphasis added), 11 (arguing that “Gilead cites no federal law that would have

  prevented it from submitting for approval Truvada with a composition including TAF rather than

  TDF”) (emphasis added). That analysis ignores the Supreme Court’s holding that design defect

  claims are preempted where, as here, introducing a drug with different ingredients would create




                                                    6
                                                                                            Page 236 of 246
       PAS-L-002011-20 11/30/2020 4:09:20 PM Pg 11 of 20 Trans ID: LCV20202164697
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 239 of 248 PageID: 248




  “a new drug that would require its own NDA [new drug application] to be marketed in interstate

  commerce.” Mut. Pharm Co., Inc. v. Bartlett, 570 U.S. 472, 484 (2013) (emphasis added).3

         Multiple courts have thus recognized that the relevant question for preemption is whether

  a brand-name drug manufacturer could have independently marketed or sold a purportedly safer

  design under federal law, not simply “submit[ed]” it. For instance, the Sixth Circuit held that

  similar pre-approval design defect claims were preempted, and rejected this same argument that

  “there is no federal law that would have prohibited defendants from designing a different drug in

  the first instance.” Yates, 808 F.3d at 299 (emphasis added). The court explained that

  “Defendants could not have complied with whatever pre-approval duty might exist without

  ultimately seeking the FDA’s approval prior to marketing [the drug], and certainly prior to

  [plaintiff’s] use of the drug.” Id. at 300 (emphasis added). Likewise, the Connecticut Supreme

  Court concluded that the feasibility of “develop[ing] [the drug] before the decedent’s death is

  insufficient to preclude preemption,” because “that fact is inapposite to the question of whether

  marketing [the drug] in 2014 would have required FDA’s ‘special permission and assistance.’”

  Boone, 2020 WL 2121063, at *15 (quoting Mensing, 564 U.S. at 623-24) (emphasis added)).

         For this reason, the court in Evans expressly rejected Holley’s reasoning and dismissed

  the same pre-approval design defect claim regarding Truvada® that Plaintiff now asserts. Evans,

  2020 WL 5189995, at *9. The court explained that under Supreme Court precedent, “[m]erely



  3
    Bartlett is not inapplicable to “brand-name” medications, see Opp. at 7, as the Court itself
  recognized. Id. at 477 (“Once a drug—whether generic or brand name—is approved, the
  manufacturer is prohibited from making any major changes to the” drug.) (emphasis added); see
  also, e.g., Yates, F.3d at 293 (applying Bartlett to design defect claim regarding brand name
  drug); Boone, 2020 WL 2121063, at *15 (“The plaintiff claims that the test for preemption set
  forth in Mensing and Bartlett is inapplicable to [the] present case because those cases do not
  involve brand-name drugs. We disagree. . . . [T]he nature of the underling test remain[s]
  consistent: whether the defendant ‘could independently do under federal law what state law
  requires’”).


                                                   7
                                                                                        Page 237 of 246
        PAS-L-002011-20 11/30/2020 4:09:20 PM Pg 12 of 20 Trans ID: LCV20202164697
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 240 of 248 PageID: 249




  ‘requesting FDA assistance’ or ‘ask[ing] the FDA for help’” in complying with state law ‘would

  have satisfied [Gilead’s] federal duty, [but] it would not have satisfied [Gilead’s] state tort-law

  duty’ to provide an allegedly safer drug composition.” ‘The only action [Gilead] could

  independently take—asking for the FDA’s help [by submitting a TAF-containing drug

  application]—is not a matter of state law concern.’” Id. (quoting Mensing, 564 U.S. at 619,

  624).4 Here too, Plaintiff’s suggestion that Gilead could have “submit[ted] for [FDA] approval

  Truvada with a composition including TAF rather than TDF,” Opp. at 11, does not address the

  fact that Gilead could not satisfy its purported state law duty to actually market such a

  medication without FDA’s approval. Indeed, Plaintiff himself characterizes Gilead’s purported

  state law duty as a requirement to actually “introduce Truvada with a TAF rather than TDF

  composition,” not just “submit” it to FDA. Opp. at 11 (emphasis added). But Gilead

  indisputably could not “introduce” to the market a differently designed version of Truvada®

  without FDA’s “permission and assistance,” and federal law thus preempts any such claim.

  II.    FEDERAL LAW PREEMPTS PLAINTIFF’S FAILURE TO WARN THEORY.

         Plaintiff’s failure to warn theory is also preempted by federal law, because (i) Plaintiff

  cannot challenge the adequacy of the original FDA-approved Truvada® labeling, and (ii)

  Plaintiff has not identified any “newly acquired information” that would have permitted Gilead

  to unilaterally change that labeling after FDA approval. Br. at 16-19.




  4
    The Court in Mensing explained that it is not enough to assert that “if the Manufacturers had
  asked the FDA for help . . . they might have eventually have been able to accomplish under
  federal law what state law requires,” because conflict preemption does not permit this sort of
  “Mouse Trap game that eventually” could have led to compliance with a purported state law
  duty. Mensing, 564 U.S. at 619.


                                                    8
                                                                                           Page 238 of 246
       PAS-L-002011-20 11/30/2020 4:09:20 PM Pg 13 of 20 Trans ID: LCV20202164697
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 241 of 248 PageID: 250




         A.      Federal Law Preempts Plaintiff’s Pre-Approval Failure to Warn Theory.

         Plaintiff argues that his pre-approval failure to warn theory is not preempted, relying

  almost exclusively on Holley. See Opp. at 12. He does not even attempt to address cases

  holding that “failure to warn claims [that] are premised on the adequacy of the label as approved

  by the FDA when the drug was first marketed in the United States” are preempted. Utts, 226 F.

  Supp. 3d at 184-85; see also Epstein, 2020 WL 4333011, at *2 (dismissing pre-approval failure

  to warn claim against Gilead regarding TDF medication labeling, because “it would have been

  impossible for Gilead to comply with both its state duties to change the products’ labels and its

  federal duties not to make such changes without first obtaining FDA approval”); Br. at 18-19.

  Holley conflicts with these cases, and with federal regulations providing that FDA’s approval of

  drug labeling constitutes “a specific finding that [the drug’s] label was not ‘false or misleading in

  any particular,’” 21 U.S.C. § 355(d)(7); 21 C.F.R. § 314.125(b)(6)); Br. at 9-10.

         Plaintiff nevertheless argues that his pre-approval theory is not preempted because

  “Gilead cites no statute or regulation that would have prevented them [sic] from presenting an

  adequate label to FDA prior to drug approval.” Opp. at 12 (emphasis added). This argument

  fails for similar reasons to Plaintiff’s pre-approval design defect theory: Plaintiff’s failure to

  warn theory is not based on Gilead’s failure to present a different label; it is based—as Plaintiff

  himself describes it—on Gilead’s purported “fail[ure] to adequately warn” of the necessary

  patient monitoring accompanying Truvada®. Opp. at 5 (emphasis added). Regardless of whether

  Gilead could “present[]” different labeling to FDA, Gilead indisputably could not actually

  “warn” Plaintiff or his doctors with different labeling without prior FDA approval of such

  labeling, i.e., “without the Federal Government’s special permission and assistance . . .”




                                                    9
                                                                                            Page 239 of 246
       PAS-L-002011-20 11/30/2020 4:09:20 PM Pg 14 of 20 Trans ID: LCV20202164697
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 242 of 248 PageID: 251




  Mensing, 564 U.S. at 623-24 (emphasis added).5 Accordingly, Plaintiff’s pre-approval failure to

  warn theory is preempted and should be dismissed.

         B.      Federal Law Preempts Plaintiff’s Post-Approval Failure to Warn Theory.

         As set forth in Gilead’s Brief, Plaintiff has not sufficiently alleged that Gilead could have

  unilaterally changed the Truvada® labeling after FDA approval, because Plaintiff has not

  identified “newly acquired information” that would have permitted Gilead to do so under federal

  CBE regulations. Motion at 13-15. Plaintiff makes the conclusory assertion that “Gilead could

  have unilaterally acted to change their labeling and thus Plaintiff’s failure to warn claims are not

  preempted,” Opp. at 12, but he does not point to any allegations actually identifying “newly

  acquired information.” In fact, Plaintiff only cites to his Complaint’s allegations that Gilead

  knew before, not after, FDA approved Truvada®, of the associated risks. See Compl. ⁋⁋ 32-34

  (citing in Opp. at 14) (addressing the time period “[b]efore the introduction of TDF based

  antiretroviral medications in 2001”) (emphasis added). Numerous cases, including Holley, have

  rejected far more robust allegations of “newly acquired information” as inadequate to support a

  non-preempted failure to warn claim. See Br. at 16-17, n.13 (collecting cases).6

         Plaintiff also points to purportedly “stronger labeling warning[s]” in the European Union

  as evidence that Gilead “must have realized through subsequent analysis or other newly acquired



  5
    Indeed, the court in Holley “assume[d] . . . that the state laws invoked by Plaintiffs require
  Gilead to use different labeling,” Holley, 379 F. Supp. 3d at 826 n.7 (emphasis added), but
  ignored that a manufacturer cannot “use” a different original label without FDA’s approval.
  6
    Contrary to Plaintiff’s argument, Feldman v. Lederle Labs., 125 N.J. 117 (1991), and In re:
  Accutane Litig., 235 N.J. 229 (2018) (cited in Opp. at 8-9 n.2), do not support his argument that
  his failure to warn claims are not preempted. In re Accutane did not address preemption at all,
  let alone hold that “failure to warn claims against brand-name manufacturers were not
  preempted.” Opp. at 8-9 n.2. Lederle was analyzed under the regulations in place before 1965,
  long before the regulations that prevent Gilead from revising its labeling without newly acquired
  information. 125 N.J. at 149-50.


                                                   10
                                                                                           Page 240 of 246
       PAS-L-002011-20 11/30/2020 4:09:20 PM Pg 15 of 20 Trans ID: LCV20202164697
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 243 of 248 PageID: 252




  information that Truvada’s warnings remained inadequate,” Opp. at 14, but this too does not

  suffice to state a non-preempted post-approval failure to warn claim. Indeed, Plaintiff does not

  allege that data provided to European regulatory agencies was different than what was already

  provided to FDA. Accordingly, in Holley, where these exact same allegations were raised, the

  court still dismissed Plaintiff’s post-approval failure to warn claim for failure to allege newly

  acquired information. 379 F. Supp. 3d at 815, 830 (highlighting allegations that “Gilead

  ‘provides stronger monitoring warnings to physicians and patients in the European Union than it

  does in the United States,” but nevertheless holding that “the Court cannot conclude that

  Plaintiffs have plausibly alleged the existence of ‘newly acquired information’—i.e., ‘data,

  analyses, or other information not previously submitted to the [FDA]’—such that it could have

  made post-2008 labeling changes under the CBE regulation”) (quoting 21 C.F.R. ⸹ 341.3).7

          Finally, Plaintiff argues that, after FDA approval of the Truvada® labeling, but before

  2008 when the current CBE regulations were enacted, “Gilead had the ability to unilaterally

  change their [sic] labeling to strengthen warnings and instruction . . . .” Opp. at 13. But FDA

  has explained that, even before those CBE regulations were promulgated, the same standard

  applied, i.e., in order to unilaterally modify product labeling without prior FDA approval a drug

  manufacturer was required to have evidence of “newly discovered risks.” 47 Fed. Reg. at

  46,623; see also 73 Fed. Reg. 2848 (explaining that the then-proposed CBE regulation would

  “reaffirm [FDA’s] longstanding position that a supplemental application . . . is appropriate to

  amend the labeling for an approved product only to reflect newly acquired information”).8


  7
   Indeed, it is not possible to conceal from FDA the contents of European labeling, which is
  publicly available. See https://www.ema.europa.eu/en/medicines/human/EPAR/truvada.
  8
   Brief for the United States as Amicus Curiae, Wyeth v. Levine, No. 06-1249, 2008 WL
  2308908, at *4 (June 2, 2008) (“FDA interprets that [pre-CBE] regulation to permit changes
  without prior approval only to address ‘newly discovered risks’ for which there is sufficient


                                                   11
                                                                                          Page 241 of 246
         PAS-L-002011-20 11/30/2020 4:09:20 PM Pg 16 of 20 Trans ID: LCV20202164697
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 244 of 248 PageID: 253




  Because Plaintiff has not even attempted to identify any “newly discovered risks” during the

  period between FDA approval of Truvada® and 2008, he has not pled sufficient facts to show

  that Gilead could have unilaterally changed the FDA-approved Truvada® labeling. Indeed, the

  same argument was presented in Epstein, where the court dismissed Plaintiff’s post-approval

  failure to warn claim, including for the pre-2008 period. Epstein, 2020 WL 4333011, at *2;

  Epstein, No. 9:19-cv-81474 (S.D. Fla. June 15, 2020), Pl.’s Mem. in Resp. to Motion to Dismiss

  [D.E. 35] at 13-15 (raising the same argument on opposition to Gilead’s motion to dismiss).9

  III.    THE TRUVADA® LABELING IS ADEQUATE AS A MATTER OF LAW.

          The Truvada® labeling is subject to a “‘virtually dispositive’ statutory ‘super-

  presumption’” of adequacy, Rossito v. Hoffman-La Roche Inc., A-1237-13T1, 2016 WL

  3943335, at *14 (App. Div. July 22, 2016) (quoting Kendall v. Hoffman La-Roche, Inc., 209 N.J.

  173, 195-97 (N.J. 2012) (emphasis added)), which Plaintiff has not overcome, particularly given

  that the label contained the warnings that he alleges should have been included. Br. at 19-21.10

          Specifically, Plaintiff argues that the Truvada® labeling was inadequate, because it

  “warned to monitor only those patients at risk of adverse kidney events.” Opp. at 1 ⁋ 3; see also



  evidence of causal association with the drug.”); id. at *9, 22 (pre-CBE regulation “permits
  manufacturers to make changes to the labeling, subject to FDA’s subsequent review and
  approval, based only on newly available information, not based on information that was
  previously submitted to FDA – let alone whenever the manufacturer believes a different label
  ‘will make the product safer.’ . . . As FDA explained when it proposed [the pre-CBE] regulation
  in 1982, . . . substantive changes may be made without prior FDA approval only ‘to correct
  concerns about newly discovered risks from the use of the drug.’”) (quoting 47 Fed. Reg. at
  46,623). The Court in Wyeth recognized the United States’ position that “the 2008 CBE
  regulation is consistent with the FDCA and the previous version of the regulation,” but
  ultimately found that it “need not decide” that issue. Wyeth v. Levine, 555 U.S. 555, 569 (2009).
  9
    Holley (cited in Opp. at 9) did not address whether “newly discovered risks” were alleged for
  the post-approval, pre-2008 period.
  10
     There is no “weaker post-approval presumption,” Opp. at 15; cases Plaintiff cites merely
  articulate the bases on which the strong presumption may be rebutted.


                                                   12
                                                                                             Page 242 of 246
       PAS-L-002011-20 11/30/2020 4:09:20 PM Pg 17 of 20 Trans ID: LCV20202164697
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 245 of 248 PageID: 254




  id. at 2, 16 (arguing that “Truvada labeling should have warned all patients to be monitored for

  markers indicating kidney damage”). But Plaintiff concedes that he was at risk of a kidney

  event, and thus the Truvada® labeling did warn of the need to monitor Plaintiff. E.g., Opp. at 1 ⁋

  2 (“After being diagnosed with HIV and myriad of other diseases affecting his kidney health,

  [Plaintiff] was prescribed the antiretroviral Truvada . . . .”); see also Br. at 21. Plaintiff also

  argues that the Truvada® labeling should have warned of the need to monitor for “serum

  phosphorous and/or urine glucose,” Compl. ⁋ 46, see also Pl. Opp. at 1 ⁋ 4, 16, but ignores that

  the Truvada® labeling did warn that “[p]atients at risk for, or a history of, renal dysfunction”—

  i.e., patients precisely like Plaintiff—“should be carefully monitored for changes in serum

  creatinine and phosphorous.” Br. at 21 n.16 (citing Truvada® labeling; emphasis added).11

          In all events, despite basing his failure to warn theory on a purported lack of instructions

  to monitor patients for kidney risks, Plaintiff does not allege that he suffered any kidney injury as

  a result of taking Truvada®. Instead, his claims are based on “pain related to musculoskeletal

  disorders.” Compl. ⁋ 11. As a result, Plaintiff cannot link the alleged failure to warn to his

  injuries. See, e.g., Port Auth. of New York & New Jersey v. Arcadian Corp., 189 F.3d 305, 320

  (3rd Cir. 1999) (dismissing failure to warn claim, because “‘[i]f the basis for recovery under

  strict liability is inadequacy of warnings or instruction about dangers, then plaintiff would be

  required to show that an adequate warning or instruction would have prevented the harm.’”)

  (quoting Malin v. Union Carbide Corp., 219 N.J. Super. 428, 439 (App. Div. 1987)).




  11
    Plaintiff also argues that Gilead “failed to indicate with what regularity at risk patients should
  be monitored,” Opp. at 16; see also id. at 1 ⁋ 5, but he does not attempt to explain how, if at all,
  such a warning would have altered his monitoring, let alone how this allegation plausibly
  supports his claim that with allegedly proper warnings, Plaintiff’s healthcare providers “would
  have elected not to use the Product to treat Plaintiff’s HIV.” Compl. ⁋ 80.


                                                     13
                                                                                              Page 243 of 246
       PAS-L-002011-20 11/30/2020 4:09:20 PM Pg 18 of 20 Trans ID: LCV20202164697
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 246 of 248 PageID: 255




         Notwithstanding the lack of any factual allegations plausibly showing a failure to warn,

  let alone a failure that caused his injuries, Plaintiff argues that he can rebut the presumption that

  the Truvada® labeling is adequate, because he alleges “deliberate concealment or nondisclosure

  of after-acquired information.” Opp. at 16. But Plaintiff misconstrues this basis for overcoming

  the presumption, which is based on concealment of information “from the FDA.” See, e.g., In re:

  Accutane Litig., 235 N.J. at 280 (finding the presumption was not rebutted where “there is no

  evidence that [defendant] deliberately concealed or withheld any material information from the

  FDA”) (emphasis added). Plaintiff does not allege that Gilead concealed any information from

  the FDA, and in fact specifically disclaims any allegations of fraud on the FDA. Opp. at 13 n.5

  (“Plaintiff did not allege that Defendant Gilead engaged in any fraud upon the FDA.”).

         Plaintiff also argues that he can rebut the presumption of adequacy based on purported

  “post-market manipulation.” Opp. at 18. The problem, of course, is that Plaintiff does not allege

  any post-market manipulation regarding Truvada®. Instead, Plaintiff points to two allegations in

  his Complaint that address a different medication. Opp. at 18 (citing Compl. ⁋ 55 and ⁋ 61,

  which address Viread®, not Truvada®). In any event, the allegations plainly do not show

  “economically-driven post-market manipulation,” as is required to rebut the presumption of

  adequacy attached to FDA approval drug labeling, In re Accutane, 235 N.J. at 280.12

         Finally, Plaintiff baselessly argues that this case includes “unique circumstances,” such

  that even absent an established basis for overcoming the presumption of adequacy, the Court

  should nevertheless allow Plaintiff’s claims to proceed. Opp. at 19. But Plaintiff merely repeats

  his same flawed design defect and failure to warn theories that cannot support a claim for the




  12
    In In re Accutane, as here, the presumption of adequacy was not rebutted. 235 N.J. at 277
  (“plaintiffs . . . failed to show any of those bases for overcoming the presumption of adequacy.”)


                                                    14
                                                                                           Page 244 of 246
        PAS-L-002011-20 11/30/2020 4:09:20 PM Pg 19 of 20 Trans ID: LCV20202164697
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 247 of 248 PageID: 256




  reasons discussed in Gilead’s Brief and herein, and Plaintiff does not cite any support for his

  conclusory assertion that his allegations suffice to overcome the presumption that the Truvada®

  labeling is adequate. For instance, Plaintiff asserts, without citation to any facts, that Gilead

  “purposefully delay[ed] the introduction of TAF medications,” and therefore “Gilead knew that

  its labeling was inadequate.” Opp. at 19. Plaintiff offers no basis for the logical leap between a

  purported delay in introducing a different medication to the market and the conclusory assertion

  that this somehow means Gilead knew its labeling was inadequate, let alone that this is adequate

  to create a novel basis for overcoming the presumption that the Truvada® labeling is adequate.

  IV.    PLAINTIFF’S COMPLAINT SHOULD BE DISMISSED WITH PREJUDICE.

         Plaintiff argues that if his claim against Gilead is dismissed, he should be granted leave to

  amend. Opp. at 20-21. But Plaintiff does not identify any allegations that he could or would

  include in an amended complaint that would save his fatally flawed theories of liability. Indeed,

  Plaintiff does not even attempt to suggest how he could plead around the fact that his claims are

  preempted by federal law or that the Truvada® labeling is presumptively adequate, especially

  given that the FDA-approved Truvada® labeling contained the warnings Plaintiff contends were

  missing. He plainly cannot do so, and his claims should be dismissed with prejudice. See, e.g.,

  Matter of Estate of Jensen, No. A-2901-17, 2020 WL 479074, at *6 (App. Div. Jan. 30, 2020)

  (“Dismissal with prejudice is appropriate . . . if provision of an opportunity to amend would be

  futile.”); Johnson v. Glassman, 401 N.J. Super. 222, 246 (App Div. 2008) (affirming dismissal

  with prejudice where “plaintiffs have not offered either a certification or a proposed amended

  pleading that would suggest their ability to cure the defects that we have noted”).




                                                   15
                                                                                           Page 245 of 246
       PAS-L-002011-20 11/30/2020 4:09:20 PM Pg 20 of 20 Trans ID: LCV20202164697
Case 2:21-cv-01418-KM-JBC Document 1-1 Filed 01/29/21 Page 248 of 248 PageID: 257




                                          CONCLUSION

         For the foregoing reasons, and those set forth in Gilead’s Brief, its Motion to Dismiss

  should be granted, and Plaintiff’s Complaint should be dismissed with prejudice.

  Dated: November 30, 2020                            Respectfully submitted,

                                                      /s/ Beth S. Rose

                                                      Beth S. Rose (NJ ID #028491987)
                                                      R. Michael Riecken (NJ ID #211402016)
                                                      SILLS CUMMIS & GROSS P.C.
                                                      One Riverfront Plaza
                                                      Newark, New Jersey 07102
                                                      Telephone: (973) 643-7000
                                                      Facsimile: (973) 643-6500
                                                      brose@sillscummis.com
                                                      rriecken@sillscummis.com

                                                      Joshua E. Anderson (pro hac vice pending)
                                                      Alycia A. Degen (pro hac vice pending)
                                                      SIDLEY AUSTIN LLP
                                                      555 West Fifth Street, Suite 4000
                                                      Los Angeles, CA 90013
                                                      Telephone: (213) 896-6000
                                                      Facsimile: (213) 896-6600
                                                      janderson@sidley.com
                                                      adegen@sidley.com




                                                 16
                                                                                        Page 246 of 246
